                 Case 1:19-cv-00183-JL Document 20-5 Filed 09/04/19 Page 1 of 57




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                                 City of New York, State of New York, County of New York




                  I, Anders Ekholm, hereby certify that the attached document is to the best of my
                  knowledge and belief, a true and accurate translation from Turkish into English.




                  Anders Ekholm

                  Sworn to before me this
                  August 23, 2019




                  Signature, Notary Public


                      AURORA ROSE LANDMAN
                 NOTARY PUBLIC-STATE OF
                                        NEW YORK
                          No. 011A6380859
                     Qualified in New York County
                  My Commission Expires 09-17-2022



                   Stamp, Notary Public




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                 Case 1:19-cv-00183-JL Document 20-5 Filed 09/04/19 Page 2 of 57


                                        REPUBLIC OF
                                        REPUBLIC OF TURKEY
                                                    TURKEY
                                             ISTANBUL
                                             ISTANBUL
                                  CHIEF PUBLIC
                                  CHIEF PUBLIC PROSECUTOR’S OFFICE
                                               PROSECUTOR'S OFFICE

Investigation No.
Investigation No.       :: 2017/175132
                           2017/175132 Investigation
                                       Investigation
Decision No.
Decision No.            :: 2018/56534
                           2018/56534

                        DECISION OF
                        DECISION OF NON-PROSECUTION
                                    NON-PROSECUTION

PLAINTIFF
PLAINTIFF               :: K.H.
                           K.H.

COMPLAINANT
COMPLAINANT             :: YALCIN
                           YALÇIN AYASLI,
                                     AYASLI, son
                                               son of
                                                   of MEHMET
                                                      MEHMET NUMNURİ and
                                                                     and KERIME
                                                                         KERİME NESIBE,
                                                                                NESİBE, born
                                                                                        born on
                                                                                             on                                ,,
                         resides at
                         resides at NASHUA,
                                    NASHUA, NHNH // UNITED
                                                    UNITED STATES    OF AMERICA.
                                                              STATES OF AMERICA.
ATTORNEY
ATTORNEY                :: ATT.
                           ATT. AYSE
                                 AYŞE HERGUNER
                                        HERGÜNER BILGEN,
                                                      BİLGEN, ISTANBUL
                                                                 ISTANBUL
                         Büyükdere Cad.
                        Bilyiikdere  Cad. No:
                                          No: 199 Levent // ISTANBUL
                                              199 Levent    ISTANBUL

SUSPECT
SUSPECT                 :: 1-
                           1- FATİH    AKOL, son
                              FATIII AKOL,       son of
                                                     of YASAR
                                                        YAŞAR and and FATMA,
                                                                       FATMA, born
                                                                                 born on
                                                                                      on              ,, registered
                                                                                                         registered in
                                                                                                                    in the
                                                                                                                       the civil
                                                                                                                           civil
                         registry in
                         registry in the
                                     the city
                                         city of
                                              of ADANA,
                                                 ADANA, district
                                                            district of
                                                                     of MERKEZ
                                                                        MERKEZ [CENTER],
                                                                                  [CENTER], village/neighborhood
                                                                                               village/neighborhood of    of
                         KAYALIBAĞ. in
                        KAYALIBAO            volume 25,
                                          in volume   25, family  serial number
                                                          family serial  number 547,
                                                                                 547, serial number 16
                                                                                      serial number       and resides
                                                                                                     16 and            at Croktiirk
                                                                                                               resides at Göktürk
                         Merkez Mah.
                        Merkez    Mah. Mutlu
                                         Mutlu Yokusu
                                                Yokuşu Yolu
                                                         Yolu Sk.   No: 1F
                                                               Sk. No:      İç Kapi
                                                                         1F Ic Kapı No:
                                                                                    No: 3
                                                                                        3 Eyiip
                                                                                           Eyüp // ISTANBUL.
                                                                                                   ISTANBUL

OFFENSE
OFFENSE                 :: Fraud
                           Fraud via
                                 via the
                                     the Use
                                         Use of
                                             of Information
                                                Information Systems, Banks or
                                                            Systems, Banks     Credit Institutions
                                                                            or Credit Institutions as
                                                                                                   as an
                                                                                                      an Instrument,
                                                                                                         Instrument,
                         Establishing aa Criminal
                        Establishing     Criminal Organization
                                                  Organization with
                                                               with Criminal
                                                                    Criminal Intent
                                                                             Intent

DATE AND
DATE AND PLACE
         PLACE
OF OFFENSE
OF OFFENSE              :: 11/24/2017
                           11/24/2017 ISTANBUL/MERKEZ,
                                       ISTANBUL/MERKEZ, ISTANBUL/null
                                                                 ISTANBUL/null
SUSPECT
SUSPECT                 :: 2-
                           2- JACOP
                              JACOP ORTELL
                                       ORTELL KINGSTON,
                                                  KINGSTON, son   son of,
                                                                      of, born
                                                                          born on,
                                                                               on, registered
                                                                                   registered in  the city
                                                                                               in the city of,
                                                                                                           of, district
                                                                                                               district of,
                                                                                                                         of,
                         village/neighborhood of,
                        village/neighborhood    of, in volume, family
                                                    in volume, family serial
                                                                       serial number,
                                                                              number, serial
                                                                                       serial number   and resides
                                                                                              number and             at.
                                                                                                            resides at.
OFFENSE
OFFENSE                 :: Fraud
                           Fraud via
                                 via the
                                     the Use
                                         Use of
                                             of Information
                                                Information Systems,    Banks or
                                                             Systems, Banks       Credit Institutions
                                                                               or Credit Institutions as
                                                                                                       as an
                                                                                                          an Instrument,
                                                                                                             Instrument,
                         Establishing aa Criminal
                        Establishing     Criminal Organization
                                                  Organization with
                                                                with Criminal
                                                                      Criminal Intent
                                                                                Intent
DATE AND
DATE AND PLACE
         PLACE
OF OFFENSE
OF OFFENSE              :: 11/24/2017
                           11/24/2017 ISTANBUL/MERKEZ,
                                        ISTANBUL/MERKEZ, ISTANBUL/null
                                                                  ISTANBUL/null
SUSPECT
SUSPECT                 :: 3-
                           3- KADIR
                              KADİR PEKER,
                                        PEKER, son son of YILMAZ and
                                                       of YILMAZ    and TUREL,
                                                                         TÜREL, born
                                                                                  born on
                                                                                        on              ,, registered
                                                                                                           registered in the city
                                                                                                                      in the city
                         of MANISA,
                        of  MANİSA, district
                                        district of
                                                 of AKHISAR,
                                                    AKHİSAR, village/neighborhood
                                                                village/neighborhood of of ULUCAMI,
                                                                                           ULUCAMİ, in    in volume
                                                                                                             volume 14,
                                                                                                                      14, family
                                                                                                                          family
                         serial number
                        serial  number 656,   serial number
                                         656, serial         11 and
                                                     number 11  and resides
                                                                     resides at
                                                                             at Senlildcoy
                                                                                Şenlikköy Mah.
                                                                                            Mah. Otlukbeli
                                                                                                  Otlukbeli Sk.
                                                                                                              Sk. No:
                                                                                                                  No: 88 İç Kapı
                                                                                                                         Ic Kapi
                         No: 00 Bakirkoy
                        No:     Bakırköy // ISTANBUL.
                                            ISTANBUL.
OFFENSE
OFFENSE                 :: Fraud
                           Fraud via
                                  via the
                                      the Use
                                          Use of
                                               of Information
                                                  Information Systems,   Banks or
                                                              Systems, Banks       Credit Institutions
                                                                                or Credit  Institutions as
                                                                                                        as an
                                                                                                            an Instrument,
                                                                                                               Instrument,
                         Establishing aa Criminal
                        Establishing      Criminal Organization
                                                    Organization with
                                                                 with Criminal
                                                                       Criminal Intent
                                                                                 Intent
DATE AND
DATE AND PLACE
         PLACE
OF OFFENSE
OF OFFENSE              :: 11/24/2017
                           11/24/2017 ISTANBUL/MERKEZ,
                                      ISTANBUL/MERKEZ, ISTANBUL/null
                                                       ISTANBUL/null




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                                                                           System at http://vatandas.uyap.gov.tr with
                                                                                                                 with the
                                                                                                                      the
code DlnQCHx
code DlnQCHx —  – CO+Cy6T
                  CO+Cy6T —1p0Vbp9
                            – lp0Vbp9 — – AF5B8Y=.
                                          AF5B8Y=.
                 Case 1:19-cv-00183-JL Document 20-5 Filed 09/04/19 Page 3 of 57
SUSPECT
SUSPECT                 :: 4- KAMİL EKIM
                           4- KAMIL      EKİM ALPTEKIN,
                                                 ALPTEKİN, son    son of
                                                                      of MUSTAFA
                                                                         MUSTAFA SEVİNÇ         and ZEHRA,
                                                                                       SEVINc and     ZEHRA, born
                                                                                                                born on
                                                                                                                     on
                                     ,, registered
                                        registered in the city
                                                   in the      of DENIZLI,
                                                          city of DENİZLİ, district
                                                                             district of
                                                                                      of MERKEZEFENDI,
                                                                                         MERKEZEFENDİ, village/neighborhood
                                                                                                              village/neighborhood
                         of DEOIRMENONCJ,
                        of   DEĞİRMENÖNÜ, in           volume 5,
                                                    in volume       family serial
                                                                 5, family  serial number
                                                                                   number 357,
                                                                                             357, serial
                                                                                                   serial number
                                                                                                          number 8 8 and
                                                                                                                     and resides
                                                                                                                          resides at
                                                                                                                                  at
                         Burhaniye Mah.
                        Burhaniye    Mah. Tasocaldan
                                             Taşocakları Sk.   No 10C
                                                          Sk. No   10C Ic
                                                                        İç Kapi
                                                                           Kapı No:
                                                                                No: 11 Uskudar
                                                                                        Üsküdar /ISTANBUL.
                                                                                                 /ISTANBUL.
OFFENSE
OFFENSE                 :: Fraud
                           Fraud via
                                 via the
                                      the Use
                                           Use of
                                                of Information
                                                   Information Systems,    Banks or
                                                                 Systems, Banks       Credit Institutions
                                                                                   or Credit Institutions as
                                                                                                          as an
                                                                                                             an Instrument,
                                                                                                                Instrument,
                         Establishing aa Criminal
                        Establishing      Criminal Organization
                                                     Organization with
                                                                    with Criminal
                                                                          Criminal Intent
                                                                                    Intent
DATE AND
DATE AND PLACE
         PLACE
OF OFFENSE
OF OFFENSE              :: 11/24/2017
                           11/24/2017 ISTANBUL/MERKEZ,
                                         ISTANBUL/MERKEZ, ISTANBUL/null
                                                                     ISTANBUL/null
SUSPECT
SUSPECT                 :: 5-
                           5- KAMIL
                              KAMİL FERİDUN            ÖZKARAMAN, son
                                         FERIDUN OZKARAMAN,                son of
                                                                               of MEHMET
                                                                                  MEHMET BESIM BESİM andand HACER,
                                                                                                             HACER, born
                                                                                                                       born on
                                                                                                                            on
                                     ,, registered
                                        registered in  the city
                                                    in the city of
                                                                of ISTANBUL,
                                                                   ISTANBUL, district
                                                                                  district of ÜSKÜDAR, village/neighborhood
                                                                                           of OSKODAR,      village/neighborhood ofof
                         AZİZ MAHMUT
                        AZIZ    MAHMUT HODAYI,HÜDAYİ, in      volume 49,
                                                           in volume   49, family serial number
                                                                           family serial number 1173,
                                                                                                  1173, serial  number 8
                                                                                                         serial number  8 and
                                                                                                                          and resides
                                                                                                                              resides
                         at Çeliktepe
                        at              Mah. Hos&
                            celiktepe Mah.    Hoşgör Sk.    No: 33 İç
                                                        Sk. No:       Kapı No:
                                                                   Ic Kapi  No: 4
                                                                                4 Kagithane
                                                                                   Kağıthane // ISTANBUL.
                                                                                                ISTANBUL.
OFFENSE
OFFENSE                 :: Fraud
                           Fraud via
                                 via the
                                      the Use
                                           Use of
                                                of Information
                                                   Information Systems,     Banks or
                                                                 Systems, Banks        Credit Institutions
                                                                                   or Credit  Institutions as
                                                                                                           as an
                                                                                                              an Instrument,
                                                                                                                 Instrument,
                         Establishing aa Criminal
                        Establishing      Criminal Organization
                                                     Organization with
                                                                    with Criminal
                                                                          Criminal Intent
                                                                                     Intent
DATE AND
DATE AND PLACE
         PLACE
OF OFFENSE
OF OFFENSE              :: 11/24/2017
                           11/24/2017 ISTANBUL/MERKEZ,
                                       ISTANBUL/MERKEZ, ISTANBUL/null
                                                               ISTANBUL/null
SUSPECT
SUSPECT                 :: 6-
                           6- LEVON
                              LEVON TERMENDZHYAN
                                        TERMENDZHYAN
OFFENSE
OFFENSE                 :: Fraud
                           Fraud via
                                 via the
                                     the Use
                                         Use of
                                             of Information
                                                Information Systems, Banks or
                                                            Systems, Banks     Credit Institutions
                                                                            or Credit Institutions as
                                                                                                   as an
                                                                                                      an Instrument,
                                                                                                         Instrument,
                         Establishing aa Criminal
                        Establishing     Criminal Organization
                                                  Organization with
                                                               with Criminal
                                                                    Criminal Intent
                                                                             Intent
DATE AND
DATE AND PLACE
         PLACE
OF OFFENSE
OF OFFENSE              :: 11/24/2017
                           11/24/2017 ISTANBUL/MERKEZ,
                                         ISTANBUL/MERKEZ, ISTANBUL/null
                                                                     ISTANBUL/null
SUSPECT
SUSPECT                 :: 7- SEZGİN      BARAN      KORKMAZ,
                           7- SEZGiN BARAN KORKMAZ, son              son of
                                                                         of TEYYAR
                                                                            TEYYAR and   and RAHIME,
                                                                                             RAHİME, bornborn on
                                                                                                               on
                                     ,, registered
                                        registered in  the city
                                                    in the city of
                                                                of KARS,
                                                                   KARS, district
                                                                           district of
                                                                                    of DIGOR,
                                                                                       DİGOR, village/neighborhood
                                                                                                 village/neighborhood ofof
                         BACALI ,, in
                        BACALI        in volume
                                          volume 5,5, family   serial number
                                                       family serial  number 32,
                                                                               32, serial
                                                                                    serial number
                                                                                           number 2727 and
                                                                                                        and resides
                                                                                                            resides at
                                                                                                                    at Acarlar
                                                                                                                       Acarlar Mah.
                                                                                                                               Mah.
                         Bıldırcın Sk.
                        Bdchrcln   Sk. No:
                                         No: 146
                                             146 Beykoz
                                                  Beykoz // ISTANBUL.
                                                              ISTANBUL.
OFFENSE
OFFENSE                 :: Fraud
                           Fraud via
                                 via the
                                      the Use
                                           Use of
                                                of Information
                                                   Information Systems,    Banks or
                                                                 Systems, Banks        Credit Institutions
                                                                                   or Credit  Institutions as
                                                                                                           as an
                                                                                                              an Instrument,
                                                                                                                 Instrument,
                         Establishing aa Criminal
                        Establishing      Criminal Organization
                                                     Organization with
                                                                    with Criminal
                                                                         Criminal Intent
                                                                                     Intent
DATE AND
DATE AND PLACE
         PLACE
OF OFFENSE
OF OFFENSE              :: 11/24/2017
                           11/24/2017 ISTANBUL/MERKEZ,
                                        ISTANBUL/MERKEZ, ISTANBUL/null
                                                                   ISTANBUL/null
SUSPECT
SUSPECT                 :: 8-
                           8- TOLGA
                               TOLGA ÜZÜMCÜ,
                                        tiZtTMCfJ, sonson of
                                                           of ISMAIL
                                                              İSMAİL andand NILGON,
                                                                            NİLGÜN, bornborn on
                                                                                             on              ,, registered
                                                                                                                registered in
                                                                                                                           in the
                                                                                                                              the city
                                                                                                                                  city
                         of ÇANAKKALE,
                        of  cANAKKALE, district        of LAPSEKI,
                                              district of LAPSEKİ, village/neighborhood
                                                                       village/neighborhood ofof UMURBEY
                                                                                                  UMURBEY BELDESI,BELDESİ, in in
                         volume 41,
                        volume    41, family
                                      family serial number 194,
                                             serial number    194, serial
                                                                   serial number
                                                                          number 13
                                                                                  13 and
                                                                                      and resides at Barbaros
                                                                                          resides at Barbaros Mah.
                                                                                                                 Mah. Anhc
                                                                                                                       Ardıç Sk.
                                                                                                                              Sk. No:
                                                                                                                                  No:
                         8H Ic
                        8H    İç Kapi
                                 Kapı No:
                                      No: 33 Atasehir
                                             Ataşehir // ISTANBUL.
                                                         ISTANBUL.
OFFENSE
OFFENSE                 :: Fraud
                           Fraud via
                                  via the
                                      the Use
                                          Use of
                                              of Information
                                                 Information Systems,      Banks or
                                                                Systems, Banks       Credit Institutions
                                                                                  or Credit Institutions as
                                                                                                         as an
                                                                                                            an Instrument,
                                                                                                                 Instrument,
                         Establishing aa Criminal
                        Establishing      Criminal Organization
                                                    Organization with
                                                                   with Criminal
                                                                         Criminal Intent
                                                                                   Intent
DATE AND
DATE AND PLACE
         PLACE
OF OFFENSE
OF OFFENSE              :: 11/24/2017
                           11/24/2017 ISTANBUL/MERKEZ,
                                      ISTANBUL/MERKEZ, ISTANBUL/null
                                                       ISTANBUL/null




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                                                                           System at http://vatandas.uyap.gov.tr with
                                                                                                                 with the
                                                                                                                      the
code DlnQCHx
code DlnQCHx —  – CO+Cy6T
                  CO+Cy6T —1p0Vbp9
                            – lp0Vbp9 — – AF5B8Y=.
                                          AF5B8Y=.
                       Case 1:19-cv-00183-JL Document 20-5 Filed 09/04/19 Page 4 of 57



SUSPECT
SUSPECT                         :: 9-
                                   9- AUTHORIZED
                                      AUTHORIZED REPRESENTATIVES
                                                     REPRESENTATIVES OF
                                                                     OF BORA
                                                                         BORA JET
                                                                              JET HAVACILIK
                                                                                  HAVACILIK TASIMACILIK
                                                                                            TAŞIMACILIK
                                 UÇAK   BAKIM ONARIM
                                 UCAK BAKIM      ONARIM VE
                                                         VE TİCARET A.Ş.
                                                            TICARET A.S.
OFFENSE
OFFENSE                         :: Aggravated
                                   Aggravated Fraud.
                                              Fraud.
DATE AND
DATE AND PLACE
         PLACE
OF OFFENSE
OF OFFENSE                      :: 11/24/2017
                                   11/24/2017 ISTANBUL
                                              ISTANBUL
SUSPECT
SUSPECT                         :: 10-
                                   10- AUTHORIZED
                                       AUTHORIZED REPRESENTATIVES
                                                    REPRESENTATIVES OF
                                                                    OF BUGARAJ
                                                                       BUGARAJ ELEKTRON-
                                                                               ELEKTRONİK
                                                                                       1K TİCARET VE
                                                                                          TICARET VE
                                 BİLİŞİM HiZMETLER1
                                BILISIM    HİZMETLERİ A.S.
                                                       A.Ş.
OFFENSE
OFFENSE                         :: Aggravated
                                   Aggravated Fraud
                                              Fraud
DATE AND
DATE AND PLACE
         PLACE
OF OFFENSE
OF OFFENSE                      :: 11/24/2017
                                    11/24/2017 ISTANBUL
                                               ISTANBUL
SUSPECT
SUSPECT                         :: 11-
                                    11- AUTHORIZED
                                        AUTHORIZED REPRESENTATIVES
                                                         REPRESENTATIVES OF     OF MEGA
                                                                                     MEGA VARLIK
                                                                                            VARLIK YONETIM
                                                                                                       YÖNETİM ANON1M
                                                                                                                   ANONİM
                                 ŞİRKETİ, resides
                                 SIRKETI,    resides at
                                                     at Beylerbeyi
                                                        Beylerbeyi Mah.
                                                                   Mah. Beylerbeyi
                                                                        Beylerbeyi İskele Cad. No:
                                                                                   Iskele Cad. No: 16/1
                                                                                                   16/1 Uskudar
                                                                                                        Üsküdar Istanbul Üsküdar
                                                                                                                Istanbul Oskiidar
                                 // ISTANBUL
                                    ISTANBUL.
OFFENSE
OFFENSE                         :: Aggravated
                                    Aggravated Fraud
                                               Fraud
DATE AND
DATE AND PLACE
         PLACE
OF OFFENSE
OF OFFENSE                      :: 11/24/2017
                                   11/24/2017 ISTANBUL
                                              ISTANBUL
SUSPECT
SUSPECT                         :: 12-
                                   12- AUTHORIZED
                                       AUTHORIZED REPRESENTATIVES
                                                       REPRESENTATIVES OF       OF SBK
                                                                                   SBK HOLDING
                                                                                        HOLDING A.S.,  A.Ş., resides
                                                                                                             resides at
                                                                                                                     at Sanyer
                                                                                                                        Sarıyer
                                 Reşitpaşa Mah.
                                Resitpasa  Mah. Eski
                                                Eski Bilyiikdere
                                                     Büyükdere Cad.
                                                                 Cad. No:
                                                                      No: 14 K: 9/B
                                                                          14 K: 9/B Maslak
                                                                                    Maslak Sisli
                                                                                           Şişli // ISTANBUL
                                                                                                    ISTANBUL.
OFFENSE
OFFENSE                         :: Aggravated
                                   Aggravated Fraud
                                              Fraud
DATE AND
DATE AND PLACE
         PLACE
OF OFFENSE
OF OFFENSE                      :: 11/24/2017
                                   11/24/2017 ISTANBUL
                                              ISTANBUL

                                INVESTIGATION DOCUMENT
                                INVESTIGATION DOCUMENT WAS
                                                       WAS REVIEWED:
                                                           REVIEWED:

                               With the
                               With    the complaint       petition submitted
                                            complaint petition        submitted to  to our
                                                                                       our Chief
                                                                                            Chief Public
                                                                                                   Public Prosecutor's
                                                                                                             Prosecutor’s Office
                                                                                                                             Office by by the
                                                                                                                                           the attorney
                                                                                                                                                attorney of of
the complainant
the complainant Yakut
                    Yalçın AYASLI,
                              AYASLI, it     it is
                                                 is understood
                                                    understood that that he
                                                                          he filed
                                                                              filed aa complaint
                                                                                       complaint with
                                                                                                    with the
                                                                                                           the claim
                                                                                                               claim that
                                                                                                                        that the
                                                                                                                              the shares
                                                                                                                                   shares ofof the
                                                                                                                                                the company
                                                                                                                                                     company
named Borajet
named    Borajet owned
                    owned by  by thethe complainant
                                          complainant Yalcm Yalçın AYASLI
                                                                       AYASLI along  along with
                                                                                             with the
                                                                                                   the shares
                                                                                                        shares of  of the
                                                                                                                       the companies
                                                                                                                             companies Borajet
                                                                                                                                             Borajet Baknn
                                                                                                                                                        Bakım
[Maintenance] and
[Maintenance]      and Aydrnjet
                        Aydınjet werewere transferred
                                             transferred to  to Bugaraj
                                                                 Bugaraj Elektronik
                                                                            Elektronik Tic.Tic. A.S.
                                                                                                A.Ş. owned
                                                                                                      owned by  by one
                                                                                                                    one ofof the
                                                                                                                              the suspects
                                                                                                                                   suspects Sezgin       Baran
                                                                                                                                                Sezgin Baran
KORKMAZ who
KORKMAZ          who is
                      is also
                          also the
                                 the owner
                                      owner of  of SBK
                                                     SBK Holding,
                                                            Holding, thatthat aa share   transfer and
                                                                                  share transfer   and profit
                                                                                                        profit sharing
                                                                                                                 sharing contract
                                                                                                                            contract waswas signed
                                                                                                                                              signed by by and
                                                                                                                                                            and
between the
between    the parties
                parties on
                         on 12/29/2016,
                             12/29/2016, that  that the
                                                      the parties
                                                           parties have
                                                                     have reached
                                                                            reached an an agreement
                                                                                           agreement on      which debts
                                                                                                        on which              were to
                                                                                                                      debts were     to be
                                                                                                                                        be paid
                                                                                                                                             paid off
                                                                                                                                                    off by
                                                                                                                                                        by the
                                                                                                                                                             the
parties however
parties  however banks
                    banks have
                             have sent
                                     sent warning
                                           warning letters
                                                        letters toto Sezgin    Baran KORKMAZ
                                                                     Sezgin Baran      KORKMAZ for     for the
                                                                                                            the payment
                                                                                                                 payment of  of the
                                                                                                                                 the loan
                                                                                                                                      loan debts     that were
                                                                                                                                             debts that   were
owed by
owed  by the
           the complainant
                complainant for       various reasons,
                                for various      reasons, that
                                                             that the
                                                                   the debts
                                                                       debts were
                                                                                were assigned
                                                                                      assigned toto Mega
                                                                                                    Mega Varlik
                                                                                                             Varlık Yonetim
                                                                                                                      Yönetim A.S.A.Ş. which
                                                                                                                                         which is is affiliated
                                                                                                                                                     affiliated
with SBK
with SBK Holding
             Holding after
                        after the
                               the complainant
                                    complainant failed failed to
                                                               to pay
                                                                   pay off
                                                                        off his
                                                                            his debts,
                                                                                 debts, that
                                                                                         that one
                                                                                               one of
                                                                                                   of the
                                                                                                      the members
                                                                                                            members of   of the
                                                                                                                            the board
                                                                                                                                 board ofof directors
                                                                                                                                             directors ofof the
                                                                                                                                                             the
company named
company      named Mega
                     Mega Varlik
                              Varlık during
                                         during the the aforementioned
                                                         aforementioned period period was
                                                                                        was Kamil
                                                                                              Kamil Ekim
                                                                                                      Ekim [ALPTEKIN]
                                                                                                               [ALPTEKİN] and      and the
                                                                                                                                         the individuals
                                                                                                                                               individuals in  in
question acted
question   acted together
                  together in     an organized
                              in an   organized mannermanner to  to cause   damage to
                                                                    cause damage       to the
                                                                                           the complainant     through unlawful
                                                                                               complainant through         unlawful means,
                                                                                                                                        means, that
                                                                                                                                                  that Sezgin
                                                                                                                                                        Sezgin
Baran KORKMAZ
Baran   KORKMAZ filed    filed aa criminal
                                   criminal complaint         against the
                                               complaint against         the complainant
                                                                              complainant in  in order
                                                                                                 order toto put
                                                                                                             put him
                                                                                                                  him under
                                                                                                                        under pressure,
                                                                                                                                 pressure, that
                                                                                                                                              that the
                                                                                                                                                    the public
                                                                                                                                                         public
action filed
action  filed against
               against the
                        the complainant
                             complainant is        still pending
                                               is still  pending before
                                                                     before Istanbul    2nd High
                                                                              Istanbul 2nd   High Criminal
                                                                                                   Criminal Court,
                                                                                                                Court, that
                                                                                                                         that the
                                                                                                                               the company
                                                                                                                                    company namednamed SBK SBK
Holding is
Holding    is backed
              backed byby Levon
                            Levon Termendzhyan
                                      Termendzhyan and     and Jacob
                                                                  Jacob Ortell
                                                                          Ortell Kingston
                                                                                  Kingston whowho are
                                                                                                    are foreign
                                                                                                        foreign nationals       along with
                                                                                                                   nationals along      with Fatih
                                                                                                                                                Fatih AKOL,
                                                                                                                                                       AKOL,
Kamil Fetid=
Kamil   Feridun OZKARAMAN
                   ÖZKARAMAN who          who partook
                                                  partook in    the share
                                                            in the           transfer contract
                                                                     share transfer    contract and
                                                                                                  and Tolga
                                                                                                       Tolga UZUMCU
                                                                                                                ÜZÜMCÜ who     who waswas inin charge
                                                                                                                                                charge ofof the
                                                                                                                                                             the
company’s financial
company's                  affairs, and
               financial affairs,     and Kadir
                                            Kadir PEKER
                                                      PEKER who   who also
                                                                        also took
                                                                               took part
                                                                                      part in  the share
                                                                                            in the share transfer
                                                                                                            transfer asas well
                                                                                                                           well asas other
                                                                                                                                      other suspects
                                                                                                                                              suspects to to be
                                                                                                                                                              be
determined came
determined             together to
                came together       to commit
                                        commit aa crime crime andand established
                                                                       established aa criminal
                                                                                          criminal organization
                                                                                                     organization for       this purpose
                                                                                                                       for this   purpose and  and that
                                                                                                                                                     that they
                                                                                                                                                           they
committed the
committed     the offenses
                   offenses ofof aggravated
                                  aggravated fraud, fraud, perjury,
                                                            perjury, attempt
                                                                        attempt to to influence
                                                                                      influence aa fair
                                                                                                    fair trial
                                                                                                          trial and
                                                                                                                and threat,
                                                                                                                      threat, and
                                                                                                                               and furthermore,
                                                                                                                                     furthermore, that that the
                                                                                                                                                             the
suspect Sezgin
suspect   Sezgin Baran
                    Baran KORKMAZ
                             KORKMAZ is              affiliated with
                                                is affiliated      with FETO
                                                                         FETO [Fethullahist
                                                                                   [Fethullahist Terrorist
                                                                                                   Terrorist Organization]
                                                                                                                Organization] // PDY  PDY [Parallel
                                                                                                                                              [Parallel State
                                                                                                                                                          State
Structure]   terrorist organization
Structure] terrorist    organization and  and they
                                                they conspired       against the
                                                       conspired against       the complainant
                                                                                    complainant together
                                                                                                   together with
                                                                                                               with this
                                                                                                                     this organization,
                                                                                                                           organization,
          That
          That aa separate   file was
                  separate file    was prepared
                                          prepared about
                                                       about the
                                                               the suspect
                                                                    suspect Sezgin
                                                                               Sezgin Baran
                                                                                        Baran KORKMAZ
                                                                                                KORKMAZ for          the offense
                                                                                                                for the   offense of of being
                                                                                                                                        being aa member
                                                                                                                                                   member of  of
an armed
an armed terrorist
            terrorist organization
                      organization and   and this
                                              this was
                                                     was recorded
                                                           recorded in     our Chief
                                                                       in our   Chief Public
                                                                                        Public Prosecutor's
                                                                                                Prosecutor’s Office
                                                                                                                 Office file
                                                                                                                          file numbered
                                                                                                                                numbered 2018/63526,
                                                                                                                                              2018/63526,


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code DlnQCHx
code DlnQCHx —  – CO+Cy6T
                  CO+Cy6T —1p0Vbp9
                            – lp0Vbp9 — – AF5B8Y=.
                                          AF5B8Y=.
                           Case 1:19-cv-00183-JL Document 20-5 Filed 09/04/19 Page 5 of 57
            That    there is
            That there           an ongoing
                              is an   ongoing investigation
                                                     investigation withinwithin thethe file    with the
                                                                                         file with    the investigation
                                                                                                            investigation number number 2017/68314
                                                                                                                                              2017/68314 of      of Istanbul      Chief
                                                                                                                                                                     Istanbul Chief
 Public Prosecutor's
Public    Prosecutor’s Office   Office between
                                           between the     the suspect
                                                                 suspect Sezgin
                                                                           Sezgin BaranBaran KORKMAZ
                                                                                                 KORKMAZ and          and the
                                                                                                                            the complainant
                                                                                                                                  complainant Yalcrn  Yalçın AYASLI
                                                                                                                                                                  AYASLI on     on thethe
 grounds that
 grounds     that unlawful
                   unlawful transactions
                                   transactions have   have beenbeen carried     out during
                                                                       carried out      during thethe sale
                                                                                                       sale of of Borajet,
                                                                                                                   Borajet, it it was
                                                                                                                                   was determined
                                                                                                                                          determined that that Sezgin
                                                                                                                                                                  Sezgin BARAN
                                                                                                                                                                             BARAN
 KORKMAZ suffered
KORKMAZ             suffered from           losses due
                                   from losses         due to to the
                                                                  the unlawful
                                                                       unlawful transactions
                                                                                     transactions that  that were
                                                                                                               were carried
                                                                                                                       carried out out prior
                                                                                                                                          prior toto the
                                                                                                                                                      the transfer
                                                                                                                                                           transfer of  of Borajet's
                                                                                                                                                                            Borajet’s
 shares, company's
 shares,   company’s accounting
                             accounting records  records were were falsified,
                                                                     falsified, airplanes
                                                                                 airplanes registered
                                                                                                registered in    in the
                                                                                                                     the name
                                                                                                                          name of  of the
                                                                                                                                        the company
                                                                                                                                              company were were usedused as as donors
                                                                                                                                                                               donors
 and their
and   their parts
              parts were
                      were detected
                               detected to    to be
                                                  be missing
                                                       missing in  in the
                                                                      the witness
                                                                           witness expert        report prepared
                                                                                       expert report       prepared withinwithin thethe scope
                                                                                                                                          scope of of the
                                                                                                                                                       the investigation,
                                                                                                                                                            investigation, it     it was
                                                                                                                                                                                     was
 also determined
also   determined that    that Yalcrn
                                 Yalçın AYASLIAYASLI tried    tried to
                                                                     to smuggle
                                                                         smuggle his  his personal
                                                                                            personal assets
                                                                                                          assets by by transferring
                                                                                                                         transferring these these during
                                                                                                                                                     during the the sales
                                                                                                                                                                      sales process,
                                                                                                                                                                             process,
 therefore aa public
therefore        public action
                            action was was filed       against Yalcrn
                                               filed against       Yalçın AYASLI
                                                                            AYASLI as      as per
                                                                                               per Article
                                                                                                     Article 158/1-h
                                                                                                                 158/1-h of  of the
                                                                                                                                 the Turkish
                                                                                                                                       Turkish PenalPenal Code,
                                                                                                                                                            Code,
            As aa result
            As     result of  of the
                                  the review
                                        review that that waswas conducted
                                                                  conducted within
                                                                                within the the scope
                                                                                                scope of  of the
                                                                                                              the file,    an inspection
                                                                                                                    file, an   inspection reportreport dated
                                                                                                                                                         dated 07/06/2018
                                                                                                                                                                   07/06/2018 was    was
 issued by
 issued  by Istanbul
               Istanbul BranchBranch Directorate
                                           Directorate for          Combatting Financial
                                                               for Combatting         Financial Crimes,
                                                                                                     Crimes, no    no unlawful        transactions were
                                                                                                                       unlawful transactions             were discovered
                                                                                                                                                                  discovered with   with
 regards to
 regards    to the
                the transfer
                      transfer of   of the
                                         the company
                                                company shares shares carried
                                                                         carried outout between
                                                                                          between the  the complainant
                                                                                                              complainant and    and other
                                                                                                                                         other suspects,
                                                                                                                                                  suspects, the the share
                                                                                                                                                                      share transfer
                                                                                                                                                                              transfer
 carried out
 carried  out between
                between the    the parties
                                     parties was was previously
                                                        previously reviewed
                                                                        reviewed with with the
                                                                                             the file
                                                                                                   file of
                                                                                                         of Istanbul
                                                                                                            Istanbul ChiefChief Public
                                                                                                                                   Public Prosecutor's
                                                                                                                                              Prosecutor’s OfficeOffice numbered
                                                                                                                                                                           numbered
 2017/68314 investigation,
 2017/68314       investigation, and      and it    was reported
                                                 it was     reported that
                                                                        that nothing
                                                                             nothing was  was discovered
                                                                                                 discovered againstagainst thethe suspects,
                                                                                                                                    suspects,
            As aa result
            As      result of  of the
                                  the investigation
                                        investigation that     that was
                                                                     was conducted,
                                                                           conducted, it    it was
                                                                                               was understood
                                                                                                      understood from   from thethe scope
                                                                                                                                      scope of  of the
                                                                                                                                                    the entire     file that
                                                                                                                                                         entire file     that there
                                                                                                                                                                              there is  is
aa commercial        relationship between
   commercial relationship               between the    the complainant
                                                              complainant Yalcm
                                                                              Yalçın AYASLI
                                                                                          AYASLI and     and thethe suspect
                                                                                                                     suspect Sezgin
                                                                                                                                 Sezgin Baran
                                                                                                                                            Baran KORKMAZ
                                                                                                                                                      KORKMAZ who         who is is also
                                                                                                                                                                                     also
 the owner
the  owner of  of SBK        Holding, that
                    SBK Holding,             that the
                                                    the parties
                                                          parties hadhad aa previous
                                                                            previous hostility
                                                                                           hostility duedue to to the
                                                                                                                   the transfer
                                                                                                                        transfer of  of the
                                                                                                                                         the company's
                                                                                                                                               company’s shares,shares, thethe public
                                                                                                                                                                                 public
 action in
action   in this
              this regard
                    regard is   is still
                                    still pending
                                           pending aa decision,
                                                             decision, thethe claims
                                                                              claims that that the
                                                                                                the complainant
                                                                                                      complainant carried carried out out anan unlawful
                                                                                                                                                 unlawful transaction
                                                                                                                                                               transaction during
                                                                                                                                                                                during
 and after
and   after the
              the transfer
                   transfer of   of the
                                     the company
                                           company constituted
                                                           constituted aa legal       dispute arising
                                                                             legal dispute       arising fromfrom purchase
                                                                                                                     purchase and  and sale
                                                                                                                                          sale between
                                                                                                                                                 between the  the parties,
                                                                                                                                                                    parties, and
                                                                                                                                                                               and thethe
 claims in
 claims       the question
         in the    question in    in fact
                                      fact constituted
                                             constituted aa defense
                                                                  defense for    the public
                                                                            for the    public action
                                                                                                 action that
                                                                                                           that isis still pending before
                                                                                                                     still pending       before Istanbul
                                                                                                                                                   Istanbul 2nd 2nd High
                                                                                                                                                                     High Criminal
                                                                                                                                                                             Criminal
 Court against
Court    against the  the complainant
                            complainant Yalcrn    Yalçın AYASLI,
                                                               AYASLI, that that there
                                                                                   there is     no substantial
                                                                                            is no    substantial evidence
                                                                                                                       evidence which which showsshows that
                                                                                                                                                          that thethe suspects
                                                                                                                                                                        suspects are  are
 affiliated in
affiliated    in aa way
                    way thatthat they
                                   they could
                                           could havehave established
                                                              established aa criminal
                                                                               criminal organization
                                                                                             organization and    and acted
                                                                                                                       acted in     unity as
                                                                                                                                in unity     as claimed
                                                                                                                                                claimed by   by the
                                                                                                                                                                 the complainant,
                                                                                                                                                                       complainant,
 other offenses
 other  offenses that  that were
                              were claimed
                                       claimed by     by the
                                                          the complainant
                                                                complainant to    to have
                                                                                       have been
                                                                                               been committed
                                                                                                       committed by     by the
                                                                                                                             the suspects
                                                                                                                                   suspects are  are abstract
                                                                                                                                                      abstract claims,
                                                                                                                                                                   claims, that
                                                                                                                                                                              that thethe
 claims were
 claims  were brought
                  brought forward
                                forward due   due to to the
                                                         the hostility
                                                              hostility and
                                                                          and legal
                                                                               legal dispute        between the
                                                                                        dispute between          the parties,
                                                                                                                      parties, there
                                                                                                                                  there is    no substantial
                                                                                                                                           is no   substantial evidence
                                                                                                                                                                   evidence whichwhich
 shows that
 shows    that the
                 the alleged
                        alleged offenses
                                     offenses have  have been been committed
                                                                     committed and    and inin fact,
                                                                                                fact, aa lawsuit
                                                                                                           lawsuit can  can bebe filed
                                                                                                                                   filed by by the
                                                                                                                                                 the complainant
                                                                                                                                                       complainant before  before the the
 authorized and
authorized      and competent
                        competent legal           courts due
                                         legal courts         due to
                                                                   to the
                                                                      the legal
                                                                           legal dispute       that arose
                                                                                    dispute that      arose from
                                                                                                               from thethe share
                                                                                                                            share transfer;
                                                                                                                                      transfer;
            It was decreed
            It was     decreed that that THERE
                                            THERE IS        IS NO
                                                                NO NEED
                                                                      NEED FOR  FOR THE   THE INDIVIDUAL
                                                                                                   INDIVIDUAL PROSECUTION   PROSECUTION of              of the
                                                                                                                                                            the suspects
                                                                                                                                                                   suspects for       the
                                                                                                                                                                                for the
 alleged offenses,
alleged    offenses,
            A copy
            A  copy of   of the
                             the ruling
                                   ruling willwill be be delivered
                                                          delivered to   to the
                                                                            the complainant’s
                                                                                  complainant's attorney, attorney,
            that an
            that  an objection
                        objection can  can be  be raised
                                                   raised against
                                                              against the
                                                                        the decision
                                                                             decision before
                                                                                           before On-Duty
                                                                                                     On-Duty Istanbul            Criminal Court
                                                                                                                    Istanbul Criminal          Court of of Peace
                                                                                                                                                            Peace via  via our
                                                                                                                                                                            our Chief
                                                                                                                                                                                  Chief
 Public Prosecutor's
Public    Prosecutor’s Office   Office within
                                           within 15   15 days
                                                             days asas of
                                                                       of the
                                                                           the date     that the
                                                                                date that      the decision
                                                                                                     decision was  was notified
                                                                                                                          notified in  in accordance
                                                                                                                                           accordance with  with Articles
                                                                                                                                                                     Articles 172 172 —  –
 173 of
 173  of the
         the Code
                Code of  of Criminal
                              Criminal Procedure.
                                              Procedure. 07/09/2018
                                                                07/09/2018

                                                                                                                           Muhammet AKCAER
                                                                                                                           Muhammet    AKCAER 120910
                                                                                                                                                 120910
                                                                                                                                   Public Prosecutor
                                                                                                                                   Public Prosecutor
                                                                                                                           signed with
                                                                                                                           signed      an e-signature
                                                                                                                                  with an e-signature




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code DlnQCHx —  – CO+Cy6T
                  CO+Cy6T —1p0Vbp9
                            – lp0Vbp9 — – AF5B8Y=.
                                          AF5B8Y=.
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Hergüner Bilgen
Hergiiner Bilgen Ozeke
                  Özeke                                                           Att. Piraye
                                                                                  Att. Piraye Kuranel
                                                                                              Kuranel Basol
                                                                                                      Başol                Att. Nazim
                                                                                                                           Att. Nazım O.  Kurt
                                                                                                                                      0. Kurt
Attorney Partnership
Attorney  Partnership         [bilingual text]
                              [bilingual text]                                    Att. Ayse
                                                                                  Att. Ayşe Hergiiner
                                                                                             Hergüner Bilgen
                                                                                                      Bilgen               Att. M.
                                                                                                                           Att. M. Mert
                                                                                                                                   Mert Oguzillgen
                                                                                                                                        Oğuzülgen
                                                                                  Att. İsmet
                                                                                  Att.       Bozoğlu
                                                                                       Ismet Bozoglu                       Att. Yesim
                                                                                                                           Att. Yeşim F.
                                                                                                                                      F. Api
                                                                                                                                         Api Şamlı
                                                                                                                                             Smith
Büyükdere Caddesi
Bilyiikdere Caddesi 199
                    199 Levent
                        Levent 34394
                               34394 Istanbul
                                     Istanbul TURKEY
                                              TURKEY                              Att. S.
                                                                                  Att.    Aslı Budak
                                                                                       S. Ash  Budak                       Att. Deniz
                                                                                                                           Att. Deniz Tuncel
                                                                                                                                      Tuncel
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T +9021231018     00 F
                     F +9021231018
                       +90 212 310 18 99
                                      99                                          Att. H.
                                                                                  Att. H. Tolga  Danışman
                                                                                          Tolga Danisman                   Att. Kayra
                                                                                                                           Att. Kayra Ucer
                                                                                                                                      Üçer
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E info@herguner.ay.tr WW www.herguner.ay.tr
                         www.herguner.av.tr                                       Att. Serkan
                                                                                  Att.         Gül
                                                                                       Serkan Gill                         Att. Ufuk
                                                                                                                           Att. Ufuk Yalcm
                                                                                                                                     Yalçın
                                                                                  Att. Umit
                                                                                  Att. Ümit Hergiiner
                                                                                             Hergüner                      Att. Bige
                                                                                                                           Att. Bige Yilcel
                                                                                                                                     Yücel
                                                                                  Att. Senem
                                                                                  Att. Senem İşmen
                                                                                               ismen

[handwritten:] 2017/175132
[handwritten:] 2017/175132
                                                                                                      November 24,
                                                                                                      November 24, 2017
                                                                                                                   2017

                                                   INCLUDES A
                                                   INCLUDES  A REQUEST
                                                               REQUEST FOR
                                                                       FOR CAPTURE,
                                                                           CAPTURE, ARREST,
                                                                                    ARREST, BAN
                                                                                            BAN ON
                                                                                                ON
                                                   LEAVING THE
                                                   LEAVING  THE COUNTRY,
                                                                COUNTRY, INJUNCTION,
                                                                         INJUNCTION, SEARCH
                                                                                     SEARCH AND
                                                                                             AND
                                                   SEIZURE.
                                                   SEIZURE.

FOR THE ATTENTION OF ISTANBUL CHIEF PUBLIC PROSECUTOR'S
                                           PROSECUTOR’S OFFICE,

COMPLAINANT
COMPLAINANT                    :         Yalçın Ayash
                                         Yakut  Ayaslı
                                                  75 Hawthorn Village
                                                  75 Hawthorn Village Road,
                                                                      Road, Nashua
                                                                            Nashua NH
                                                                                   NH 03062,
                                                                                      03062, USA
                                                                                             USA

ATTORNEYS
ATTORNEYS                                :         Att. Aye
                                                   Att. Ayşe Hergiiner
                                                             Hergüner Bilgen
                                                                          Bilgen —
                                                                                 – Att.
                                                                                   Att. Hamdi
                                                                                        Hamdi Tolga Danışman
                                                                                              Tolga Dammam
                                                   (Address
                                                   (Address is
                                                            is in
                                                               in the
                                                                  the letterhead.)
                                                                      letterhead.)

SUSPECTS                                 :      1- Sezgin
                                                1-          Baran Korkmaz
                                                   Sezgin Baran     Korkmaz (Republic
                                                                               (Republic of
                                                                                          of Turkey  Identity No.:
                                                                                             Turkey Identity  No.: 24194155124)
                                                                                                                   24194155124)
                                                2- Kamil
                                                2- Kamil Ekim
                                                           Ekim Alptekin
                                                                  Alptekin (Republic
                                                                             (Republic of
                                                                                        of Turkey  Identity No.:
                                                                                           Turkey Identity  No.: 42211033118)
                                                                                                                  42211033118)
                                                3- Levon
                                                3- Levon Termendzhyan
                                                            Termendzhyan (Lev(Lev Aslan
                                                                                   Aslan Dermen)
                                                                                          Dermen)
                                                4- Jacob
                                                4-         Ortell Kingston
                                                   Jacob Ortell   Kingston (Tax
                                                                             (Tax identification
                                                                                   identification number:
                                                                                                  number:
                                                5- Bugaraj
                                                5- Bugaraj Elektronik
                                                             Elektronik Ticaret
                                                                          Ticaret ye
                                                                                  ve Bilisim
                                                                                      Bilişim Hizmetleri
                                                                                               Hizmetleri A.S.'s
                                                                                                          A.Ş.’s authorized
                                                                                                                  authorized
                                                representatives
                                                representatives
                                                (all authorized
                                                (all  authorized representatives
                                                                  representatives determined
                                                                                    determined asas suspects
                                                                                                    suspects and
                                                                                                              and
                                                primarily, Cüneyt
                                .4_______------ primarily,   Ciineyt Özen   (Republic of
                                                                      Ozen (Republic   of Turkey  Identity No.:
                                                                                          Turkey Identity  No.: 10660831050))
                                                                                                                10660831050))
                                                6- Fatih Akol (Republic of  of Turkey Identity
                                                                                       Identity No.:
                                                                                                 No.: 16774198744)
                                                                                                      16774198744)
    [handwritten:] Because
    [handwritten:] Because he
                           he is an
                              is an             7-
                                                7- Tolga   Üzümcü (Republic
                                                   Tolga lazilmcil               of Turkey
                                                                      (Republic of          Identity No.:
                                                                                    Turkey Identity  No.: 32686260812)
                                                                                                          32686260812)
    attorney
    attorney                                    8- Kadir
                                                8- Kadir Peker
                                                           Peker (Republic
                                                                  (Republic ofof Turkey  Identity No.:
                                                                                 Turkey Identity  No.: 32732042126)
                                                                                                       32732042126)
                                                [10]- Kamil
                                                [10]-  Kamil Feridun
                                                              Feridun Ozkaraman
                                                                        Özkaraman (Republic      of Turkey
                                                                                      (Republic of          Identity No.:
                                                                                                    Turkey Identity  No.: 46846353986)
                                                                                                                          46846353986)
                                                11- Authorized
                                                11-  Authorized representatives
                                                                   representatives of  Bora Jet
                                                                                    of Bora      Havacılık Taşımacılık
                                                                                             Jet Havacilik               Uçak BO=
                                                                                                            Tasimacilik Ucak   Bakım
                                                Onarım ye
                                                Onarim    ve Ticaret   A.Ş.
                                                             Ticaret A.S.
                                                (all authorized
                                                (all  authorized representatives
                                                                  representatives determined
                                                                                    determined asas suspects
                                                                                                    suspects and
                                                                                                              and
                                                primarily Sezgin
                                                primarily   Sezgin Baran
                                                                     Baran Korkmaz,
                                                                            Korkmaz, Fatih
                                                                                       Fatih Akol,
                                                                                              Akol, Kamil
                                                                                                    Kamil Feridun
                                                                                                            Feridun Özkaraman    and Cüneyt
                                                                                                                     Ozkaraman and   Ciineyt Özen)
                                                                                                                                             Ozen)
                                                12- Authorized
                                                12-  Authorized representatives
                                                                   representatives of         Varlık Yonetim
                                                                                    of Mega Varhk     Yönetim Anonim Şirketi
                                                                                                                         Sirketi
                                                (all authorized
                                                (all  authorized representatives
                                                                  representatives determined
                                                                                    determined asas suspects
                                                                                                    suspects and
                                                                                                              and
                                                primarily Jacob
                                                primarily   Jacob Ortell   Kingston and
                                                                    Ortell Kingston  and Kamil
                                                                                           Kamil Ekim
                                                                                                  Ekim Alptekin)
                                                                                                        Alptekin)
                                                13- Authorized
                                                13-  Authorized representatives
                                                                   representatives of
                                                                                    of SBK   Holding A.5.
                                                                                       SBK Holding     A.Ş.
                                                (all authorized
                                                (all  authorized representatives
                                                                  representatives determined
                                                                                    determined asas suspects
                                                                                                    suspects and
                                                                                                              and
                                                primarily Sezgin
                                                primarily   Sezgin Baran
                                                                     Baran Korkmaz)
                                                                            Korkmaz)
                                                14- Other
                                                14-   Other individuals   who have
                                                            individuals who     have acted
                                                                                     acted as
                                                                                            as an
                                                                                               an accomplice
                                                                                                  accomplice that
                                                                                                               that will
                                                                                                                    will be
                                                                                                                         be determined within the
                                                                                                                            determined within the scope
                                                                                                                                                  scope of
                                                                                                                                                        of
                                                the investigation
                                                the  investigation

                                                                                                                …./…./201…
                                                                                                                ..../..../201...
                                                                                                                Mustafa KUCUKOGLU
                                                                                                                Mustafa    KUCUKOGLU
                                                                                                                Public Prosecutor
                                                                                                                Public    Prosecutor

[stamp:] REPUBLIC
[stamp:] REPUBLIC OF
                   OF TURKEY
                       TURKEY
                 ISTANBUL
                 ISTANBUL
          CHIEF PUBLIC
          CHIEF PUBLIC PROSECUTOR'S
                         PROSECUTOR’S OFFICE
                                      OFFICE
                 [illegible]


[illegible]
[illegible]         Turkish Penal Code
                    Turkish Penal      158 // 11 [illegible]
                                  Code 158       [illegible]           [signature]
                                                                       [signature]                    [signature]
                                                                                                      [signature]
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Hergüner Bilgen
Hergiiner Bilgen Ozeke
                 Özeke

OFFENSES
OFFENSES                        :         1- Establishing a criminal organization in order to commit crimes as per             Article 220
                                                                                                                          per Article  220 of
                                                                                                                                            of the
                                                                                                                                               the Turkish Penal
                                                                                                                                                   Turkish Penal
                                          Code due
                                          Code       to the
                                                due to  the following  offenses being
                                                            following offenses   being committed
                                                                                       committed within
                                                                                                   within the the scope
                                                                                                                  scope of
                                                                                                                        of the
                                                                                                                           the activities
                                                                                                                               activities of an organization
                                                                                                                                          of an organization
                                          2- Aggravated
                                          2- Aggravated Fraud
                                                          Fraud (Turkish
                                                                 (Turkish Penal
                                                                           Penal Code
                                                                                  Code Article  158 11stst paragraph,
                                                                                        Article 158        paragraph, sub-paragraphs
                                                                                                                      sub-paragraphs b-f-g-h)
                                                                                                                                        b-f-g-h)
                                          3- Perjury
                                          3- Perjury (Turkish
                                                     (Turkish Penal
                                                                Penal Code  Article 272)
                                                                      Code Article   272)
                                          4- Attempt
                                          4- Attempt to
                                                      to Influence
                                                         Influence Fair
                                                                   Fair Trial  (Turkish Penal
                                                                         Trial (Turkish  Penal Code   Article 288)
                                                                                               Code Article      288)
                                          5- Threat
                                          5-        (Turkish Penal
                                             Threat (Turkish  Penal Code
                                                                     Code Article
                                                                           Article 106)
                                                                                    106)

SUBJECT
SUBJECT                         :         With regards
                                          With  regards toto all
                                                             all Suspects
                                                                 Suspects named
                                                                           named above
                                                                                    above and
                                                                                           and other
                                                                                                other individuals
                                                                                                       individuals determined
                                                                                                                     determined toto have
                                                                                                                                      have taken
                                                                                                                                            taken part
                                                                                                                                                   part in
                                                                                                                                                        in committing
                                                                                                                                                           committing
                                          the crime
                                          the crime as
                                                     as aa result
                                                           result of
                                                                  of the
                                                                     the investigation   that will
                                                                         investigation that    will be
                                                                                                    be conducted
                                                                                                        conducted by by the
                                                                                                                        the Prosecutor’s    Office, the
                                                                                                                            Prosecutor's Office,     the subject
                                                                                                                                                         subject matter
                                                                                                                                                                 matter
                                          includes  the requests
                                          includes the  requests for   the adoption
                                                                   for the  adoption of
                                                                                      of aa decision  to (i)
                                                                                             decision to  (i) prepare
                                                                                                              prepare aa bill
                                                                                                                         bill of
                                                                                                                              of indictment    within the
                                                                                                                                 indictment within     the scope
                                                                                                                                                            scope of the
                                                                                                                                                                  of the
                                          actions that
                                          actions that will
                                                       will be
                                                             be explained
                                                                 explained inin further detail below
                                                                                further detail below and
                                                                                                       and file
                                                                                                            file aa public
                                                                                                                    public action, (ii) to
                                                                                                                           action, (ii) to issue  an arrest
                                                                                                                                           issue an  arrest warrant
                                                                                                                                                            warrant and
                                                                                                                                                                     and
                                          establish
                                          establish aa ban
                                                       ban preventing
                                                              preventing these
                                                                            these individuals
                                                                                   individuals from
                                                                                                 from leaving
                                                                                                        leaving thethe country,
                                                                                                                       country, (iii)
                                                                                                                                  (iii) to
                                                                                                                                        to implement
                                                                                                                                            implement the the necessary
                                                                                                                                                              necessary
                                          cautionary  judgements on
                                          cautionary judgements      on all
                                                                        all movable
                                                                             movable and
                                                                                      and immovable      properties and
                                                                                            immovable properties      and bank
                                                                                                                           bank accounts
                                                                                                                                 accounts as as required.
                                                                                                                                                required.


                                                     STATEMENTS
                                                     STATEMENTS
SUMMARY:

As explained
As            in detail
    explained in detail within
                        within the
                               the scope
                                   scope of
                                          of this
                                             this petition,
                                                  petition, pursuant
                                                            pursuant to
                                                                     to the
                                                                         the evidences
                                                                             evidences that
                                                                                        that we
                                                                                             we submitted
                                                                                                 submitted to
                                                                                                           to your
                                                                                                              your Honorable
                                                                                                                    Honorable Office   with regards
                                                                                                                               Office with            to the
                                                                                                                                             regards to  the
following matters that
following matters that have
                        have occurred during, much
                             occurred during,  much before
                                                     before and
                                                             and after the negotiation
                                                                 after the negotiation and
                                                                                        and execution
                                                                                            execution of the share
                                                                                                      of the share transfer
                                                                                                                   transfer contract
                                                                                                                            contract for the transfer
                                                                                                                                     for the transfer of
                                                                                                                                                      of the
                                                                                                                                                         the
companies  Bora Jet
companies Bora   Jet Havacilik
                     Havacılık Taşımacılık   Uçak Bakim
                                Twmacilik Ucak     Bakım Onarım
                                                            Onanm yeve Ticaret  A.Ş. ("Bora
                                                                        Ticaret A.S.  (“Bora Jet”),  Bora Jet
                                                                                              Jet"), Bora Jet Bahm
                                                                                                              Bakım yeve Onanm
                                                                                                                         Onarım Ticaret    A.Ş. ("Bora
                                                                                                                                  Ticaret A.S.  (“Bora Jet
                                                                                                                                                         Jet
Bakım [Maintenance]"),
Bakim   [Maintenance]”), and
                           and Aydm
                               Aydın Jet
                                      Jet Havacilik
                                          Havacılık A.S.
                                                     A.Ş. ("Aydin
                                                          (“Aydın Jet")
                                                                   Jet”) owned   by the
                                                                          owned by   the Client
                                                                                         Client Yalcm
                                                                                                Yalçın Ayash:
                                                                                                       Ayaslı:

-- Taking advantage of
   Taking advantage   of the
                         the convenience provided by
                             convenience provided      press and
                                                   by press  and media
                                                                 media organs,   he was
                                                                        organs, he  was deceived
                                                                                          deceived in
                                                                                                   in aa planned
                                                                                                         planned manner
                                                                                                                 manner by some of
                                                                                                                        by some of the suspects through
                                                                                                                                   the suspects through
 several actions
several  actions with
                 with constitute
                      constitute aggravated
                                 aggravated fraud
                                             fraud within
                                                   within the scope of
                                                          the scope of business activities,
                                                                       business activities,

-- Some
   Some of
        of the suspects were
           the suspects were engaged
                             engaged in perjury within
                                     in perjury within the scope of
                                                       the scope of the
                                                                    the baseless
                                                                        baseless investigations
                                                                                 investigations brought against the
                                                                                                brought against the Client
                                                                                                                    Client both due to
                                                                                                                           both due to coercion and with
                                                                                                                                       coercion and with
 their own initiatives,
 their own initiatives,

-- Creating
   Creating aa perception
               perception against
                          against the
                                  the Client
                                      Client in
                                              in the  press in
                                                 the press   in aa biased manner, Client’s
                                                                   biased manner,  Client's reputation   was damaged
                                                                                             reputation was   damaged and and itit was
                                                                                                                                   was ensured
                                                                                                                                       ensured that
                                                                                                                                               that others acted
                                                                                                                                                    others acted
 against the
against  the Client
             Client through
                    through threats and as
                            threats and as aa result
                                              result of
                                                     of this,
                                                        this, the
                                                              the offences of threat
                                                                  offences of        and attempting
                                                                              threat and attempting to  influence aa fair
                                                                                                     to influence     fair trial were committed,
                                                                                                                           trial were  committed,

 -- All
    All of
        of these actions were
           these actions were carried
                              carried out
                                      out against
                                          against the
                                                   the Client  and other
                                                       Client and  other persons
                                                                         persons apart
                                                                                 apart from
                                                                                        from the
                                                                                             the Client
                                                                                                 Client in  an organized
                                                                                                         in an           manner, this
                                                                                                               organized manner,       was also
                                                                                                                                  this was also realized
                                                                                                                                                realized by
                                                                                                                                                         by
the
the Capital   Market Board
     Capital Market   Board and
                             and the offense of
                                 the offense    establishing aa criminal
                                             of establishing    criminal organization with the
                                                                         organization with the intent
                                                                                               intent to commit aa crime
                                                                                                      to commit    crime might
                                                                                                                         might have
                                                                                                                               have been
                                                                                                                                    been committed   within
                                                                                                                                         committed within
this  scope,
this scope,

and the
and the evidences
        evidences that
                    that will
                         will be
                              be collected ex officio,
                                 collected ex          we hereby
                                              officio, we hereby request
                                                                 request aa public
                                                                            public action
                                                                                   action to
                                                                                          to be
                                                                                             be filed against those
                                                                                                filed against those determined to be
                                                                                                                    determined to be responsible
                                                                                                                                     responsible for
                                                                                                                                                 for the
                                                                                                                                                     the
offenses that
offenses that they
              they are
                   are charged  with and
                       charged with  and the
                                         the necessary
                                             necessary measures
                                                        measures to
                                                                 to be
                                                                    be implemented   against them.
                                                                       implemented against   them.


1. INFORMATION
1. INFORMATION ABOUT
               ABOUT OUR
                     OUR CLIENT
                         CLIENT YALCIN
                                YALÇIN AYASLI
                                       AYASLI

1. Our
1. Our Client
       Client Yalcm
              Yalçın Ayash
                     Ayaslı was
                            was born
                                born in Ankara, in
                                     in Ankara, in     .. He
                                                          He graduated  from Ankara
                                                              graduated from Ankara Atatiirk
                                                                                     Atatürk High
                                                                                              High School and then
                                                                                                   School and   then from the Electrical
                                                                                                                     from the Electrical Engineering
                                                                                                                                         Engineering
department at METU
department at METU [Middle
                     [Middle East
                             East Technical University]. In
                                  Technical University].  In 1973, he completed
                                                             1973, he completed his master’s and
                                                                                his master's and PhD
                                                                                                 PhD studies
                                                                                                     studies at
                                                                                                             at the
                                                                                                                 the Massachusetts
                                                                                                                     Massachusetts Institute
                                                                                                                                   Institute of
                                                                                                                                             of




2
2

[signature]
[signature]          [signature]
                     [signature]
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Hergüner Bilgen
Hergiiner Bilgen Ozeke
                 Özeke

Technology  (MIT) in
Technology (MIT)     Boston. Subsequent
                  in Boston.             to this,
                              Subsequent to this, Yalcin
                                                  Yalçın Ayasli
                                                         Ayaslı served
                                                                served as
                                                                       as aa faculty member and
                                                                             faculty member and vice
                                                                                                vice head
                                                                                                     head of
                                                                                                          of the
                                                                                                             the department
                                                                                                                 department at
                                                                                                                            at METU
                                                                                                                               METU Electrical
                                                                                                                                    Electrical
            Department for
Engineering Department     six years.
                       for six years.

2. As
2. As of
       of 1979,
          1979, hehe conducted     theoretical and
                      conducted theoretical    and experimental
                                                   experimental studies
                                                                  studies on
                                                                          on microwave
                                                                              microwave monolithic
                                                                                           monolithic integrated     circuit techniques,
                                                                                                         integrated circuit  techniques, GaAs
                                                                                                                                          GaAs field  effect transistor
                                                                                                                                                field effect transistor
and relevant
and  relevant devices    within the
               devices within    the research
                                      research department
                                               department of  the company
                                                           of the  company called
                                                                              called Raytheon    that is
                                                                                     Raytheon that    is situated
                                                                                                         situated in the state
                                                                                                                  in the state of Massachusetts in
                                                                                                                               of Massachusetts      USA. Dr.
                                                                                                                                                  in USA.   Dr. Ayasli
                                                                                                                                                                 Ayaslı
has 15
has 15 patents
        patents related
                 related to
                          to his
                             his studies
                                 studies and
                                          and he has published
                                              he has published several
                                                               several technical
                                                                        technical articles.
                                                                                   articles. In
                                                                                             In 1986,
                                                                                                1986, he
                                                                                                       he was
                                                                                                           was awarded
                                                                                                               awarded with
                                                                                                                         with the
                                                                                                                               the Microwave
                                                                                                                                   Microwave Award
                                                                                                                                               Award ofof the
                                                                                                                                                          the Institute
                                                                                                                                                               Institute
of the
of the Electrical
       Electrical and
                    and Electronic
                        Electronic Engineers    (“IEEE”) for
                                     Engineers ("IEEE")   for his studies within
                                                              his studies within the
                                                                                  the field
                                                                                      field of  “High broadband-monolithic
                                                                                            of "High   broadband-monolithic distributed      wave amplifier".
                                                                                                                                 distributed wave  amplifier”. He
                                                                                                                                                                He also
                                                                                                                                                                    also
holds the
holds  the title
           title of  “Fellow” at
                 of "Fellow"   at the
                                  the aforementioned   international institute
                                       aforementioned international             which is
                                                                      institute which  is awarded
                                                                                          awarded toto those
                                                                                                        those members
                                                                                                              members regarded
                                                                                                                         regarded asas exceptionally
                                                                                                                                       exceptionally successful.
                                                                                                                                                     successful.

3. On
3. On the
      the other
          other hand,  Client established
                 hand, Client             his own
                              established his own company    named Hittite
                                                  company named     Hittite Microwave
                                                                            Microwave Corp.
                                                                                       Corp. in  Chelmsford, MA
                                                                                              in Chelmsford,  MA in  1985. The
                                                                                                                  in 1985.   The company   was registered
                                                                                                                                 company was    registered
at NASDAQ
at NASDAQ stock
              stock exchange  on January
                    exchange on   January 15,
                                          15, 1985.
                                              1985. Company    manufactures RFIC
                                                    Company manufactures          mixed signal,
                                                                             RFIC mixed   signal, microwave
                                                                                                  microwave and
                                                                                                             and millimeter
                                                                                                                 millimeter wave
                                                                                                                             wave integrated
                                                                                                                                   integrated circuit parts
                                                                                                                                              circuit parts
and auxiliary
and auxiliary systems
               systems for the telecommunication
                       for the telecommunication markets
                                                   markets worldwide.
                                                             worldwide. The
                                                                         The company   that went
                                                                             company that   went public
                                                                                                  public in 2005 and
                                                                                                         in 2005 and that
                                                                                                                     that is
                                                                                                                          is registered at NASDAQ
                                                                                                                             registered at NASDAQ was  was
purchased by
purchased  by Analogue
               Analogue Devices
                         Devices (AND)
                                   (AND) in
                                          in 2014
                                             2014 for the price
                                                  for the price of USD 2,500,000,000.
                                                                of USD  2,500,000,000.

4. The
4.      Client who
   The Client  who was
                    was retired
                         retired in  2005 transferred
                                 in 2005  transferred his
                                                      his shares
                                                          shares at
                                                                 at Hittite
                                                                    Hittite Microwave
                                                                            Microwave thatthat are
                                                                                               are worth
                                                                                                   worth USD
                                                                                                          USD 60,000,000
                                                                                                               60,000,000 to
                                                                                                                           to the
                                                                                                                              the Turkish Coalition of
                                                                                                                                  Turkish Coalition of America
                                                                                                                                                       America
that he
that he established
        established in  2007 and
                     in 2007   and to
                                    to Turkish
                                       Turkish Cultural
                                               Cultural Foundation
                                                         Foundation that
                                                                      that he
                                                                            he established
                                                                               established in   2000 for
                                                                                             in 2000      the promotion
                                                                                                      for the promotion of
                                                                                                                        of the
                                                                                                                            the Turkish culture and
                                                                                                                                Turkish culture and within
                                                                                                                                                     within this
                                                                                                                                                            this
scope, he
scope,  he aimed
           aimed toto promote
                      promote thethe Turkish    culture to
                                       Turkish culture   to the
                                                            the entire   world and
                                                                 entire world    and toto ensure   that Turkish-Americans
                                                                                          ensure that   Turkish-Americans wouldwould have
                                                                                                                                      have aa voice
                                                                                                                                              voice within
                                                                                                                                                    within the
                                                                                                                                                            the
political realm
political        in the
          realm in  the United
                        United States
                                 States of  America through
                                         of America   through these
                                                               these non-profit
                                                                     non-profit institutions   that had
                                                                                  institutions that     offices in
                                                                                                    had offices in Boston,
                                                                                                                   Boston, Washington
                                                                                                                           Washington DCDC and
                                                                                                                                            and Istanbul.
                                                                                                                                                Istanbul.

5. On
5. On the
      the other
          other hand,
                hand, he  also took
                       he also took aa stance
                                       stance against
                                               against the
                                                        the Armenian
                                                            Armenian genocide
                                                                       genocide claims  which is
                                                                                 claims which  is one  of the
                                                                                                  one of  the most  challenging subjects
                                                                                                              most challenging      subjects that
                                                                                                                                             that Turkey
                                                                                                                                                   Turkey isis
faced with in
faced with in the
              the international
                  international arena
                                 arena in
                                        in particular
                                            particular and
                                                        and within
                                                             within this
                                                                    this framework,
                                                                         framework, he
                                                                                     he carried  out important
                                                                                        carried out   important activities
                                                                                                                   activities of
                                                                                                                              of aa legal
                                                                                                                                    legal nature  in various
                                                                                                                                          nature in  various
parts of
parts    the world
      of the world through
                    through the
                             the foundation
                                  foundation named
                                               named Turkish     American Legal
                                                        Turkish American     Legal Defense
                                                                                   Defense Fund
                                                                                            Fund that
                                                                                                   that he  established in
                                                                                                         he established    in 2009
                                                                                                                              2009 asas an
                                                                                                                                        an extension  of the
                                                                                                                                           extension of   the
Turkish
Turkish Coalition
         Coalition of America against
                   of America   against the
                                         the activities
                                             activities of
                                                        of the
                                                           the Armenian
                                                               Armenian lobby.
                                                                          lobby. The significance of
                                                                                 The significance  of this
                                                                                                      this point and its
                                                                                                           point and  its link
                                                                                                                          link with
                                                                                                                               with the
                                                                                                                                      the aggravated
                                                                                                                                          aggravated fraud
                                                                                                                                                       fraud
case submitted before
case submitted  before your
                       your Office   are explained
                             Office are   explained in
                                                     in detail
                                                        detail within
                                                               within paragraph
                                                                      paragraph numbered
                                                                                  numbered 3939 of
                                                                                                 of our  petition.
                                                                                                    our petition.

6. He
6. He donated
      donated Ayasli
              Ayaslı Research
                     Research Center
                              Center to
                                     to the
                                        the department of Electrical
                                            department of Electrical Engineering at METU
                                                                     Engineering at METU where
                                                                                           where he
                                                                                                  he graduated
                                                                                                      graduated from
                                                                                                                from in 2012 and
                                                                                                                     in 2012 and he
                                                                                                                                 he also
                                                                                                                                    also founded the
                                                                                                                                         founded the
Culinary Arts
Culinary Arts Center and Natural
              Center and Natural Dye
                                 Dye Research
                                       Research and
                                                 and Development
                                                     Development Laboratories
                                                                    Laboratories in Istanbul. Our
                                                                                 in Istanbul. Our client
                                                                                                   client is
                                                                                                          is also
                                                                                                             also a
                                                                                                                  a member
                                                                                                                    member of   the Global
                                                                                                                             of the Global Turkish
                                                                                                                                            Turkish
Business Council
Business Council High
                 High Advisory
                       Advisory Board.
                                 Board.

7.
7. Our
   Our client  made investments
        client made   investments to
                                   to promote
                                      promote the
                                                the Turkish
                                                     Turkish culture and he
                                                             culture and he has
                                                                            has made
                                                                                 made and
                                                                                        and still
                                                                                            still makes
                                                                                                  makes significant
                                                                                                         significant contributions
                                                                                                                     contributions to
                                                                                                                                   to Turkey
                                                                                                                                      Turkey as
                                                                                                                                             as aa respected
                                                                                                                                                   respected
individual. Our Client
individual. Our  Client who
                         who is
                             is dual  citizen of
                                dual citizen  of both
                                                 both Turkey   and the
                                                      Turkey and   the United
                                                                       United States  of America
                                                                               States of America relied  on bilateral
                                                                                                  relied on bilateral agreements
                                                                                                                       agreements between
                                                                                                                                  between USA
                                                                                                                                          USA and
                                                                                                                                                and Turkey
                                                                                                                                                     Turkey
that guaranteed
that guaranteed the
                 the investments  of the
                     investments of  the investors  and he
                                          investors and he has
                                                           has invested more than
                                                               invested more  than USD
                                                                                   USD 400
                                                                                         400 million
                                                                                             million in
                                                                                                      in Turkey  until now.
                                                                                                         Turkey until  now. [APPENDIX
                                                                                                                            [APPENDIX 1— 1 – News
                                                                                                                                             News Articles
                                                                                                                                                    Articles
Published in
Published   in the
               the Press
                   Press About
                          About the
                                 the Client
                                      Client and
                                              and His
                                                   His Investments]
                                                       Investments]




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[signature]
[signature]           [signature]
                      [signature]
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Hergüner Bilgen
Hergiiner Bilgen Ozeke
                 Özeke

II.         MATERIAL FACTS
            MATERIAL FACTS AND
                           AND ACTIONS
                               ACTIONS SUBJECT
                                       SUBJECT TO
                                               TO THE COMPLAINT:
                                                  THE COMPLAINT:

A- MATERIAL
A- MATERIAL FACTS
            FACTS REGARDING
                  REGARDING THE OFFENSE OF
                            THE OFFENSE    AGGRAVATED FRAUD
                                        OF AGGRAVATED FRAUD

8. Within
8. Within thethe scope
                 scope of   the investments
                        of the                made by
                                investments made      by our
                                                          our Client
                                                              Client in
                                                                      in Turkey   and in
                                                                         Turkey and     in connection
                                                                                           connection with
                                                                                                        with the
                                                                                                             the activities
                                                                                                                  activities carried  out to
                                                                                                                             carried out  to promote
                                                                                                                                             promote the
                                                                                                                                                       the Turkish
                                                                                                                                                           Turkish culture
                                                                                                                                                                      culture
within the
within  the international
              international arena
                             arena as  of 2007,
                                   as of  2007, our
                                                 our Client   purchased the
                                                       Client purchased    the company     named Ovaair
                                                                               company named        Ovaair Ucak
                                                                                                            Uçak Bahm
                                                                                                                  Bakım Onarim
                                                                                                                           Onarım yeve Havacilik
                                                                                                                                        Havacılık Ticaret   Ltd. Şti.
                                                                                                                                                    Ticaret Ltd.       which
                                                                                                                                                                  Sti. which
can go to
can go   to relatively
             relatively less  known spots
                        less known    spots across
                                            across Turkey     and which
                                                      Turkey and   which holds
                                                                            holds aa license  to carry
                                                                                     license to   carry our short distance
                                                                                                        our short  distance flights  considering the
                                                                                                                             flights considering   the ability
                                                                                                                                                       ability to
                                                                                                                                                               to introduce
                                                                                                                                                                   introduce
Turkey
Turkey to to those
             those guests
                    guests who
                            who come    from abroad,
                                 come from     abroad, to
                                                        to organize
                                                           organize promotional
                                                                      promotional trips
                                                                                     trips for the US
                                                                                           for the  US Congress
                                                                                                        Congress members
                                                                                                                   members that
                                                                                                                              that he
                                                                                                                                   he brought
                                                                                                                                       brought to
                                                                                                                                                to Turkey  and to
                                                                                                                                                   Turkey and   to organize
                                                                                                                                                                    organize
short distance
short distance flights
                  flights including  air taxi.
                          including air  taxi. As
                                                As aa result
                                                      result of
                                                             of the
                                                                the tradename
                                                                    tradename change
                                                                                 change andand transactions
                                                                                                transactions related
                                                                                                              related to
                                                                                                                       to changing
                                                                                                                          changing the
                                                                                                                                     the company
                                                                                                                                         company type
                                                                                                                                                    type that
                                                                                                                                                         that were
                                                                                                                                                               were carried
                                                                                                                                                                      carried
out after
out after the
           the purchase
                purchase was
                          was complete,    company was
                               complete, company       was given
                                                            given its current tradename
                                                                  its current  tradename which
                                                                                            which is   Bora Jet.
                                                                                                    is Bora Jet. As
                                                                                                                 As Bora
                                                                                                                     Bora Jet
                                                                                                                           Jet was
                                                                                                                               was restructured
                                                                                                                                    restructured in
                                                                                                                                                  in 2014,
                                                                                                                                                     2014, Bora
                                                                                                                                                           Bora Jet
                                                                                                                                                                  Jet Bakim
                                                                                                                                                                      Bakım
ve Onarim
ye Onarım Ticaret      A.Ş. ("Bora
               Ticaret A.S.  (“Bora Jet
                                     Jet Bakim")
                                          Bakım”) was was established
                                                           established through
                                                                         through aa partial
                                                                                     partial demerger.
                                                                                             demerger. Our
                                                                                                         Our Client
                                                                                                               Client also
                                                                                                                       also founded   Aydın Jet
                                                                                                                            founded Aydin     Jet Havacilik
                                                                                                                                                  Havacılık A.S.
                                                                                                                                                             A.Ş. ("Aydin
                                                                                                                                                                    (“Aydın
Jet”) in
Jet") in 2015.
           2015.

9. Bora
9. Bora Jet
         Jet adopted
             adopted aa policy
                         policy ofof expansion
                                     expansion as
                                                as the
                                                   the only
                                                       only regional  airline company
                                                            regional airline             operating in
                                                                              company operating      in Turkey.  Within this
                                                                                                        Turkey. Within   this scope,
                                                                                                                              scope, the
                                                                                                                                      the operations
                                                                                                                                           operations planned
                                                                                                                                                       planned to
                                                                                                                                                               to be
                                                                                                                                                                  be
carried  out at
carried out  at the
                the third
                     third airport
                           airport were
                                     were also
                                           also considered
                                                considered and   preliminary contracts
                                                            and preliminary               were signed
                                                                                contracts were   signed with
                                                                                                         with various   aircraft companies
                                                                                                               various aircraft  companies such
                                                                                                                                              such as
                                                                                                                                                    as Embraer
                                                                                                                                                       Embraer and
                                                                                                                                                                 and
Bombardier with
Bombardier    with regards
                    regards to
                            to the
                                the purchase
                                     purchase of  new airplanes.
                                               of new airplanes. Within
                                                                 Within the
                                                                         the framework
                                                                             framework of of its
                                                                                             its agreement
                                                                                                 agreement with
                                                                                                             with Turkish   Airlines, joint
                                                                                                                  Turkish Airlines,   joint flights
                                                                                                                                            flights had been carried
                                                                                                                                                    had been carried
out. With
out. With aa presentation
              presentation prepared
                             prepared by by the
                                            the company
                                                 company named
                                                           named Ata
                                                                   Ata Yatinm
                                                                        Yatırım Menkul
                                                                                  Menkul Kiymetler
                                                                                           Kıymetler A.S.
                                                                                                        A.Ş. ("Ata
                                                                                                              (“Ata Invest")
                                                                                                                      Invest”) which
                                                                                                                                which isis an
                                                                                                                                           an investment   company
                                                                                                                                               investment company
authorized in
authorized      April 2016
            in April   2016 to
                             to find
                                 find financing  that would
                                      financing that  would further
                                                             further develop   the companies
                                                                     develop the   companies including     the future
                                                                                                including the  future projections
                                                                                                                       projections for
                                                                                                                                   for June
                                                                                                                                        June 2016,
                                                                                                                                              2016, Borajet's
                                                                                                                                                     Borajet’s value
                                                                                                                                                               value
was determined
was  determined toto increase  to USD
                     increase to   USD 358,000,000
                                         358,000,000 in  accordance with
                                                      in accordance  with the
                                                                           the method
                                                                               method ofof multiplier
                                                                                           multiplier analysis
                                                                                                       analysis for similar companies
                                                                                                                for similar companies andand to
                                                                                                                                             to USD
                                                                                                                                                USD 1,770,000,000
                                                                                                                                                      1,770,000,000
as per
as per the
       the reduced
           reduced cash
                     cash flow    analysis method.
                          flow analysis    method. [APPENDIX
                                                    [APPENDIX 22 —   – Exclusive   Consultancy Agreement
                                                                       Exclusive Consultancy       Agreement and and Presentation
                                                                                                                      Presentation Regarding
                                                                                                                                     Regarding Valuation]
                                                                                                                                                  Valuation]

10. As
10. As ofof April
            April 2016,
                  2016, certain news articles
                        certain news  articles started
                                               started to
                                                       to be
                                                          be published
                                                             published in the press
                                                                       in the press that
                                                                                    that implied
                                                                                         implied aa connection
                                                                                                    connection between
                                                                                                               between Borajet
                                                                                                                       Borajet and
                                                                                                                               and FETO.
                                                                                                                                    FETO. Some
                                                                                                                                           Some of  these
                                                                                                                                                 of these
articles are
articles are submitted
             submitted for the consideration
                       for the               of your
                               consideration of your Honorable
                                                     Honorable Prosecution
                                                                Prosecution Office
                                                                             Office as
                                                                                    as an example.11 [APPENDIX
                                                                                       an example.   [APPENDIX 3- 3- Baseless
                                                                                                                     Baseless Articles
                                                                                                                              Articles Published
                                                                                                                                       Published Against
                                                                                                                                                 Against
the Client]
the  Client]

11. Subsequent
11. Subsequent toto the
                    the treacherous
                        treacherous attempt
                                     attempt for
                                              for the
                                                  the coup
                                                      coup d’etat   that took
                                                            d'etat that  took place
                                                                               place on
                                                                                      on July
                                                                                         July 15,
                                                                                                15, 2016,
                                                                                                    2016, aa much
                                                                                                             much more
                                                                                                                    more serious
                                                                                                                           serious smear
                                                                                                                                   smear campaign
                                                                                                                                           campaign waswas started
                                                                                                                                                            started against
                                                                                                                                                                    against
the Client
the Client where
            where he
                   he was
                      was directly  targeted, and
                           directly targeted, and this
                                                   this campaign
                                                        campaign was was in
                                                                          in the
                                                                             the form
                                                                                 form ofof aa serious
                                                                                              serious accusation
                                                                                                      accusation operation.
                                                                                                                    operation. In
                                                                                                                                In fact,
                                                                                                                                   fact, starting
                                                                                                                                         starting as
                                                                                                                                                  as of
                                                                                                                                                      of August
                                                                                                                                                         August 2016
                                                                                                                                                                  2016 and
                                                                                                                                                                       and
until January
until January 2017,
               2017, numerous
                      numerous baseless
                                  baseless and
                                           and untrue
                                                untrue news
                                                        news articles
                                                               articles were
                                                                         were published
                                                                               published against
                                                                                             against the
                                                                                                     the Client
                                                                                                         Client inin aa systematic
                                                                                                                        systematic manner
                                                                                                                                    manner within
                                                                                                                                             within leading    newspapers
                                                                                                                                                      leading newspapers
such as
such  as Sabah,
         Sabah, Takvim,
                 Takvim, Sözcü    and other
                           Sozcii and        news websites
                                       other news   websites in
                                                              in order   to create
                                                                  order to  create aa negative
                                                                                      negative perception
                                                                                                 perception within
                                                                                                              within the
                                                                                                                       the scope
                                                                                                                           scope of
                                                                                                                                  of the
                                                                                                                                     the developments
                                                                                                                                         developments thatthat occurred
                                                                                                                                                               occurred in
                                                                                                                                                                         in
the country.22 These
the country.          news articles
               These news   articles published
                                     published after
                                                after July
                                                      July 15 th are
                                                           15th  are submitted
                                                                     submitted forfor the
                                                                                      the consideration
                                                                                          consideration of    your Honorable
                                                                                                           of your   Honorable Prosecution
                                                                                                                                 Prosecution Office
                                                                                                                                                Office in  the attachment.
                                                                                                                                                        in the attachment.
[APPENDIX 4-
[APPENDIX       4- Baseless
                   Baseless News
                             News Articles
                                    Articles Published
                                              Published with
                                                          with regards
                                                                 regards to to the
                                                                               the Client]
                                                                                    Client] ItIt was
                                                                                                 was learned
                                                                                                     learned at
                                                                                                              at aa later date that
                                                                                                                    later date that these
                                                                                                                                    these news    articles were
                                                                                                                                           news articles   were published
                                                                                                                                                                 published
with the
with  the request
          request of
                  of Kamil
                     Kamil Ekim
                             Ekim Alptekin
                                   Alptekin and/or
                                             and/or other
                                                      other Suspects.
                                                            Suspects.




11 http://www.habervaktim.com/baber/467094/paralar-cemaate-hinunet-olarak-aktarildi.html
   http://www.habervaktim.com/haber/467094/paralar-cemaate-himmet-olarak-aktarildi.html —– http://t24.com.tr/haber/§ikede-kumpas-dosyasindan-polis-operasyon-
                                                                                                     http://t24.com.tr/haber/şikede-kumpas-dosyasindan-polis-operasyon-
 yapti-cemaate-yakin-avukat-savundu-paralar-himmet-oldu.337491, http://www.karar.com/gundem-haberleri/sikenin-hinunetci-avukatlari-98067.
yapti-cemaate-yakin-avukat-savundu-paralar-hinunet-oldu.337491,          http://www.karar.com/gundem-haberleri/sikenin-himmetci-avukatlari-98067.
 http://www.haberkanal.net/m/mansetgoster-mob.nsp?haber_no=7929,
http://www.haberkanal.net/m/mansetgoster-mob.nsp?baber                      http://www.hurriyet.com.tr/avukat-ve-polislerin-himmet-agi-10093238
                                                                 no=7929, http://www.hurriyet.com.tr/avukat-ve-polislerin-himmet-agi-10093238
 2 Mahmut Övür FETO under every rock, August 21, 2016, http://www.sabah.com.tr/yazarlar/ovur/2016/08/21/feto-her-tasin-altında. Mahmut Övür, Who enabled
2 Mahmut     Oviir FETO under every rock, August 21, 2016, http://www.sabah.com.tr/yazarlar/ovur/2016/08/21/feto-her-tasin-altmda. Mahmut Oviir, Who enabled
 Ayaslı from
Ayasli   from US
              US toto meet
                      meet these
                            these names?   August 23,
                                  names? August    23, 2016,
                                                       2016, http://www.sabah.com.tr/yazarlar/ovur/2016/08/23/abdli-ayasliyla-bu-isimleri-kim-bulusturdu:
                                                             http://www.sabah.com.tr/yazarlar/ovur/2016/08/23/abdli-ayasliyla-bu-isimleri-kim-bulusturdu: Ergün            Diler,
                                                                                                                                                                    Ergiin Diler,
 Did Gillen
Did   Gülen Come?
             Come? September
                      September 02,   2016. http://www.takvim.com.tr/yazarlar/ergundiler/2016/09/02/gulen-geldi-mi:
                                  02, 2016. http://www.takvim.com.tr/yazarlar/ergundiler/2016/09/02/gulen-geldi-mi: Ersin  Ersin Ramoglu
                                                                                                                                  Ramoğlu (Giiney)
                                                                                                                                            (Güney) Did
                                                                                                                                                      Did Fethullah
                                                                                                                                                           Fethullah Gillen
                                                                                                                                                                      Gülen come
                                                                                                                                                                             come toto
 Istanbul? September
Istanbul?               04, 2016,
            September 04,   2016, http://www.sabah.com.tr/yazarlar/bolgeler/ramoglu2016/09/04/fethullah-gulen-istanbula-geldi-mi
                                   http://www.sabah.com.tr/yazarlar/bolgeler/ramoglu2016/09/04/fethullah-gulen-istanbula-geldi-mi Ergun    Ergun Diler,
                                                                                                                                                   Diler, Not
                                                                                                                                                          Not Akmci
                                                                                                                                                              Akıncı Base
                                                                                                                                                                       Base but
                                                                                                                                                                             but aa
 hangar1 Sepember
hangar'   Sepember 03,    2016. http://www.takvim.com.tr/yazarlar/ergundiler/2016/09/03/akinci-ussu-degil-hangar
                      03, 2016. http://www.takvim.com.tr/yazarlar/ergundiler/2016/09/03/akinci-ussu-degil-hangar Ergiin  Ergün Diler
                                                                                                                                 Diler Hangar
                                                                                                                                       Hangar air,
                                                                                                                                               air, September   07, 2016
                                                                                                                                                    September 07,   2016
 http://www.takvim.com.tr/yazarlar/ergundiler/2016/09/07/hangar-havasi Ergun
http://www.takvim.com.tr/yazarlar/ergundiler/2016/09/07/hangar-havasi          Ergun Diler,
                                                                                      Diler, Hangar's
                                                                                             Hangar’s door,
                                                                                                       door, September
                                                                                                             September 09,    2016
                                                                                                                         09, 2016
 http://www.takvim.com.tr/yazarlar/ergundiler/2016/09/09/hangarin-kapisi, Soner
http://www.takvim.com.tr/yazarlar/ergundiler/2016/09/09/hangarin-kapisi,               Yalçın. If
                                                                                 Soner Yalcm.   If only Mücahit Arslan
                                                                                                   only Miicahit Arslan would
                                                                                                                         would talk,
                                                                                                                                 talk, September   23, 2016.
                                                                                                                                       September 23,   2016.
 http://www.sozcu.com.tr/2016/yazarlar/soner-yalcin/mucahit-arslan-konussa-keske-1406234/: Ergun
http://www.sozcu.com.tr/2016/yazarlar/soner-yalcin/mucahit-arslan-konussa-keske-1406234/:             Ergun Diler,
                                                                                                             Diler, Here
                                                                                                                    Here is
                                                                                                                         is baylock'.
                                                                                                                            baylock1. October   06, 2016.
                                                                                                                                       October 06,   2016.
http://www.takvim.com.tr/ergundiler/2016/10/06/iste-baylock: Ergiin  Ergün Diler.
                                                                            Diler. Bay
                                                                                   Bay Lock
                                                                                       Lock story...
                                                                                             story… October
                                                                                                      October 25,
                                                                                                               25, 2016.
                                                                                                                   2016. http://www.takvim.com.tr/ergundiler/2016/10/25/bay-
                                                                                                                          http://www.takvim.com.tr/ergundiler/2016/10/25/bay-
 lock-story: Ergün Diler
 lock-story: Ergiin  Diler Hangar
                           Hangar brotherhood.
                                    brotherhood. October
                                                  October 27,
                                                          27, 2016.
                                                               2016. http://www.takvim.com.ttlergundiler/2016/10/27/hangar-kardesligi:
                                                                     http://www.takvim.com.tr/ergundiler/2016/10/27/hangar-kardesligi: Ergun  Ergun Diler.
                                                                                                                                                      Diler. Strange  relations!...
                                                                                                                                                             Strange relations!...
 November 18,
November     18, 2016.
                 2016. http://www.takvim.com.tr/ergundiler/2016/11/18/garip-iliskiler:
                        http://www.takvim.com.tr/ergundiler/2016/11/18/garip-iliskiler: Ergiin
                                                                                            Ergün Diler
                                                                                                    Diler You
                                                                                                          You Scratch  My Back
                                                                                                               Scratch My   Back and
                                                                                                                                  and II Will
                                                                                                                                         Will Scratch  Yours. December
                                                                                                                                              Scratch Yours.   December 31,31, 2016
                                                                                                                                                                               2016
 http://www.takvim.com.tr/ergundiler/2016/12/31/al-gulum-ver-gulum
http://www.takvim.     com.tr/ergundiler/2016/12/31/al-gulum-ver-gulum



                                                                                          4

                                                                              [signature]
                                                                              [signature]             #
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Hergüner Bilgen
Hergiiner Bilgen Ozeke
                 Özeke

12. Due
12. Due toto the
             the ongoing
                 ongoing perception
                           perception operation,
                                       operation, Borajet's
                                                   Borajet’s investments
                                                              investments that
                                                                             that were
                                                                                  were still
                                                                                       still being
                                                                                             being carried
                                                                                                    carried out  with Turkish
                                                                                                             out with           Airlines and
                                                                                                                       Turkish Airlines    and would
                                                                                                                                                would have
                                                                                                                                                        have been
                                                                                                                                                             been
developed   were cancelled
developed were   cancelled by
                            by Turkish  Airlines for
                               Turkish Airlines  for such
                                                     such baseless
                                                          baseless articles.
                                                                   articles. Moreover,
                                                                             Moreover, banks
                                                                                        banks were
                                                                                               were uncomfortable
                                                                                                      uncomfortable with
                                                                                                                      with these
                                                                                                                           these articles and they
                                                                                                                                 articles and  they were
                                                                                                                                                    were reluctant
                                                                                                                                                         reluctant
to give
to give out
        out loans. The client
            loans. The         had to
                        client had to transfer
                                      transfer resources
                                               resources to
                                                          to Borajet
                                                             Borajet from
                                                                     from his   own pocket
                                                                           his own   pocket and
                                                                                             and in
                                                                                                 in aa continuously
                                                                                                       continuously increasing
                                                                                                                     increasing manner
                                                                                                                                 manner in    order to
                                                                                                                                           in order to prevent
                                                                                                                                                       prevent the
                                                                                                                                                               the
losses that Borajet
losses that Borajet suffered
                    suffered from
                             from due   to these
                                   due to  these news
                                                 news articles
                                                       articles during
                                                                during the
                                                                       the same
                                                                           same period.
                                                                                  period.

13. The
13.     Client who
    The Client who could  no longer
                    could no        stand against
                             longer stand  against this
                                                   this smear
                                                        smear and
                                                               and perception
                                                                    perception campaign,
                                                                                campaign, decided
                                                                                          decided to
                                                                                                  to transfer
                                                                                                     transfer the
                                                                                                              the companies so that
                                                                                                                  companies so that his
                                                                                                                                    his employees and his
                                                                                                                                        employees and his
investment are not
investment are not damaged
                   damaged any
                             any further. Ata Invest
                                 further. Ata Invest started
                                                      started the
                                                              the studies
                                                                  studies in this regard.
                                                                          in this regard.

14. However,
14. However, Borajet's
               Borajet’s chairman    of the
                           chairman of   the board
                                             board of
                                                    of directors   at the
                                                        directors at  the time  and suspect
                                                                          time and  suspect Fatih
                                                                                            Fatih Akol
                                                                                                  Akol left  this contract
                                                                                                        left this contract with
                                                                                                                           with Ata
                                                                                                                                 Ata Invest
                                                                                                                                     Invest aside
                                                                                                                                            aside and
                                                                                                                                                    and even   though
                                                                                                                                                        even though
there were
there were different  companies and
            different companies    and individuals
                                        individuals interested
                                                     interested inin purchasing
                                                                     purchasing Borajet
                                                                                  Borajet during that period,
                                                                                          during that period, he
                                                                                                               he took
                                                                                                                   took advantage
                                                                                                                        advantage of  the Client
                                                                                                                                   of the Client being
                                                                                                                                                  being uninformed
                                                                                                                                                          uninformed
about this
about this subject
           subject matter
                    matter and
                            and he
                                he has  underlined the
                                    has underlined   the relations
                                                          relations of
                                                                     of SBK   Holding A.S.
                                                                        SBK Holding    A.Ş. ("SBK
                                                                                            (“SBK Holding
                                                                                                    Holding Turkey")
                                                                                                              Turkey”) which
                                                                                                                          which is
                                                                                                                                is one of the
                                                                                                                                   one of the suspects
                                                                                                                                               suspects herein,
                                                                                                                                                         herein, with
                                                                                                                                                                  with
the Ministry
the Ministry of
              of Transportation
                 Transportation inin particular
                                     particular and
                                                and indicated
                                                      indicated that
                                                                  that the
                                                                       the Ministry
                                                                            Ministry would
                                                                                     would have   preferred this
                                                                                            have preferred  this buyer
                                                                                                                  buyer before
                                                                                                                         before he
                                                                                                                                he stated
                                                                                                                                   stated that
                                                                                                                                          that they
                                                                                                                                                they were
                                                                                                                                                      were interested
                                                                                                                                                            interested
in Borajet and
in Borajet and started
                started to
                        to advise
                           advise the
                                   the Client
                                       Client for the transfer
                                              for the  transfer of
                                                                 of shares
                                                                    shares to
                                                                            to SBK  Holding Turkey.
                                                                               SBK Holding   Turkey. [APPENDIX
                                                                                                      [APPENDIX 5-     5- Fatih
                                                                                                                          Fatih Akol's
                                                                                                                                Akol’s E-mails
                                                                                                                                        E-mails to to the
                                                                                                                                                      the Client
                                                                                                                                                           Client For
                                                                                                                                                                  For
the Transfer
the Transfer toto SBK
                  SBK Holding
                        Holding Turkey]
                                   Turkey]

15. Subsequently,
15.                Fatih Akol
    Subsequently, Fatih  Akol carried
                              carried out
                                      out all
                                          all negotiations
                                              negotiations related
                                                           related to
                                                                    to the
                                                                       the contract, and aa Share
                                                                           contract, and     Share Transfer  and Profit-Sharing
                                                                                                    Transfer and Profit-Sharing Contract
                                                                                                                                Contract was
                                                                                                                                         was signed
                                                                                                                                             signed by
                                                                                                                                                     by and
                                                                                                                                                        and
between Bugaraj
between  Bugaraj Elektronik
                  Elektronik Ticaret ve Bil4im
                             Ticaret ve Bilişim Hizmetleri
                                                Hizmetleri A.S.
                                                             A.Ş. ("Bugaraj")
                                                                   (“Bugaraj”) which
                                                                                 which isis aa subsidiary
                                                                                               subsidiary of
                                                                                                          of SBK  Holding Turkey
                                                                                                             SBK Holding   Turkey and
                                                                                                                                   and our
                                                                                                                                       our Client through aa
                                                                                                                                           Client through
representative authorized
representative authorized by
                          by our
                             our Client
                                 Client in
                                        in order  to transfer
                                            order to transfer all
                                                              all shares
                                                                  shares of
                                                                          of Bora
                                                                             Bora Jet, Bora Jet
                                                                                  Jet, Bora    Jet Maintenance
                                                                                                   Maintenance and
                                                                                                                and Aydm
                                                                                                                    Aydın Jet
                                                                                                                           Jet to
                                                                                                                               to Bugaraj
                                                                                                                                  Bugaraj on
                                                                                                                                          on December
                                                                                                                                             December 29,
                                                                                                                                                        29,
2016. ("Share
2016. (“Share Transfer   Contract”) [APPENDIX
               Transfer Contract")    [APPENDIX 6-   6- Share
                                                        Share Transfer     Contract]
                                                               Transfer Contract]

16. Share
16. Share Transfer      Contract is
            Transfer Contract        not aa classic
                                  is not    classic share
                                                     share transfer
                                                            transfer contract.  Shares were
                                                                      contract. Shares  were transferred
                                                                                               transferred free    of charge
                                                                                                              free of charge and
                                                                                                                               and company’s      debts were
                                                                                                                                     company's debts     were allocated
                                                                                                                                                                allocated
between the
between   the parties.
               parties. Within
                          Within the
                                  the scope
                                      scope ofof the
                                                  the Share
                                                      Share Transfer   Contract, Client
                                                             Transfer Contract,   Client agreed
                                                                                         agreed to
                                                                                                 to pay
                                                                                                    pay the
                                                                                                         the bank
                                                                                                              bank loans
                                                                                                                   loans taken
                                                                                                                         taken out   by Borajet
                                                                                                                                 out by  Borajet and
                                                                                                                                                 and some
                                                                                                                                                     some of
                                                                                                                                                           of the
                                                                                                                                                              the leasing
                                                                                                                                                                   leasing
debts  that are
debts that  are owed
                owed by  by Borajet
                             Borajet and
                                     and the
                                           the transferee
                                               transferee Bugaraj
                                                           Bugaraj has    undertaken the
                                                                     has undertaken   the debts
                                                                                           debts owed
                                                                                                 owed toto the
                                                                                                            the market.
                                                                                                                market. Moreover,
                                                                                                                        Moreover, it  it was
                                                                                                                                         was agreed
                                                                                                                                             agreed that
                                                                                                                                                     that 25%
                                                                                                                                                          25% ofof the
                                                                                                                                                                   the net
                                                                                                                                                                        net
profit that
profit that will
             will be
                   be generated
                      generated if   Bugaraj transferred
                                  if Bugaraj   transferred the
                                                             the shares
                                                                  shares of
                                                                         of the
                                                                            the companies
                                                                                companies after
                                                                                            after it
                                                                                                  it has
                                                                                                     has taken
                                                                                                          taken these
                                                                                                                 these over
                                                                                                                       over to  3rd parties
                                                                                                                             to 3rd parties would
                                                                                                                                            would be
                                                                                                                                                   be paid
                                                                                                                                                       paid to
                                                                                                                                                            to the
                                                                                                                                                                the Client
                                                                                                                                                                     Client
within the
within  the scope
             scope ofof the
                        the Share
                            Share Transfer    Contract. However,
                                   Transfer Contract.    However, Bugaraj
                                                                      Bugaraj and
                                                                                and Sezgin
                                                                                     Sezgin Baran
                                                                                             Baran Korkmaz
                                                                                                     Korkmaz created
                                                                                                                  created aa false  perception during
                                                                                                                             false perception    during this
                                                                                                                                                         this process
                                                                                                                                                              process byby
ensuring    that the
ensuring that     the news    articles which
                        news articles  which indicated
                                                 indicated that
                                                              that Borajet
                                                                    Borajet was
                                                                              was sold
                                                                                  sold for
                                                                                        for USD
                                                                                            USD 260,000,000
                                                                                                   260,000,000 werewere published
                                                                                                                        published in  in a
                                                                                                                                         a systematic
                                                                                                                                           systematic manner.
                                                                                                                                                        manner. It  It was
                                                                                                                                                                       was
understood
understood at  at aa later
                     later date
                            date that
                                 that the
                                      the suspects
                                            suspects tried
                                                       tried to
                                                              to create
                                                                 create aa victim
                                                                           victim image
                                                                                  image for   the subsequent
                                                                                          for the subsequent attacks
                                                                                                                 attacks that
                                                                                                                          that they
                                                                                                                                they would
                                                                                                                                      would launch
                                                                                                                                             launch against
                                                                                                                                                      against the
                                                                                                                                                               the Client
                                                                                                                                                                    Client
with these
with  these news     articles. [APPENDIX
              news articles.   [APPENDIX 7      7— – Relevant
                                                     Relevant News
                                                                 News Articles]
                                                                        Articles]

17. Furthermore,
17. Furthermore, our
                 our Client
                     Client established
                            established aa lien
                                           lien on
                                                on the
                                                    the immovable   property located
                                                        immovable property   located in the city
                                                                                     in the  city of
                                                                                                  of Istanbul,
                                                                                                     Istanbul, district  of Fatih,
                                                                                                                district of Fatih, Molla
                                                                                                                                   Molla Feneri
                                                                                                                                          Feneri Mah.
                                                                                                                                                 Mah. Nuru
                                                                                                                                                      Nuru
Osmaniye Mevkii,
Osmaniye  Mevkii, Section 24, Block
                  Section 24, Block 294,
                                     294, Parcel
                                          Parcel 15
                                                 15 which
                                                     which belonged
                                                           belonged to
                                                                     to him
                                                                        him on
                                                                            on February
                                                                               February 01,  2017 in
                                                                                         01, 2017  in favor of Bugaraj
                                                                                                      favor of Bugaraj for   an amount
                                                                                                                         for an amount of
                                                                                                                                       of TRY
                                                                                                                                           TRY 220,000,000
                                                                                                                                               220,000,000
(equivalent to
(equivalent to USD
               USD 50,000,000)
                   50,000,000) as
                                as aa guarantee
                                      guarantee for
                                                 for his debts and
                                                     his debts and obligations
                                                                   obligations within
                                                                               within the
                                                                                      the framework
                                                                                          framework of  of the
                                                                                                           the Share
                                                                                                               Share Transfer    Contract. [APPENDIX
                                                                                                                      Transfer Contract.   [APPENDIX 8 8—–
Mortgage Deed]
Mortgage   Deed]

18. The
18.     trap that
    The trap that was
                  was set
                      set up
                          up by
                             by the
                                 the organization
                                      organization against
                                                    against our
                                                            our Client   was understood
                                                                Client was   understood after
                                                                                          after the
                                                                                                the Share
                                                                                                    Share Transfer   Contract was
                                                                                                           Transfer Contract  was signed.
                                                                                                                                  signed. Within
                                                                                                                                          Within the
                                                                                                                                                 the framework
                                                                                                                                                     framework
of the
of the Share Transfer Contract,
       Share Transfer Contract, it   was agreed
                                  it was agreed to
                                                 to give
                                                    give the
                                                         the Client
                                                             Client aa payment
                                                                       payment term
                                                                                 term of
                                                                                       of one
                                                                                          one year
                                                                                              year so
                                                                                                    so that
                                                                                                       that the
                                                                                                            the Client
                                                                                                                Client could pay off
                                                                                                                       could pay     the debts
                                                                                                                                 off the debts owed
                                                                                                                                               owed to
                                                                                                                                                    to the
                                                                                                                                                       the banks
                                                                                                                                                           banks
but Sezgin
but         Baran Korkmaz
    Sezgin Baran   Korkmaz who
                             who is is one
                                       one of the suspects
                                           of the suspects had
                                                           had met
                                                                met with
                                                                      with certain  banks such
                                                                           certain banks   such as
                                                                                                 as Akbank
                                                                                                    Akbank T.A.Ş.,   Denizbank T.A.S.,
                                                                                                             T.A.S., Denizbank   T.A.Ş., Türk  Ekonomi Bankasi
                                                                                                                                         Turk Ekonomi    Bankası
A.Ş., Odea
A.S.,  Odea Bank
             Bank A.S.,
                   A.Ş., Garanti
                         Garanti Bankasi
                                   Bankası A.S.
                                            A.Ş. where
                                                  where Borajet
                                                          Borajet had
                                                                  had taken
                                                                        taken out
                                                                              out aa loan
                                                                                     loan and
                                                                                           and our
                                                                                                our Client
                                                                                                    Client had
                                                                                                            had aa personal
                                                                                                                   personal guarantee
                                                                                                                            guarantee and
                                                                                                                                       and caused them to
                                                                                                                                           caused them   to issue
                                                                                                                                                            issue
account [break-off]
account  [break-off] warning
                     warning letters   without any
                              letters without   any reason.
                                                    reason.




                                                                                    55

                                                                   [signature]
                                                                   [signature]            [signature]
                                                                                          [signature]
                          Case 1:19-cv-00183-JL Document 20-5 Filed 09/04/19 Page 11 of 57

Hergüner Bilgen
Hergiiner Bilgen Ozeke
                 Özeke

19. Due
19. Due toto these
              these attempts
                      attempts made
                                 made by by Sezgin     Baran Korkmaz,
                                            Sezgin Baran       Korkmaz, Odea  Odea Bank
                                                                                     Bank A.S.
                                                                                             A.Ş. sent
                                                                                                   sent aa warning
                                                                                                           warning letter   to Borajet
                                                                                                                     letter to Borajet and
                                                                                                                                        and to
                                                                                                                                            to the
                                                                                                                                               the Client
                                                                                                                                                    Client in
                                                                                                                                                            in his
                                                                                                                                                                his capacity
                                                                                                                                                                     capacity asas the
                                                                                                                                                                                    the joint
                                                                                                                                                                                        joint
guarantor on
guarantor    on February
                 February 28, 28, 2017
                                   2017 and
                                          and requested
                                                requested thethe payment
                                                                  payment of   of all
                                                                                   all loans   which have/have
                                                                                       loans which     have/have notnot become
                                                                                                                         become due    within 11 day
                                                                                                                                   due within           and asked
                                                                                                                                                  day and    asked thethe payment
                                                                                                                                                                          payment of   of the
                                                                                                                                                                                           the
loan debt in
loan debt       the amount
            in the   amount of of TRY    21,070,603.45. Even
                                  TRY 21,070,603.45.          Even though
                                                                     though the the client   asked 1
                                                                                     client asked   1 week
                                                                                                      week toto make
                                                                                                                make thethe payment,
                                                                                                                            payment, this
                                                                                                                                       this period
                                                                                                                                            period was
                                                                                                                                                     was not
                                                                                                                                                          not granted.
                                                                                                                                                               granted. Following        this,
                                                                                                                                                                           Following this,
Odea Bank
Odea   Bank A.S.
               A.Ş. assigned
                      assigned thethe entire
                                      entire loan
                                               loan debt   subject to
                                                      debt subject    to the
                                                                          the warning
                                                                               warning letter     mentioned above
                                                                                           letter mentioned    above to to Mega
                                                                                                                           Mega Varlik
                                                                                                                                   Varlık Yonetim
                                                                                                                                          Yönetim A.S.A.Ş. which
                                                                                                                                                            which has has an
                                                                                                                                                                           an organic
                                                                                                                                                                              organic linklink
with Bugaraj
with  Bugaraj and and Bugaraj's
                       Bugaraj’s final
                                    final main
                                           main shareholder
                                                   shareholder during
                                                                  during the the transfer
                                                                                  transfer period,
                                                                                             period, SBK     Holding Turkey
                                                                                                      SBK Holding      Turkey ,, with
                                                                                                                                  with aa contract  signed on
                                                                                                                                          contract signed         March 06,
                                                                                                                                                             on March           2017. This
                                                                                                                                                                           06, 2017.    This
is an
is an extraordinary
      extraordinary situation
                           situation forfor aa loan
                                               loan that
                                                      that is
                                                            is still
                                                               still being
                                                                     being paidpaid and
                                                                                      and that
                                                                                            that has
                                                                                                  has not
                                                                                                       not gone    into default.
                                                                                                            gone into    default. Odea
                                                                                                                                   Odea Bank
                                                                                                                                          Bank had     firstly broken
                                                                                                                                                 had firstly    broken off off aa loan
                                                                                                                                                                                  loan that
                                                                                                                                                                                        that
was already
was  already beingbeing paid
                          paid and
                                 and then
                                       then transferred
                                              transferred it   it to
                                                                  to an
                                                                      an asset
                                                                           asset management
                                                                                   management companycompany for  for aa smaller
                                                                                                                         smaller sum
                                                                                                                                   sum instead
                                                                                                                                         instead ofof collecting
                                                                                                                                                      collecting the the payment
                                                                                                                                                                          payment from from
Borajet which
Borajet   which is  is the
                       the principal
                            principal debtor.
                                         debtor. The      asset management
                                                    The asset    management company  company in  in question
                                                                                                     question requested
                                                                                                                requested and and collected
                                                                                                                                   collected the
                                                                                                                                             the receivables
                                                                                                                                                   receivables from       the Client
                                                                                                                                                                   from the    Client who
                                                                                                                                                                                        who
is the
is the guarantor
       guarantor rather          than the
                        rather than      the principal
                                              principal debtor
                                                            debtor Borajet.
                                                                       Borajet. As  As aa result
                                                                                           result of   this assignment,
                                                                                                   of this  assignment, Mega
                                                                                                                           Mega Varlik
                                                                                                                                   Varlık Yonetim
                                                                                                                                           Yönetim A.S.A.Ş. initiated
                                                                                                                                                              initiated anan enforcement
                                                                                                                                                                             enforcement
proceeding without
proceeding     without aa judgment
                            judgment within
                                         within thethe scope
                                                        scope ofof the
                                                                   the file
                                                                         file before
                                                                               before Istanbul     22nd Enforcement
                                                                                        Istanbul 22nd     Enforcement Office
                                                                                                                          Office numbered
                                                                                                                                  numbered 2017/6669
                                                                                                                                             2017/6669 C.   C. and
                                                                                                                                                                and levied     the Client's
                                                                                                                                                                       levied the   Client’s
assets in
assets in Turkey.
           Turkey. Within       the scope
                       Within the   scope of of this
                                                 this proceeding,
                                                      proceeding, the the Client
                                                                           Client had
                                                                                    had toto pay
                                                                                             pay TRY
                                                                                                  TRY 23,161,907.94
                                                                                                          23,161,907.94 which
                                                                                                                           which was
                                                                                                                                   was significantly
                                                                                                                                        significantly higher
                                                                                                                                                        higher than
                                                                                                                                                                 than the
                                                                                                                                                                        the actual
                                                                                                                                                                            actual debt
                                                                                                                                                                                     debt onon
March 10,
March   10, 2017
             2017 as as the
                         the debt
                             debt owed     within the
                                   owed within      the context
                                                         context ofof the
                                                                       the file
                                                                            file and
                                                                                 and attachment
                                                                                       attachment decisions
                                                                                                     decisions could     only be
                                                                                                                 could only    be released after aa sum
                                                                                                                                  released after    sum of   TRY 2,000,000
                                                                                                                                                          of TRY     2,000,000 in  in excess
                                                                                                                                                                                      excess
of the
of the actual
       actual debt     was paid
                 debt was    paid off
                                   off like
                                       like this.
                                             this.

20. 33 months
20.    months prior
               prior to
                     to the
                        the transfer
                             transfer share,
                                      share, Kamil
                                             Kamil Ekim
                                                    Ekim Alptekin
                                                          Alptekin was
                                                                   was appointed
                                                                        appointed toto Mega
                                                                                       Mega Varlik
                                                                                            Varlık Yonetim
                                                                                                    Yönetim A.S.
                                                                                                             A.Ş. as
                                                                                                                   as aa member
                                                                                                                         member of
                                                                                                                                of the
                                                                                                                                   the board
                                                                                                                                       board of
                                                                                                                                             of director and
                                                                                                                                                director and
after the
after the debts on the
          debts on the file  were collected,
                        file were  collected, he
                                              he resigned from his
                                                 resigned from his position
                                                                   position at
                                                                            at the
                                                                               the board
                                                                                   board of
                                                                                         of directors
                                                                                            directors on April 17,
                                                                                                      on April 17, 2017.
                                                                                                                   2017. [APPENDIX
                                                                                                                          [APPENDIX 99 — – Relevant
                                                                                                                                           Relevant Trade
                                                                                                                                                      Trade
Registry Records]
Registry   Records]

21. The
21. The Client
         Client who
                  who was
                        was put
                             put inin aa difficult situation with
                                         difficult situation   with the
                                                                    the break-off
                                                                        break-off warning
                                                                                    warning letters
                                                                                             letters issued
                                                                                                     issued byby the
                                                                                                                  the bank,
                                                                                                                       bank, had
                                                                                                                               had to
                                                                                                                                    to establish
                                                                                                                                       establish aa lien   on various
                                                                                                                                                     lien on   various real
                                                                                                                                                                        real estate
                                                                                                                                                                              estate
properties that
properties  that he
                  he owns
                      owns from
                             from Turkey
                                     Turkey Garanti      Bankası A.S.
                                               Garanti Bankasi     A.Ş. ("Garanti
                                                                        (“Garanti Bank")
                                                                                    Bank”) in
                                                                                            in order   to pay
                                                                                                order to  pay off
                                                                                                                off his
                                                                                                                     his loan
                                                                                                                          loan debts,   and he
                                                                                                                                debts, and   he had
                                                                                                                                                 had taken
                                                                                                                                                       taken out
                                                                                                                                                               out aa total
                                                                                                                                                                      total loan
                                                                                                                                                                            loan of
                                                                                                                                                                                  of
approximately USD
approximately     USD 20,000,000
                         20,000,000 and  and closed
                                              closed off   all bank
                                                      off all  bank loans
                                                                     loans owed
                                                                           owed byby Borajet
                                                                                      Borajet in
                                                                                               in Turkey.
                                                                                                  Turkey. As As ofof today,
                                                                                                                     today, total
                                                                                                                              total sum
                                                                                                                                    sum ofof loan   debts that
                                                                                                                                              loan debts    that were
                                                                                                                                                                 were paid
                                                                                                                                                                        paid off
                                                                                                                                                                              off is
                                                                                                                                                                                   is
equivalent
equivalent toto TRY
                TRY 67,216,407.35
                       67,216,407.35 +    + USD
                                             USD 1,489,819.67.
                                                   1,489,819.67. Moreover,
                                                                    Moreover, as
                                                                               as one  of the
                                                                                   one of the prerequisites
                                                                                              prerequisites of    the loan
                                                                                                               of the        allocation established
                                                                                                                      loan allocation    established by by Garanti    Bank within
                                                                                                                                                            Garanti Bank     within
the scope
the scope of
           of this
               this loan  taken out
                    loan taken         from Garanti
                                 out from               Bank, was
                                              Garanti Bank,     was paying
                                                                    paying off
                                                                            off all
                                                                                all leasing
                                                                                    leasing debts  owed to
                                                                                            debts owed     to the
                                                                                                              the bank,
                                                                                                                   bank, Client
                                                                                                                           Client had
                                                                                                                                   had to
                                                                                                                                        to pay
                                                                                                                                           pay off
                                                                                                                                                off all
                                                                                                                                                     all leasing
                                                                                                                                                         leasing debts    that have
                                                                                                                                                                  debts that   have
and have
and  have not
          not become
                become duedue in  the amount
                               in the   amount ofof TRY    487,607. Additionally,
                                                    TRY 487,607.      Additionally, Bugaraj
                                                                                     Bugaraj failed   to pay
                                                                                              failed to  pay various
                                                                                                              various debts
                                                                                                                         debts owed
                                                                                                                                owed toto the
                                                                                                                                          the suppliers
                                                                                                                                               suppliers byby Borajet
                                                                                                                                                               Borajet that
                                                                                                                                                                        that it was
                                                                                                                                                                             it was
obliged to
obliged  to pay
             pay within
                  within the
                           the scope
                               scope of  of the
                                            the Share
                                                Share Transfer     Contract. For
                                                        Transfer Contract.        this reason
                                                                             For this  reason and
                                                                                               and as
                                                                                                    as some
                                                                                                        some of    the letters
                                                                                                               of the   letters of
                                                                                                                                of guarantee    and external
                                                                                                                                    guarantee and     external guarantees      were
                                                                                                                                                                 guarantees were
converted
converted into
            into cash,  the Client
                  cash, the  Client whowho had
                                             had acted
                                                 acted asas aa personal
                                                               personal guarantor   within the
                                                                        guarantor within   the scope
                                                                                                scope ofof this
                                                                                                           this guarantee
                                                                                                                 guarantee andand these
                                                                                                                                   these letters  of guarantee,
                                                                                                                                          letters of  guarantee, hadhad to
                                                                                                                                                                         to make
                                                                                                                                                                            make aa
payment of
payment   of TRY     12,500,000 approximately
              TRY 12,500,000        approximately in   in favor
                                                          favor of  Borajet as
                                                                 of Borajet as of  the date
                                                                                of the      of this
                                                                                       date of  this petition
                                                                                                     petition even    though he
                                                                                                                even though     he was
                                                                                                                                    was not    obliged to
                                                                                                                                         not obliged     to pay
                                                                                                                                                            pay these
                                                                                                                                                                 these within
                                                                                                                                                                        within the
                                                                                                                                                                                 the
scope of
scope  of the
          the Share
               Share Transfer
                       Transfer Contract*.      [APPENDIX 10
                                  Contract*. [APPENDIX            10 —– Warning    Letters and
                                                                        Warning Letters     and Table     and Documents
                                                                                                  Table and     Documents Regarding
                                                                                                                                Regarding the  the Debts
                                                                                                                                                   Debts thatthat were
                                                                                                                                                                  were paid
                                                                                                                                                                          paid off]
                                                                                                                                                                                off]
[APPENDIX 11—
[APPENDIX        11 – Documents
                       Documents ShowingShowing Leasing
                                                   Leasing Debts
                                                              Debts that
                                                                     that were
                                                                          were Paid
                                                                                 Paid Off]
                                                                                       Off]

22. As
22. As it
        it may
           may be
               be understood
                  understood from  the timeline
                              from the timeline of  the events,
                                                 of the         it is
                                                        events, it    obvious that
                                                                   is obvious  that the
                                                                                     the suspects
                                                                                         suspects Kamil
                                                                                                   Kamil Ekim
                                                                                                           Ekim Alptekin,
                                                                                                                 Alptekin, Sezgin
                                                                                                                             Sezgin Baran
                                                                                                                                     Baran Korkmaz
                                                                                                                                            Korkmaz andand
companies   that he
companies that   he owns  including SBK
                    owns including  SBK Holding
                                           Holding Turkey,    Bugaraj and
                                                    Turkey, Bugaraj      and Mega
                                                                             Mega Varhk
                                                                                     Varlık Yonetim
                                                                                             Yönetim A.S.
                                                                                                       A.Ş. which
                                                                                                            which have    an organic
                                                                                                                    have an  organic link
                                                                                                                                      link with
                                                                                                                                           with these
                                                                                                                                                these were
                                                                                                                                                      were
affiliated and
affiliated and they
               they acted
                     acted together
                           together in
                                    in an
                                       an organized
                                           organized manner      with the
                                                       manner with      the aim
                                                                            aim to
                                                                                 to cause
                                                                                    cause damage
                                                                                            damage toto the
                                                                                                        the Client
                                                                                                            Client and
                                                                                                                    and to
                                                                                                                         to confiscate
                                                                                                                            confiscate his  assets through
                                                                                                                                        his assets through
unlawful
unlawful means
           means depicting  an image
                  depicting an image of
                                      of legality.
                                         legality. The
                                                   The links between the
                                                       links between   the parties
                                                                           parties to
                                                                                   to the
                                                                                      the incident are discussed
                                                                                          incident are discussed in
                                                                                                                 in detail below in
                                                                                                                    detail below in section
                                                                                                                                    section B.
                                                                                                                                            B.

23. Subsequent
23. Subsequent toto these
                    these events,  an unjust
                          events, an         action for
                                      unjust action for debt was filed
                                                        debt was         by the
                                                                   filed by  the company   Bugaraj against
                                                                                 company Bugaraj    against the
                                                                                                            the Client
                                                                                                                Client on
                                                                                                                       on March
                                                                                                                          March 13,
                                                                                                                                 13, 2017
                                                                                                                                     2017 with
                                                                                                                                           with the
                                                                                                                                                the file numbered
                                                                                                                                                    file numbered
2017/242 C.
2017/242      before Istanbul
           C. before            3rd Commercial
                      Istanbul 3rd  Commercial Court
                                                 Court of
                                                        of First
                                                           First Instance
                                                                 Instance for
                                                                            for the
                                                                                the collection
                                                                                    collection of
                                                                                               of TRY  253,305,035 from
                                                                                                  TRY 253,305,035          the Client.
                                                                                                                     from the          Even though
                                                                                                                               Client. Even  though there
                                                                                                                                                     there is
                                                                                                                                                            is aa lien
                                                                                                                                                                  lien
established  by the
established by  the Client,
                     Client, this
                             this lawsuit also requested
                                  lawsuit also requested aa cautionary    attachment to
                                                            cautionary attachment      to be
                                                                                          be imposed  on the
                                                                                             imposed on  the immovable
                                                                                                              immovable properties
                                                                                                                           properties of our Client
                                                                                                                                      of our Client in
                                                                                                                                                    in aa repetitive
                                                                                                                                                          repetitive
manner in
manner      order to
         in order to obtain
                     obtain an  unfair advantage
                             an unfair advantage over   the Client's
                                                  over the  Client’s assets.
                                                                       assets. However,
                                                                               However, these
                                                                                          these claims brought forward
                                                                                                claims brought            by Bugaraj
                                                                                                                 forward by  Bugaraj were
                                                                                                                                      were




                                                                                              66

                                                                           [signature]
                                                                           [signature]              [signature]
                                                                                                    [signature]
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Hergüner Bilgen
Hergiiner Bilgen Ozeke
                 Özeke

rejected both
rejected both by
               by Istanbul 3rd Commercial
                  Istanbul 3rd Commercial Court
                                           Court of
                                                  of First
                                                     First Instance
                                                           Instance and
                                                                     and by
                                                                          by Istanbul
                                                                             Istanbul Regional
                                                                                      Regional Court
                                                                                               Court of Justice 12
                                                                                                     of Justice    th Legal
                                                                                                                12th  Legal Chamber.
                                                                                                                             Chamber. As As they
                                                                                                                                            they were
                                                                                                                                                 were directly
                                                                                                                                                       directly
connected  with the
connected with   the complaint, the duplicate
                     complaint, the duplicate petition
                                              petition as
                                                       as well
                                                           well as
                                                                as the
                                                                   the list
                                                                       list of
                                                                            of evidences that we
                                                                               evidences that we submitted
                                                                                                 submitted with
                                                                                                           with the
                                                                                                                the petition
                                                                                                                      petition for
                                                                                                                               for the
                                                                                                                                   the lawsuit
                                                                                                                                       lawsuit in this case
                                                                                                                                               in this      are
                                                                                                                                                       case are
provided for
provided      the consideration
          for the               of the
                  consideration of the Honorable
                                       Honorable Public
                                                  Public Prosecutor's
                                                          Prosecutor’s Office.
                                                                         Office. [APPENDIX
                                                                                 [APPENDIX 12  12 —
                                                                                                  – Lawsuit,
                                                                                                    Lawsuit, Duplicate
                                                                                                              Duplicate andand Evidence
                                                                                                                                Evidence Petitions]
                                                                                                                                           Petitions]

24. Due
24.  Due toto the
              the rejection
                  rejection of  the request
                             of the request for
                                              for aa cautionary
                                                     cautionary attachment
                                                                  attachment judgment
                                                                               judgment in     the action
                                                                                            in the action for
                                                                                                           for debt   mentioned in
                                                                                                                debt mentioned      the preceding
                                                                                                                                 in the preceding paragraph,
                                                                                                                                                    paragraph, the
                                                                                                                                                                the company
                                                                                                                                                                     company
named Bugaraj
named     Bugaraj could
                    could not  fulfill its
                           not fulfill     objective after
                                       its objective   after the
                                                             the first attempt therefore
                                                                 first attempt   therefore they
                                                                                             they aimed
                                                                                                   aimed toto put
                                                                                                              put our
                                                                                                                   our Client
                                                                                                                        Client under  pressure through
                                                                                                                               under pressure   through aa criminal   trial this
                                                                                                                                                            criminal trial  this
time, to
time,   to obtain
           obtain an
                   an unfair
                      unfair advantage
                              advantage andand to
                                                to seize
                                                    seize his
                                                          his assets
                                                              assets and   with aa petition
                                                                      and with      petition for
                                                                                              for complaint     dated May
                                                                                                  complaint dated      May 05,  2017, they
                                                                                                                            05, 2017,  they requested
                                                                                                                                            requested aa public
                                                                                                                                                          public action
                                                                                                                                                                  action to
                                                                                                                                                                          to be
                                                                                                                                                                              be
filed  against the
filed against   the Client
                    Client for  various crimes
                            for various   crimes including    aggravated fraud,
                                                   including aggravated             tax evasion,
                                                                           fraud, tax   evasion, falsification    of commercial
                                                                                                   falsification of   commercial books
                                                                                                                                  books and
                                                                                                                                          and endangering    the safety
                                                                                                                                               endangering the   safety of
                                                                                                                                                                         of the
                                                                                                                                                                             the
traffic. This
traffic.  This investigation   was initiated
               investigation was               with the
                                    initiated with   the file
                                                         file prepared
                                                              prepared byby Istanbul
                                                                            Istanbul Chief
                                                                                       Chief Public
                                                                                               Public Prosecutor's
                                                                                                       Prosecutor’s Office
                                                                                                                       Office numbered
                                                                                                                              numbered 2017/68314.
                                                                                                                                         2017/68314. Afterwards,
                                                                                                                                                        Afterwards, Bugaraj
                                                                                                                                                                       Bugaraj
continued
continued to to make
                 make up
                       up offenses    with the
                           offenses with    the petitions
                                                 petitions that
                                                            that they
                                                                 they submitted
                                                                       submitted in    this investigation
                                                                                    in this  investigation file   and they
                                                                                                             file and  they claimed  that there
                                                                                                                            claimed that  there are
                                                                                                                                                 are rumors
                                                                                                                                                     rumors which
                                                                                                                                                              which revealed
                                                                                                                                                                      revealed
that the
that  the Client
          Client was
                  was affiliated
                       affiliated with
                                  with FETO,
                                        FETO, he he had
                                                     had designed
                                                          designed ByBy Lock
                                                                         Lock himself,
                                                                                himself, he
                                                                                          he was
                                                                                               was aware
                                                                                                    aware of
                                                                                                           of the
                                                                                                               the treacherous
                                                                                                                   treacherous coup   d’etat attempt
                                                                                                                                coup d'etat  attempt that
                                                                                                                                                      that took
                                                                                                                                                           took place
                                                                                                                                                                place onon July
                                                                                                                                                                           July
15 th, he financed the terrorist organization named FETO and he played an active role in the organization and that he was a CIA agent. The news articles
15th,  he financed the terrorist organization named FETO and he played an active role in the organization and that he was a CIA agent. The news articles
submitted with
submitted    with regards
                   regards to
                            to these
                               these claims    were actually
                                      claims were              published upon
                                                      actually published   upon thethe request
                                                                                       request ofof Kamil
                                                                                                    Kamil Ekim
                                                                                                            Ekim Alptekin
                                                                                                                    Alptekin and/or
                                                                                                                             and/or other
                                                                                                                                     other Suspects.
                                                                                                                                           Suspects.

25. As
25.  As it
        it may
           may be
                be seen
                   seen above,
                         above, suspects
                                 suspects acted
                                           acted in
                                                 in unity
                                                    unity and
                                                          and inin aa coordinated
                                                                      coordinated manner
                                                                                    manner and
                                                                                             and they
                                                                                                 they created   offenses which
                                                                                                      created offenses    which are
                                                                                                                                 are contrary
                                                                                                                                     contrary toto the
                                                                                                                                                   the truth
                                                                                                                                                       truth with
                                                                                                                                                             with baseless
                                                                                                                                                                   baseless
newspaper articles
newspaper    articles that
                      that they
                           they had   published and
                                 had published    and fictionalized,
                                                      fictionalized, andand immediately     afterwards, they
                                                                             immediately afterwards,     they take
                                                                                                               take legal
                                                                                                                     legal action to abuse
                                                                                                                           action to  abuse the
                                                                                                                                             the rights  granted to
                                                                                                                                                  rights granted   to them.
                                                                                                                                                                      them.
So-called
So-called evidences     which are
            evidences which    are used
                                    used as
                                         as aa basis
                                               basis for
                                                     for their
                                                         their application
                                                                application areare untrue
                                                                                   untrue news
                                                                                           news articles
                                                                                                 articles that
                                                                                                           that were
                                                                                                                were published
                                                                                                                       published upon
                                                                                                                                  upon their
                                                                                                                                        their request   and that
                                                                                                                                               request and   that they
                                                                                                                                                                  they had
                                                                                                                                                                        had
fictionalized.  The legal
fictionalized. The         means are
                     legal means   are not
                                       not the
                                           the only
                                                only way
                                                     way that
                                                           that the
                                                                the suspects
                                                                      suspects used
                                                                                used in
                                                                                     in order
                                                                                        order to
                                                                                               to obtain  an unfair
                                                                                                  obtain an  unfair advantage
                                                                                                                     advantage by
                                                                                                                                by committing
                                                                                                                                    committing aa crime.
                                                                                                                                                     crime. In
                                                                                                                                                             In addition
                                                                                                                                                                addition to
                                                                                                                                                                         to
the foregoing
the  foregoing and
                and as
                     as these
                        these are
                              are explained
                                   explained inin more
                                                  more detail   within the
                                                        detail within    the remaining   sections of
                                                                              remaining sections   of our   petition, they
                                                                                                      our petition,   they also
                                                                                                                           also use
                                                                                                                                use threat,
                                                                                                                                     threat, blackmail
                                                                                                                                             blackmail andand violence.
                                                                                                                                                               violence. In
                                                                                                                                                                         In
short, suspects
short, suspects have
                 have used
                       used all
                             all kinds
                                 kinds of
                                       of unlawful
                                          unlawful methods
                                                     methods to to reach
                                                                    reach their
                                                                           their aims
                                                                                 aims in
                                                                                      in aa "legitimate"
                                                                                            “legitimate” (!!!)
                                                                                                          (!!!) manner.
                                                                                                                manner. That   aim is
                                                                                                                          That aim     to obtain
                                                                                                                                    is to         an unfair
                                                                                                                                          obtain an   unfair advantage.
                                                                                                                                                              advantage.

26. Bugaraj
26. Bugaraj did   not only
             did not   only take
                             take these
                                  these steps
                                         steps against   the Client
                                                against the           but they
                                                               Client but  they have
                                                                                 have also  submitted aa petition
                                                                                       also submitted     petition to
                                                                                                                   to the
                                                                                                                      the Investigation
                                                                                                                          Investigation File
                                                                                                                                          File on
                                                                                                                                               on July
                                                                                                                                                    July 06,
                                                                                                                                                         06, 2017
                                                                                                                                                             2017 (this
                                                                                                                                                                    (this time
                                                                                                                                                                          time
shortly after
shortly after the
               the decision
                    decision toto reject
                                  reject the
                                          the cautionary
                                               cautionary attachment        judgement was
                                                              attachment judgement        was approved
                                                                                               approved byby the
                                                                                                              the Regional
                                                                                                                   Regional Court
                                                                                                                              Court of of Justice)
                                                                                                                                          Justice) and
                                                                                                                                                     and they
                                                                                                                                                          they requested
                                                                                                                                                               requested an an
investigation  to be
investigation to  be started
                      started against
                              against the
                                       the Client
                                           Client as
                                                   as well
                                                      well as as Fatih
                                                                 Fatih Akol
                                                                       Akol who
                                                                              who isis one
                                                                                       one of the suspects
                                                                                           of the suspects and
                                                                                                            and aa former
                                                                                                                   former member
                                                                                                                            member of of the
                                                                                                                                         the board
                                                                                                                                             board ofof directors of Borajet,
                                                                                                                                                        directors of  Borajet,
and other
and  other members
           members of  of the  board of
                          the board  of directors
                                         directors including
                                                    including Zahide       Üner, Nur
                                                                 Zahide Uner,     Nur Gezeroğlu
                                                                                       Gezeroglu andand Samir   Bayraktar with
                                                                                                        Samir Bayraktar     with the
                                                                                                                                  the claims  regarding aggravated
                                                                                                                                      claims regarding     aggravated fraud,
                                                                                                                                                                        fraud,
tax evasion,
tax evasion, falsification
              falsification of
                             of commercial     books and
                                commercial books      and endangering
                                                            endangering traffic
                                                                            traffic safety
                                                                                    safety along   with membership/support
                                                                                           along with   membership/support for       FETO and
                                                                                                                                for FETO     and carrying
                                                                                                                                                  carrying out  political and
                                                                                                                                                            out political  and
military espionage
military espionage activities    by establishing
                      activities by  establishing aa structure
                                                      structure similar
                                                                   similar to
                                                                            to FETO
                                                                               FETO andand they
                                                                                            they requested
                                                                                                 requested the
                                                                                                             the confiscation
                                                                                                                  confiscation of   the immovable
                                                                                                                                of the                properties, rights
                                                                                                                                        immovable properties,              and
                                                                                                                                                                   rights and
receivables of
receivables     the suspects.
            of the   suspects. When
                                When this
                                        this request
                                             request was
                                                      was rejected,     they submitted
                                                             rejected, they   submitted another
                                                                                          another petition
                                                                                                   petition dated  July 11,
                                                                                                            dated July  11, 2017
                                                                                                                             2017 where
                                                                                                                                    where they
                                                                                                                                           they requested    the companies,
                                                                                                                                                  requested the  companies,
foundations  and bank
foundations and    bank accounts
                          accounts where
                                    where the
                                            the Client
                                                 Client is
                                                         is aa shareholder
                                                               shareholder and/or
                                                                              and/or executive   to be
                                                                                      executive to   be determined
                                                                                                        determined with
                                                                                                                     with the
                                                                                                                           the investigation   file numbered
                                                                                                                               investigation file   numbered 2017/68314,
                                                                                                                                                                2017/68314,
to have
to      their accounts
   have their  accounts for
                          for the
                              the past
                                  past 10
                                        10 years
                                           years to
                                                  to be
                                                     be prepared
                                                         prepared in in aa detailed
                                                                           detailed list
                                                                                    list and their accounts
                                                                                         and their accounts to
                                                                                                             to be
                                                                                                                 be blocked
                                                                                                                    blocked as
                                                                                                                             as aa precaution.
                                                                                                                                   precaution.

27. Within
27. Within the
            the scope
                scope of
                       of the
                          the relevant
                              relevant investigation,
                                        investigation, aa bill
                                                          bill of
                                                               of indictment  was prepared
                                                                  indictment was   prepared against
                                                                                               against our
                                                                                                       our Client
                                                                                                           Client in
                                                                                                                   in an
                                                                                                                      an unjust
                                                                                                                         unjust manner
                                                                                                                                 manner with
                                                                                                                                          with the
                                                                                                                                                the suspicion
                                                                                                                                                    suspicion ofof fraud,
                                                                                                                                                                   fraud,
our statements
our statements with
                 with regards
                      regards toto the
                                   the unjust
                                        unjust character
                                               character ofof the
                                                                the bill
                                                                    bill of
                                                                         of indictment
                                                                            indictment were
                                                                                        were submitted
                                                                                                submitted toto the
                                                                                                               the High
                                                                                                                    High Criminal
                                                                                                                          Criminal Court    that reviewed
                                                                                                                                     Court that   reviewed thethe bill
                                                                                                                                                                  bill of
                                                                                                                                                                       of
indictment.
indictment [APPENDIX 13 —       – Statements Regarding
                                                Regarding the  the Unjust
                                                                   Unjust Character
                                                                            Character of   the Bill
                                                                                        of the   Bill of
                                                                                                      of Indictment].
                                                                                                         Indictment]. The    file was
                                                                                                                        The file  was segregated
                                                                                                                                      segregated with
                                                                                                                                                    with regards
                                                                                                                                                          regards to
                                                                                                                                                                   to the
                                                                                                                                                                      the
baseless FETO
baseless FETO claims
                 claims which
                         which is   the most
                                 is the  most serious
                                              serious accusation
                                                       accusation in in Turkey   under current
                                                                         Turkey under             circumstances and
                                                                                        current circumstances      and the
                                                                                                                       the investigation
                                                                                                                           investigation isis still
                                                                                                                                              still pending
                                                                                                                                                    pending aa decision
                                                                                                                                                                decision
before Istanbul
before Istanbul Chief
                 Chief Public
                        Public Prosecutor's
                                Prosecutor’s Office
                                              Office Terrorism      Bureau with
                                                      Terrorism Bureau       with the
                                                                                  the number
                                                                                      number 2017/135059.
                                                                                                 2017/135059. However,
                                                                                                                 However, on    the contrary,
                                                                                                                            on the  contrary, news    articles had
                                                                                                                                               news articles   had been
                                                                                                                                                                    been
published where
published  where it  was stated
                  it was  stated that
                                 that the
                                      the suspect
                                          suspect Sezgin   Baran Korkmaz
                                                  Sezgin Baran      Korkmaz waswas actually
                                                                                    actually aa member
                                                                                                member of of FETO.
                                                                                                             FETO. The
                                                                                                                     The excerpt
                                                                                                                          excerpt from   the article
                                                                                                                                   from the           written by
                                                                                                                                              article written  by one
                                                                                                                                                                  one of
                                                                                                                                                                       of
the authors
the authors of
             of Hiirriyet
                Hürriyet Newspaper,
                           Newspaper, Yalcin
                                         Yalçın Bayer,
                                                Bayer, andand published
                                                                published onon November
                                                                               November 16,      2017 is
                                                                                           16, 2017       provided below
                                                                                                       is provided   below for
                                                                                                                            for the
                                                                                                                                 the consideration
                                                                                                                                     consideration of of the
                                                                                                                                                          the honorable
                                                                                                                                                              honorable
Prosecutor’s Office:
Prosecutor's  Office:

                                                                                  77

                                                          [signature]
                                                          [signature]                                    [signature]
                                                                                                         [signature]
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Hergüner Bilgen
Hergiiner Bilgen Ozeke
                 Özeke

“It is
"It is indicated  that the
       indicated that  the negotiations
                           negotiations took
                                        took place
                                              place between
                                                    between Flynn
                                                             Flynn and
                                                                    and Korkmaz
                                                                        Korkmaz atat New
                                                                                     New York
                                                                                          York Peninsula
                                                                                               Peninsula Hotel,
                                                                                                         Hotel, and
                                                                                                                and behind
                                                                                                                    behind these
                                                                                                                             these developments,
                                                                                                                                   developments, ‘Sezgin
                                                                                                                                                   `Sezgin
Baran Korkmaz
Baran   Korkmaz waswas shown
                        shown as
                              as an
                                 an enemy   of FETO
                                     enemy of  FETO through
                                                      through the
                                                              the management
                                                                  management ofof perceptions
                                                                                  perceptions and
                                                                                              and he brought FETO's
                                                                                                  he brought FETO’s funds
                                                                                                                     funds in
                                                                                                                            in the
                                                                                                                               the United
                                                                                                                                   United States (showing
                                                                                                                                          States (showing
them as
them   as if
          if they
             they were
                  were American
                        American capital)  to Turkey
                                  capital) to Turkey and
                                                      and he
                                                          he was
                                                             was assigned
                                                                  assigned to
                                                                           to purchase
                                                                              purchase the
                                                                                       the companies
                                                                                           companies which
                                                                                                      which were
                                                                                                             were confiscated  and which
                                                                                                                  confiscated and  which were
                                                                                                                                          were faced  with
                                                                                                                                               faced with
difficulties’.”.
difficulties'.".

This news article
This news article is submitted for
                  is submitted     the consideration
                               for the consideration of
                                                     of your
                                                        your Honorable
                                                             Honorable Office
                                                                       Office in
                                                                              in full within the
                                                                                 full within the attachment.
                                                                                                 attachment. [APPENDIX
                                                                                                             [APPENDIX 14-
                                                                                                                       14- Relevant
                                                                                                                           Relevant Article]
                                                                                                                                    Article]

28. In
28. In the
       the same
             same manner,
                   manner, according
                               according to to an
                                               an article
                                                   article published
                                                           published viavia online   sources, the
                                                                             online sources,     the individual    named Bereket
                                                                                                      individual named       Bereket Öner     who is
                                                                                                                                       Oner who     is the
                                                                                                                                                       the son-in-law
                                                                                                                                                            son-in-law of of Former
                                                                                                                                                                               Former
Chairman of
Chairman    of Ankara
                Ankara Chamber
                          Chamber of  of Commerce
                                         Commerce Sinan        Aygün filed
                                                       Sinan Aygiin     filed aa complaint     against Sezgin
                                                                                  complaint against               Baran Korkmaz
                                                                                                        Sezgin Baran      Korkmaz within
                                                                                                                                      within the
                                                                                                                                              the scope
                                                                                                                                                   scope ofof the
                                                                                                                                                               the investigation
                                                                                                                                                                   investigation of of
Istanbul Chief
Istanbul  Chief Public
                  Public Prosecutor's
                           Prosecutor’s Office
                                           Office numbered       2017/162009 with
                                                    numbered 2017/162009          with the
                                                                                        the claim
                                                                                             claim that
                                                                                                     that he
                                                                                                           he is
                                                                                                              is aa member
                                                                                                                    member of  of FETO.
                                                                                                                                   FETO. TheThe complaint      petition in
                                                                                                                                                 complaint petition      in question
                                                                                                                                                                             question
which is
which  is comprised
          comprised of   of two
                            two pages
                                 pages was
                                         was published
                                               published online
                                                           online through
                                                                    through various
                                                                              various news
                                                                                        news websites.
                                                                                                websites. Within
                                                                                                            Within the
                                                                                                                     the complaint
                                                                                                                          complaint petition,
                                                                                                                                       petition, Bereket
                                                                                                                                                 Bereket OnerÖner briefly
                                                                                                                                                                   briefly declared
                                                                                                                                                                             declared
and claimed
and            that: Sezgin
    claimed that:              Baran Korkmaz
                     Sezgin Baran     Korkmaz introduced       him to
                                                  introduced him     to an
                                                                        an individual
                                                                            individual ofof Armenian
                                                                                             Armenian origin
                                                                                                          origin named
                                                                                                                  named Levon,
                                                                                                                           Levon, they
                                                                                                                                    they went
                                                                                                                                          went to
                                                                                                                                                to the
                                                                                                                                                   the United
                                                                                                                                                        United States
                                                                                                                                                                 States of
                                                                                                                                                                         of America
                                                                                                                                                                            America
together aa couple
together     couple of   times, during
                     of times,   during one
                                          one of  these visits,
                                               of these  visits, Sezgin   Baran Korkmaz
                                                                 Sezgin Baran      Korkmaz had had said
                                                                                                    said to
                                                                                                          to him,
                                                                                                             him, "you
                                                                                                                    “you stay
                                                                                                                           stay at
                                                                                                                                at the
                                                                                                                                   the hotel,
                                                                                                                                       hotel, we
                                                                                                                                               we will
                                                                                                                                                   will go
                                                                                                                                                         go to
                                                                                                                                                             to Pennsylvania
                                                                                                                                                                Pennsylvania withwith
Levon to
Levon  to visit
           visit the
                 the preacher",
                     preacher”, this
                                   this visit was after
                                        visit was  after the
                                                         the coup
                                                              coup d’etat    attempt that
                                                                     d'etat attempt   that took
                                                                                            took place
                                                                                                  place on
                                                                                                         on July
                                                                                                             July 15  th, Sezgin
                                                                                                                   15th,           Baran Korkmaz
                                                                                                                          Sezgin Baran    Korkmaz had had returned
                                                                                                                                                            returned together
                                                                                                                                                                       together with
                                                                                                                                                                                 with
Levon on
Levon   on the   next day,
            the next   day, that
                             that certain  people at
                                  certain people    at FETO's
                                                       FETO’s palace
                                                                  palace and    who were
                                                                          and who    were with
                                                                                             with the
                                                                                                   the leader   of FETO
                                                                                                        leader of   FETO toldtold them
                                                                                                                                  them toto buy
                                                                                                                                            buy an
                                                                                                                                                 an airline
                                                                                                                                                     airline company
                                                                                                                                                              company in      Turkey.
                                                                                                                                                                          in Turkey.
We hereby
We   hereby request     the summon
              request the    summon of  of the
                                           the investigation
                                                investigation file   that was
                                                                file that was opened
                                                                                 opened inin relation   to the
                                                                                              relation to  the complaint
                                                                                                                complaint petition
                                                                                                                              petition in
                                                                                                                                       in question    which claimed
                                                                                                                                           question which     claimed that
                                                                                                                                                                         that Sezgin
                                                                                                                                                                               Sezgin
Baran Korkmaz
Baran  Korkmaz is  is aa member
                         member of  of FETO
                                       FETO andand where
                                                    where location,    time, people
                                                            location, time,    people etc.   and other
                                                                                       etc. and   other objective
                                                                                                         objective elements
                                                                                                                     elements were
                                                                                                                                 were indicated.    As aa result
                                                                                                                                        indicated. As      result of  this, it
                                                                                                                                                                  of this,     will be
                                                                                                                                                                            it will be
understood whether
understood    whether thethe conspiracy
                              conspiracy planned
                                           planned against
                                                     against the
                                                              the Client
                                                                   Client is  one of
                                                                           is one  of the
                                                                                      the endless
                                                                                           endless conspiracies      planned by
                                                                                                     conspiracies planned       by FETO.
                                                                                                                                    FETO.

29. WE
29. WE HEREBY
       HEREBY REQUEST
               REQUEST OUR
                        OUR CLAIMS
                            CLAIMS AND
                                    AND DEFENSES
                                        DEFENSES WITHIN
                                                   WITHIN THE SCOPE OF
                                                          THE SCOPE OF THE ACTION FOR
                                                                       THE ACTION FOR DEBT
                                                                                       DEBT MENTIONED
                                                                                            MENTIONED
ABOVE AND
ABOVE  AND THE
           THE CRIMINAL
                CRIMINAL CASE
                         CASE TO BE REVIEWED
                              TO BE REVIEWED BY
                                              BY THE  HONORABLE PROSECUTOR'S
                                                  THE HONORABLE  PROSECUTOR’S OFFICE.
                                                                              OFFICE. THE EXAMINATION
                                                                                      THE EXAMINATION
OF THE
OF      CONTENTS OF
    THE CONTENTS  OF THE  RELEVANT FILES
                     THE RELEVANT   FILES ARE
                                          ARE VITAL
                                              VITAL TO  UNDERSTAND WHAT
                                                     TO UNDERSTAND  WHAT KIND
                                                                          KIND OF
                                                                               OF A
                                                                                  A PLOT
                                                                                    PLOT WAS
                                                                                          WAS PLANNED
                                                                                              PLANNED
AGAINST THE
AGAINST      CLIENT AND
         THE CLIENT AND THE PARTICULARS OF
                        THE PARTICULARS  OF THIS INVESTIGATION.
                                            THIS INVESTIGATION.

30. EVEN THOUGH THE CLIENT PERFORMED HIS OBLIGATIONS ARISING FROM THE SHARE TRANSFER CONTRACT IN
GOOD FAITH,
GOOD   FAITH, A
              A FICTIONAL
                FICTIONAL SCENARIO
                           SCENARIO WASWAS CREATED
                                            CREATED AND
                                                     AND CLIENT   WAS ATTACKED
                                                          CLIENT WAS  ATTACKED BOTH
                                                                                 BOTH PERSONALLY
                                                                                       PERSONALLY AND
                                                                                                    AND
FINANCIALLY THROUGH
FINANCIALLY           HIS ASSETS.
             THROUGH HIS  ASSETS. THE CLIENT WHO
                                  THE CLIENT WHO WAS
                                                  WAS SUBJECT
                                                      SUBJECT TO ACCUSATIONS FOR
                                                              TO ACCUSATIONS FOR THE CRIMES THAT
                                                                                 THE CRIMES       HE DID
                                                                                             THAT HE DID
NOT COMMIT
NOT          BOTH LEGALLY
     COMMIT BOTH  LEGALLY AND
                           AND VIA
                               VIA THE PRESS, WAS
                                   THE PRESS, WAS ACTUALLY
                                                  ACTUALLY THE
                                                           THE PARTY
                                                               PARTY WHO
                                                                     WHO WAS
                                                                          WAS DECEIVED
                                                                              DECEIVED AND
                                                                                        AND THE ACTIONS
                                                                                            THE ACTIONS
THAT
THAT CONSTITUTE  AGGRAVATED FRAUD
      CONSTITUTE AGGRAVATED   FRAUD ARE
                                      ARE STILL
                                          STILL ONGOING.
                                                ONGOING.

B- FACTS
B- FACTS WHICH
         WHICH SHOW
               SHOW THAT SOME OF
                    THAT SOME OF THE SUSPECTS ACTED
                                 THE SUSPECTS ACTED IN
                                                    IN AN
                                                       AN ORGANIZED
                                                          ORGANIZED MANNER
                                                                    MANNER

31. Even
31. Even though
           though the
                   the lawsuits  filed by
                        lawsuits filed by Bugaraj
                                          Bugaraj and
                                                    and the
                                                         the investigations  started seem
                                                              investigations started seem like
                                                                                           like aa mere
                                                                                                   mere exercise
                                                                                                        exercise of their rights
                                                                                                                 of their rights at
                                                                                                                                 at first glance, they
                                                                                                                                    first glance, they are
                                                                                                                                                        are actually
                                                                                                                                                            actually
actions that
actions that aim
              aim to
                  to obtain
                     obtain an
                             an unfair
                                unfair advantage   through baseless
                                       advantage through    baseless claims,  to damage
                                                                      claims, to          the Client's
                                                                                  damage the  Client’s reputation and to
                                                                                                       reputation and  to confiscate  his assets
                                                                                                                          confiscate his  assets in
                                                                                                                                                 in the
                                                                                                                                                    the background
                                                                                                                                                        background
and they
and  they constitute
           constitute aa crime  and an
                         crime and   an abuse  of the
                                        abuse of  the rights.
                                                       rights. The  Client was
                                                                The Client was trapped
                                                                                 trapped in
                                                                                         in aa malicious
                                                                                               malicious organization's
                                                                                                          organization’s game
                                                                                                                          game and    within this
                                                                                                                                 and within   this scope,
                                                                                                                                                   scope, there
                                                                                                                                                           there are
                                                                                                                                                                 are
attempts to
attempts  to seize
             seize his
                   his attempts
                        attempts in an unfair
                                 in an  unfair manner
                                               manner and
                                                        and to
                                                             to make
                                                                make him
                                                                      him pay
                                                                           pay unlawful
                                                                                unlawful sums.
                                                                                          sums. THE    LAWSUITS FILED
                                                                                                  THE LAWSUITS        FILED ANDAND THE       INVESTIGATIONS
                                                                                                                                      THE INVESTIGATIONS
OPENED ARE
OPENED       ARE THE
                   THE TACTICS
                          TACTICS USED USED BYBY THIS     ORGANIZATION.
                                                   THIS ORGANIZATION.

The
The background and the
    background and the details
                       details of
                               of these
                                  these actions
                                        actions are
                                                are provided
                                                    provided for
                                                             for the
                                                                 the consideration
                                                                     consideration of
                                                                                   of your
                                                                                      your Honorable
                                                                                           Honorable Prosecution
                                                                                                     Prosecution Office
                                                                                                                 Office below in more
                                                                                                                        below in      detail:
                                                                                                                                 more detail:




                                                                                    8
                                                                                    8

                                                            [signature]
                                                            [signature]                                      [signature]
                                                                                                             [signature]
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Hergüner Bilgen
Hergiiner Bilgen Ozeke
                 Özeke

32. The
32. The only    shareholder of
          only shareholder     of Bugaraj
                                  Bugaraj which
                                             which has
                                                    has taken
                                                         taken over   all of
                                                                over all  of Client's
                                                                             Client’s shares
                                                                                       shares at
                                                                                              at Borajet
                                                                                                 Borajet is
                                                                                                         is Bukombin
                                                                                                            Bukombin Bilişim ye   ve Teknoloji  Anonim Şirketi
                                                                                                                                     Teknoloji Anonim     Sirketi
(“Bukombin”). Bukombin
("Bukombin").     Bukombin was was founded
                                    founded byby SBK  Holding Turkey
                                                 SBK Holding    Turkey in  2015. The
                                                                        in 2015.      only member
                                                                                 The only  member of
                                                                                                   of the
                                                                                                      the board
                                                                                                          board of
                                                                                                                of directors  of Bukombin
                                                                                                                   directors of  Bukombin during
                                                                                                                                           during its
                                                                                                                                                  its foundation
                                                                                                                                                      foundation
and when
and when the
           the shares
               shares were
                        were transferred
                              transferred to
                                           to Bugaraj
                                              Bugaraj on   December 29,
                                                       on December     29, 2016
                                                                           2016 was
                                                                                was SBK    Holding Turkey.
                                                                                      SBK Holding  Turkey. However,
                                                                                                            However, as as it may be
                                                                                                                           it may  be understood
                                                                                                                                      understood from   the trade
                                                                                                                                                 from the   trade
registry records,
registry records, aa share
                     share transfer
                           transfer had  been made
                                     had been  made and
                                                     and the
                                                          the only shareholder as
                                                              only shareholder as of
                                                                                  of May
                                                                                     May 26,
                                                                                          26, 2017
                                                                                              2017 was
                                                                                                   was Kamil
                                                                                                        Kamil Feridun
                                                                                                              Feridun Ozkaraman.
                                                                                                                       Özkaraman. Kamil
                                                                                                                                     Kamil Feridun
                                                                                                                                            Feridun Ozkaraman
                                                                                                                                                     Özkaraman
was also
was  also appointed
          appointed asas the
                         the chairman
                              chairman ofof the
                                            the board
                                                board of
                                                      of directors.
                                                          directors.

33. SBK
33.        Holding was
    SBK Holding    was founded
                        founded in  Istanbul, Turkey
                                 in Istanbul,        on March
                                              Turkey on March 08, 2013 with
                                                              08, 2013 with aa capital
                                                                               capital of
                                                                                       of TRY 10,000,000 and
                                                                                          TRY 10,000,000       its only
                                                                                                           and its      and founder
                                                                                                                   only and         shareholder as
                                                                                                                            founder shareholder as well
                                                                                                                                                   well
as its
as     only board
   its only board of
                   of directors'
                      directors’ member
                                 member isis Sezgin Baran Korkmaz.
                                             Sezgin Baran Korkmaz. Sezgin  Baran Korkmaz
                                                                    Sezgin Baran   Korkmaz is  also the
                                                                                            is also the signatory
                                                                                                        signatory of
                                                                                                                   of the
                                                                                                                      the Share
                                                                                                                          Share Transfer Agreement on
                                                                                                                                Transfer Agreement  on
behalf of
behalf  of Bugaraj
           Bugaraj as
                   as its
                      its Guarantor.
                          Guarantor.

34. The
34.      articles published
    The articles  published inin the
                                  the press
                                      press clearly indicate that
                                            clearly indicate that the
                                                                  the definitive
                                                                      definitive owner of Bugaraj
                                                                                 owner of  Bugaraj during   the transfer
                                                                                                    during the  transfer of the shares
                                                                                                                         of the shares was
                                                                                                                                       was SBK    Holding and
                                                                                                                                            SBK Holding     and its
                                                                                                                                                                 its
field of activity
field of activity in
                  in Turkey
                      Turkey is   “purchasing companies
                               is "purchasing                 that have
                                                 companies that    have declared   bankruptcy and
                                                                         declared bankruptcy     and are
                                                                                                       are subject
                                                                                                           subject to
                                                                                                                    to enforcement
                                                                                                                       enforcement proceedings,       that cannot
                                                                                                                                      proceedings, that    cannot
carry out
carry       any production
       out any                  activities or
                 production activities        pay the
                                           or pay  the salaries
                                                       salaries of
                                                                of their
                                                                    their employees   and that
                                                                          employees and    that are
                                                                                                are in
                                                                                                    in crisis”.
                                                                                                        crisis". We  hereby submit
                                                                                                                 We hereby   submit the
                                                                                                                                     the sections
                                                                                                                                         sections in
                                                                                                                                                  in the
                                                                                                                                                     the article
                                                                                                                                                         article in
                                                                                                                                                                  in
question  and that
question and   that are
                     are included
                         included onon the
                                        the website
                                            website of
                                                     of SBK    Holding Turkey
                                                        SBK Holding              which are
                                                                        Turkey which   are based
                                                                                            based on  the statements
                                                                                                  on the  statements of
                                                                                                                      of Sezgin   Baran Korkmaz
                                                                                                                          Sezgin Baran   Korkmaz below
                                                                                                                                                    below for   the
                                                                                                                                                           for the
consideration
consideration ofof the
                   the Honorable
                       Honorable Prosecution
                                    Prosecution Office:
                                                  Office:

           “As
           "As it  was stated
                it was  stated by   Korkmaz, these
                                by Korkmaz,            companies that
                                                these companies          are bankrupt
                                                                    that are bankrupt oror are
                                                                                           are on
                                                                                               on the verge of
                                                                                                  the verge   of bankruptcy
                                                                                                                 bankruptcy areare purchased
                                                                                                                                    purchasedforfor aa ‘very
                                                                                                                                                        'very low    price’ and
                                                                                                                                                               low price'    and
           their debts to
           their debts   to the
                            the banks
                                banks areare paid
                                             paid off.
                                                  off. The  salaries are
                                                       The salaries   are paid
                                                                          paid to
                                                                                to the
                                                                                   the employees   and they
                                                                                       employees and         are brought
                                                                                                        they are  brought toto aa status
                                                                                                                                  status where
                                                                                                                                          where they   can start
                                                                                                                                                 they can    start production
                                                                                                                                                                    production
           again. Following
          again.   Following this,
                                 this, they  are sold
                                        they are sold as
                                                       as an
                                                          an active
                                                              active company.
                                                                     company. SBKSBK Holding
                                                                                       Holding Executive
                                                                                                Executive Board
                                                                                                           Board Chairman        Sezgin Baran
                                                                                                                     Chairman Sezgin      Baran Korkmaz
                                                                                                                                                 Korkmaz stated
                                                                                                                                                              stated that
                                                                                                                                                                       that they
                                                                                                                                                                            they
           continued
           continued their    path by
                        their path        purchasing bankrupt
                                      by purchasing    bankrupt companies      with American
                                                                  companies with     American investment     funds afterwards
                                                                                                investment funds     afterwards in in this
                                                                                                                                      this business   which they
                                                                                                                                           business which             started in
                                                                                                                                                               they started    in
           1988 as
          1988    as aa domestic
                        domestic company.
                                    company. Korkmaz
                                                Korkmaz alsoalso explained
                                                                 explained that
                                                                             that they  reached an
                                                                                  they reached   an agreement
                                                                                                    agreement withwith aa British
                                                                                                                          British investment    fund for
                                                                                                                                    investment fund    for the   first time
                                                                                                                                                            the first   time the
                                                                                                                                                                              the
           other night,
           other          and that
                  night, and   that they   are planning
                                     they are  planning toto invest
                                                             invest in
                                                                    in those  companies which
                                                                       those companies    which are
                                                                                                 are in crisis either
                                                                                                     in crisis either by   purchasing these
                                                                                                                       by purchasing     these companies
                                                                                                                                               companies or   or by
                                                                                                                                                                 by becoming
                                                                                                                                                                     becoming
          aa major
             major shareholder.
                      shareholder. Sezgin
                                       Sezgin Baran
                                               Baran Korkmaz
                                                       Korkmaz andand Ana
                                                                       Ana Cukic    Armstrong who
                                                                            Cukic Armstrong     who is
                                                                                                     is the
                                                                                                        the CEO
                                                                                                            CEO of  of the British fund
                                                                                                                       the British   fund AIM
                                                                                                                                           AIM that   he collaborates
                                                                                                                                                that he                    with,
                                                                                                                                                          collaborates with,
           came
           came together     with the
                  together with          members of
                                   the members     of the press in
                                                      the press     Istanbul during
                                                                 in Istanbul  during aa conversation   meeting.”" 33 [APPENDIX
                                                                                         conversation meeting.       [APPENDIX 15]    15]

          “With
          "With the  successful projects
                 the successful projects that
                                         that it develops and
                                              it develops and through   its result-oriented
                                                              through its   result-oriented approach
                                                                                              approach and
                                                                                                        and innovative
                                                                                                             innovative platform,
                                                                                                                           platform, it
                                                                                                                                      it invests
                                                                                                                                         invests in
                                                                                                                                                 in those
                                                                                                                                                    those companies
                                                                                                                                                           companies
          that conduct business
          that conduct  business in
                                  in Turkey,
                                     Turkey, that cannot achieve
                                             that cannot  achieve financial
                                                                   financial growth
                                                                              growth with
                                                                                       with their
                                                                                             their own
                                                                                                   own equities
                                                                                                       equities eveneven though
                                                                                                                         though they   add value
                                                                                                                                 they add   value to
                                                                                                                                                   to the society and
                                                                                                                                                      the society and
          to
          to the
             the economy  and it
                 economy and      ensures that
                               it ensures that these companies become
                                               these companies   become leaders
                                                                           leaders in
                                                                                    in their       industries.”" 44 [APPENDIX
                                                                                              own industries.
                                                                                       their own                    [APPENDIX 16]  16]

35. Even
35. Even though
         though SBK   Holding’s field
                SBK Holding's          of activity
                                 field of          is indicated
                                          activity is            as it
                                                      indicated as     is specified
                                                                    it is specified above,
                                                                                    above, the
                                                                                           the exact opposite has
                                                                                               exact opposite has been
                                                                                                                  been realized
                                                                                                                        realized with
                                                                                                                                 with regards
                                                                                                                                      regards to
                                                                                                                                              to the
                                                                                                                                                 the companies
                                                                                                                                                     companies
which have
which have been
            been transferred,
                 transferred, companies
                              companies were
                                          were caused
                                                caused toto lose
                                                            lose value,
                                                                 value, debts
                                                                          debts owed  to the
                                                                                owed to  the market
                                                                                             market were
                                                                                                     were not
                                                                                                          not paid
                                                                                                              paid off
                                                                                                                   off and
                                                                                                                       and employees    were dismissed.
                                                                                                                            employees were   dismissed.

36. In
36. In the
       the same
           same manner,
                manner, we
                        we present
                            present the
                                    the video
                                        video records
                                               records of
                                                       of the
                                                          the interviews
                                                              interviews and speeches given
                                                                         and speeches       by SBK
                                                                                      given by       Holding Turkey’s
                                                                                                SBK Holding            executive board
                                                                                                             Turkey's executive  board chairperson
                                                                                                                                        chairperson
Sezgin  Baran Korkmaz
Sezgin Baran  Korkmaz in
                      in this
                         this regard,
                              regard, for the consideration
                                      for the consideration of your Honorable
                                                            of your  Honorable Prosecution
                                                                               Prosecution Office without meaning
                                                                                           Office without meaning that
                                                                                                                  that we
                                                                                                                       we accept
                                                                                                                          accept the
                                                                                                                                 the claims
                                                                                                                                     claims against
                                                                                                                                            against
the Client.
the Client. [APPENDIX
            [APPENDIX 17 17 —– Video
                               Video Records Containing Sezgin Baran Korkmaz's
                                                                             Korkmaz’s Statements Regarding SBK Holding Turkey’sTurkey's Field of
Activity]
Activity]

37. The
37. The activity
        activity described
                 described as
                            as "Distressed
                               “Distressed Asset
                                           Asset Management"
                                                 Management” byby Sezgin  Baran Korkmaz
                                                                   Sezgin Baran  Korkmaz within
                                                                                         within the
                                                                                                the relevant
                                                                                                    relevant videos
                                                                                                             videos is
                                                                                                                    is claimed to be
                                                                                                                       claimed to be financed by
                                                                                                                                     financed by
Mormons. Again
Mormons.  Again in  these videos,
                 in these videos, Sezgin Baran Korkmaz
                                  Sezgin Baran Korkmaz states
                                                       states that
                                                              that the
                                                                   the name
                                                                       name of the Mormon
                                                                            of the Mormon member
                                                                                          member is
                                                                                                  is Jacob Ortell Kingson.
                                                                                                     Jacob Ortell Kingson.




3
3 Article Regarding the Purchase of Companies that Declare Bankruptcy by SBK Holding Turkey http://www.hurriyet.com.tr/ingiliz-fonu-yanina-aldi-fabrika-avina-
cikti-28597180
4 http://www.sbkholding.com.tr/tr-TR/sbk_holding/1/19
4 http://www.sbkholding.com.tr/tr-TR/sbk holding/1/19
                                                                           9
                                          [signature]                                                   [signature]
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Hergüner Bilgen
Hergiiner Bilgen Ozeke
                 Özeke

38. On
38.  On the
         the other
             other hand,
                     hand, it  must be
                            it must  be noted
                                        noted that
                                               that there
                                                     there is    another company
                                                              is another   company named
                                                                                      named SBK       Holdings USA,
                                                                                               SBK Holdings        USA, Inc.Inc. ("SBK
                                                                                                                                 (“SBK Holding
                                                                                                                                          Holding USA")
                                                                                                                                                     USA”) that
                                                                                                                                                              that is
                                                                                                                                                                    is located
                                                                                                                                                                       located in
                                                                                                                                                                                in
California behind
California  behind SBK
                     SBK Holding
                           Holding Turkey.
                                     Turkey. This    company was
                                              This company        was founded
                                                                       founded on    December 06,
                                                                                  on December          2013 and
                                                                                                  06, 2013    and its
                                                                                                                   its shareholders
                                                                                                                       shareholders include
                                                                                                                                       include Levon
                                                                                                                                                Levon Termendzhyan,
                                                                                                                                                        Termendzhyan, EdgarEdgar
Sargsyan   and George
Sargsyan and      George Termendzhyan.
                          Termendzhyan. The        trade registry
                                             The trade     registry records
                                                                      records in   this regard
                                                                                in this           and the
                                                                                         regard and     the article
                                                                                                             article published
                                                                                                                      published within
                                                                                                                                   within the
                                                                                                                                            the framework
                                                                                                                                                framework of   of Sezgin
                                                                                                                                                                  Sezgin Baran
Korkmaz’s interview
Korkmaz's     interview with
                         with Forbes
                                Forbes magazine
                                        magazine are     annexed herein
                                                    are annexed      herein for   your consideration.
                                                                              for your  consideration. [APPENDIX
                                                                                                           [APPENDIX 18      18 —– Relevant
                                                                                                                                   Relevant Trade       Registry Record
                                                                                                                                               Trade Registry       Record and
                                                                                                                                                                             and
Forbes Magazine
Forbes   Magazine Author].
                      Author]. We We also
                                      also submit
                                           submit information
                                                    information and  and articles
                                                                          articles related
                                                                                   related to
                                                                                            to the
                                                                                               the criminal
                                                                                                    criminal charges
                                                                                                               charges about
                                                                                                                          about some
                                                                                                                                  some ofof the
                                                                                                                                            the individuals
                                                                                                                                                individuals mentioned
                                                                                                                                                              mentioned above
                                                                                                                                                                           above
for the consideration
for the consideration ofof your
                           your Honorable
                                  Honorable Prosecution
                                             Prosecution Office.
                                                              Office. [APPENDIX
                                                                       [APPENDIX 19    19 —– Evidences
                                                                                             Evidences Regarding
                                                                                                            Regarding Criminal
                                                                                                                          Criminal Charges]
                                                                                                                                       Charges] ItIt must
                                                                                                                                                     must be
                                                                                                                                                           be noted
                                                                                                                                                               noted within
                                                                                                                                                                      within this
                                                                                                                                                                              this
framework    that the
framework that     the lawyer   named Mark
                       lawyer named     Mark Gregos
                                              Gregos representing
                                                         representing Levon
                                                                         Levon Termendzyan
                                                                                  Termendzyan who  who is    of Armenian
                                                                                                          is of Armenian origin
                                                                                                                              origin in
                                                                                                                                      in various  lawsuits and
                                                                                                                                         various lawsuits    and investigations
                                                                                                                                                                  investigations
carried out in
carried out      the USA
             in the  USA about
                           about him
                                  him also
                                       also represented
                                            represented the the terrorist
                                                                 terrorist who
                                                                           who assassinated
                                                                                 assassinated deceased
                                                                                                deceased Consul       General Orhan
                                                                                                             Consul General      Orhan Arikan
                                                                                                                                         Arıkan during    an attack
                                                                                                                                                  during an   attack carried   out
                                                                                                                                                                      carried out
by ASALA
by  ASALA organization
               organization in   Los Angeles
                              in Los  Angeles and
                                               and filed     lawsuits against
                                                     filed lawsuits     against Turkey    due to
                                                                                 Turkey due    to 1915
                                                                                                   1915 Armenian
                                                                                                           Armenian incidents
                                                                                                                        incidents in   the USA.
                                                                                                                                    in the  USA. Taking     into account
                                                                                                                                                   Taking into     account that
                                                                                                                                                                             that
some of
some      the suspects
       of the   suspects are
                         are of   Armenian origin
                               of Armenian    origin and
                                                       and thatthat they
                                                                    they have    important connections
                                                                          have important                       within the
                                                                                              connections within         the Armenian
                                                                                                                              Armenian lobby,
                                                                                                                                           lobby, it
                                                                                                                                                   it is
                                                                                                                                                      is understood
                                                                                                                                                         understood thatthat one
                                                                                                                                                                              one
of the
of the most    tragic aspects
        most tragic   aspects of   the situation
                                of the situation that
                                                  that the
                                                        the Client
                                                               Client found
                                                                       found himself    in are
                                                                               himself in   are the
                                                                                                 the efforts
                                                                                                      efforts to
                                                                                                               to hit  a blow
                                                                                                                   hit a  blow toto the
                                                                                                                                    the stance
                                                                                                                                        stance taken
                                                                                                                                                 taken byby the
                                                                                                                                                            the Client
                                                                                                                                                                 Client against
                                                                                                                                                                         against
the Armenian
the  Armenian genocide
                  genocide claims
                              claims which
                                     which wewe explained
                                                 explained in   in detail
                                                                   detail above
                                                                           above under     paragraph numbered
                                                                                   under paragraph         numbered 5.   5.

39. Moreover,
39. Moreover, we
              we would
                  would like    to highlight
                          like to  highlight that
                                             that it
                                                  it was
                                                     was learned
                                                         learned Levon
                                                                 Levon Termendzyan
                                                                        Termendzyan changed
                                                                                       changed hishis name
                                                                                                      name to
                                                                                                            to Lev
                                                                                                               Lev Aslan
                                                                                                                     Aslan Dermen
                                                                                                                            Dermen in the United
                                                                                                                                   in the  United States
                                                                                                                                                   States of
                                                                                                                                                          of
America and
America and there
            there are
                  are rumors
                      rumors that
                               that he
                                    he attempted
                                       attempted to
                                                  to become
                                                     become aa Turkish citizen. You
                                                               Turkish citizen. You may
                                                                                     may find
                                                                                         find aa document  related to
                                                                                                 document related   to the
                                                                                                                       the name
                                                                                                                           name change
                                                                                                                                change in
                                                                                                                                       in the
                                                                                                                                          the United
                                                                                                                                              United States
                                                                                                                                                      States
of America
of America annexed
           annexed for  the consideration
                    for the                of your
                            consideration of  your Honorable
                                                     Honorable Prosecution
                                                               Prosecution Office.
                                                                            Office. There are also
                                                                                    There are also rumors
                                                                                                   rumors that
                                                                                                           that this
                                                                                                                this change  was made
                                                                                                                     change was  made to
                                                                                                                                      to avoid
                                                                                                                                         avoid aa crime that
                                                                                                                                                  crime that
was committed
was           by him
    committed by  him within
                       within the
                               the United
                                    United States  of America.
                                           States of  America. [APPENDIX
                                                               [APPENDIX 20   20 —
                                                                                 – Name
                                                                                   Name Change
                                                                                          Change Document]
                                                                                                    Document]

40. The
40.     information available
    The information available on
                              on SBK  Holding Turkey’s
                                 SBK Holding            website in
                                               Turkey's website    the past
                                                                in the past also
                                                                            also indicate
                                                                                 indicate that
                                                                                          that Levon
                                                                                               Levon Termendzhyan,     Jacob Ortell
                                                                                                       Termendzhyan, Jacob    Ortell Kingston
                                                                                                                                     Kingston and
                                                                                                                                               and Sezgin
                                                                                                                                                   Sezgin
Baran Korkmaz
Baran  Korkmaz who
                who are
                     are also
                         also the
                              the shareholders
                                  shareholders of the company
                                               of the         with the
                                                      company with   the same
                                                                         same tradename
                                                                               tradename and
                                                                                           and that
                                                                                                that is
                                                                                                     is located abroad, are
                                                                                                        located abroad, are the
                                                                                                                            the members
                                                                                                                                members ofof the
                                                                                                                                             the board
                                                                                                                                                 board of
                                                                                                                                                       of
directors
directors of
          of SBK Holding USA.
             SBK Holding  USA.

41. Jacob
41. Jacob Ortell
          Ortell Kingson
                 Kingson is also the
                         is also the founding partner of
                                     founding partner of Mega
                                                         Mega Varlik
                                                              Varlık Yonetim
                                                                     Yönetim A.S.
                                                                             A.Ş. that
                                                                                  that was
                                                                                       was established
                                                                                           established in
                                                                                                       in Turkey. [APPENDIX 21—
                                                                                                          Turkey. [APPENDIX 21 – Relevant
                                                                                                                                 Relevant Trade
                                                                                                                                          Trade
Registry Gazette
Registry  Gazette copies]
                   copies]

42. In
42. In the
       the videos
           videos mentioned
                  mentioned in  paragraph 37,
                             in paragraph 37, Sezgin Baran Korkmaz
                                              Sezgin Baran Korkmaz indicates that Ekim
                                                                   indicates that Ekim Alptekin
                                                                                       Alptekin stood
                                                                                                stood behind
                                                                                                      behind him
                                                                                                             him while
                                                                                                                 while he
                                                                                                                       he carried
                                                                                                                          carried out
                                                                                                                                  out these activities
                                                                                                                                      these activities
and refers
and         to him
     refers to him as
                   as "Brother
                      “Brother Ekim"
                               Ekim”.

43. It
43. It can   be seen
        can be  seen here  that while
                      here that while SBK
                                      SBK Holding
                                           Holding Turkey    purchases those
                                                    Turkey purchases      those companies  that are
                                                                                companies that  are bankrupt
                                                                                                    bankrupt to
                                                                                                             to "improve"
                                                                                                                “improve” them,
                                                                                                                          them, it
                                                                                                                                it actually
                                                                                                                                   actually leaves
                                                                                                                                            leaves
them in
them   in aa worse
             worse state
                   state and
                         and on
                             on other
                                other hand, Mega Varhk
                                      hand, Mega   Varlık Yonetim
                                                           Yönetim A.S.
                                                                     A.Ş. which
                                                                           which has an organic
                                                                                 has an organic link
                                                                                                link with
                                                                                                     with SBK
                                                                                                          SBK Holding
                                                                                                              Holding Turkey takes over
                                                                                                                      Turkey takes  over the
                                                                                                                                         the bank
                                                                                                                                             bank
loans of
loans      the same
       of the  same companies
                     companies and
                                and acquires
                                     acquires an
                                              an interest
                                                 interest as
                                                          as a
                                                             a result of this.
                                                               result of this.

44. With
44. With regards
           regards to
                   to Mega
                      Mega Varlik
                           Varlık Yonetim
                                  Yönetim A.S.,
                                          A.Ş., Soner Yalçın stated
                                                Soner Yalcm  stated the
                                                                    the following
                                                                        following in his article
                                                                                  in his article dated
                                                                                                 dated March
                                                                                                       March 31,
                                                                                                             31, 2017
                                                                                                                 2017 published
                                                                                                                      published in
                                                                                                                                in Sözcü  Newspaper
                                                                                                                                   Sozcii Newspaper
and titled
and titled "Masquerade":
            “Masquerade”:

           “These
            "These companies
                    companies are are called  vultures in
                                       called vultures in the west; they
                                                          the west;       constitute aa legal
                                                                    they constitute     legal version
                                                                                               version of
                                                                                                        of the mafia. They
                                                                                                           the mafia.  They take
                                                                                                                               take over
                                                                                                                                    over the non-performing
                                                                                                                                         the non performing loans  of
                                                                                                                                                             loans of
           financial institutions
           financial                and they
                       institutions and        start chasing
                                         they start  chasing the debtors. Our
                                                             the debtors.        vulture lastly
                                                                           Our vulture    lastly purchased
                                                                                                 purchased Bodrum
                                                                                                             Bodrum Kervansaray
                                                                                                                       Kervansaray Hotel.
                                                                                                                                       Hotel. Mega
                                                                                                                                              Mega Varlık’s  actual
                                                                                                                                                     Varhk's actual
           owner is
           owner   is aa US  national named
                         US national   named Jacob
                                               Jacob Ortel  Kingston. Isn't
                                                      Ortel Kingston.  Isn’t it
                                                                             it strange
                                                                                strangefor
                                                                                         for the
                                                                                             the credit  rating institution
                                                                                                  credit rating               JCR which
                                                                                                                institution JCR    which has
                                                                                                                                          has decreased
                                                                                                                                              decreased Turkey’s score
                                                                                                                                                        Turkey's score
           to
            to have
               have increased
                    increased this    vulture company’s
                                 this vulture              score to
                                              company's score       A in
                                                                 to A in such
                                                                         such aa short
                                                                                  short period
                                                                                        period ofof time?  No, it
                                                                                                    time? No,  it is not. It
                                                                                                                  is not. It is
                                                                                                                             is Global Solidarity!”
                                                                                                                                Global Solidarity!"




                                                                                   10
                                                                                   10

                                                           [signature]
                                                           [signature]                                    [signature]
                                                                                                          [signature]
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Hergüner Bilgen
Hergiiner Bilgen Ozeke
                 Özeke

45. On
45. On the
       the other
           other hand,
                 hand, Kamil
                       Kamil Feridun
                               Feridun Ozkahraman
                                       Özkahraman whowho is
                                                          is also
                                                             also one
                                                                  one of the suspects
                                                                      of the suspects is
                                                                                      is assigned
                                                                                         assigned toto senior
                                                                                                       senior positions
                                                                                                               positions in all of
                                                                                                                         in all of the
                                                                                                                                   the investments made by
                                                                                                                                       investments made by
SBK  Holding Turkey
SBK Holding          and as
              Turkey and as it
                            it will
                               will be
                                    be explained in section
                                       explained in section C
                                                            C below,
                                                              below, he
                                                                      he plays
                                                                         plays an
                                                                               an effective
                                                                                  effective role in their
                                                                                            role in  their decision-making
                                                                                                           decision-making mechanisms.
                                                                                                                             mechanisms.

C- THIS
C- THIS ORGANIZATION
        ORGANIZATION USED
                     USED THE SAME PLOT
                          THE SAME PLOT OR A SIMILAR
                                        OR A SIMILAR PLOT
                                                     PLOT IN
                                                          IN OTHER
                                                             OTHER CASES – KERVANSARAY
                                                                   CASES — KERVANSARAY HOTEL
                                                                                       HOTEL EXAMPLE
                                                                                             EXAMPLE

46. Kamil
46. Kamil Feridun
           Feridun Özkahraman
                   Ozkahraman who who isis also
                                           also one
                                                one of
                                                    of the
                                                       the suspects,
                                                           suspects, is an executive
                                                                     is an           and shareholder
                                                                           executive and shareholder of
                                                                                                     of SBK Holding Turkey’s
                                                                                                        SBK Holding          subsidiaries and
                                                                                                                    Turkey's subsidiaries and affiliated
                                                                                                                                              affiliated
partnerships and
partnerships and he
                 he has
                    has aa close
                           close relationship  with Sezgin
                                 relationship with          Baran Korkmaz.
                                                    Sezgin Baran  Korkmaz.

47. We
47. We hereby submit the
       hereby submit  the information
                          information related to Kamil Feridun
                                      related to       Feridun Ozkaraman's
                                                               Özkaraman’s place
                                                                           place within
                                                                                 within the
                                                                                        the organization
                                                                                            organization for
                                                                                                         for the
                                                                                                             the consideration
                                                                                                                 consideration of
                                                                                                                               of your
                                                                                                                                  your
Honorable Prosecution
Honorable Prosecution Office:
                       Office:

(i) Borajet
(i) Borajet Havaohk
            Havacılık Taşımacılık   Uçak Bakim
                        Tasimanhk Ucak     Bakım Onanm
                                                   Onarım yeve Ticaret  Anonim Sirketi:
                                                               Ticaret Anonim      Şirketi: Subsequent to the
                                                                                            Subsequent to the transfer
                                                                                                              transfer of
                                                                                                                       of the
                                                                                                                          the Client’s shares, Kamil
                                                                                                                              Client's shares, Kamil Feridun
                                                                                                                                                      Feridun
Özkaraman was
Ozkaraman    was elected  as aa member
                  elected as    member of  the board
                                        of the board of
                                                     of directors
                                                        directors for three years
                                                                  for three years with
                                                                                    with the
                                                                                         the Board
                                                                                             Board of
                                                                                                   of Directors
                                                                                                      Directors Resolution
                                                                                                                 Resolution dated   December 30,
                                                                                                                              dated December    30, 2016
                                                                                                                                                    2016 and
                                                                                                                                                          and
then he
then he was
        was authorized
              authorized to
                         to represent and to
                            represent and to bind
                                             bind the
                                                  the company.
                                                      company. Following     this, he
                                                                 Following this,      was appointed
                                                                                   he was  appointed as
                                                                                                     as the
                                                                                                        the company's
                                                                                                            company’s general
                                                                                                                         general manager
                                                                                                                                  manager with
                                                                                                                                           with the
                                                                                                                                                 the board
                                                                                                                                                     board of
                                                                                                                                                           of
directors’ resolution
directors' resolution dated
                      dated March
                            March 30,
                                   30, 2017.
                                       2017. [APPENDIX
                                              [APPENDIX 22  22 —
                                                               – Board
                                                                  Board of
                                                                         of Directors
                                                                            Directors Resolutions]
                                                                                        Resolutions]

                   Bilişim ye
 (ii) Bukombin Bilisim      ve Teknoloji Anonim Sirketi:
                                                   Şirketi: This company
                                                                 company isis the
                                                                              the only
                                                                                  only shareholder
                                                                                        shareholder of Bugaraj. The
                                                                                                    of Bugaraj.  The only   shareholder of
                                                                                                                      only shareholder       this company
                                                                                                                                          of this company isis its
                                                                                                                                                               its
founding   partner SBK
founding partner    SBK Holding
                          Holding Turkey.  Company was
                                   Turkey. Company   was founded   in 2015.
                                                          founded in  2015. During
                                                                            During its
                                                                                    its foundation
                                                                                        foundation and
                                                                                                   and while
                                                                                                        while the
                                                                                                              the shares
                                                                                                                   shares were
                                                                                                                          were being
                                                                                                                                being transferred,
                                                                                                                                       transferred, the
                                                                                                                                                     the member
                                                                                                                                                         member
of the
of  the board
        board of
               of directors
                  directors is
                            is SBK  Holding Turkey.
                               SBK Holding           However, as.
                                             Turkey. However,  as it may be
                                                                  it may be understood
                                                                            understood from
                                                                                         from the
                                                                                              the trade
                                                                                                  trade registry
                                                                                                        registry records,
                                                                                                                 records, aa share
                                                                                                                             share transfer
                                                                                                                                   transfer had
                                                                                                                                            had been
                                                                                                                                                  been made
                                                                                                                                                       made and
                                                                                                                                                             and
the only
the       shareholder as
     only shareholder   as of  May 26,
                           of May   26, 2017
                                        2017 was
                                             was Kamil
                                                 Kamil Feridun
                                                        Feridun Ozkaraman.
                                                                 Özkaraman. Kamil
                                                                               Kamil Feridun
                                                                                      Feridun Özkaraman
                                                                                              Ozkaraman waswas also
                                                                                                                 also appointed
                                                                                                                      appointed as
                                                                                                                                 as the
                                                                                                                                     the chairman
                                                                                                                                         chairman ofof the
                                                                                                                                                       the board
                                                                                                                                                           board
of directors.
of             [APPENDIX 23
    directors. [APPENDIX       23 —
                                  – Relevant
                                    Relevant Trade   Registry Records]
                                              Trade Registry  Records]

(iii) Mega
(iii) Mega Varlik
            Varlık Yonetim
                      Yönetim A.S.:
                               A.Ş.: Even
                                      Even though
                                            though we
                                                   we did not determine
                                                      did not determine that
                                                                          that Kamil
                                                                               Kamil Feridun
                                                                                     Feridun Ozkaraman
                                                                                               Özkaraman holds
                                                                                                            holds aa direct position as
                                                                                                                     direct position as the
                                                                                                                                        the member
                                                                                                                                            member of   the board
                                                                                                                                                     of the  board
of directors
of            or as
    directors or as aa shareholder
                       shareholder in this company
                                   in this         within the
                                           company within the registry
                                                              registry records,
                                                                       records, he
                                                                                he has
                                                                                   has carried
                                                                                       carried out several transactions
                                                                                               out several transactions as
                                                                                                                         as the
                                                                                                                            the representative of this
                                                                                                                                representative of this company’s
                                                                                                                                                       company's
founding   partner Jacob
founding partner     Jacob Ortell
                            Ortell Kingston.
                                   Kingston. [APPENDIX
                                              [APPENDIX 24 24 —– Document
                                                                 Document andand Powers
                                                                                  Powers of   Attorney Showing
                                                                                           of Attorney  Showing thatthat Kamil Feridun
                                                                                                                                 Feridun Ozkaraman
                                                                                                                                           Özkaraman is  is Jacob
                                                                                                                                                            Jacob
Ortell Kingston's
Ortell  Kingston’s Authorized
                        Authorized Representative]
                                    Representative]

(iv) Noil
(iv) Noil Yabnm
          Yatırım twat
                   İnşaat Turizm     Sanayi ye
                           Turizm Sanayi      ve Ticaret  A.Ş.: This
                                                 Ticaret A.S.:  This company
                                                                     company waswas founded
                                                                                     founded byby Levon
                                                                                                   Levon Termendzhyan,      Friedrich Grosz
                                                                                                           Termendzhyan, Friedrich            Roell and
                                                                                                                                       Grosz Roell   and Mehmet
                                                                                                                                                         Mehmet
Özbey on
Ozbey      October 23,
        on October  23, 2012.
                        2012. The
                               The first  chairman of
                                    first chairman     the company's
                                                   of the  company’s Executive
                                                                       Executive Board
                                                                                   Board is
                                                                                          is Levon
                                                                                             Levon Termendzhyan
                                                                                                     Termendzhyan and and its
                                                                                                                          its General  Manager is
                                                                                                                              General Manager       Sezgin Baran
                                                                                                                                                 is Sezgin Baran
Korkmaz. Afterwards,
Korkmaz.   Afterwards, Kamil
                        Kamil Feridun
                               Feridun Özkaraman     was appointed
                                         Ozkaraman was     appointed as
                                                                     as the
                                                                        the General  Manager of
                                                                             General Manager    of the
                                                                                                   the company
                                                                                                       company authorized
                                                                                                                 authorized toto represent
                                                                                                                                 represent and
                                                                                                                                           and bind
                                                                                                                                               bind the
                                                                                                                                                    the company
                                                                                                                                                        company
in the broadest
in the broadest possible
                possible manner
                          manner with
                                   with the
                                         the Board
                                             Board of  Directors’ Resolution
                                                    of Directors' Resolution dated   December 28,
                                                                               dated December     28, 2012
                                                                                                       2012 and
                                                                                                            and numbered
                                                                                                                numbered 2012/5
                                                                                                                             2012/5 and
                                                                                                                                      and it
                                                                                                                                          it was
                                                                                                                                             was resolved
                                                                                                                                                 resolved for the
                                                                                                                                                          for the
company
company toto resume
             resume its
                     its activities as an
                         activities as  an incorporated
                                           incorporated company
                                                         company with
                                                                   with aa single
                                                                            single shareholder
                                                                                   shareholder asas of  January 28,
                                                                                                    of January  28, 2013
                                                                                                                     2013 pursuant
                                                                                                                           pursuant toto the
                                                                                                                                         the Board
                                                                                                                                             Board of
                                                                                                                                                    of Directors'
                                                                                                                                                       Directors’
Resolution dated
Resolution         January 28,
            dated January    28, 2013
                                 2013 andand numbered
                                              numbered 2013/2
                                                         2013/2 and
                                                                 and the
                                                                      the same
                                                                           same resolution    also indicated
                                                                                  resolution also   indicated that
                                                                                                              that the
                                                                                                                    the only
                                                                                                                        only shareholder
                                                                                                                               shareholder was
                                                                                                                                             was Kamil
                                                                                                                                                  Kamil Feridun
                                                                                                                                                         Feridun
Özkaraman.5 [APPENDIX 25
Ozkaraman.5                   25 —
                                 – Relevant
                                   Relevant Trade    Registry Records]
                                               Trade Registry   Records]




55According to the official records of the State Department of Utah in the USA that are open to public access, Washakie Renewable Energy LLC was established on
06/03/2006. Company’s
             Company's General Manager (CEO) is Jacob Ortell Kingston. According to the official records of the State Department of California in the USA that are
open to public access, Noil Energy Group, Inc. was established on 06/20/2007. Its General Manager is Daniel McDyre, Company Secretary is George Termendzhyan,
Finance Manager is Anne Termendzhyan and Company Director is Levon Termendhzyan. According to the official records of the State Department of Utah in the USA
that are open to public access, it is possible to access the company records of Washakie Renewable Energy LLC at the following website (Access date: 09/11/2017):
                                                                  https://www.epa.gov/enforcement/washakie-renewable-energy-llc-stipulation-settlement-and-order-
https://secure.utah.gov.bes.details.html?entity=6138397-0160) https://www.epa.gov/enforcement/washakie-renewable-energy-fic-stipulation-settlement-and-order-
notice-violation-and) According to the official records of the State Department of California in the USA that are open to public access

                                                                           11


                                                      [signature]                                [signature]
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Hergüner Bilgen
Hergiiner Bilgen Ozeke
                 Özeke

    Kervansaray Yatinm
(v) Kervansaray   Yatırım Holding
                            Holding A.S.:
                                      A.Ş.: Kamil
                                            Kamil Feridun
                                                  Feridun Ozkaraman
                                                           Özkaraman accepted     to be
                                                                        accepted to  be elected
                                                                                        elected to
                                                                                                to serve
                                                                                                   serve on
                                                                                                         on the
                                                                                                            the company’s board of
                                                                                                                company's board of directors
                                                                                                                                   directors with
                                                                                                                                             with the
                                                                                                                                                  the deed
                                                                                                                                                      deed
of consent
of consent dated July 21,
           dated July  21, 2015
                           2015 for this company
                                for this          as well
                                         company as  well and
                                                          and this
                                                              this matter
                                                                   matter was
                                                                           was announced
                                                                                announced atat the
                                                                                               the General
                                                                                                   General Assembly
                                                                                                            Assembly meeting
                                                                                                                     meeting that
                                                                                                                             that was
                                                                                                                                  was held
                                                                                                                                       held on
                                                                                                                                            on August
                                                                                                                                               August 28,
                                                                                                                                                       28,
2015 and
2015 and aa resolution was adopted
            resolution was  adopted accordingly.
                                     accordingly. He
                                                  He submitted
                                                     submitted his
                                                                his letter of resignation
                                                                    letter of resignation on
                                                                                          on June
                                                                                             June 02,  2017. [APPENDIX
                                                                                                   02, 2017. [APPENDIX 26 26 —
                                                                                                                             – Relevant
                                                                                                                               Relevant Trade
                                                                                                                                          Trade Registry
                                                                                                                                                 Registry
Records]
Records]

48. The
48.       methods including
    The methods     including the
                                the trap
                                    trap set
                                         set up
                                             up for  Borajet and
                                                 for Borajet  and hence
                                                                  hence the
                                                                          the Client
                                                                              Client who
                                                                                      who transferred
                                                                                          transferred his
                                                                                                        his shares,
                                                                                                            shares, and  the actions
                                                                                                                     and the  actions subject
                                                                                                                                      subject to
                                                                                                                                              to the
                                                                                                                                                 the crimes
                                                                                                                                                      crimes that
                                                                                                                                                              that were
                                                                                                                                                                   were
committed,    were also
committed, were     also used
                         used for   other companies
                                for other  companies byby the
                                                           the company    officials in
                                                               company officials    in question
                                                                                       question detailed   above and
                                                                                                 detailed above   and with
                                                                                                                       with regards   to whom
                                                                                                                             regards to  whom aa complaint
                                                                                                                                                  complaint hashas been
                                                                                                                                                                   been
filed. In fact,
filed. In       Kervansaray Yatinm
          fact, Kervansaray    Yatırım Holding
                                         Holding A.S.
                                                   A.Ş. ("Kervansaray")
                                                        (“Kervansaray”) was  was remembered
                                                                                 remembered withwith certain
                                                                                                      certain irregularities  during the
                                                                                                              irregularities during  the period
                                                                                                                                         period when
                                                                                                                                                 when Kamil
                                                                                                                                                        Kamil Feridun
                                                                                                                                                                Feridun
Özkaraman served
Ozkaraman      served as
                      as aa member
                            member of  of the
                                          the board
                                              board ofof directors. Firstly, Kervansaray
                                                         directors. Firstly, Kervansaray Bodrum
                                                                                           Bodrum Hotel
                                                                                                      Hotel was
                                                                                                             was leased    to SBK
                                                                                                                   leased to        Holding Turkey
                                                                                                                              SBK Holding    Turkey for    10 years
                                                                                                                                                       for 10  years on
                                                                                                                                                                     on
August 04,
August        2015 and
          04, 2015  and as
                         as aa result
                               result of this lease
                                      of this lease contract,  SBK Holding
                                                     contract, SBK   Holding Turkey
                                                                               Turkey had
                                                                                        had aa lease annotation for
                                                                                               lease annotation       10 years
                                                                                                                  for 10  years processed
                                                                                                                                 processed for  Kervansaray Bodrum
                                                                                                                                           for Kervansaray     Bodrum
Hotel which
Hotel   which was
                was worth
                     worth TRY      27,960,000 [APPENDIX
                             TRY 27,960,000       [APPENDIX 27   27 —– Kervansaray
                                                                       Kervansaray Yatinm
                                                                                        Yatırım Holding
                                                                                                   Holding A.S.
                                                                                                             A.Ş. Public
                                                                                                                    Public Disclosure
                                                                                                                             Disclosure Platform
                                                                                                                                         Platform statement
                                                                                                                                                     statement dated
                                                                                                                                                                 dated
December 02,
December          2016]
              02, 2016]

49. In
49. In the
       the special
           special status
                   status statement
                           statement that
                                      that was
                                           was made
                                               made by by Kervansaray
                                                          Kervansaray on  on March
                                                                             March 09,   2016, it
                                                                                    09, 2016,     was announced
                                                                                               it was announced that
                                                                                                                  that the
                                                                                                                       the receivables
                                                                                                                           receivables of
                                                                                                                                        of one  of the
                                                                                                                                           one of  the company's
                                                                                                                                                       company’s
creditor banks named
creditor banks  named Odea
                         Odea Bank
                                Bank A.S.
                                      A.Ş. from  the company
                                           from the   company in in the
                                                                    the amount
                                                                         amount of
                                                                                 of TRY   29,505,037 and
                                                                                    TRY 29,505,037     and EUR
                                                                                                            EUR 1,104,262
                                                                                                                 1,104,262 were
                                                                                                                             were transferred/assigned
                                                                                                                                   transferred/assigned to
                                                                                                                                                         to Mega
                                                                                                                                                            Mega
Varlık Yonetim
Varlik  Yönetim A.S.
                  A.Ş. and
                        and that
                              that Mega
                                   Mega Varlik
                                          Varlık Yonetim
                                                 Yönetim A.S.
                                                            A.Ş. started
                                                                   started two
                                                                           two separate
                                                                               separate proceedings
                                                                                          proceedings without
                                                                                                        without judgment
                                                                                                                judgment with
                                                                                                                            with regards  to the
                                                                                                                                 regards to  the aforementioned
                                                                                                                                                  aforementioned
receivables. In
receivables. In the
                the statement
                     statement dated
                                 dated December
                                       December 07,     2016, it
                                                    07, 2016,     was declared
                                                              it was            that Kervansaray
                                                                       declared that Kervansaray Bodrum
                                                                                                   Bodrum Hotel
                                                                                                             Hotel which
                                                                                                                    which was
                                                                                                                           was pledged
                                                                                                                                pledged for   the aforementioned
                                                                                                                                         for the  aforementioned
receivable was
receivable  was put
                put on
                     on the
                         the market
                              market for sale for
                                     for sale for aa price
                                                     price of
                                                           of TRY    94,239,951 upon
                                                              TRY 94,239,951      upon the
                                                                                        the request of Mega
                                                                                            request of  Mega Varlik
                                                                                                              Varlık Yonetim
                                                                                                                     Yönetim A.S.
                                                                                                                                A.Ş. THIS    INCIDENT ALSO
                                                                                                                                      THIS INCIDENT        ALSO
HAPPENED AT
HAPPENED       AT BORAJET
                    BORAJET WITH  WITH THETHE SAME
                                                SAME ACTORS.
                                                         ACTORS. [APPENDIX
                                                                       [APPENDIX 28  28 -- Kervansaray
                                                                                           Kervansaray Yatinm
                                                                                                           Yatırım Holding
                                                                                                                    Holding A.S.
                                                                                                                              A.Ş. Public
                                                                                                                                    Public Disclosure
                                                                                                                                           Disclosure Platform
                                                                                                                                                        Platform
statements dated
statements   dated March
                    March 09,    2016 and
                             09, 2016  and December
                                            December 07,     2016]
                                                         07, 2016]

We would
We  would like
            like to
                 to underline that the
                    underline that the same
                                       same structure
                                             structure formed
                                                        formed by  Odea Bank
                                                               by Odea    Bank A.S.
                                                                               A.Ş. and
                                                                                    and Mega
                                                                                        Mega Varhk
                                                                                             Varlık YOnetim
                                                                                                    Yönetim A.S.
                                                                                                            A.Ş. against
                                                                                                                 against the
                                                                                                                         the Client
                                                                                                                             Client were
                                                                                                                                    were also
                                                                                                                                         also
present in
present in this
           this incident
                incident and
                         and submit
                              submit this
                                     this point
                                          point for the consideration
                                                for the               of the
                                                        consideration of the Honorable
                                                                             Honorable Prosecution
                                                                                       Prosecution Office.
                                                                                                   Office.

50. As
50. As the
         the process
              process continued,  Kervansaray Bodrum
                      continued, Kervansaray    Bodrum Hotel
                                                          Hotel was
                                                                 was sold
                                                                      sold to
                                                                           to Mega
                                                                              Mega Varlik
                                                                                   Varlık Yonetim
                                                                                          Yönetim A.S.
                                                                                                    A.Ş. for the price
                                                                                                         for the price of
                                                                                                                       of TRY
                                                                                                                          TRY 47,150,095.77 on March 21,
2017 via
2017   via aa tender.
              tender. However,
                      However, asas it was mentioned
                                    it was mentioned inin the
                                                          the Capital
                                                              Capital Market
                                                                      Market Board's
                                                                              Board’s bulletin
                                                                                      bulletin dated
                                                                                               dated March
                                                                                                     March 23,
                                                                                                            23, 2017
                                                                                                                2017 and
                                                                                                                      and numbered
                                                                                                                           numbered 2017/12,
                                                                                                                                     2017/12, aa lawsuit was
                                                                                                                                                 lawsuit was
filed
filed for the annulment
      for the  annulment of
                          of the
                             the tender
                                 tender as
                                        as per
                                           per Article
                                               Article 134  of the
                                                        134 of the Enforcement
                                                                   Enforcement and
                                                                                and Bankruptcy
                                                                                    Bankruptcy Law
                                                                                                Law onon March
                                                                                                         March 27,
                                                                                                                27, 2017
                                                                                                                    2017 before
                                                                                                                          before Bodrum
                                                                                                                                 Bodrum Enforcement
                                                                                                                                        Enforcement Court
                                                                                                                                                      Court
as per
as per the
        the decision
             decision adopted
                      adopted by
                               by the
                                  the Board's
                                       Board’s Decision-Making
                                               Decision-Making Organ
                                                                   Organ dated  March 23,
                                                                          dated March 23, 2017
                                                                                          2017 and
                                                                                                and numbered   13/451:
                                                                                                     numbered 13/451:

          “Pursuant to
          "Pursuant       our Board's
                      to our   Board’s application
                                         application dated
                                                     dated 03/20/2017
                                                            03/20/2017 and and inin order
                                                                                    order to
                                                                                          to prevent
                                                                                             prevent the
                                                                                                       the Company’s     assets to
                                                                                                            Company's assets    to be
                                                                                                                                   be reduced
                                                                                                                                       reduced within     the scope
                                                                                                                                                  within the  scope of
                                                                                                                                                                     of
          Article 21
          Article 21 of
                      of the
                         the Capital    Market Law,
                              Capital Market    Law, aa lawsuit
                                                        lawsuit has
                                                                 has been    filed before
                                                                       been filed  before Istanbul    th Civil
                                                                                          Istanbul 77th  Civil Court  of Peace
                                                                                                               Court of  Peace with
                                                                                                                                with the  file numbered
                                                                                                                                     the file              E.2017/264
                                                                                                                                               numbered E.2017/264
          and with
          and  with the
                    the requests
                         requests to
                                   to render
                                      render the
                                              the lease
                                                  lease contract   dated 08/04/2015
                                                         contract dated    08/04/2015 with    regards to
                                                                                        with regards    to the
                                                                                                           the leasing
                                                                                                               leasing of
                                                                                                                       of the
                                                                                                                          the hotel
                                                                                                                              hotel in
                                                                                                                                    in question
                                                                                                                                        question that
                                                                                                                                                   that was  signed by
                                                                                                                                                        was signed   by
          and between
          and  between the
                         the parties
                              parties invalid
                                       invalid as
                                               as the
                                                  the contract
                                                       contract is
                                                                 is fictitious
                                                                    fictitious and
                                                                                and with
                                                                                     with an
                                                                                          an injunction    request to
                                                                                              injunction request      stop the
                                                                                                                   to stop     sale of
                                                                                                                           the sale     Kervansaray Bodrum
                                                                                                                                    of Kervansaray      Bodrum Hotel
                                                                                                                                                                  Hotel
          which belongs
          which  belongs toto the
                              the Company
                                  Company that    will be
                                             that will    realized on
                                                       be realized   on 03/21/2017
                                                                        03/21/2017 by by Bodrum   2nd Enforcement
                                                                                         Bodrum 2nd    Enforcement Office    within the
                                                                                                                      Office within      framework of
                                                                                                                                    theframework      of articles
                                                                                                                                                         articles 92/1-
                                                                                                                                                                  92/1-
          (a) and (b)
          (a) and      of the
                  (b) of  the Capital   Market Law
                              Capital Market    Law and
                                                     and Article
                                                          Article 389
                                                                  389 and
                                                                        and subsequent
                                                                             subsequent articles
                                                                                          articles of
                                                                                                   of Code
                                                                                                      Code ofof Civil Procedures numbered
                                                                                                                Civil Procedures   numbered 6100.
                                                                                                                                                6100.

           With
           With the  decision adopted
                 the decision adopted by
                                       by the aforementioned Court
                                          the aforementioned       dated 03/21/2017
                                                             Court dated            and numbered
                                                                         03/21/2017 and numbered E.2017/264,
                                                                                                 E.2017/264, it was decreed
                                                                                                             it was decreed to reject our
                                                                                                                            to reject our Board's
                                                                                                                                          Board’s
           interim
           interim injunction request.
                   injunction request.

           With
           With the special status
                the special status statement
                                   statement made
                                             made by
                                                  by the
                                                     the Company
                                                         Company on
                                                                 on 03/22/2017, it was
                                                                    03/22/2017, it was declared
                                                                                       declared to
                                                                                                to the public that
                                                                                                   the public      Kervansaray Bodrum
                                                                                                              that Kervansaray Bodrum Hotel
                                                                                                                                      Hotel was
                                                                                                                                            was




it is possible
it is possible to
               to access the company
                  access the  company records
                                      records related to Noil
                                              related to Noil Energy
                                                              Energy Group
                                                                     Group LLC
                                                                           LLC from the following
                                                                               from the           website address
                                                                                        following website address (Access
                                                                                                                  (Access date
                                                                                                                          date 09/11/2017):
                                                                                                                               09/11/2017):
https://businesssearch.sos.ca.gov/CBS/Detail)
https://businesssearch.sos.ca.gov/CBS/Detail)

                                                                             12
                                                                             12

                                                       [signature]
                                                       [signature]                       [signature]
                                                                                         [signature]
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Hergüner Bilgen
Hergiiner Bilgen Ozeke
                 Özeke

         sold to
         sold    Mega Varlık
              to Mega Varlik Yönetim A.Ş.for
                             Yonetim A.$. for the price of
                                              the price of TRY
                                                           TRY 47,150,975.77 via aa tender
                                                               47,150,975.77 via    tender that
                                                                                           that took place on
                                                                                                took place on 03/21/2017.
                                                                                                              03/21/2017.

         It was
         It was decided
                decided by  our Board
                         by our Board toto instruct
                                           instruct the
                                                    the Company   for taking
                                                        Company for   taking an
                                                                             an immediate
                                                                                immediate action
                                                                                             action for
                                                                                                    for the
                                                                                                        the annulment
                                                                                                            annulment of of the
                                                                                                                            the sale
                                                                                                                                sale in
                                                                                                                                     in question,
                                                                                                                                        question, to
                                                                                                                                                  to send
                                                                                                                                                     send aa
         notification to
         notification to the
                         the Banking
                             Banking Regulation
                                        Regulation and
                                                     and Supervision
                                                          Supervision Agency
                                                                       Agency for
                                                                               for the
                                                                                   the inspection
                                                                                        inspection of
                                                                                                    of the
                                                                                                       the business
                                                                                                           business activities
                                                                                                                     activities and
                                                                                                                                and transactions
                                                                                                                                     transactions of
                                                                                                                                                   of Mega
                                                                                                                                                      Mega
         Varlık
         Varlik Yönetim   A.Ş., to
                 Yonetim A.S.,  to inform
                                   inform the  public that
                                           the public that the
                                                           the Company’s  partner can
                                                               Company's partner  can seek
                                                                                       seek legal remedies in
                                                                                            legal remedies  in order
                                                                                                               order to
                                                                                                                     to exercise
                                                                                                                        exercise their  rights.”
                                                                                                                                  their rights."

[APPENDIX 29
[APPENDIX    29 -- Kervansaray
                   Kervansaray Yatirim
                                Yatırım Holding
                                        Holding A.S.
                                                A.Ş. Public
                                                     Public Disclosure
                                                            Disclosure Platform
                                                                       Platform statement
                                                                                statement dated
                                                                                          dated March
                                                                                                March 23,
                                                                                                      23, 2017
                                                                                                          2017 and
                                                                                                               and Capital
                                                                                                                   Capital Market
                                                                                                                           Market Board's
                                                                                                                                  Board’s
Bulletin dated
Bulletin       March 23,
         dated March   23, 2017
                           2017 and
                                and numbered  2017/12]
                                    numbered 2017/12]

51. On
51. On the
       the other
           other hand,
                 hand, the
                       the minutes
                           minutes of the 2015
                                   of the 2015 and
                                               and 2016
                                                   2016 Ordinary
                                                        Ordinary General
                                                                 General Assembly
                                                                         Assembly Meeting
                                                                                  Meeting of Kervansaray Yatulm
                                                                                          of Kervansaray Yatırım A.S.
                                                                                                                 A.Ş. that
                                                                                                                      that was
                                                                                                                           was held
                                                                                                                               held on
                                                                                                                                    on September
                                                                                                                                       September
26, 2017 indicates:
         indicates:

          “Moreover,    Zübeyir Öztopal
          "Moreover, Ziibeyir              askedfor
                                 Oztopal asked   for the floor and
                                                     thefloor  and said
                                                                   said that
                                                                        that ‘even
                                                                              'even though
                                                                                    though the
                                                                                            the company is constantly
                                                                                                company is            reporting aa loss,
                                                                                                           constantly reporting    loss, major
                                                                                                                                         major shareholders
                                                                                                                                               shareholders
          did not
          did not repay
                   repay the  sums that
                          the sums that they  have taken
                                         they have        from the
                                                   taken from  the company   and in
                                                                   company and    in the same manner,
                                                                                     the same manner, loans
                                                                                                      loans taken outfrom
                                                                                                            taken out  from the
                                                                                                                            the banks  have been
                                                                                                                                banks have        repaid with
                                                                                                                                             been repaid with
          high interest
          high           rates. We
                interest rates.     want information
                                We want                about these
                                           information about        and we
                                                              these and  we also
                                                                             also want
                                                                                  want anan explanation
                                                                                            explanation with
                                                                                                        with regards  to the
                                                                                                             regards to  the loan
                                                                                                                             loan taken
                                                                                                                                   taken from
                                                                                                                                          from SBK
                                                                                                                                               SBK Holding
                                                                                                                                                     Holding
          with
          with aa high
                  high interest
                       interest rate:"
                                 rate’.”

          Zübeyir Öztopal
          Ziibeyir Oztopal took
                           took the  floor and
                                 the floor and said,
                                                 said, “It was indicated
                                                       "It was indicated that
                                                                           that the
                                                                                the hotel
                                                                                    hotel provided
                                                                                          provided to
                                                                                                   to SBK
                                                                                                      SBK Holding
                                                                                                            Holding against
                                                                                                                     against aa debt
                                                                                                                                debt would
                                                                                                                                     would be
                                                                                                                                            be returned,
                                                                                                                                               returned, we we
          did not
          did not receive any information
                  receive any information in in this
                                                this regard
                                                     regard and
                                                            and we  still expect
                                                                 we still expect an
                                                                                  an explanation
                                                                                     explanation about
                                                                                                  about this".
                                                                                                        this”. Zuhal
                                                                                                               Zuhal Tılhaslı
                                                                                                                      Tdhash who   asked for
                                                                                                                               who asked  for the
                                                                                                                                              the floor
                                                                                                                                                   floor from
                                                                                                                                                         from
          the meeting
          the meeting chairman
                       chairman onon behalf
                                      behalf of
                                             of the
                                                the company   said, “Our
                                                     company said,  "Our negotiations
                                                                           negotiations with   Mega Varlık
                                                                                        with Mega   Varlik with  regards to
                                                                                                            with regards to Bodrum
                                                                                                                            Bodrum Hotel
                                                                                                                                     Hotel are
                                                                                                                                           are still
                                                                                                                                               still ongoing,
                                                                                                                                                     ongoing,
          we  hope that
          we hope  that they
                        they will
                             will be
                                  be concluded    soon and
                                      concluded soon    and when
                                                            when they
                                                                  they are
                                                                        are concluded,
                                                                             concluded, aa statement
                                                                                            statement will be published
                                                                                                      will be published on
                                                                                                                         on the
                                                                                                                            the Public
                                                                                                                                Public Disclosure
                                                                                                                                       Disclosure Platform
                                                                                                                                                     Platform
          as required”.
          as required".

52. The
52.     most striking
    The most striking points
                      points within
                             within this
                                    this scope
                                         scope are
                                                are the
                                                    the criminal
                                                        criminal complaints
                                                                 complaints filed against Borajet's
                                                                            filed against Borajet’s current  owner Kamil
                                                                                                     current owner Kamil Feridun
                                                                                                                          Feridun Özkaraman and included
                                                                                                                                  Ozkaraman and included
within various
within various bulletins
               bulletins published
                         published by
                                   by the
                                       the Capital
                                           Capital Market
                                                    Market Board
                                                            Board ("CMB").
                                                                   (“CMB”). The
                                                                              The financial   crimes allegedly
                                                                                   financial crimes   allegedly committed by Kamil
                                                                                                                committed by Kamil Feridun
                                                                                                                                   Feridun Özkaraman  as
                                                                                                                                           Ozkaraman as
claimed by CMB
claimed by  CMB and
                  and some
                       some of  which are
                             of which are linked
                                           linked with
                                                  with Mega
                                                        Mega Varlik
                                                              Varlık Yonetim
                                                                     Yönetim A.S.
                                                                               A.Ş. are
                                                                                     are as
                                                                                         as follows:
                                                                                            follows:

          “Even
          "Even though
                 though the paymentsfor
                        the payments    for existing
                                            existing receivables could not
                                                     receivables could not be
                                                                           be collected,
                                                                               collected, the  collection of
                                                                                           the collection of the
                                                                                                             the payment
                                                                                                                 payment forfor the
                                                                                                                                the receivable
                                                                                                                                    receivable in
                                                                                                                                               in the amount of
                                                                                                                                                  the amount  of
          TRY
          TRY 4,794,292.87   arising from
               4,794,292.87 arising   from the  financing provided
                                            the financing provided to
                                                                   to the related party
                                                                      the related  party Komak
                                                                                          Komak IsiIsı Yalıtım  Sistemleri Sanayi
                                                                                                       Yalthm Sistemleri    Sanayi ve
                                                                                                                                    ve Ticaret Ltd. StL
                                                                                                                                       Ticaret Ltd. Şti. without
                                                                                                                                                         without
          obtaining anything
          obtaining anything in  return was
                              in return  was waived   on 04/19/2017
                                              waived on              and as
                                                         04/19/2017 and   as aa result
                                                                                result of
                                                                                       of this,
                                                                                          this, the
                                                                                                the company
                                                                                                    company suffered
                                                                                                               suffered aa loss
                                                                                                                           loss of
                                                                                                                                of TRY  4,794,292.87”
                                                                                                                                   TRY 4,794,292.87"

          “As
          "As the  necessary objections
               the necessary objections were
                                         were not
                                               not raised
                                                   raised against
                                                           against the  default interest
                                                                    the default interest of
                                                                                          of 44.24%
                                                                                             44.24% that    was incurred
                                                                                                       that was  incurred on
                                                                                                                           on TRY
                                                                                                                               TRY 7,348,336    and BUR
                                                                                                                                     7,348,336 and  EUR 49,261
                                                                                                                                                         49,261
          requested by
          requested  by Mega
                        Mega Varlık
                               Varlik Yönetim   A.Ş. in
                                       Yonetim AS     in excess
                                                         excess and
                                                                 and the  debts in
                                                                      the debts in foreign
                                                                                    foreign currencies   and TRY
                                                                                            currencies and    TRY contrary
                                                                                                                    contrary to
                                                                                                                              to the
                                                                                                                                 the loan agreement signed
                                                                                                                                     loan agreement  signed with
                                                                                                                                                            with
          Odea   Bank A.$.
          Odea Bank   A.Ş. within
                           within the scope of
                                  the scope of the file before
                                               thefile         Istanbul 10th
                                                        before Istanbul  10th Enforcement
                                                                              Enforcement Office
                                                                                             Office in accordance with
                                                                                                    in accordance    with the Enforcement and
                                                                                                                          the Enforcement    and Bankruptcy
                                                                                                                                                 Bankruptcy Law
                                                                                                                                                            Law
          numbered 2004,
          numbered   2004, Company
                           Company has has undertaken
                                           undertaken anan excess  debt of
                                                           excess debt  of TRY  26,949,109.88 included
                                                                           TRY 26,949,109.88      included in
                                                                                                            in the file before
                                                                                                               thefile          Istanbul 10th
                                                                                                                        before Istanbul  10th Enforcement
                                                                                                                                              Enforcement Office
                                                                                                                                                          Office
          in an unjust
          in an        manner as
                unjust manner  as of
                                   of 03/21/2017”
                                      03/21/2017"

          “Untrue    accounts were
          "Untrue accounts    were opened
                                    opened intentionally,  records were
                                            intentionally, records were falsified
                                                                          falsified with
                                                                                     with accounting
                                                                                          accounting tricks  and fictitious
                                                                                                      tricks and  fictitious invoices
                                                                                                                              invoices were issued between
                                                                                                                                       were issued between
          affiliated partnerships
          affiliated partnerships Anteks
                                  Anteks Tekstil and Antalya
                                         Tekstil and Antalya College
                                                              College in order to
                                                                      in order      present the
                                                                                 to present     accounting tricks
                                                                                            the accounting        as true
                                                                                                           tricks as true transactions”  [APPENDIX 30
                                                                                                                           transactions" [APPENDIX    30 —
                                                                                                                                                         –
          CMB Bulletins
          CMB     Bulletins Regarding
                            Regarding Criminal
                                       Criminal Complaints
                                                  Complaints Filed
                                                               Filed Against
                                                                     Against Kamil
                                                                                Kamil Feridun
                                                                                        Feridun Ozkaraman]
                                                                                                 Özkaraman]




                                                               13
                                                               13


                                          [signature]
                                          [signature]                               [signature]
                                                                                    [signature]
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Hergüner Bilgen
Hergiiner Bilgen Ozeke
                 Özeke

53. Moreover,
53. Moreover, it
              it must
                 must be
                      be noted
                         noted that
                               that while
                                    while the
                                          the aforementioned
                                              aforementioned company  named Komak
                                                              company named  Komak IsiIsı Yalitun
                                                                                          Yalıtım Sistemleri
                                                                                                  Sistemleri Sanayi ve Ticaret
                                                                                                             Sanayi ye Ticaret Ltd.
                                                                                                                               Ltd. Şti. was founded
                                                                                                                                    Sti. was founded
by Sezgin
by        Baran Korkmaz,
   Sezgin Baran  Korkmaz, it
                          it was
                             was transferred
                                 transferred to
                                             to Kamil
                                                Kamil Feridun
                                                      Feridun Ozkaraman
                                                              Özkaraman through
                                                                        through the
                                                                                the transfer
                                                                                    transfer of
                                                                                             of shares.
                                                                                                shares. [APPENDIX
                                                                                                        [APPENDIX 31—31 – Relevant
                                                                                                                          Relevant Trade    Registry
                                                                                                                                     Trade Registry
Gazettes]
Gazettes]

54. Within
54. Within this
           this scope,
                scope, it
                       it is
                          is obvious
                             obvious that
                                      that Kamil
                                           Kamil Feridun
                                                   Feridun Ozkaraman
                                                            Özkaraman colluded
                                                                        colluded with
                                                                                 with Sezgin
                                                                                       Sezgin Baran
                                                                                              Baran Korkmaz
                                                                                                      Korkmaz and
                                                                                                               and Jacob
                                                                                                                   Jacob Ortell
                                                                                                                         Ortell Kingston
                                                                                                                                Kingston through
                                                                                                                                         through
various companies
various companies and
                   and as as a
                             a result of these
                               result of these collusions,
                                               collusions, criminal
                                                           criminal complaints
                                                                    complaints were
                                                                               were filed against different
                                                                                    filed against different companies.
                                                                                                            companies.

55. When
55. When these
           these offenses
                 offenses and
                           and the
                                the foregoing
                                    foregoing relationships   are examined,
                                               relationships are  examined, while
                                                                             while the
                                                                                   the Client actually transferred
                                                                                       Client actually transferred a   a group of airline
                                                                                                                         group of airline companies
                                                                                                                                          companies free
                                                                                                                                                    free
of charge,
of charge, he
           he has
              has fulfilled all obligations
                  fulfilled all obligations related to the
                                            related to the transfer,
                                                           transfer, he did not
                                                                     he did not carry out any
                                                                                carry out any fraudulent  acts, it
                                                                                              fraudulent acts,  it is
                                                                                                                   is obvious that an
                                                                                                                      obvious that an untrue  perception
                                                                                                                                       untrue perception
was created
was          about him,
     created about  him, he  was accused
                          he was  accused ofof baseless
                                               baseless crimes,
                                                        crimes, the
                                                                the Client  was deceived
                                                                    Client was            and defrauded.
                                                                                deceived and  defrauded.

D- MATERIAL
D- MATERIAL FACTS
            FACTS REGARDING
                  REGARDING THE
                            THE THREAT OFFENSES
                                THREAT OFFENSES

56. On
56. On the
       the other
           other hand, Sezgin Baran
                 hand, Sezgin Baran Korkmaz
                                    Korkmaz who
                                            who is
                                                is one of the
                                                   one of the suspects
                                                              suspects threatens
                                                                       threatens our
                                                                                 our Client
                                                                                     Client and
                                                                                            and his former employees
                                                                                                his former employees constantly.
                                                                                                                     constantly.

57. In
57.  In addition
        addition to
                  to the
                     the actions
                         actions that
                                 that we
                                      we explained   above, these
                                          explained above,  these organized
                                                                   organized criminal   acts of
                                                                               criminal acts of the
                                                                                                the suspects
                                                                                                     suspects including Bugaraj and
                                                                                                              including Bugaraj  and Sezgin  Baran Korkmaz
                                                                                                                                      Sezgin Baran  Korkmaz who
                                                                                                                                                              who
is
is its
   its definitive  owner during
       definitive owner   during the
                                  the share
                                      share transfer
                                             transfer period,
                                                      period, continued
                                                              continued in
                                                                         in aa sequence.
                                                                               sequence. In
                                                                                          In fact, they did
                                                                                             fact, they     not only
                                                                                                        did not       cause unjust
                                                                                                                 only cause        lawsuits to
                                                                                                                            unjust lawsuits to be
                                                                                                                                               be filed against the
                                                                                                                                                  filed against the
Client but
Client  but Sezgin   Baran Korkmaz
            Sezgin Baran    Korkmaz also
                                       also sent
                                            sent threatening
                                                 threatening messages
                                                              messages and
                                                                        and carried
                                                                              carried out
                                                                                      out threatening
                                                                                          threatening acts
                                                                                                       acts against the Client
                                                                                                            against the Client and
                                                                                                                               and his
                                                                                                                                   his employees
                                                                                                                                       employees simultaneously.
                                                                                                                                                  simultaneously.
Some
Some of of the
           the examples
                examples ofof the
                              the threatening
                                   threatening messages
                                                 messages sent
                                                           sent to
                                                                to the
                                                                    the Client  by Sezgin
                                                                        Client by           Baran Korkmaz
                                                                                    Sezgin Baran    Korkmaz areare provided
                                                                                                                   provided below
                                                                                                                             below for  the consideration
                                                                                                                                    for the                of your
                                                                                                                                            consideration of  your
Honorable Prosecution
Honorable    Prosecution Office:
                           Office:

 II will
    will not
         not let
             let you
                 you get
                     get away
                         away with
                              with what
                                   what you
                                        you have
                                            have put
                                                 put me
                                                     me through Mr. Ayasli
                                                        through Mr. Ayaslı                         March 02,
                                                                                                   March      2017
                                                                                                          02, 2017           +90 532
                                                                                                                             +90     268 43
                                                                                                                                 532 268 43 44
                                                                                                                                            44
                                                                                                   04:02:25 p.m.
                                                                                                   04:02:25 p.m.
  While
  While II am
           am dealing
               dealing with
                          with your
                               your debts
                                      debts here,    you are
                                              here, you  are enjoying   yourself. We
                                                              enjoying yourself.     will get
                                                                                  We will   get    March 06,
                                                                                                   March      2017
                                                                                                          06, 2017           +90 532
                                                                                                                             +90     268 43
                                                                                                                                 532 268 43 44
                                                                                                                                            44
  even  with you,
  even with   you,fraud
                    fraud Ayasli
                            Ayaslı                                                                 02:57:53 p.m.
                                                                                                   02:57:53 p.m.
 /I will
    will go
         go to
             to the
                the tax
                     tax office
                          office today   and II will
                                  today and      will have
                                                       have them
                                                            them impose   an attachment
                                                                  impose an   attachment on on     March 07,
                                                                                                   March      2017
                                                                                                          07, 2017           +90 532
                                                                                                                             +90     268 43
                                                                                                                                 532 268 43 44
                                                                                                                                            44
  your houses
 your            due to
        houses due        your tax
                       to your       debts
                                tax debts                                                          10:50:41 p.m.
                                                                                                   10:50:41 p.m.
 /I will
    will wait
         wait until
               until tomorrow
                      tomorrow and and if
                                        if it
                                           it is
                                              is not
                                                 not resolved
                                                      resolved until
                                                                until tomorrow,
                                                                      tomorrow, II will
                                                                                   will file
                                                                                         file aa   March 07,
                                                                                                   March      2017
                                                                                                          07, 2017           +90 532
                                                                                                                             +90     268 43
                                                                                                                                 532 268 43 44
                                                                                                                                            44
  lawsuit  for the
  lawsuitfor   the balance    sheet difference
                    balance sheet    difference in in the amount of
                                                      the amount   of 83
                                                                      83 mil.
                                                                         mil. US dollars and
                                                                              US dollars   and     10:52:50 p.m.
                                                                                                   10:52:50 p.m.
 II will
    will have
         have an
               an injunction
                   injunction imposed
                                 imposed on on all
                                                 all your
                                                     your assets.
                                                          assets.
 II will
    will make
         make aa fool
                  fool of
                        of you
                           you before
                                before the
                                         the entire    world
                                              entire world                                         March 09,
                                                                                                   March      2017
                                                                                                          09, 2017           +90 532
                                                                                                                             +90     268 43
                                                                                                                                 532 268 43 44
                                                                                                                                            44
                                                                                                   11:25:18 a.m.
                                                                                                   11:25:18 a.m.
  So you
  So you say
          say that we had
              that we had our
                          our eyes  on your
                              eyes on  your properties,
                                            properties, you
                                                        you are
                                                            are aa dishonest
                                                                   dishonest person,
                                                                             person,               March 09,
                                                                                                   March      2017
                                                                                                          09, 2017           +90 532
                                                                                                                             +90     268 43
                                                                                                                                 532 268 43 44
                                                                                                                                            44
  who are
  who  are you
            you that we would
                that we  would have
                               have our
                                     our eyes
                                          eyes on your properties
                                               on your properties                                  11:26:49 a.m.
                                                                                                   11:26:49 a.m.
 II will
    will show
         show your
               your true colors to
                    true colors to entire
                                   entire Turkey
                                          Turkey                                                   March 09,
                                                                                                   March      2017
                                                                                                          09, 2017           +90 532
                                                                                                                             +90     268 43
                                                                                                                                 532 268 43 44
                                                                                                                                            44
                                                                                                   11:27:21 a.m.
                                                                                                   11:27:21 a.m.
 II will
    will reveal
         reveal all
                all your
                    your donations
                         donations to  FETO [Fethullahist
                                    to FETO   [Fethullahist Terrorist
                                                            Terrorist Organization]
                                                                      Organization]                March 09,
                                                                                                   March      2017
                                                                                                          09, 2017           +90 532
                                                                                                                             +90     268 43
                                                                                                                                 532 268 43 44
                                                                                                                                            44
  one
  one by
       by one
           one                                                                                     11:31:59 a.m.
                                                                                                   11:31:59 a.m.
 II give
    give you
          you my
              my word
                 word of
                       of honor,
                          honor, II will
                                    will get
                                         get my
                                             my revenge
                                                revenge from
                                                         from you
                                                              you                                  March 09,
                                                                                                   March      2017
                                                                                                          09, 2017           +90 532
                                                                                                                             +90     268 43
                                                                                                                                 532 268 43 44
                                                                                                                                            44
                                                                                                   11:33:30 a.m.
                                                                                                   11:33:30 a.m.




                                                                                   14
                                                                                   14
                                               [signature]
                                               [signature]                                               [signature]
                                                                                                         [signature]
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Hergüner Bilgen
Hergiiner Bilgen Ozeke
                 Özeke

 II will
    will make
         make aa fool
                  fool of
                       of you
                          you in
                              in America
                                 America                                                   March 09,  2017
                                                                                                  09, 2017     +90 532
                                                                                                               +90     268 43 44
                                                                                                                   532 268
                                                                                           11:33:52 a.m.
                                                                                           11:33:52  a.m.
 II will
    will get
         get my
             my revenge
                revenge from
                         from you
                              you                                                          March 09,
                                                                                           March      2017
                                                                                                  09, 2017     +90 532
                                                                                                               +90     268 43
                                                                                                                   532 268 43 44
                                                                                                                              44
                                                                                           11:36:11 a.m.
                                                                                           11:36:11  a.m.
 You disgraceful man,
 You disgraceful man, wasn't
                      wasn’t your
                             your company
                                  company bankrupt?
                                          bankrupt?                                        March 09,
                                                                                           March      2017
                                                                                                  09, 2017     +90 532
                                                                                                               +90     268 43
                                                                                                                   532 268 43 44
                                                                                                                              44
                                                                                           11:36:50 a.m.
                                                                                           11:36:50  a.m.
 Did II bankrupt
 Did    bankrupt it?
                 it?                                                                       March 09,  2017
                                                                                                  09, 2017     +90 532
                                                                                                               +90     268 43 44
                                                                                                                   532 268
                                                                                           11:36:57 a.m.
                                                                                           11:36:57  a.m.
 You remorseless, disgraceful
 You remorseless, disgraceful man
                              man                                                          March 09,
                                                                                           March      2017
                                                                                                  09, 2017     +90 532
                                                                                                               +90     268 43
                                                                                                                   532 268 43 44
                                                                                                                              44
                                                                                           12:02:40 p.m.
                                                                                           12:02:40  p.m.
 II suggest
    suggest that you resolve
            that you resolve this without making
                             this without making aa fool
                                                     fool of
                                                          of yourself
                                                             yourself any
                                                                      any longer
                                                                          longer           March 22,
                                                                                           March  22, 2017
                                                                                                      2017     +90 532
                                                                                                               +90     268 43
                                                                                                                   532 268 43 44
                                                                                                                              44
                                                                                           07:17:58 a.m.
                                                                                           07:17:58  a.m.
 II will
    will come
         come to   America soon
                to America  soon and
                                  and II will
                                         will also
                                              alsofile
                                                   file aa lawsuit against you
                                                           lawsuit against you there and
                                                                               there and   March 22,
                                                                                           March  22, 2017
                                                                                                      2017     +90 532
                                                                                                               +90     268 43 44
                                                                                                                   532 268
 II will
    will tell
         tell them
              them that  you defrauded
                    that you defrauded meme here
                                              here                                         07:19:32 a.m.
                                                                                           07:19:32  a.m.
  Whoever     defrauded me
  Whoever defrauded       me will
                             will pay
                                  pay for
                                       for it
                                           it                                              March 22,
                                                                                           March  22, 2017
                                                                                                      2017     +90 532
                                                                                                               +90     268 43
                                                                                                                   532 268 43 44
                                                                                                                              44
                                                                                           07:23:54 a.m.
                                                                                           07:23:54  a.m.
 Primarily Fatih
 Primarily Fatih and
                 and Zahide
                     Zahide                                                                March 22,
                                                                                           March  22, 2017
                                                                                                      2017     +90 532
                                                                                                               +90     268 43
                                                                                                                   532 268 43 44
                                                                                                                              44
                                                                                           07:24:07 a.m.
                                                                                           07:24:07  a.m.
 II give
    give you
          you one
              one day;
                   day; you
                         you can
                             can either
                                 either come
                                         come out   with your
                                                out with your honor and do
                                                              honor and do what
                                                                           what is
                                                                                is         April 21,
                                                                                           April 21, 2017
                                                                                                     2017      +90 532
                                                                                                               +90     268 43 44
                                                                                                                   532 268
  necessary  or you
  necessary or   you will
                     will be responsible for
                          be responsible   for what
                                               what comes
                                                    comes next
                                                           next                            03:51:55 a.m.
                                                                                           03:51:55  a.m.
 II will
    will reveal
         reveal you
                you as
                    as aafraud
                          fraud Ayash,
                                Ayaslı, it will happen
                                        it will happen soon
                                                        soon                               April 27,
                                                                                           April 27, 2017
                                                                                                     2017      +90 532
                                                                                                               +90     268 43
                                                                                                                   532 268 43 44
                                                                                                                              44
                                                                                           02:13:04 a.m.
                                                                                           02:13:04  a.m.
 Be sure
 Be sure that
         that even if you
              even if you die,
                          die, II will
                                  will get
                                       get it
                                           it from
                                               from your
                                                    your children
                                                         children                          April 27,
                                                                                           April 27, 2017
                                                                                                     2017      +90 532
                                                                                                               +90     268 43
                                                                                                                   532 268 43 44
                                                                                                                              44
                                                                                           02:14:45 a.m.
                                                                                           02:14:45  a.m.
 Your
 Your lawyer daughter or
      lawyer daughter or your
                         your director
                              director son
                                       son will
                                           will pay
                                                pay for
                                                     for it
                                                         it                                          2017
                                                                                           April 27, 2017      +90 532
                                                                                                               +90     268 43 44
                                                                                                                   532 268
                                                                                           02:15:23 a.m.
 I will come
 /will  come there soon, take
             there soon, take it
                              it easy
                                 easy                                                      April 27,
                                                                                           April 27, 2017
                                                                                                     2017      +90 532
                                                                                                               +90     268 43
                                                                                                                   532 268 43 44
                                                                                                                              44
                                                                                           02:18:01 a.m.
                                                                                           02:18:01  a.m.
 II will
    will show
         show your
              your true colors to
                   true colors to the entire world
                                  the entire world with
                                                   with the documents
                                                        the documents                      April 27,
                                                                                           April 27, 2017
                                                                                                     2017      +90 532
                                                                                                               +90     268 43
                                                                                                                   532 268 43 44
                                                                                                                              44
                                                                                           02:18:01 a.m.
                                                                                           02:18:01  a.m.
 Let’s see
 Let's see if
           if you
              you will
                  will have
                       have the audacity to
                            the audacity to come
                                            come to
                                                 to Turkey
                                                    Turkey                                           2017
                                                                                           April 27, 2017      +90 532
                                                                                                               +90     268 43 44
                                                                                                                   532 268
                                                                                           02:18:50 a.m.
                                                                                           02:18:50  a.m.
 That
 That bitch named Zahide
      bitch named Zahide was
                         was your
                             your guarantor,
                                  guarantor, now she is
                                             now she    missing
                                                     is missing                            April 27,
                                                                                           April 27, 2017
                                                                                                     2017      +90 532
                                                                                                               +90     268 43
                                                                                                                   532 268 43 44
                                                                                                                              44
                                                                                           02:56:34 p.m.
                                                                                           02:56:34  p.m.
 You and your
 You and your wife
              wife will
                   will look for aa hole
                        lookfor     hole to hide
                                         to hide                                           April 27,
                                                                                           April 27, 2017
                                                                                                     2017      +90 532
                                                                                                               +90     268 43
                                                                                                                   532 268 43 44
                                                                                                                              44
                                                                                           04:25:22 p.m.
                                                                                           04:25:22  p.m.
   will put
 I will put you
            you in prison
                in prison                                                                            2017
                                                                                           April 28, 2017      +90 532
                                                                                                               +90     268 43 44
                                                                                                                   532 268
                                                                                           03:50:28 p.m.
                                                                                           03:50:28
 II left my business
    left my          and my
            business and my only
                            only concern is to
                                 concern is    put the
                                            to put     man who
                                                   the man who defrauded
                                                               defrauded me
                                                                         me to
                                                                            to             April 28,
                                                                                           April 28, 2017
                                                                                                     2017      +90 532
                                                                                                               +90     268 43
                                                                                                                   532 268 43 44
                                                                                                                              44
  prison
 prison                                                                                    03:51:09 p.m.
                                                                                           03:51:09  p.m.
  And that
 And         fraud named
        thatfraud  named Zahide
                         Zahide                                                            April 28,
                                                                                           April 28, 2017
                                                                                                     2017      +90 532
                                                                                                               +90     268 43
                                                                                                                   532 268 43 44
                                                                                                                              44



                                                                            15
                                                                            15

                                                      [signature]
                                                      [signature]                                [signature]
                                                                                                 [signature]
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Hergüner Bilgen
Hergiiner Bilgen Ozeke
                 Özeke

                                                                                                    03:51:59 p.m.
                                                                                                    03:51:59  p.m.
 II will
    will go
         go to Kayaköy and
            to Kayakoy and II will
                              will show
                                   show them your true
                                        them your       face this
                                                  true face       week (with
                                                             this week (with                        April 28,
                                                                                                    April 28, 2017
                                                                                                              2017        +90 532
                                                                                                                          +90     268 43
                                                                                                                              532 268 43 44
                                                                                                                                         44
  documents
  documents                                                                                         04:55:49 p.m.
                                                                                                    04:55:49  p.m.

 Ten   foreign journalists
 Ten foreign   journalists called   me and
                            called me  and II told
                                               told them
                                                    them to wait and
                                                         to wait  and that
                                                                      that II would
                                                                              would send
                                                                                    send            May 08,
                                                                                                    May  08, 2017
                                                                                                             2017         +90 532
                                                                                                                          +90     268 43
                                                                                                                              532 268 43 44
                                                                                                                                         44
 them
 them aa translation  of the
          translation of      file once
                          thefile  once aa fraud
                                            fraud lawsuit
                                                  lawsuit is filed
                                                          isfiled                                   01:00:30 p.m.
                                                                                                    01:00:30 p.m.
 It is
 It    only aa matter
    is only    matter of
                      of time
                         time                                                                       May 08,
                                                                                                    May  08, 2017
                                                                                                             2017         +90 532
                                                                                                                          +90     268 43
                                                                                                                              532 268 43 44
                                                                                                                                         44
                                                                                                    01:00:34 p.m.
                                                                                                    01:00:34 p.m.
 II am
    am having    leaflets published
        having leaflets     published to    explain how
                                         to explain   how II was
                                                             was defrauded,
                                                                  defrauded, andand II will
                                                                                       will hang
                                                                                            hang    May 08,
                                                                                                    May  08, 2017
                                                                                                             2017         +90 532
                                                                                                                          +90     268 43
                                                                                                                              532 268 43 44
                                                                                                                                         44
  these  on the
  these on   the boards
                 boards at  at METU.
                                METU. Now Now they    will see
                                                they will  see how
                                                               how you
                                                                     you were
                                                                          were involved
                                                                                involved inin tax
                                                                                              tax   01:02:25 p.m.
                                                                                                    01:02:25 p.m.
  evasion   and fraud
  evasion and    fraud in    addition to
                          in addition       your scientist
                                         to your  scientist activities
                                                             activities
 II will
    will also
         also send
               send aa letter    and aa document
                        letter and      document to  to the
                                                        the University   where your
                                                            University where     your daughter
                                                                                       daughter     May 08,
                                                                                                    May  08, 2017
                                                                                                             2017         +90 532
                                                                                                                          +90     268 43
                                                                                                                              532 268 43 44
                                                                                                                                         44
  is
  is to explain the
     to explain        situation
                  the situation                                                                     01:03:14 p.m.
  When
  When the
         the enforcement
              enforcement officers       go to
                               officers go   to the former general
                                                theformer    general manager
                                                                      manager Kadir
                                                                                 Kadir Peker's
                                                                                        Peker’s     May 08,
                                                                                                    May  08, 2017
                                                                                                             2017         +90 532
                                                                                                                          +90     268 43
                                                                                                                              532 268 43 44
                                                                                                                                         44
  door, he
  door,  he will
             will naturally     speak as
                   naturally speak      as well
                                           well                                                     05:14:06 p.m.
                                                                                                    05:14:06  p.m.
  Come
  Come back      and solve
          back and      solve my my problem.
                                     problem. II will
                                                    will help
                                                          help you
                                                               you get
                                                                     get payback
                                                                         payback fromfrom those
                                                                                            those   May 08,
                                                                                                    May  08, 2017
                                                                                                             2017         +90 532
                                                                                                                          +90     268 43
                                                                                                                              532 268 43 44
                                                                                                                                         44
  managers who
  managers     who defrauded
                      defrauded you.you.                                                            05:22:59 p.m.
                                                                                                    05:22:59  p.m.
 II will
    will get
         get my
              my revenge
                   revenge fromfrom you
                                      you for
                                           for defrauding
                                                defrauding me me and
                                                                  and until
                                                                        until that
                                                                              that time,
                                                                                   time, II hope
                                                                                             hope   July 06,
                                                                                                    July 06, 2017
                                                                                                             2017         +90 532
                                                                                                                          +90     268 43
                                                                                                                              532 268 43 44
                                                                                                                                         44
  God   does not
  God does    not take    my life
                    take my         and II can
                               life and         get my
                                           can get   my revenge
                                                         revenge                                    05:37:59 p.m.
                                                                                                    05:37:59  p.m.

58. As
58. As you
        you may
            may see
                 see clearly
                     clearly from   the foregoing
                             from the             messages, Client
                                        foregoing messages, Client received
                                                                   received clear threats and
                                                                            clear threats and insulting messages from
                                                                                              insulting messages from Sezgin Baran Korkmaz
                                                                                                                      Sezgin Baran Korkmaz who
                                                                                                                                           who is the
                                                                                                                                               is the
definitive owner of
definitive owner  of Bugaraj
                     Bugaraj for
                              for aa long period of
                                     long period of time.
                                                    time.

59. Sezgin
59. Sezgin Baran
           Baran Korkmaz
                  Korkmaz diddid not only make
                                 not only         threats via
                                           make threats   via telephone
                                                               telephone and
                                                                          and messages,
                                                                               messages, but   these threats
                                                                                          but these   threats were
                                                                                                               were also
                                                                                                                     also translated
                                                                                                                          translated into
                                                                                                                                      into physical attacks.
                                                                                                                                           physical attacks.
Sezgin Baran Korkmaz
Sezgin Baran  Korkmaz called
                        called the
                               the Client's
                                   Client’s office
                                            office in  Taksim, he
                                                    in Taksim,   he made
                                                                     made threats
                                                                          threats and insults moreover
                                                                                  and insults  moreover he he threatened  Borajet’s former
                                                                                                              threatened Borajet's          executive board
                                                                                                                                    former executive   board
member Zahide Uner
                Üner and
                     and his
                          his employees
                              employees including
                                         including Client’s
                                                     Client's lawyer  Burhan Asaf
                                                              lawyer Burhan   Asaf Şafak, he used
                                                                                   Safak, he  used aa foul
                                                                                                      foul language  and made
                                                                                                           language and   made insults
                                                                                                                                insults during
                                                                                                                                        during the
                                                                                                                                               the meetings.
                                                                                                                                                   meetings.
Some  of the
Some of  the evidences
             evidences in
                       in this
                          this regard are also
                               regard are also submitted
                                                submitted for
                                                           for the
                                                                the consideration of your
                                                                    consideration of your Honorable
                                                                                          Honorable Prosecution
                                                                                                       Prosecution Office.
                                                                                                                     Office. [APPENDIX
                                                                                                                             [APPENDIX 32   32 —– Evidences
                                                                                                                                                  Evidences
Regarding Coercion
Regarding   Coercion and
                     and Threats
                          Threats asas well
                                       well as
                                            as Insults
                                               Insults Made
                                                        Made byby Sezgin
                                                                   Sezgin Baran
                                                                          Baran Korkmaz
                                                                                  Korkmaz toto the
                                                                                                the Client
                                                                                                     Client and
                                                                                                             and His
                                                                                                                  His Employees]
                                                                                                                      Employees]

60. Moreover,
60. Moreover, Zahide
               Zahide Uner
                      Üner waswas attacked
                                  attacked by
                                            by the
                                               the opposing    party during
                                                    opposing party    during aa meeting
                                                                                meeting that
                                                                                        that was
                                                                                             was held
                                                                                                  held on
                                                                                                        on March
                                                                                                           March 18,   2017 within
                                                                                                                   18, 2017 within the
                                                                                                                                   the scope
                                                                                                                                        scope of
                                                                                                                                               of the
                                                                                                                                                   the disputes
                                                                                                                                                       disputes
regarding the
regarding the Share
              Share Transfer  Contract with
                    Transfer Contract   with the
                                             the participation
                                                 participation of
                                                                of Fatih
                                                                   Fatih Akol,
                                                                          Akol, Kamil
                                                                                Kamil Ekim
                                                                                      Ekim Alptekin,
                                                                                             Alptekin, Kamil
                                                                                                        Kamil Feridun
                                                                                                               Feridun Özkaraman,
                                                                                                                        Ozkaraman, Zahide    Üner and
                                                                                                                                    Zahide Uner     and Burhan
                                                                                                                                                        Burhan
Asaf Şafak.
Asaf        Sezgin Baran
     5afak. Sezgin  Baran Korkmaz
                            Korkmaz threw
                                      threw his
                                            his tea
                                                tea cup
                                                    cup and
                                                         and his
                                                              his water
                                                                   water glass
                                                                         glass to
                                                                               to Zahide
                                                                                  Zahide Uner;
                                                                                         Üner; he
                                                                                               he hit
                                                                                                   hit the
                                                                                                       the table
                                                                                                           table and
                                                                                                                 and broke
                                                                                                                     broke the
                                                                                                                           the glass
                                                                                                                               glass on
                                                                                                                                     on the
                                                                                                                                         the table
                                                                                                                                             table and  walked
                                                                                                                                                    and walked
towards Zahide
towards Zahide Uner
                Üner in
                     in aa threatening
                           threatening manner
                                        manner and
                                                and said,
                                                     said, "I
                                                           “I will
                                                              will kill
                                                                   kill you
                                                                        you *heavy
                                                                            *heavy swear*
                                                                                    swear* girl".
                                                                                           girl”.




                                                                                    16
                                                                                    16

                                                            [signature]
                                                            [signature]                                    [signature]
                                                                                                           [signature]
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Hergüner Bilgen
Hergiiner Bilgen Ozeke
                 Özeke

61. It
61. It is also indicated
       is also indicated in  the messages
                          in the messages sent
                                            sent to
                                                 to the
                                                    the Client
                                                        Client that
                                                               that Sezgin  Baran Korkmaz
                                                                    Sezgin Baran  Korkmaz also
                                                                                            also coerced Borajet’s former
                                                                                                 coerced Borajet's former general
                                                                                                                          general manager
                                                                                                                                  manager and
                                                                                                                                          and one
                                                                                                                                              one of suspects,
                                                                                                                                                  of suspects,
Kadir Peker
Kadir   Peker toto act
                   act against
                       against the
                               the Client
                                   Client and
                                           and to
                                                to make
                                                   make up
                                                         up offenses.
                                                             offenses. In
                                                                       In fact,  Kadir Peker
                                                                           fact, Kadir       also verified
                                                                                       Peker also verified this.
                                                                                                           this. [APPENDIX
                                                                                                                 [APPENDIX 3333 —– Evidences
                                                                                                                                   Evidences Showing
                                                                                                                                             Showing Kadir
Peker was
Peker   was Coerced
              Coerced to to Act
                            Act Against
                                 Against the
                                          the Client]
                                               Client]

62. Apart
62.  Apart from  the foregoing,
           from the  foregoing, even  though Sezgin
                                 even though          Baran Korkmaz
                                             Sezgin Baran     Korkmaz was
                                                                        was not
                                                                             not invited
                                                                                 invited in
                                                                                         in any
                                                                                            any way,
                                                                                                 way, he
                                                                                                      he went
                                                                                                         went to
                                                                                                               to the
                                                                                                                  the Client’s  real estate
                                                                                                                       Client's real estate property
                                                                                                                                            property in Kandilli
                                                                                                                                                     in Kandilli
with his
with  his wife
          wife and
               and another
                   another woman
                            woman onon February
                                        February 25,
                                                  25, 2017.
                                                      2017. This  was not
                                                             This was  not enough
                                                                           enough for   Korkmaz and
                                                                                    for Korkmaz       he went
                                                                                                  and he  went to
                                                                                                                to the
                                                                                                                   the same
                                                                                                                       same place
                                                                                                                             place again
                                                                                                                                    again on  July 30,
                                                                                                                                           on July 30, 2017
                                                                                                                                                       2017 and
                                                                                                                                                            and
this time
this time he
           he could  not get
              could not  get in because security
                             in because  security was
                                                  was instructed
                                                       instructed with
                                                                  with strict
                                                                        strict orders
                                                                               orders not
                                                                                       not to
                                                                                           to allow
                                                                                              allow him
                                                                                                    him inside.   Following this,
                                                                                                         inside. Following    this, he
                                                                                                                                    he told
                                                                                                                                       told the
                                                                                                                                            the security
                                                                                                                                                security that
                                                                                                                                                         that he
                                                                                                                                                              he
purchased the
purchased   the house  and that
                house and  that he would move
                                he would  move in  within aa couple
                                                in within           of days.
                                                             couple of days.

E. MATERIAL FACTS WITH REGARDS TO THE OFFENSES OF PERJURY AND ATTEMPT TO INFLUENCE A FAIR TRIAL

63. The
63.       suspect Sezgin
    The suspect            Baran Korkmaz
                   Sezgin Baran  Korkmaz also
                                           also coerced
                                                coerced the
                                                        the witnesses
                                                            witnesses who
                                                                      who gave
                                                                           gave aa statement
                                                                                   statement asas part
                                                                                                  part of  the Investigation
                                                                                                        of the Investigation carried
                                                                                                                              carried out
                                                                                                                                      out by
                                                                                                                                          by Istanbul
                                                                                                                                             Istanbul Chief
                                                                                                                                                       Chief Public
                                                                                                                                                              Public
Prosecutor’s Office
Prosecutor's    Office numbered
                        numbered 2017/68314.
                                  2017/68314. Sezgin    Baran Korkmaz
                                                 Sezgin Baran Korkmaz waswas at the courthouse
                                                                             at the  courthouse on on the
                                                                                                       the day
                                                                                                            day that
                                                                                                                 that the
                                                                                                                      the statements
                                                                                                                          statements were
                                                                                                                                      were given,   and he
                                                                                                                                            given, and   he ensured
                                                                                                                                                             ensured
that aa statement
that    statement was
                   was given   against the
                         given against the Client.
                                           Client. Some witnesses, on
                                                   Some witnesses, on the
                                                                      the other
                                                                          other hand,
                                                                                 hand, testified
                                                                                        testified against
                                                                                                   against the
                                                                                                            the Client
                                                                                                                Client for  their own
                                                                                                                        for their own interests.  In fact,
                                                                                                                                       interests. In       there had
                                                                                                                                                     fact, there had
been rumors
been   rumors that
                that Sezgin  Baran Korkmaz
                     Sezgin Baran  Korkmaz also
                                              also used
                                                   used violence
                                                        violence against
                                                                 against the
                                                                         the suspect
                                                                             suspect Fatih
                                                                                       Fatih Akol
                                                                                             Akol through
                                                                                                    through various
                                                                                                               various means.
                                                                                                                        means. Sezgin   Baran Korkmaz
                                                                                                                                Sezgin Baran    Korkmaz alsoalso told
                                                                                                                                                                 told
this to
this to the
         the Client
             Client in
                    in the
                       the following message:
                           following message:

 Mr. Fatih
 Mr. Fatih deserved
           deserved what
                    what II did
                            did to him
                                to him                                                      March 22,
                                                                                            March  22, 2017
                                                                                                       2017                     +90 532
                                                                                                                                +90     268 43
                                                                                                                                    532 268 43 44
                                                                                                                                               44
                                                                                            07:17:58 a.m.
                                                                                            07:17:58 a.m.

64. Within
64. Within the
            the scope
                 scope of   the Investigation
                        of the   Investigation File,
                                                File, Fatih
                                                      Fatih Akol
                                                             Akol (Borajet's
                                                                    (Borajet’s Former
                                                                                Former Board
                                                                                          Board of
                                                                                                 of Directors
                                                                                                    Directors Chairman
                                                                                                                Chairman andand General
                                                                                                                                General Manager),
                                                                                                                                           Manager), Tolga
                                                                                                                                                       Tolga laziimcii
                                                                                                                                                              Üzümcü
(Financial Affairs
(Financial Affairs Manager),
                     Manager), Mehmet
                                  Mehmet Ceylan
                                            Ceylan Topal     (Bora Jet
                                                     Topal (Bora     Jet Maintenance's
                                                                         Maintenance’s General
                                                                                           General Manager)
                                                                                                    Manager) andand Olcay
                                                                                                                    Olcay Özbay     (Assistant General
                                                                                                                             Ozbay (Assistant     General Manager
                                                                                                                                                           Manager atat
Borajet in
Borajet in charge  of Maintenance
           charge of   Maintenance Works)
                                      Works) gave
                                               gave aa statement.
                                                        statement. These
                                                                    These individuals
                                                                           individuals continued    to work
                                                                                         continued to  work atat Borajet
                                                                                                                 Borajet even  after the
                                                                                                                         even after  the transfer
                                                                                                                                          transfer of
                                                                                                                                                   of the
                                                                                                                                                      the shares.
                                                                                                                                                          shares. With
                                                                                                                                                                  With
the manipulation
the manipulation of   and the
                   of and  the management
                                management of of the
                                                 the process
                                                      process by
                                                               by Fatih
                                                                   Fatih Akol,
                                                                          Akol, it was resolved
                                                                                it was            to sell
                                                                                        resolved to  sell the
                                                                                                          the companies   transferred within
                                                                                                              companies transferred    within the
                                                                                                                                               the scope
                                                                                                                                                   scope of  the Share
                                                                                                                                                          of the Share
Transfer Contract to
Transfer Contract   to Bugaraj.
                       Bugaraj. Following
                                  Following this,
                                             this, negotiation
                                                   negotiation process
                                                                  process was
                                                                           was personally
                                                                               personally led   by Fatih
                                                                                            led by  Fatih Akol,
                                                                                                           Akol, company's
                                                                                                                  company’s financial    tables were
                                                                                                                              financial tables  were prepared
                                                                                                                                                       prepared by
                                                                                                                                                                 by the
                                                                                                                                                                    the
Financial Affairs
Financial Affairs Manager
                   Manager Tolga     Üzümcü and
                               Tolga laziimcii  and although
                                                     although these
                                                                these financial  tables that
                                                                       financial tables  that were
                                                                                              were prepared
                                                                                                    prepared were
                                                                                                              were annexed
                                                                                                                    annexed toto the
                                                                                                                                 the Share
                                                                                                                                      Share Transfer
                                                                                                                                             Transfer Contract,   these
                                                                                                                                                       Contract, these
individuals testified as
individuals testified as if  the Client
                         if the  Client forced
                                        forced them
                                                them toto falsify the balance
                                                          falsify the  balance sheets.
                                                                               sheets. [APPENDIX
                                                                                        [APPENDIX 34    34 —– Correspondences
                                                                                                              Correspondences Regarding
                                                                                                                                   Regarding the the Management
                                                                                                                                                     Management of   of
the Process
the Process by   Fatih Akol
             by Fatih   Akol and
                               and Preparation
                                    Preparation of     the Share
                                                   of the   Share Transfer    Contract Annexes
                                                                   Transfer Contract      Annexes by by Tolga   Üzümcü]
                                                                                                        Tolga Uziimcii]

65. In
65. In the
       the same
           same manner,
                  manner, Zahide
                            Zahide Uner
                                    Üner whose
                                         whose witness
                                                witness statement
                                                        statement was
                                                                   was taken
                                                                       taken and
                                                                             and who
                                                                                  who had   subsequently become
                                                                                        had subsequently become aa defendant
                                                                                                                    defendant due
                                                                                                                               due to
                                                                                                                                   to the
                                                                                                                                      the accusations
                                                                                                                                          accusations of
                                                                                                                                                      of
Bugaraj also
Bugaraj  also indicated
              indicated in  her statement
                         in her statement that
                                          that she
                                               she gave
                                                   gave during
                                                        during the
                                                                the same
                                                                    same investigation that she
                                                                         investigation that she was
                                                                                                was coerced
                                                                                                    coerced as
                                                                                                             as well.
                                                                                                                well. The
                                                                                                                      The suspect
                                                                                                                          suspect named
                                                                                                                                  named Kamil
                                                                                                                                          Kamil Feridun
                                                                                                                                                Feridun
Özkaraman also
Ozkaraman    also tried
                  tried to
                        to pressure
                           pressure Zahide
                                    Zahide Uner
                                           Üner about
                                                 about her
                                                       her statement.
                                                           statement. [APPENDIX
                                                                      [APPENDIX 35   35 —
                                                                                        – Statement
                                                                                          Statement text]
                                                                                                     text] [APPENDIX
                                                                                                           [APPENDIX 36   36 —
                                                                                                                             – Message
                                                                                                                               Message Indicating
                                                                                                                                        Indicating that
                                                                                                                                                    that
                 Özkaraman Coerced
Kamil Feridun Ozkaraman         Coerced Zahide    Üner About
                                         Zahide Uner    About Her
                                                               Her Statement]
                                                                    Statement]

66. Apart
66. Apart from  the foregoing,
           from the foregoing, examples
                                 examples of  the news
                                           of the  news articles
                                                        articles that
                                                                 that were
                                                                      were published
                                                                            published against
                                                                                       against the
                                                                                               the Client
                                                                                                   Client upon
                                                                                                          upon the
                                                                                                                the request
                                                                                                                      request of
                                                                                                                              of Sezgin Baran Korkmaz
                                                                                                                                 Sezgin Baran Korkmaz and    that
                                                                                                                                                         and that
violate the
violate the confidentiality
            confidentiality of
                            of the
                               the investigation  and damage
                                   investigation and           the Client’s
                                                      damage the   Client's reputation  by creating
                                                                            reputation by  creating an
                                                                                                    an image  as if
                                                                                                       image as  if aa ruling
                                                                                                                       ruling has
                                                                                                                              has been
                                                                                                                                  been adopted
                                                                                                                                       adopted against
                                                                                                                                               against the
                                                                                                                                                       the Client
                                                                                                                                                           Client
and that
and that he
         he was
            was found
                found guilty  even though
                       guilty even  though this
                                            this was
                                                 was not
                                                     not true,
                                                         true, are
                                                               are attached
                                                                   attached herein
                                                                            herein for
                                                                                   for the
                                                                                       the consideration
                                                                                           consideration of
                                                                                                          of your
                                                                                                             your Honorable
                                                                                                                  Honorable Prosecution
                                                                                                                               Prosecution Office. [APPENDIX
                                                                                                                                           Office. [APPENDIX
37 —
37 – Other
     Other Examples
             Examples ofof News
                            News Articles
                                   Articles Published
                                            Published asas Part
                                                            Part of
                                                                  of the
                                                                     the Smear
                                                                         Smear Campaign      Against the
                                                                                Campaign Against       the Client]
                                                                                                           Client]




                                                                             17
                                                                             17

                                                       [signature]
                                                       [signature]                                  [signature]
                                                                                                    [signature]
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Hergüner Bilgen
Hergiiner Bilgen Ozeke
                 Özeke

              “Borajet’s
              "Borajet's boss     Sezgin Baran
                             boss Sezgin  Baran Korkmaz
                                                  Korkmaz provided
                                                               provided information
                                                                          information on on Borajet's
                                                                                            Borajet’s sales
                                                                                                      sales process
                                                                                                            process and
                                                                                                                    and his
                                                                                                                        his plans
                                                                                                                            plans for
                                                                                                                                    for the  future in
                                                                                                                                        the future   in aa radio
                                                                                                                                                           radio program
                                                                                                                                                                 program at
                                                                                                                                                                          at
              Numberone Turk
              Numberone       Turk that  he participated.
                                    that he  participated. Korkmaz
                                                             Korkmaz accused
                                                                         accused the    previous management
                                                                                    the previous management of of keeping
                                                                                                                  keeping the
                                                                                                                          the company,     which was
                                                                                                                               company, which       was already
                                                                                                                                                          already bankrupt,
                                                                                                                                                                   bankrupt,
              active by
              active       forging the
                       by forging       documents and
                                    the documents    and indicated,
                                                           indicated, “They
                                                                        "They putput everything
                                                                                     everything that  must have
                                                                                                that must  have been  added to
                                                                                                                been added   to the
                                                                                                                                the expenses
                                                                                                                                     expenses in in the  revenues. They
                                                                                                                                                    the revenues.        did
                                                                                                                                                                    They did
              this  forgery not
              this forgery    not to
                                  to lose
                                     lose their
                                          their license
                                                license inin aa company
                                                                company that      had technically
                                                                             that had             gone bankrupt
                                                                                      technically gone  bankrupt in  2015-2016. Inspection
                                                                                                                  in 2015-2016.   Inspection companies
                                                                                                                                                companies determined
                                                                                                                                                             determined the
                                                                                                                                                                         the
              situation. We
              situation.       are getting
                            We are  getting ready
                                            ready to          lawsuit. ". " 66
                                                      file aa lawsuit.”.”
                                                   tofile

              “Fraud
              "Fraud lawsuit against the
                     lawsuit against the old
                                         old boss
                                             boss

              The management of
              The management    of Borajet
                                   Borajet which
                                           which suspended
                                                   suspended its
                                                              its flights
                                                                   flights temporarily
                                                                           temporarily aa while
                                                                                          while agoago filed
                                                                                                        filed aa criminal complaint against
                                                                                                                 criminal complaint against the
                                                                                                                                            the company’s  former
                                                                                                                                                company's former
              owner. SBK
              owner.  SBK Holding's
                           Holding’s Executive
                                      Executive Board
                                                 Board Chairman       Sezgin Baran
                                                        Chairman Sezgin      Baran Korkmaz
                                                                                    Korkmaz said,
                                                                                               said, “Borajet’s     former General
                                                                                                       "Borajet's former            Manager Kadir
                                                                                                                            General Manager   Kadir Peker,
                                                                                                                                                    Peker, Yalçın
                                                                                                                                                            Yalcm
              Ayaslı and
              Ayash  and his
                         his wife
                             wife Serpil
                                  Serpil Ayash
                                         Ayaslı included,
                                                included, everyone    must have
                                                          everyone must     have been tried". " 77
                                                                                 been tried”.”

              SBK Holding's
              SBK  Holding’s Executive
                              Executive Board
                                         Board Chairman  Sezgin Baran
                                                Chairman Sezgin Baran Korkmaz
                                                                       Korkmaz said,said, “Borajet’s former General
                                                                                          "Borajet'sformer          Manager Kadir
                                                                                                            General Manager Kadir Peker,
                                                                                                                                  Peker, Yalçın Ayaslı and
                                                                                                                                         Yalcm Ayash   and
              his wife
              his wife Serpa
                       Serpil Ayash
                              Ayaslı included,
                                     included, everyone must have
                                               everyone must have been tried". " 88
                                                                  been tried”.”

              “According
              "According toto the report by
                              the report    Murat Palavar
                                         by Murat  Palavar from
                                                            from Yeni  Şafak Newspaper,
                                                                  Yeni Safak Newspaper, the
                                                                                        the criminal
                                                                                            criminal complaint
                                                                                                     complaint that  wasfiled
                                                                                                               that was  filed claimed
                                                                                                                               claimed that Borajet had
                                                                                                                                       that Borajet had been
                                                                                                                                                        been
              technically
              technically bankrupt.  It was
                          bankrupt. It  was also
                                            also indicated
                                                 indicated that
                                                           that the
                                                                the company’s
                                                                    company's expenses  were recorded
                                                                               expenses were           as revenues
                                                                                              recorded as revenues in  an unlawful
                                                                                                                    in an           manner.”" 99
                                                                                                                          unlawful manner.


67. In
67. In fact, some of
       fact, some   of the
                       the messages
                           messages sent
                                       sent to
                                            to the
                                               the Client
                                                   Client by
                                                          by Sezgin Baran Korkmaz
                                                             Sezgin Baran Korkmaz and
                                                                                  and where
                                                                                      where he
                                                                                            he confessed that he
                                                                                               confessed that he smeared
                                                                                                                 smeared the
                                                                                                                         the Client
                                                                                                                             Client and
                                                                                                                                    and his
                                                                                                                                        his family
                                                                                                                                            family in the
                                                                                                                                                   in the
press and
press and to
           to their
              their close
                    close circles  are provided
                           circles are  provided below:
                                                  below:

    II will
       will make
            make aa fool
                     fool of
                          of you
                             you before
                                 before the
                                        the entire world
                                            entire world                                               March 09,
                                                                                                       March      2017
                                                                                                              09, 2017              +90 532
                                                                                                                                    +90     268 43
                                                                                                                                        532 268 43 44
                                                                                                                                                   44
                                                                                                       11:25:18 a.m.
                                                                                                       11:25:18 a.m.
    I amam showing
             showing the the contract
                              contract that    you signed
                                         that you    signed andand the
                                                                    the current   status today
                                                                         current status   today toto
     everyone
     everyone II come
                    come across
                           across
    II will
        will go
              go to    Kayaköy and
                  to Kayakoy       and II will
                                          will show
                                                show them       your true
                                                        them your           face this
                                                                      true face         week (with
                                                                                 this week    (with    April 28,
                                                                                                       April 28, 2017
                                                                                                                 2017               +90 532
                                                                                                                                    +90     268 43
                                                                                                                                        532 268 43 44
                                                                                                                                                   44
     documents
     documents                                                                                         04:55:49 p.m.
                                                                                                       04:55:49  p.m.
    II am
       am having     leaflets published
            having leaflets    published to    explain how
                                            to explain   how II was
                                                                 was defrauded,
                                                                     defrauded, and
                                                                                  and II will
                                                                                         will hang
                                                                                              hang     May 08,
                                                                                                       May  08, 2017
                                                                                                                2017                +90 532
                                                                                                                                    +90     268 43
                                                                                                                                        532 268 43 44
                                                                                                                                                   44
     these
     these onon the
                 the boards
                      boards atat METU.
                                  METU. Now Now they    will see
                                                  they will   see how
                                                                  how you
                                                                        you were
                                                                             were involved
                                                                                   involved in
                                                                                             in tax
                                                                                                 tax   01:02:25 p.m.
                                                                                                       01:02:25  p.m.
     evasion
     evasion andand fraud
                      fraud in   addition to
                             in addition      your scientist
                                           to your   scientist activities
                                                                activities
    II will
       will also
             also send
                   send aa letter  and aa document
                            letter and     document to to the
                                                          the University    where your
                                                                University where    your daughter
                                                                                         daughter      May 08,
                                                                                                       May  08, 2017
                                                                                                                2017                +90 532
                                                                                                                                    +90     268 43
                                                                                                                                        532 268 43 44
                                                                                                                                                   44
     is
     is to  explain the
        to explain        situation
                      the situation                                                                    01:03:14 p.m.
                                                                                                       01:03:14 p.m.
     Ten   foreign journalists
     Ten foreign     journalists called    me and
                                   called me   and II told
                                                      told them
                                                            them to  wait and
                                                                  to wait  and that
                                                                                that II would
                                                                                        would send
                                                                                               send    May 08,
                                                                                                       May  08, 2017
                                                                                                                2017                +90 532
                                                                                                                                    +90     268 43
                                                                                                                                        532 268 43 44
                                                                                                                                                   44
     them
     them aa translation
               translation of of the file once
                                 thefile  once aa fraud
                                                   fraud lawsuit
                                                          lawsuit is  filed
                                                                   isfiled                             01:00:30 p.m.
                                                                                                       01:00:30 p.m.

68. Moreover,
68. Moreover, according
               according toto the
                              the rumors
                                  rumors that
                                          that we
                                               we heard,    the suspect
                                                   heard, the   suspect Sezgin   Baran Korkmaz
                                                                         Sezgin Baran    Korkmaz organized
                                                                                                  organized an   event for
                                                                                                             an event       the press
                                                                                                                        for the  press together
                                                                                                                                       together with
                                                                                                                                                with the
                                                                                                                                                      the suspect
                                                                                                                                                           suspect
Kamil Ekim Alptekin in July —   – August,
                                  August, 2017
                                           2017 at
                                                 at aa waterfront
                                                       waterfront mansion
                                                                   mansion atat the
                                                                                the Istanbul
                                                                                    Istanbul Bosphorus
                                                                                             Bosphorus owned    by Mega
                                                                                                         owned by   Mega Varlik
                                                                                                                            Varlık Yonetim
                                                                                                                                    Yönetim A.S.
                                                                                                                                             A.Ş. He
                                                                                                                                                   He acted
                                                                                                                                                        acted as
                                                                                                                                                              as if
                                                                                                                                                                 if
the waterfront
the waterfront mansion
               mansion belonged
                          belonged to
                                    to him
                                       him and
                                            and he
                                                he made
                                                     made misstatements
                                                            misstatements toto the
                                                                               the members
                                                                                    members of
                                                                                             of the
                                                                                                the press
                                                                                                     press where
                                                                                                           where he
                                                                                                                  he claimed    that the
                                                                                                                     claimed that    the Client
                                                                                                                                         Client is affiliated with
                                                                                                                                                is affiliated with
FETO and
FETO  and carried  out illegal
           carried out illegal actions.
                               actions. This
                                        This actions
                                             actions also
                                                       also constitute the offense
                                                            constitute the offense of
                                                                                    of attempting to influence
                                                                                       attempting to           the fair
                                                                                                     influence the      trial
                                                                                                                   fair trial




6
6 http://www.turizmguncel.com/haber/borajet%27in-patronundan-eski-yonetime-sahtecilik-suclamasi-h31505.html
  http://www.turizmguncel.conflaber/borajet%27in-patronundan-eski-yonetime-sahtecilik-suclamasi43     1505 html
7
7 http://www.yenisafak.com/ekonomi/eski-patrona-dolandiricilik-davasi-2652663 —– htttp://uzmanpara.milliyet.com.tr/haber-detay/genel/eski-patrona-dolandiricilik-
davasi/68298/
8 https://www.haber.com/borajet-yonetimi- eski-patrona-dolandiricilik-9574451-haberi/
8
9                                                   – http://www.airlinehaber.com/borajet-yonetimieski-patrona-dolandiricilik-davasi-acti/
9 http://www.kokpit.aero/borajet-yalcin-ayasli-dava —


                                                                                       18

                          [signature]                                                                                         [signature]
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Hergüner Bilgen
Hergiiner Bilgen Ozeke
                 Özeke

and he
and    tried to
    he tried to mislead
                mislead the
                        the public
                            public opinion
                                   opinion through
                                           through the
                                                   the members
                                                       members of
                                                               of the
                                                                  the press.
                                                                      press.

III.
III.       OFFENSES BEING
           OFFENSES BEING CHARGED
                          CHARGED

1- Aggravated
1- Aggravated Fraud
              Fraud (sub-paragraphs
                    (sub-paragraphs f-g-h
                                    f-g-h of 1st paragraph
                                          of 1st paragraph of
                                                           of Article
                                                              Article 158
                                                                      158 of
                                                                          of the
                                                                             the Turkish
                                                                                 Turkish Penal
                                                                                         Penal Code)
                                                                                               Code)


             the 11stst paragraph
69. As per the          paragraph of  Article 157
                                   of Article 157 of
                                                   of the
                                                      the Turkish Penal Code
                                                          Turkish Penal  Code numbered
                                                                               numbered 5237
                                                                                          5237 ("TCK")
                                                                                                (“TCK”) titled
                                                                                                           titled "Fraud",
                                                                                                                  “Fraud”, ‘An
                                                                                                                            'An individual who deceives
                                                                                                                                individual who  deceives someone
                                                                                                                                                         someone
through   fraudulent acts
through fraudulent        acts and
                               and obtains
                                   obtains an
                                            an advantage
                                               advantage for
                                                           for himself/herself
                                                               himself/herself or
                                                                               or another
                                                                                  another person
                                                                                           person to
                                                                                                   to the detriment of
                                                                                                      the detriment   of that person who
                                                                                                                         that person who is  deceived or
                                                                                                                                          is deceived or someone
                                                                                                                                                         someone
else will be
else will     sentenced to
          be sentenced      to one
                               one to five years
                                   tofive  years in prison and
                                                 in prison and subject
                                                                subject to an administrative
                                                                        to an administrativefine
                                                                                             fine up
                                                                                                  up to five thousand
                                                                                                     tofive             days.”
                                                                                                              thousand days."

70.
70. The article in
    The article in question
                   question is
                            is related to the
                               related to the offense
                                              offense ofof ‘Aggravated   Fraud’. As
                                                           'Aggravated Fraud'.   As per
                                                                                     per Article
                                                                                         Article 158 sub-paragraph (f),
                                                                                                 158 sub-paragraph (f), if the offense
                                                                                                                        if the offense of  Fraud "is
                                                                                                                                       of Fraud  “is committed
                                                                                                                                                     committed
by
by using
   using information  systems, banks
         information systems,          or credit
                                banks or   credit institutions as aa means"
                                                  institutions as    means” then
                                                                             then the
                                                                                  the Aggravated
                                                                                      Aggravated Fraud
                                                                                                   Fraud offense
                                                                                                         offense will
                                                                                                                 will be
                                                                                                                      be committed
                                                                                                                          committed by
                                                                                                                                     by “taking   advantage of
                                                                                                                                          "taking advantage of
the conveniences provided
the conveniences   provided by  press and
                            by press  and media
                                            media organs"
                                                   organs” asas per
                                                                per sub-paragraph
                                                                     sub-paragraph (g).
                                                                                    (g).

71. In the
71. In the same
            same manner,
                   manner, sub-paragraph
                             sub-paragraph (h)(h) of
                                                  of Article
                                                     Article 158
                                                             158 indicates    that an
                                                                  indicates that   an Aggravated
                                                                                      Aggravated Fraud
                                                                                                 Fraud offense
                                                                                                       offense will
                                                                                                               will be
                                                                                                                    be committed
                                                                                                                       committed if   the offense
                                                                                                                                   if the  offense of
                                                                                                                                                   of Fraud
                                                                                                                                                      Fraud is
                                                                                                                                                            is
committed
committed “during
             "during the
                      the business   activities of
                           business activities  of the individuals who
                                                   the individuals  who are
                                                                          are merchants
                                                                              merchants or
                                                                                        or company  executives or
                                                                                           company executives  or acting
                                                                                                                  acting on
                                                                                                                         on behalf  of the
                                                                                                                            behalf of      company or
                                                                                                                                       the company   or within
                                                                                                                                                        within
the scope of
the scope  of the activities of
              the activities of aa cooperative
                                   cooperative by
                                                by the executives of
                                                   the executives  of aa cooperative”.
                                                                         cooperative".

72.
72. Within    this scope,
     Within this   scope, aggravated
                           aggravated fraud  was committed
                                       fraud was              via multiple
                                                   committed via  multiple actions
                                                                            actions and
                                                                                     and by
                                                                                         by multiple
                                                                                             multiple individuals
                                                                                                      individuals against
                                                                                                                  against the
                                                                                                                           the Client
                                                                                                                               Client in
                                                                                                                                      in aa systematic
                                                                                                                                            systematic manner
                                                                                                                                                         manner and
                                                                                                                                                                  and
it is still
it is still being
            being committed.    Provided that
                   committed. Provided    that these
                                               these actions
                                                      actions which
                                                              which were
                                                                     were explained
                                                                           explained in   more detail
                                                                                       in more  detail above and for
                                                                                                       above and      which aa complaint
                                                                                                                  for which     complaint hashas been
                                                                                                                                                 been filed
                                                                                                                                                        filed are still
                                                                                                                                                              are still
subject to
subject   to our  complaint and
             our complaint    and our  rights arising
                                  our rights  arising from  this complaint
                                                       from this complaint are
                                                                             are reserved:
                                                                                 reserved: -- Borajet's
                                                                                              Borajet’s value was deliberately
                                                                                                        value was                reduced through
                                                                                                                   deliberately reduced     through the
                                                                                                                                                      the systematic
                                                                                                                                                           systematic
fraudulent    acts of
fraudulent acts    of the
                      the individuals
                          individuals for whom aa complaint
                                      for whom      complaint has  been filed
                                                               has been        and through
                                                                        filed and  through the
                                                                                            the perception
                                                                                                perception operation
                                                                                                            operation initiated against the
                                                                                                                      initiated against  the Client,
                                                                                                                                              Client,

-- As
   As aa result
         result of this, Client
                of this, Client was
                                was compelled to transfer
                                    compelled to transfer Borajet
                                                          Borajet for
                                                                  for free,
                                                                      free,

-- Shortly after the
   Shortly after the Share
                     Share Transfer
                             Transfer Contract, these individuals
                                      Contract, these individuals failed to comply
                                                                  failed to        with the
                                                                            comply with the terms
                                                                                            terms and conditions that
                                                                                                  and conditions that they
                                                                                                                      they acknowledged
                                                                                                                           acknowledged and they
                                                                                                                                        and they
 maliciously claimed
maliciously  claimed that
                      that the
                           the balance
                               balance sheet
                                       sheet was
                                             was forged,
                                                 forged,

-- Following
   Following this,
             this, aforementioned
                   aforementioned individuals     whose field
                                      individuals whose   field of  business is
                                                                of business     to purchase
                                                                             is to purchase and
                                                                                            and develop
                                                                                                develop bankrupt
                                                                                                        bankrupt companies claimed that
                                                                                                                 companies claimed that they
                                                                                                                                        they had
                                                                                                                                             had been
                                                                                                                                                 been
 deceived and they
 deceived and they started
                    started to
                            to get an unfair
                               get an  unfair advantage
                                              advantage from  the Client,
                                                        from the   Client,

-- Bugaraj
   Bugaraj essentially  aimed to
           essentially aimed   to obtain
                                  obtain aa material
                                            material benefit
                                                     benefit by
                                                              by creating
                                                                 creating aa so-called
                                                                             so-called commercial
                                                                                       commercial dispute    with the
                                                                                                    dispute with  the Client
                                                                                                                      Client and
                                                                                                                             and they
                                                                                                                                  they aimed
                                                                                                                                        aimed toto compel
                                                                                                                                                   compel the
                                                                                                                                                            the Client
                                                                                                                                                                Client
 to pay
to   pay the
         the amount
              amount they
                       they wanted
                             wanted through
                                      through racketeering
                                                racketeering therefore
                                                               therefore they
                                                                         they made
                                                                                made baseless
                                                                                       baseless claims  about the
                                                                                                claims about    the Client,
                                                                                                                     Client, expanded
                                                                                                                             expanded thethe subject
                                                                                                                                              subject matter
                                                                                                                                                        matter of
                                                                                                                                                                of the
                                                                                                                                                                   the
 investigation  with baseless
 investigation with  baseless claims  that are
                              claims that  are not
                                               not related
                                                   related to
                                                           to the
                                                              the commercial    matter in
                                                                  commercial matter    in dispute subject to
                                                                                          dispute subject to the
                                                                                                             the investigation and as
                                                                                                                 investigation and  as aa result of this,
                                                                                                                                          result of this, they
                                                                                                                                                          they created
                                                                                                                                                               created
aa negative
   negative image
             image about
                    about the
                           the Client  before the
                               Client before  the judicial
                                                  judicial authorities
                                                           authorities in
                                                                       in aa deceptive
                                                                             deceptive manner
                                                                                        manner and
                                                                                                and they
                                                                                                     they caused
                                                                                                          caused investigations
                                                                                                                   investigations to
                                                                                                                                  to be
                                                                                                                                     be opened    and lawsuits
                                                                                                                                         opened and              to be
                                                                                                                                                       lawsuits to  be
 filed against the
 filed against the Client,
                   Client,

-- They  made insulting
   They made  insulting accusations and threats
                        accusations and  threats against
                                                 against the
                                                         the Client,
                                                             Client, aa scientist
                                                                        scientist who
                                                                                  who spent
                                                                                      spent years
                                                                                            years of
                                                                                                  of his
                                                                                                     his life to pursue
                                                                                                         life to pursue the
                                                                                                                        the interests of Turkey,
                                                                                                                            interests of         and they
                                                                                                                                         Turkey, and they used
                                                                                                                                                          used
aa foul
   foul language
        language in their accusations
                 in their accusations and
                                      and threats,
                                          threats,

-- Similar threats were
   Similar threats were also
                        also made
                             made to
                                  to the
                                     the Client's
                                         Client’s employees
                                                  employees and
                                                            and family members,

-- They engaged in
   They engaged    perjury to
                in perjury to claim
                              claim that
                                    that the
                                         the Client
                                             Client committed
                                                    committed aa crime,
                                                                 crime,




                                                                              19
                                                                              19

                                            [signature]
                                            [signature]                                                        [signature]
                                                                                                               [signature]
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Hergüner Bilgen
Hergiiner Bilgen Ozeke
                 Özeke

-- They ensured that
   They ensured that misleading/wrong
                     misleading/wrong news
                                      news reports are published
                                           reports are published in
                                                                 in the
                                                                    the press
                                                                        press regarding the Client
                                                                              regarding the Client to
                                                                                                   to fabricate
                                                                                                      fabricate offenses
                                                                                                                offenses and
                                                                                                                         and to
                                                                                                                             to damage
                                                                                                                                damage his
                                                                                                                                       his reputation.
                                                                                                                                           reputation.

-- They
   They organized   meetings with
         organized meetings   with various
                                   various banks
                                            banks against
                                                   against the
                                                           the Client
                                                               Client so
                                                                      so that
                                                                         that they
                                                                              they would
                                                                                   would issue  account closure
                                                                                          issue account closure notices
                                                                                                                notices for the Client's
                                                                                                                        for the Client’s accounts
                                                                                                                                         accounts without
                                                                                                                                                  without any
                                                                                                                                                          any
 justification and
justification      they tried
               and they tried to
                              to obtain an unfair
                                 obtain an unfair advantage
                                                  advantage through
                                                             through enforcement    threats,
                                                                      enforcement threats,

-- They ensured that
   They ensured that Odea
                     Odea Bank's
                          Bank’s loan
                                 loan is
                                      is closed, transferred it
                                         closed, transferred it to
                                                                to Mega
                                                                   Mega Varlik
                                                                        Varlık Yonetim
                                                                               Yönetim A.S.
                                                                                       A.Ş. and
                                                                                            and as
                                                                                                as aa result
                                                                                                      result of
                                                                                                             of this,
                                                                                                                this, they
                                                                                                                      they obtain an unfair
                                                                                                                           obtain an unfair advantage
                                                                                                                                            advantage from
                                                                                                                                                      from
 the Client.
the  Client.

-- After
   After the
         the Share
              Share Transfer  Contract was
                    Transfer Contract  was signed,
                                           signed, some
                                                   some of   the authorized
                                                          of the authorized representatives
                                                                            representatives of Borajet changed
                                                                                            of Borajet  changed sides
                                                                                                                 sides due
                                                                                                                       due to
                                                                                                                           to threats
                                                                                                                              threats etc. coercion and
                                                                                                                                      etc. coercion and they
                                                                                                                                                        they
 fabricated
 fabricated evidences
             evidences and
                       and gave   statements against
                            gave statements          the Client
                                             against the Client and
                                                                and contrary to the
                                                                    contrary to the facts, whereas some
                                                                                    facts, whereas some of   these authorized
                                                                                                          of these authorized representatives  were found
                                                                                                                              representatives were  found to
                                                                                                                                                          to
 have colluded
 have  colluded with
                 with Sezgin   Baran Korkmaz
                      Sezgin Baran    Korkmaz since
                                               since the
                                                      the beginning,
                                                          beginning, they
                                                                      they committed
                                                                           committed perjury
                                                                                       perjury before
                                                                                               before the
                                                                                                       the courts  and they
                                                                                                           courts and  they fabricated
                                                                                                                            fabricated evidences   and made
                                                                                                                                        evidences and  made
 statements contrary
statements            to the
             contrary to the facts,
                             facts,

-- The
   The witnesses
       witnesses were
                 were coerced,
                      coerced, and they were
                               and they were made
                                             made to
                                                  to testify
                                                     testify against
                                                             against the
                                                                     the Client
                                                                         Client in
                                                                                in order
                                                                                   order to
                                                                                         to mislead
                                                                                            mislead the
                                                                                                    the judicial
                                                                                                        judicial authorities
                                                                                                                 authorities to
                                                                                                                             to the
                                                                                                                                the detriment of the
                                                                                                                                    detriment of the Client,
                                                                                                                                                     Client,

-- As
   As aa result
         result of
                of these
                   these fraudulent
                         fraudulent acts,
                                    acts, they
                                          they ensured  that Borajet,
                                               ensured that  Borajet, Aydm
                                                                      Aydın Jet
                                                                            Jet and
                                                                                and Borajet
                                                                                    Borajet Bakim
                                                                                            Bakım [Maintenance]
                                                                                                   [Maintenance] companies      were purchased
                                                                                                                    companies were   purchased for
                                                                                                                                                for free and
                                                                                                                                                    free and
 even  though Client
 even though    Client did  not owe
                       did not  owe these
                                    these debts,  they collected
                                           debts, they collected payments
                                                                 payments from   the Client
                                                                           from the  Client by
                                                                                            by force and in
                                                                                               force and in aa short
                                                                                                               short period
                                                                                                                     period of time in
                                                                                                                            of time    order to
                                                                                                                                    in order to increase  the
                                                                                                                                                increase the
 company’s    assets through
 company's assets    through unlawful
                              unlawful means,
                                       means,

-- Rather
   Rather than
           than ensuring
                ensuring that
                          that the
                               the companies
                                    companies generate
                                                  generate aa profit
                                                               profit in
                                                                      in line  with the
                                                                         line with   the provisions
                                                                                          provisions of
                                                                                                      of the
                                                                                                         the Share
                                                                                                             Share Transfer    Contract, they
                                                                                                                     Transfer Contract,   they dismissed
                                                                                                                                               dismissed employees,       they
                                                                                                                                                            employees, they
 failed to pay
 failed to pay the
               the debts
                    debts owed
                          owed toto the
                                     the market,
                                          market, they
                                                   they did
                                                         did not
                                                              not take
                                                                  take those
                                                                        those measures
                                                                               measures which
                                                                                            which would
                                                                                                   would ensure     the airplanes
                                                                                                           ensure the   airplanes fly  as appropriate,
                                                                                                                                   fly as appropriate, they
                                                                                                                                                        they failed
                                                                                                                                                              failed to
                                                                                                                                                                      to carry
                                                                                                                                                                         carry
 out the
 out the maintenance
         maintenance works
                       works for   the airplanes
                               for the  airplanes and
                                                   and they
                                                       they aimed
                                                              aimed to
                                                                     to avoid
                                                                         avoid the
                                                                                the payment
                                                                                    payment of of 25%
                                                                                                  25% divided    that is
                                                                                                        divided that  is due
                                                                                                                         due to
                                                                                                                             to the
                                                                                                                                the Client in the
                                                                                                                                    Client in the event  that the
                                                                                                                                                  event that  the companies
                                                                                                                                                                   companies
 are transferred
 are transferred which
                 which isis in violation of
                            in violation   of the
                                              the Share
                                                  Share Transfer
                                                          Transfer Contract     and as
                                                                     Contract and     as they
                                                                                         they took
                                                                                              took advantage
                                                                                                    advantage of    the means
                                                                                                                 of the  means provided
                                                                                                                                provided byby press
                                                                                                                                              press and   media organs
                                                                                                                                                    and media              and
                                                                                                                                                                   organs and
 they carried
they           out the
       carried out  the foregoing    actions during
                        foregoing actions              the business
                                               during the   business activities
                                                                       activities of    the individuals
                                                                                    of the  individuals who
                                                                                                          who are
                                                                                                                are either  merchants or
                                                                                                                     either merchants       company executives
                                                                                                                                         or company    executives or or those
                                                                                                                                                                         those
 individuals  who act
 individuals who   act on behalf of
                       on behalf  of the
                                      the company,   these create
                                          company, these            two different
                                                            create two               forms of
                                                                          different forms   of the
                                                                                               the offense  of aggravated
                                                                                                   offense of  aggravated fraud.   We hereby
                                                                                                                            fraud. We   hereby request
                                                                                                                                                request aa bill
                                                                                                                                                           bill of
                                                                                                                                                                of indictment
                                                                                                                                                                   indictment
 to be
to  be prepared
       prepared for
                 for imposing   the maximum
                     imposing the    maximum sentence
                                                  sentence for   the suspects
                                                             for the  suspects toto be
                                                                                    be determined
                                                                                        determined byby the
                                                                                                        the Prosecutor's
                                                                                                             Prosecutor’s Office.
                                                                                                                            Office.

73. On the
73. On   the other
             other hand,
                      hand, Borajet
                             Borajet is   planned to
                                      is planned    to be
                                                       be sold
                                                           sold according
                                                                 according to to the
                                                                                 the most
                                                                                      most recent
                                                                                             recent rumors
                                                                                                     rumors that
                                                                                                               that we
                                                                                                                    we heard,
                                                                                                                         heard, and
                                                                                                                                 and the
                                                                                                                                      the news
                                                                                                                                          news reports      published in
                                                                                                                                                  reports published        the press.
                                                                                                                                                                       in the  press.
This way, SBK
This way,          Holding Turkey
            SBK Holding       Turkey carries    out its
                                        carries out  its primary
                                                         primary activity
                                                                   activity which
                                                                             which is   the purchase
                                                                                     is the  purchase ofof bankrupt
                                                                                                           bankrupt companies
                                                                                                                       companies in in Turkey
                                                                                                                                       Turkey andand toto derive
                                                                                                                                                          derive aa profit
                                                                                                                                                                    profit by
                                                                                                                                                                           by selling
                                                                                                                                                                              selling
these companies
these                through the
       companies through       the deception
                                   deception of of the
                                                   the Client
                                                        Client together
                                                                together with
                                                                          with its
                                                                                its subsidiaries
                                                                                    subsidiaries and
                                                                                                   and business
                                                                                                        business partners.
                                                                                                                   partners. Moreover,
                                                                                                                              Moreover, it  it must
                                                                                                                                               must be
                                                                                                                                                     be noted
                                                                                                                                                         noted that
                                                                                                                                                                that Bugaraj
                                                                                                                                                                     Bugaraj which
                                                                                                                                                                               which
claimed   that the
claimed that   the Client
                    Client is
                            is in
                               in debt  with the
                                  debt with   the lawsuit   that was
                                                  lawsuit that   was filed,  tries to
                                                                      filed, tries to transfer
                                                                                      transfer Borajet
                                                                                                 Borajet to
                                                                                                         to aa third
                                                                                                               third person
                                                                                                                      person within
                                                                                                                              within the
                                                                                                                                      the scope
                                                                                                                                          scope of of the
                                                                                                                                                      the Share
                                                                                                                                                           Share Transfer   Contract
                                                                                                                                                                  Transfer Contract
and to
and to eliminate
        eliminate thethe divided   that it
                         divided that    it must
                                            must pay
                                                 pay the
                                                       the Client.
                                                           Client. Within
                                                                    Within this
                                                                              this scope,
                                                                                   scope, it   is understood
                                                                                            it is understood that
                                                                                                                that the
                                                                                                                     the article
                                                                                                                         article incorporated
                                                                                                                                  incorporated in in the
                                                                                                                                                     the Share
                                                                                                                                                          Share Transfer    Contract
                                                                                                                                                                  Transfer Contract
with regards
with  regards toto the
                    the payment
                         payment of of aa dividend    only aimed
                                           dividend only     aimed to
                                                                    to mislead
                                                                        mislead the
                                                                                  the Client
                                                                                       Client andand to
                                                                                                     to manipulate
                                                                                                        manipulate the the Client
                                                                                                                           Client soso that
                                                                                                                                        that he
                                                                                                                                              he would
                                                                                                                                                 would sign
                                                                                                                                                          sign the
                                                                                                                                                                the Share
                                                                                                                                                                     Share Transfer
                                                                                                                                                                            Transfer
Contract. Therefore,
Contract.   Therefore, thethe offense
                               offense ofof aggravated    fraud was
                                            aggravated fraud      was committed
                                                                       committed in  in aa successive
                                                                                           successive manner.
                                                                                                        manner. We We hereby      request these
                                                                                                                         hereby request    these points
                                                                                                                                                   points toto be
                                                                                                                                                               be considered   while
                                                                                                                                                                  considered while
preparing the
preparing   the bill
                 bill of
                      of indictment.

2- Perjury
2- Perjury (Article
           (Article 272
                    272 of the Turkish
                        of the         Penal Code)
                               Turkish Penal Code)

74.  Article 272
74. Article  272 of
                  of the
                     the Turkish
                         Turkish Penal
                                  Penal Code
                                        Code stipulates,
                                              stipulates, "Those
                                                          “Those individuals who give
                                                                 individuals who  give aa witness
                                                                                          witness statement
                                                                                                  statement that  is contrary
                                                                                                             that is contrary to
                                                                                                                              to the facts before
                                                                                                                                 thefacts  before anan individual
                                                                                                                                                       individual
or aa board
or            authorized to
      board authorized       hear the
                          to hear     witness within
                                  the witness within the  scope of
                                                      the scope of an
                                                                   an investigation
                                                                      investigation initiated
                                                                                    initiated due
                                                                                              due to  an unlawful
                                                                                                   to an           action will
                                                                                                         unlawful action  will be  sentenced to
                                                                                                                               be sentenced       four months
                                                                                                                                              to four  months to
                                                                                                                                                               to
one year
one  year in  prison.”.
           in prison.".

75. Within the
75. Within  the scope
                scope of the investigation
                      of the               that was
                             investigation that was initiated by Istanbul
                                                    initiated by Istanbul Chief
                                                                          Chief Public
                                                                                Public Prosecutor's
                                                                                       Prosecutor’s Office,
                                                                                                    Office, Bugaraj
                                                                                                            Bugaraj made
                                                                                                                    made false statements contrary
                                                                                                                         false statements          to the
                                                                                                                                          contrary to the
facts against the
facts against the Client
                  Client and
                         and they
                             they committed
                                  committed

                                                                        20
                                                                        20


                                                [signature]
                                                [signature]                                                 [signature]
                                                                                                            [signature]
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Hergüner Bilgen
Hergiiner Bilgen Ozeke
                 Özeke

perjury. We
perjury. We hereby
             hereby request
                    request these
                            these individuals
                                  individuals to
                                               to be
                                                  be determined
                                                     determined byby the
                                                                     the Honorable
                                                                         Honorable Prosecution
                                                                                      Prosecution Office  within the
                                                                                                   Office within the framework
                                                                                                                     framework of of our
                                                                                                                                     our declarations provided
                                                                                                                                         declarations provided
above, and
above, and those  who committed
            those who  committed thethe offense
                                        offense of
                                                of perjury
                                                   perjury to
                                                            to be
                                                               be determined
                                                                   determined byby your
                                                                                    your Honorable
                                                                                         Honorable Prosecution
                                                                                                     Prosecution Office,
                                                                                                                   Office, these
                                                                                                                           these individuals  to be
                                                                                                                                 individuals to  be considered
                                                                                                                                                    considered
within the
within the scope
           scope of
                 of Article
                    Article 28
                            28 of  the Turkish
                               of the           Penal Code
                                        Turkish Penal         and those
                                                       Code and   those individuals   who made
                                                                         individuals who   made the
                                                                                                  the aforementioned
                                                                                                      aforementioned threats
                                                                                                                       threats to
                                                                                                                               to be
                                                                                                                                   be determined
                                                                                                                                      determined and
                                                                                                                                                  and aa bill
                                                                                                                                                         bill of
                                                                                                                                                              of
indictment to be
indictment to be prepared
                 prepared against  these individuals
                          against these               so that
                                         individuals so  that they
                                                              they can  be tried
                                                                   can be  tried as
                                                                                 as the
                                                                                    the perpetrators
                                                                                        perpetrators of
                                                                                                     of the
                                                                                                        the crime.
                                                                                                            crime.

76.
76. This  crime has
     This crime   has been
                       been committed   both as
                            committed both    as aa result
                                                    result of
                                                            of the
                                                               the relevant
                                                                    relevant individuals’   efforts to
                                                                              individuals' efforts  to protect
                                                                                                       protect their
                                                                                                               their own
                                                                                                                     own interest  and Sezgin
                                                                                                                          interest and          Baran Korkmaz's
                                                                                                                                        Sezgin Baran  Korkmaz’s
complicity
complicity inin this
                this crime
                     crime as the abettor.
                           as the abettor. Even
                                           Even though
                                                  though he he is not an
                                                               is not  an official
                                                                          official representative
                                                                                   representative of
                                                                                                   of Bugaraj
                                                                                                       Bugaraj and
                                                                                                               and although
                                                                                                                    although Bugaraj
                                                                                                                              Bugaraj already
                                                                                                                                       already has
                                                                                                                                               has an
                                                                                                                                                   an attorney
                                                                                                                                                       attorney to
                                                                                                                                                                 to
represent itself,
represent itself, Sezgin  Baran Korkmaz's
                  Sezgin Baran  Korkmaz’s presence
                                             presence at
                                                       at the
                                                           the court
                                                               court house
                                                                      house and
                                                                             and the
                                                                                 the fact that the
                                                                                     fact that the individuals in question
                                                                                                   individuals in question continued
                                                                                                                           continued to
                                                                                                                                      to work
                                                                                                                                         work at
                                                                                                                                               at Borajet
                                                                                                                                                  Borajet after the
                                                                                                                                                          after the
transfer of
transfer    the company
         of the           also indicate
                company also            that the
                               indicate that the witnesses
                                                 witnesses were
                                                             were coerced.
                                                                   coerced. We
                                                                             We also
                                                                                 also request
                                                                                      request this
                                                                                               this matter
                                                                                                    matter to
                                                                                                           to be
                                                                                                              be considered by the
                                                                                                                 considered by the Honorable
                                                                                                                                   Honorable Prosecution
                                                                                                                                              Prosecution Office
                                                                                                                                                            Office
for the preparation of the bill of indictment.
for the

3—
3 – Attempt
    Attempt to
            to Influence
               Influence a
                         a Fair
                           Fair Trial (Article 288
                                Trial (Article 288 of the Turkish
                                                   of the         Penal Code)
                                                          Turkish Penal Code)

77. Within the
77. Within  the framework
                 framework of of Article
                                  Article 288
                                          288 ofof the
                                                   the Turkish Penal Code,
                                                       Turkish Penal Code, “The
                                                                            "The individual   who makes
                                                                                  individual who   makes aa verbal
                                                                                                             verbal or  written statement
                                                                                                                    or written  statement openly  as part
                                                                                                                                           openly as part of
                                                                                                                                                          of aa
pending lawsuit
pending           or investigation
         lawsuit or  investigation in  order to
                                    in order  to influence
                                                 influence those who carry
                                                           those who       out judicial
                                                                     carry out judicial duties,
                                                                                        duties, an
                                                                                                an expert
                                                                                                   expert witness
                                                                                                          witness or
                                                                                                                  or aa witness
                                                                                                                        witness in an unlawful
                                                                                                                                in an          manner so
                                                                                                                                      unlawful manner  so that
                                                                                                                                                          that
an unlawful
an            decision can
    unlawful decision    can be   adopted or
                              be adopted    or an
                                               an unlawful
                                                   unlawful transaction can be
                                                            transaction can     carried out
                                                                             be carried      or so
                                                                                         out or  so that
                                                                                                    that they can commit
                                                                                                         they can           perjury, shall
                                                                                                                  commit perjury,    shall be sentenced to
                                                                                                                                           be sentenced     an
                                                                                                                                                        to an
administrative fine
administrative  fine for
                      for no
                          no less
                             less than fifty
                                  than fi    days.”
                                        fty days."

78. All actions
78. All actions that
                that we
                     we explained  in detail
                        explained in  detail above  and baseless
                                             above and  baseless criminal  accusations made
                                                                  criminal accusations made against
                                                                                             against the
                                                                                                     the Client in particular
                                                                                                         Client in particular demonstrate that the
                                                                                                                              demonstrate that the offenses
                                                                                                                                                   offenses
of making
of making untrue
            untrue verbal
                   verbal statements
                          statements against
                                      against the
                                               the Client via the
                                                   Client via the press
                                                                  press and
                                                                        and coercing  the witnesses
                                                                             coercing the witnesses to
                                                                                                    to commit
                                                                                                       commit perjury
                                                                                                                perjury through
                                                                                                                         through pressure
                                                                                                                                 pressure and
                                                                                                                                          and threats
                                                                                                                                               threats have
                                                                                                                                                       have
been committed
been committed onon several
                     several occasions.
                             occasions.

79.
79. The   complaint which
    The complaint      which includes     the claim
                                includes the   claim thatthat the
                                                               the Client
                                                                    Client is is aa member
                                                                                    member of   of aa terrorist
                                                                                                      terrorist organization
                                                                                                                 organization is  is the
                                                                                                                                     the best
                                                                                                                                          best evidence     showing that
                                                                                                                                                evidence showing        that they
                                                                                                                                                                              they tried
                                                                                                                                                                                     tried to
                                                                                                                                                                                            to
influence   the prosecution
influence the   prosecution office    who were
                               office who    were trying
                                                     trying toto carry
                                                                 carry outout their
                                                                               their duties    against the
                                                                                      duties against     the Client
                                                                                                              Client and
                                                                                                                      and toto form
                                                                                                                               form anan opinion
                                                                                                                                          opinion against
                                                                                                                                                   against thethe Client.
                                                                                                                                                                   Client. Under
                                                                                                                                                                            Under current
                                                                                                                                                                                     current
circumstances,    being accused
circumstances, being      accused ofof aiding
                                        aiding and
                                                 and abetting
                                                       abetting FETOFETO via  via slander
                                                                                   slander and
                                                                                             and insults
                                                                                                   insults creates
                                                                                                             creates aa negative
                                                                                                                         negative opinion      within the
                                                                                                                                     opinion within     the society
                                                                                                                                                             society and
                                                                                                                                                                       and damages
                                                                                                                                                                             damages that that
person’s honor
person's  honor and
                  and dignity.    Considering the
                       dignity. Considering      the Client's
                                                       Client’s reputation
                                                                  reputation within
                                                                                 within the
                                                                                          the society,
                                                                                               society, these
                                                                                                          these types
                                                                                                                 types of   public accusations
                                                                                                                        of public   accusations and
                                                                                                                                                  and declarations       about him
                                                                                                                                                        declarations about      him aimed
                                                                                                                                                                                       aimed
to create
to create aa negative
             negative opinion     before the
                        opinion before    the prosecution
                                               prosecution office
                                                                office andand to
                                                                               to influence
                                                                                   influence aa fair   trial and
                                                                                                  fair trial  and this
                                                                                                                   this objective   was actually
                                                                                                                        objective was     actually fulfilled,
                                                                                                                                                    fulfilled, and
                                                                                                                                                                 and aa lawsuit   was filed
                                                                                                                                                                        lawsuit was      filed
against the
against the Client   for the
              Client for  the offense
                               offense of
                                        of aggravated
                                           aggravated fraud fraud even      though it
                                                                    even though          is not
                                                                                      it is not relevant
                                                                                                 relevant in    any way.
                                                                                                             in any  way. During
                                                                                                                             During the
                                                                                                                                      the process
                                                                                                                                           process until   the lawsuit
                                                                                                                                                    until the             was filed,
                                                                                                                                                                 lawsuit was    filed, even
                                                                                                                                                                                         even
though it
though  it was
           was known      that the
                 known that     the Client
                                    Client lived
                                            lived inin the
                                                        the United
                                                             United States
                                                                        States of    America for
                                                                                of America      for 43
                                                                                                     43 years
                                                                                                          years and
                                                                                                                 and in
                                                                                                                      in fact,  this address
                                                                                                                          fact, this  address is  shown in
                                                                                                                                               is shown         the Central
                                                                                                                                                            in the  Central Registration
                                                                                                                                                                               Registration
System
System asas his
             his residential
                 residential address,
                              address, Prosecution
                                        Prosecution OfficeOffice was
                                                                   was misled
                                                                          misled andand an
                                                                                         an arrest
                                                                                             arrest warrant
                                                                                                     warrant waswas issued
                                                                                                                     issued for
                                                                                                                              for the
                                                                                                                                  the Client
                                                                                                                                        Client in order to
                                                                                                                                               in order   to get   his statement
                                                                                                                                                             get his   statement as as if
                                                                                                                                                                                        if the
                                                                                                                                                                                           the
Client avoided
Client avoided giving
                  giving aa statement.
                             statement. Even
                                          Even though
                                                  though the the trial
                                                                  trial that
                                                                         that was
                                                                               was started
                                                                                     started after
                                                                                               after the
                                                                                                     the offense
                                                                                                           offense of   attempting to
                                                                                                                     of attempting     to influence
                                                                                                                                          influence aa fair   trial as
                                                                                                                                                        fair trial  as committed
                                                                                                                                                                        committed is   is still
                                                                                                                                                                                          still
pending aa decision,
pending      decision, since
                        since the
                               the violation
                                   violation ofof the
                                                   the fair   trial is
                                                         fair trial     not required
                                                                     is not  required for     the completion
                                                                                         for the   completion of  of the
                                                                                                                     the crime    and an
                                                                                                                          crime and     an attempt
                                                                                                                                           attempt isis sufficient,
                                                                                                                                                        sufficient, the
                                                                                                                                                                      the crime
                                                                                                                                                                           crime has     been
                                                                                                                                                                                   has been
committed
committed withwith all
                   all of its aspects
                       of its aspects from    this perspective
                                       from this    perspective as  as well.
                                                                        well.

4- Threat (Article
          (Article 106
                   106 of
                       of the
                          the Turkish Penal Code)
                              Turkish Penal Code)

80. Article
80. Article 106
             106 of
                 of the
                     the Turkish  Penal Code
                          Turkish Penal  Code states,
                                               states, "The
                                                       “The person
                                                              person who
                                                                       who threatens
                                                                           threatens the
                                                                                      the livelihood,   physical integrity
                                                                                          livelihood, physical             or sexual
                                                                                                                 integrity or sexual integrity
                                                                                                                                     integrity of of someone
                                                                                                                                                     someone else,
                                                                                                                                                              else, or
                                                                                                                                                                    or
their  family members
their family  members through     an attack
                          through an  attack will
                                             will be  sentenced to
                                                  be sentenced        six months
                                                                  to six  months to
                                                                                  to two  years in
                                                                                     two years       prison. For
                                                                                                  in prison. For those
                                                                                                                  those threats   where the
                                                                                                                         threats where   the individual   in question
                                                                                                                                               individual in question
threatens
threatens the
           the other  person by
               other person      mentioning that
                              by mentioning  that they  will suffer
                                                  they will  suffer aa major
                                                                       major loss with regards
                                                                             loss with regards toto their assets or
                                                                                                    their assets or they will be
                                                                                                                    they will    subject to
                                                                                                                              be subject  to aa malicious
                                                                                                                                                malicious attack,
                                                                                                                                                          attack, will
                                                                                                                                                                  will
be sentenced up
be sentenced   up to  six months
                  to six  months in prison or
                                 in prison or an
                                              an equivalent    administrative fine
                                                  equivalent administrative    fine upon
                                                                                    upon the   victim’s complaint.
                                                                                           the victim's  complaint.”.".




                                                                                                     21
                                                                                                     21



                                                               [signature]
                                                               [signature]                                                                  [signature]
                                                                                                                                            [signature]
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Hergüner Bilgen
Hergiiner Bilgen Ozeke
                 Özeke

81. The
81.     Client has
    The Client has been
                   been threatened
                        threatened with
                                    with the
                                         the messages
                                             messages that
                                                       that Sezgin Baran Korkmaz
                                                            Sezgin Baran   Korkmaz sent
                                                                                     sent to
                                                                                          to the
                                                                                             the Client
                                                                                                 Client via
                                                                                                        via the
                                                                                                            the application
                                                                                                                application named
                                                                                                                            named WhatsApp
                                                                                                                                  WhatsApp and
                                                                                                                                             and examples
                                                                                                                                                  examples
of which
of which are
          are provided
              provided above
                       above for  the consideration
                              for the               of your
                                      consideration of  your Honorable
                                                             Honorable Prosecution
                                                                          Prosecution Office
                                                                                      Office where
                                                                                               where Sezgin   Baran Korkmaz
                                                                                                      Sezgin Baran   Korkmaz threatened
                                                                                                                              threatened the
                                                                                                                                         the livelihoods
                                                                                                                                             livelihoods of
                                                                                                                                                         of
the Client
the Client himself
           himself and
                   and his
                       his family, and indicated
                           family, and           that he
                                       indicated that he would
                                                         would suffer
                                                                suffer aa major
                                                                          major loss with regards
                                                                                loss with          to his
                                                                                           regards to his assets.
                                                                                                          assets.

82. Again
82. Again the
           the messages
               messages with
                         with the
                              the same
                                  same contents
                                        contents that
                                                  that were
                                                       were sent
                                                              sent to
                                                                   to the
                                                                      the Client
                                                                          Client and
                                                                                 and the
                                                                                     the relevant  persons where
                                                                                         relevant persons   where Client's
                                                                                                                  Client’s employees and his
                                                                                                                           employees and his attorney
                                                                                                                                             attorney were
                                                                                                                                                      were
also threatened
also threatened constitute an offense
                constitute an offense of
                                      of threat
                                         threat as
                                                as well.
                                                    well. In
                                                          In the
                                                             the same
                                                                 same manner,
                                                                        manner, Client's
                                                                                 Client’s office
                                                                                          office located
                                                                                                 located in
                                                                                                         in Taksim was called
                                                                                                            Taksim was  called and
                                                                                                                               and same
                                                                                                                                   same threats
                                                                                                                                        threats were
                                                                                                                                                were made
                                                                                                                                                      made
by Sezgin
by         Baran Korkmaz
   Sezgin Baran  Korkmaz which
                            which also
                                  also constitute  an offense.
                                       constitute an  offense.

83. Within this
            this framework,   as Sezgin
                  framework, as         Baran Korkmaz
                                 Sezgin Baran Korkmaz committed
                                                        committed the
                                                                  the offense
                                                                      offense of
                                                                              of threat
                                                                                 threat against
                                                                                        against different
                                                                                                different individuals on aa number
                                                                                                          individuals on    number of
                                                                                                                                   of occasions,
                                                                                                                                      occasions, we
                                                                                                                                                 we hereby
                                                                                                                                                    hereby
request aa bill
request    bill of
                of indictment to be
                   indictment to be issued against him
                                    issued against him where
                                                       where he
                                                             he would
                                                                would be
                                                                      be sentenced
                                                                         sentenced toto the
                                                                                        the maximum
                                                                                            maximum penalty.
                                                                                                       penalty.

5- Establishing
5- Establishing a
                a criminal
                  criminal organization
                           organization with
                                        with the
                                             the intent
                                                 intent to
                                                        to commit a crime
                                                           commit a       Article 220
                                                                    crime Article 220 of
                                                                                      of the
                                                                                         the Turkish Penal Code
                                                                                             Turkish Penal Code

 84. As
84.  As per
        per Article
            Article 220
                    220 of the Turkish
                        of the Turkish Penal
                                        Penal Code,
                                               Code, "Those
                                                      “Those individuals   who establish
                                                               individuals who             or manage
                                                                                establish or  manage criminal
                                                                                                       criminal organizations
                                                                                                                  organizations toto carry out those
                                                                                                                                     carry out       acts that
                                                                                                                                               those acts       are
                                                                                                                                                           that are
 considered as criminal
 considered as           offenses within
               criminal offenses   within the
                                          the law, will be
                                              law, will     sentenced from
                                                        be sentenced   from two  years to
                                                                            two years     six years
                                                                                       to six years in prison if
                                                                                                    in prison  if the  structure of
                                                                                                                  the structure  of the organization is
                                                                                                                                    the organization is suitable
                                                                                                                                                        suitable
 for committing
for  committing the intended offenses
                the intended  offenses with
                                        with regards
                                             regards to
                                                      to its members and
                                                         its members   and tools and instruments
                                                                           tools and               available to
                                                                                     instruments available    to it.  However, the
                                                                                                                  it. However,  the number  of members
                                                                                                                                     number of  members for
                                                                                                                                                          for an
                                                                                                                                                              an
 organization must
 organization must be  minimum three.”
                    be minimum    three."

85. Again   th paragraph of the same article indicates, “If a crime is committed within the framework of the organization’s activities, then a penalty will
    Again 44th
85.            paragraph of the same article indicates, "If a crime is committed within theframework of the organization's activities, then a penalty will
also be                                       th paragraph states, “Organization’s higher-ranking officials will also be sentenced as the perpetrators for
also  be imposed  for these
         imposedfor   these offenses.”  and 55th
                            offenses. " and      paragraph states, "Organization's higher-ranking officials will also be sentenced as the perpetratorsfor
all crimes
all        committed within
    crimes committed   within the  framework of
                               theframework      of the organization’s activities.
                                                    the organization's activities.”.
                                                                                   ".

86. Within
86. Within the
             the framework
                 framework of of the
                                  the actions
                                      actions that
                                                that we
                                                     we explained
                                                         explained above,
                                                                      above, itit is
                                                                                  is obvious    that the
                                                                                     obvious that     the organization
                                                                                                           organization which
                                                                                                                          which set
                                                                                                                                  set up
                                                                                                                                      up the
                                                                                                                                         the Client
                                                                                                                                             Client was
                                                                                                                                                      was not
                                                                                                                                                           not comprised
                                                                                                                                                               comprised of of
Sezgin   Baran Korkmaz
Sezgin Baran    Korkmaz andand Bugaraj's
                                Bugaraj’s authorized
                                            authorized representatives
                                                         representatives who who were
                                                                                   were included
                                                                                          included in     the transfer
                                                                                                       in the transfer process
                                                                                                                        process of
                                                                                                                                 of the
                                                                                                                                    the Companies
                                                                                                                                        Companies thatthat were
                                                                                                                                                           were transferred,
                                                                                                                                                                 transferred,
when one
when   one looks   at the
            looks at  the entire  picture, it
                          entire picture,  it can  be seen
                                              can be   seen that
                                                             that SBK     Holding Turkey
                                                                   SBK Holding       Turkey and      its subsidiaries
                                                                                               and its   subsidiaries acted
                                                                                                                       acted together
                                                                                                                               together with
                                                                                                                                         with its  business partners
                                                                                                                                              its business  partners and
                                                                                                                                                                       and its
                                                                                                                                                                            its
connections   located abroad
connections located    abroad in  an organized
                               in an organized manner
                                                  manner and
                                                           and they
                                                                they committed       various crimes
                                                                      committed various                 against different
                                                                                              crimes against     different individuals
                                                                                                                            individuals including   the Client,
                                                                                                                                        including the   Client, they
                                                                                                                                                                they coerced
                                                                                                                                                                      coerced
the relevant
the relevant individuals   through these
              individuals through   these methods
                                           methods andand confiscated     their assets
                                                           confiscated their    assets and   derived aa profit.
                                                                                        and derived       profit. In
                                                                                                                  In fact,
                                                                                                                     fact, these
                                                                                                                           these matters
                                                                                                                                 matters were
                                                                                                                                          were also
                                                                                                                                                 also noticed
                                                                                                                                                      noticed by
                                                                                                                                                              by the
                                                                                                                                                                  the Capital
                                                                                                                                                                      Capital
Market Board
Market   Board and
                and criminal
                     criminal complaints    have been
                               complaints have    been filed
                                                        filed against
                                                               against some
                                                                        some of    the Suspects
                                                                               of the  Suspects in in the
                                                                                                       the examples   provided above.
                                                                                                           examples provided     above. From
                                                                                                                                         From this
                                                                                                                                                this perspective,
                                                                                                                                                     perspective, we
                                                                                                                                                                   we hereby
                                                                                                                                                                       hereby
request the
request  the aforementioned    matters to
             aforementioned matters     to be
                                           be investigated    and aa bill
                                               investigated and      bill of
                                                                          of indictment
                                                                             indictment to to be
                                                                                              be prepared
                                                                                                  prepared about
                                                                                                              about those
                                                                                                                     those individuals   who were
                                                                                                                            individuals who   were determined
                                                                                                                                                     determined toto be
                                                                                                                                                                     be aa part
                                                                                                                                                                           part
of this
of this organization
        organization with
                       with the
                            the intent
                                intent to
                                       to commit
                                          commit aa crime
                                                      crime for   the offense
                                                              for the offense ofof establishing
                                                                                    establishing aa criminal
                                                                                                      criminal organization     with the
                                                                                                                 organization with   the intent  to commit
                                                                                                                                         intent to  commit aa crime.
                                                                                                                                                              crime.

87. If
87. If the
       the membership
           membership of of the
                            the suspects
                                 suspects in
                                           in question  within the
                                              question within  the criminal
                                                                   criminal organization
                                                                             organization cannot  be determined,
                                                                                           cannot be  determined, then
                                                                                                                  then we
                                                                                                                       we hereby   request aa bill
                                                                                                                          hereby request      bill of
                                                                                                                                                   of indictment to
                                                                                                                                                      indictment to
be prepared
be prepared against
              against these
                      these individuals   within the
                             individuals within   the framework
                                                      framework of of the
                                                                      the provision
                                                                          provision which
                                                                                    which reads
                                                                                            reads as,
                                                                                                  as, "Those
                                                                                                      “Those individuals who help
                                                                                                             individuals who help anan organization    deliberately
                                                                                                                                       organization deliberately
and willingly
and  willingly even
               even though
                    though they    are not
                              they are not included
                                            included in
                                                     in the hierarchical structure
                                                        the hierarchical  structure within
                                                                                    within the
                                                                                           the organization will be
                                                                                               organization will    punished as
                                                                                                                 bepunished  as aa member
                                                                                                                                   member of of the organization.”
                                                                                                                                                the organization."
within the
        the scope
            scope of
                  of the   th paragraph of the same article.
                     the 77th
within                         paragraph of the same article.

88. In
88. In the
       the same
           same manner,
                 manner, we
                         we hereby
                             hereby request  4th and
                                     request 4th     5th paragraphs
                                                 and 5th paragraphs of the same
                                                                    of the same article
                                                                                 article provided
                                                                                         provided above
                                                                                                  above to
                                                                                                         to be
                                                                                                            be considered
                                                                                                               considered and
                                                                                                                          and an
                                                                                                                              an evaluation
                                                                                                                                 evaluation to
                                                                                                                                             to be
                                                                                                                                                be conducted
                                                                                                                                                   conducted
with the
with  the other
          other crimes
                crimes that
                       that will
                            will be
                                 be charged
                                    charged and
                                             and all
                                                  all other
                                                      other crimes
                                                            crimes that
                                                                   that will
                                                                        will be
                                                                             be determined   within the
                                                                                determined within   the framework
                                                                                                        framework ofof the
                                                                                                                       the investigation to be
                                                                                                                           investigation to be conducted  by
                                                                                                                                                conducted by
your Honorable
your  Honorable Prosecution
                  Prosecution Office.
                              Office.

89. Moreover,
89.  Moreover, wewe hereby
                     hereby request
                             request an an investigation  to be
                                           investigation to  be conducted
                                                                conducted within
                                                                             within the
                                                                                     the scope
                                                                                          scope of
                                                                                                 of the
                                                                                                    the articles
                                                                                                        articles related  to the
                                                                                                                 related to  the offense   of establishing
                                                                                                                                  offense of  establishing aa criminal
                                                                                                                                                              criminal
organization with
organization   with the
                    the intent to commit
                        intent to  commit aa crime
                                               crime explained   above and
                                                      explained above   and Article
                                                                             Article 314
                                                                                      314 of
                                                                                           of the
                                                                                              the Turkish  Penal Code
                                                                                                   Turkish Penal  Code within
                                                                                                                         within the
                                                                                                                                 the framework
                                                                                                                                      framework of   the news
                                                                                                                                                  of the news reports
                                                                                                                                                               reports
published in
published      the press
            in the press where
                          where itit is claimed that
                                     is claimed   that Sezgin  Baran Korkmaz
                                                       Sezgin Baran    Korkmaz isis aa FETO
                                                                                        FETO member
                                                                                                member and
                                                                                                         and examples
                                                                                                              examples ofof which
                                                                                                                             which areare provided
                                                                                                                                          provided above
                                                                                                                                                    above and
                                                                                                                                                           and if   any
                                                                                                                                                                 if any
affiliation/connection is
affiliation/connection     determined, then
                        is determined,    then we
                                               we request
                                                   request the
                                                           the file to be
                                                               file to be segregated
                                                                          segregated from    this perspective
                                                                                       from this  perspective and
                                                                                                              and to
                                                                                                                   to be
                                                                                                                      be sent
                                                                                                                         sent to
                                                                                                                               to Istanbul
                                                                                                                                  Istanbul Chief
                                                                                                                                           Chief Public
                                                                                                                                                  Public Prosecutor’s
                                                                                                                                                         Prosecutor's
Office Terrorism
Office             and Organized
         Terrorism and  Organized Crimes      Investigation Bureau.
                                     Crimes Investigation    Bureau.

                                                                                 22
                                                                                 22

                                              [signature]
                                              [signature]                                                           [signature]
                                                                                                                    [signature]
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Hergüner Bilgen
Hergiiner Bilgen Ozeke
                 Özeke

IV. LETTERS ROGATORY

 90. As
 90. As we
         we indicated  above, our
             indicated above,   our Client  has been
                                    Client has  been living
                                                      living in    the USA
                                                               in the   USA for   more than
                                                                              for more  than 40
                                                                                              40 years
                                                                                                  years and
                                                                                                        and his
                                                                                                              his address
                                                                                                                  address onon the
                                                                                                                                the Central
                                                                                                                                    Central Registration
                                                                                                                                             Registration System
                                                                                                                                                            System is   75
                                                                                                                                                                     is 75
 Hawthorn Village
 Hawthorn   Village Road,
                     Road, Nashua
                            Nashua NH NH 03062    USA. Within
                                           03062 USA.     Within the the framework
                                                                         framework of of all
                                                                                         all of
                                                                                             of the
                                                                                                the points
                                                                                                    points included
                                                                                                            included in in our
                                                                                                                           our complaint    petition and
                                                                                                                                complaint petition         if the
                                                                                                                                                      and if  the Client's
                                                                                                                                                                  Client’s
 statement must
 statement  must be
                 be taken
                    taken by
                          by your
                              your Prosecution
                                    Prosecution Office
                                                 Office asas the
                                                             the plaintiff,
                                                                  plaintiff, then
                                                                             then it
                                                                                  it must
                                                                                     must be
                                                                                          be reminded   that "Ensuring
                                                                                             reminded that   “Ensuring that
                                                                                                                          that the
                                                                                                                               the witness
                                                                                                                                   witness statements
                                                                                                                                            statements and
                                                                                                                                                         and declarations
                                                                                                                                                              declarations
 of individuals
 of individuals are
                are taken"
                    taken” is
                           is listed among the
                              listed among   the issues  of mutual
                                                 issues of  mutual assistance
                                                                       assistance within
                                                                                  within sub-paragraph
                                                                                          sub-paragraph (b)
                                                                                                          (b) of
                                                                                                               of the
                                                                                                                  the third
                                                                                                                      third paragraph
                                                                                                                            paragraph ofof Article
                                                                                                                                           Article 21
                                                                                                                                                    21 of
                                                                                                                                                        of the
                                                                                                                                                           the "Treaty
                                                                                                                                                               “Treaty on
                                                                                                                                                                        on
 Extradition and
 Extradition  and Mutual
                  Mutual Assistance
                          Assistance inin Criminal  Matters between
                                          Criminal Matters     between thethe United
                                                                              United States
                                                                                      States of
                                                                                             of America
                                                                                                America and     the Republic
                                                                                                           and the  Republic of of Turkey”.
                                                                                                                                   Turkey". InIn this
                                                                                                                                                 this context,  we hereby
                                                                                                                                                      context, we  hereby
 request taking
 request taking the
                the Client's
                    Client’s statement
                             statement asas the
                                            the plaintiff
                                                plaintiff via
                                                          via aa rogatory
                                                                 rogatory commission
                                                                            commission within
                                                                                          within the
                                                                                                 the United
                                                                                                     United States
                                                                                                              States of  America where
                                                                                                                      of America    where he
                                                                                                                                           he resides.
                                                                                                                                               resides. [APPENDIX
                                                                                                                                                        [APPENDIX 38    38
-- Treaty
   Treaty on   Extradition and
           on Extradition   and Mutual
                                  Mutual Assistance
                                           Assistance inin Criminal
                                                           Criminal Matters
                                                                         Matters between     the United
                                                                                   between the   United States
                                                                                                          States ofof America
                                                                                                                      America and and the
                                                                                                                                      the Republic
                                                                                                                                          Republic of  of Turkey]
                                                                                                                                                          Turkey]

CONCLUSION and
CONCLUSION       and REQUEST
                     REQUEST                            :: As
                                                           As aa result
                                                                 result of
                                                                        of the
                                                                           the incidents
                                                                               incidents and
                                                                                         and legal statements provided
                                                                                             legal statements provided above,
                                                                                                                       above, we
                                                                                                                              we hereby
                                                                                                                                 hereby request your Honorable
                                                                                                                                        request your Honorable
Prosecution Office;
Prosecution Office;

1. To
1.    adopt ARREST
   To adopt ARREST and and CUSTODY
                            CUSTODY WARRANTS
                                          WARRANTS as      as per
                                                              per Article
                                                                  Article 90
                                                                          90 and
                                                                             and 91
                                                                                 91 of
                                                                                    of the
                                                                                       the Code
                                                                                            Code of
                                                                                                 of Criminal   Procedure (`CMK')
                                                                                                    Criminal Procedure     (‘CMK’) against
                                                                                                                                     against the
                                                                                                                                             the Suspects  whose
                                                                                                                                                 Suspects whose
names are
names  are written
           written above
                   above and
                           and all other suspects
                               all other suspects who
                                                   who have    been determined
                                                         have been               to act
                                                                     determined to  act as
                                                                                         as an
                                                                                            an accomplice
                                                                                               accomplice as
                                                                                                           as aa result
                                                                                                                 result of  an inquiry
                                                                                                                        of an          and these
                                                                                                                               inquiry and these warrants
                                                                                                                                                  warrants to
                                                                                                                                                            to be
                                                                                                                                                               be
enforced by the
enforced by the security
                security forces  with immediate
                         forces with  immediate effect   given the
                                                  effect given  the evidences at hand,
                                                                    evidences at hand, strong
                                                                                        strong suspicion
                                                                                               suspicion of
                                                                                                         of aa crime
                                                                                                               crime having   been committed
                                                                                                                     having been   committed asas detailed
                                                                                                                                                  detailed above
                                                                                                                                                           above
and given
and       the likelihood
    given the likelihood of
                          of the
                             the suspects
                                 suspects to
                                          to flee and to
                                             flee and to tamper
                                                          tamper with
                                                                  with the
                                                                       the evidences,
                                                                           evidences,

2. Considering
2.              the presence
   Considering the  presence ofof multiple
                                  multiple phenomena
                                           phenomena which
                                                         which led  to the
                                                                led to the suspicion
                                                                           suspicion that
                                                                                     that the
                                                                                          the Suspects may hide,
                                                                                              Suspects may hide, flee
                                                                                                                 flee or tamper with
                                                                                                                      or tamper with evidences and likelihood
                                                                                                                                     evidences and likelihood
of the
of the suspects
       suspects to
                to get
                   get rid of, to
                       rid of, to confiscate or to
                                  confiscate or to falsify
                                                   falsify the
                                                           the evidences,  to SUBMIT
                                                               evidences, to  SUBMIT A  A REQUEST
                                                                                           REQUEST TO       THE CRIMINAL
                                                                                                        TO THE    CRIMINAL COURTCOURT OF OF PEACE
                                                                                                                                             PEACE THAT
                                                                                                                                                      THAT
IS AUTHORIZED
IS  AUTHORIZED IN     IN ORDER
                          ORDER TO   TO ISSUE
                                         ISSUE AN AN ARREST
                                                       ARREST WARRANT
                                                                  WARRANT as     as per
                                                                                    per Article
                                                                                        Article 100
                                                                                                100 of
                                                                                                    of the
                                                                                                       the Code
                                                                                                           Code of
                                                                                                                 of Criminal
                                                                                                                    Criminal Procedure,
                                                                                                                             Procedure,

3. As
3. As the
       the crimes  subject to
           crimes subject  to the
                               the complaint   also include
                                   complaint also    include Aggravated
                                                             Aggravated Fraud,
                                                                          Fraud, to
                                                                                  to SUBMIT
                                                                                     SUBMIT A    A REQUEST
                                                                                                   REQUEST TO     TO THE    CRIMINAL COURT
                                                                                                                      THE CRIMINAL          COURT OF   OF PEACE
                                                                                                                                                            PEACE
THAT
THAT IS  IS AUTHORIZED
            AUTHORIZED IN        IN ORDER
                                    ORDER TO         CONFISCATE all
                                               TO CONFISCATE          all ASSETS
                                                                          ASSETS including       the movable
                                                                                     including the   movable and
                                                                                                               and the
                                                                                                                    the immovable
                                                                                                                        immovable properties
                                                                                                                                      properties registered
                                                                                                                                                  registered on
                                                                                                                                                              on the
                                                                                                                                                                  the
Suspects,  all kinds
Suspects, all  kinds of
                     of accounts
                        accounts held
                                   held at
                                        at the
                                           the banks
                                               banks and
                                                       and other
                                                           other financial
                                                                 financial institutions, all kinds
                                                                           institutions, all kinds of
                                                                                                   of receivables  before real
                                                                                                      receivables before  real and
                                                                                                                                and legal
                                                                                                                                    legal entities,  available funds
                                                                                                                                           entities, available funds
within rental
within  rental vaults,
               vaults, share
                       share stocks
                             stocks registered
                                     registered in
                                                 in their
                                                    their names
                                                          names before
                                                                 before the
                                                                        the Custody   and Settlement
                                                                            Custody and                Bank, if
                                                                                           Settlement Bank,      any, and
                                                                                                              if any,     all real
                                                                                                                      and all real estate properties and
                                                                                                                                   estate properties  and securities
                                                                                                                                                           securities
that they
that they own
          own asas per
                   per Article
                       Article 128
                                128 of
                                    of the
                                       the Code
                                           Code ofof Criminal
                                                      Criminal Procedure
                                                               Procedure and   the evidences
                                                                          and the  evidences currently
                                                                                               currently in
                                                                                                         in possession,
                                                                                                            possession,

4. Due
4. Due to
       to the
          the suspicion
              suspicion that
                        that the
                              the suspects
                                  suspects may
                                           may flee
                                               flee abroad and tamper
                                                    abroad and tamper with
                                                                       with the
                                                                            the evidences
                                                                                 evidences and
                                                                                           and asas aa result
                                                                                                       result of
                                                                                                              of an inquiry that
                                                                                                                 an inquiry that will
                                                                                                                                 will be
                                                                                                                                      be carried out, TO
                                                                                                                                         carried out, TO
SUBMIT A
SUBMIT    A REQUEST
            REQUEST TO        THE CRIMINAL
                         TO THE                  COURT OF
                                    CRIMINAL COURT        OF PEACE
                                                             PEACE THATTHAT IS IS AUTHORIZED
                                                                                  AUTHORIZED IN       IN ORDER
                                                                                                         ORDER TO      ISSUE A
                                                                                                                   TO ISSUE    A BAN
                                                                                                                                 BAN FOR
                                                                                                                                       FOR LEAVING
                                                                                                                                              LEAVING
THE
THE COUNTRY
     COUNTRY about       all suspects
                   about all suspects determined
                                      determined to
                                                 to be
                                                    be accomplices
                                                       accomplices as
                                                                   as per
                                                                      per Article
                                                                          Article 109/3-a
                                                                                  109/3-a of
                                                                                          of the
                                                                                             the Code
                                                                                                 Code of of Criminal Procedure,
                                                                                                            Criminal Procedure,

5. To
5.     issue aa bill
   To issue     bill of
                     of indictment  against all
                        indictment against  all Suspects whose names
                                                Suspects whose  names are
                                                                       are written
                                                                           written above
                                                                                   above and
                                                                                          and all
                                                                                               all other
                                                                                                   other suspects
                                                                                                         suspects who
                                                                                                                  who are
                                                                                                                      are determined
                                                                                                                          determined to
                                                                                                                                     to be
                                                                                                                                        be accomplices
                                                                                                                                           accomplices so
                                                                                                                                                       so that
                                                                                                                                                          that
they can
they can be
          be sentenced
              sentenced due    to the
                           due to the actions
                                      actions explained  above and
                                              explained above  and as
                                                                   as per
                                                                      per the
                                                                          the relevant
                                                                              relevant articles of the
                                                                                       articles of the Turkish Penal Code
                                                                                                       Turkish Penal Code and to FILE A PUBLIC ACTION
in this regard,
        regard,

                                                                               23
                                                                               23

                                                        [signature]
                                                        [signature]                                  [signature]
                                                                                                     [signature]
                     Case 1:19-cv-00183-JL Document 20-5 Filed 09/04/19 Page 29 of 57


Hergüner Bilgen
Hergiiner Bilgen Ozeke
                 Özeke

6. To
6.    conduct an
   To conduct  an investigation
                  investigation about
                                about FETO
                                      FETO claims  and if
                                            claims and if aa relationship
                                                             relationship is
                                                                          is established
                                                                             established then
                                                                                         then to
                                                                                              to segregate
                                                                                                 segregate the
                                                                                                           the file
                                                                                                               file from this perspective
                                                                                                                    from this perspective and
                                                                                                                                          and to
                                                                                                                                              to send
                                                                                                                                                 send it to
                                                                                                                                                      it to
Istanbul Chief
Istanbul Chief Public
               Public Prosecutor's
                      Prosecutor’s Office
                                   Office Terrorism and Organized
                                          Terrorism and Organized Crimes
                                                                     Crimes Bureau,
                                                                              Bureau,

Kindly submitted
Kindly submitted for your information.
                 for your information.

                                                                                                                           Yours Sincerely,
                                                                                                                           Yours Sincerely,

                                                                                                                           Attorneys of
                                                                                                                           Attorneys of

                                                                                                                           Yalçın Ayash
                                                                                                                           Yakut  Ayaslı

                                                                        Att. Ayse
                                                                        Aft. Ayşe Hergiiner
                                                                                  Hergüner Bilgen
                                                                                            Bilgen —
                                                                                                   – Aft.
                                                                                                     Att. Hamdi
                                                                                                          Hamdi Tolga Danışman
                                                                                                                Tolga Damsman


                                                                        [signature]
                                                                        [signature]                              [signature]
                                                                                                                 [signature]




             – Power
[APPENDIX 39 — Power of
                     of Attorney]
                        Attorney]




                                                                        24
                                                                        24
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                                                  T.C.
                                               1STANBUL
                                         CVMMIRIYET BASSAVCILI41

Soraqturma No. : 2017/175132 Sorusturma
Karar No         2018/56534

                    KOVUSTURMAYA YER. OLMAD                                           INADAIRICARAR,

DAVACI                                                : K.H.

MOSTEK1                                               : YAWN AYASLI, MEHMET NURI Oglu. KERNE
                                                        NESIBE'den olma,                dogumh; NASHUA,
                                                        NH /AMERIKA BIRLE$1K DEVLETLERI ikanict
                                                        eder.
VEKILI                                                : AV AWE BERGONER BILGEN,JSTANBUL
                                                        Baytikdere Cad. N0:199 Levent/ISTANBUL

                                                     :       FATITI AKOL, YA$AR oglu FATMNden alma,
                                                                     dogumlu, ADANA iii, 'MER'KEZ
                                                       KAYALIBAO koy/mahalIesi, 25 ,cilt, 547 aile sera no,
                                                        16 sira no'da nttfusa kayith GUtark Morkez Mah. Mutlu.
                                                        Yokup --Yaltr -St —WIT 19 Kap No:3 Eytip/
                                                       ISTANBUL ikamet eder.
SUC                                                  : Bilisim: Sistemleri Banka veya Kredi Ktirurnlarimn
                                                       Arac Olarak Milan-limas: Suretiyle Dolandnicihk, Suc
                                                       I§lemek Arnaciyla Orgtit Kurma
SUC TARtHi VE YERI                                   :: 24/11/2017 ISTANBUL/MERKEZ, ISTANBUL/mill
$UPHELI                                              :.2- JACOP ORTELL KINGSTON, ogiu 'den olma,
                                                       dagumlu,,               koylmahallesi, cilt, aile. sera no,
                                                       sum nci'da Mifusa kaytth. ikamet eder.
SUC                                                  : Bi1i§im Sistemleri Banka veya Kredi Kurumfarmin
                                                       Arai Olarak Ktillandmagi Suretiyle Dolandmcilik, Sin
                                                       hlemek Amaelyla Orgut Kumla:
SUC               VE                                 :.'24/11/20"1'7 ISTANBUL/MERKEZ, ISTANBUL/null
$OPHEL1                                              : 3- KADIR PEKERI YILMAZ Oglu TOREL'den
                                                      olma, 16/09/1964 •dogumlu, MANISA ili, AKHISAR
                                                      ilccai„ ULL1CAM1 koy/mabailesi, 14 eilt, 656 aile sera
                                                      no, 11 sera no'da niitlisa 'kayitli Senlikkay Mab.
                                                      Otlukboli Sk. No:8 tc Kapi No:0 Bakirkoy/ ISTANBUL
                                                      ikainet eder.
SU                                                   : Bili§im :Sistemleri Banka veya Kredi Kurumlarmin
                                                      Arac Olarak KullantIman Suretiyle Dolandirreihk, Sur
                                                      IalemekAmaciyla Orgiit Kumla
SUC TARtnt VE YERI                                   : 24/11/2017 ISTANBUL/MERKEZ, ISTANBUL/hull

                                                                       1



      SkienliritldkPbh do1inmitrut l'alivtivaiundits,tiopvw.tr udresimlen   DInC101-bc --CO+Qy6T-- ip0Vbp9 AF5B8Y=
   Case 1:19-cv-00183-JL Document 20-5 Filed 09/04/19 Page 31 of 57




 SUPEIELf                                              ::4- KAMIL             ALPTEKIN, MUSTAFA SEVIN(
                                                         Oglu ZEHRA'.den o ha,                        dog uml u,
                                                         DENIZLI         ill,     MERKEZEFENDI           tIcest,
                                                         DEOIRMENONO ktiy/mahallesi, 5 tilt, 357 wile stra no,
                                                         8 sira no'da nufusa kaytth Burhaniye. Malt. Toocaktart
                                                         Sk. No:'IOC Ic Kapt N0:1 Oski5dar/ ISTANBUL ikamet
                                                         eder.
 SU(                                                   :           Sistemten Banka veya Kredi Kurumlannin
                                                        Arac Olarak Kullatulmast Suretiyle Dolandtrtatic, Suc
                                                         41ernek Amaelyla ()Tat Kurma.
 SU( TARIfIt VE YERI                                   : 24/11/2017 ISTANBUL/MERKEZ, tsrANauuna
 SOPHELI                                               : 5- KAMiL FERIDUN OZKARAMAN, MERMET
                                                       BESIM Oglu 14ACER'den olrna,                     dogumlu,
                                                       ISTANBUL Ili, OSKODAR ilgesi, AZIZ MAH1VIUT
                                                       FIODAYI kt5y/mahallesi, 49 eat, 1:`173 aite stra no, 8. aura
                                                       no'da nilfusa kayith celiktepe Mali. How& Sk. No:3 Ic
                                                       Kap No:4 Kaphane/ ISTANBUL ikamet eder:
SUc                                                      Bili§im Sistemled Banka veya ICredi Kurum1annin
                                                       Arac Olarak Kullantlmast Suretiyle Dolandtricifik, SIN
                                                       I§lemek Amactyla Orgtit Kurnia
SU( TARIM VE YEW                                      : 24/1,1/2017 ISTANBUL/MERKEZ, ISTANBUL/null
SOKIELI                                                      .LEVON TERMENDIHYAN,
SU(                                                   : Bilt$1m Sistemleri Banka veya Kredi Kurunitannm
                                                       Arac Olarak ICullamlmasr Suretiyle Dolandmedtk, Sue
                                                        I§lemek Amaciyla Orgtit Kunna
SU( TARilit 'YE YERI                                  :.24/11/2017 ISTANBUL/MBRKEZ,,,ISTANBUL/nuil
SOPRELi                                                  7- SUM DARAN KORKMAZ, TEYYAR ogiti
                                                        RAIIIME'den olma,                dogumtu, KARS ili,
                                                       DIGOR ilcesi, BACALI ktiy/mahallesi, 5 eilt, 32 aile
                                                       sira no, 27 awn no'da nitfusa kayitli Aearlar Mah.
                                                       1341ducm Sk. No:146 Beykoz/ ISTANBUL ikamet eder.
SU(                                                      Biligim .Sistemleri Batika veya Kredi Kuremlarmm
                                                        Arac Olarak Kullandmasr Suretiyle Dolandirtethk,
                                                        Tehdit, Adli Yargdamayt Etkilemoye Tovhbus, Yalan
                                                        Tarukhk, Suc I§lemek Amaetyla Org4t Kumla
SU( TARIM YE YERI                                     : 24/11/2017 ISTANBUL/MERKEZ, ISTANBUL/hull
SUPHELi                                               :      TOLGA CZOMCO, ISMAIL Oglu NILGON!den
                                                       olma,                  dogumlu, CANAKKALE
                                                       LABEKI            U1VIURBEY BELDESI koy/mahallesi,
                                                       41 Gilt, 194 aile sera no, 13 sera nokla ntifusa kayitli
                                                       Barbaros Malt Ardis Sk. No:SH Kap' No:3 Ataphir/
                                                       ISTANBUL ikamet eder.
SU(                                                   : RiNim ,Siaternled Banka veya Kredi Kurumlannm
                                                       Arac Olarak Kullanilmasi Suretiyle Dolandmethk, Sac
                                                       Nemek Amaetyla Orgtlt Kurma
SU( T,ARilli VE YERI                                  : 24/11/2017 ISTANBUL/MERKEZ, ISTANBUL/null

                                                                      2


UN'AP liiii@im Sisiemindoki hu dokilmand biwiivaloilditctiyupow,tr altusinden- .D1rICClix - :CO+Cy6T   ip0Vbp9 = AF5B8Y=   116 urittbiliminix,
   Case 1:19-cv-00183-JL Document 20-5 Filed 09/04/19 Page 32 of 57




  $1DPHELt                                                        9- BORA JET HAVACALIK TMIMACILIK
                                                                 UCAK BAKIM ONARIM VE TICARET A$
                                                                 YETKULERI
 SUC                                                           : Ni telikli.Do land inc tk
 WC TARIM VE VERY                                              :24/11'/20.17 ISTANBUL
 SUPHELI                                                          10- BUGARAJ ELEKTRONIK TICARET YE
                                                                BtLiSiM HILVIETLERi        YETKILALERi
                                                               : Nitelikli Dolandiricihk
 SUc TARIHi VE YERI                                              24/11/2017 ISTANBUL
 SOPHELI                                                             11-   MEGA VARLIK YONETIM ANONIM
                                                                 $IRKETi             YETKULERI,        Beylorbeyi
                                                                Mah.Beylerbeyi Iskele Cad,No:16/1 UskUdar Istanbul
                                                                Osktidar/ ISTANBUL ikamet eder.
 SIX                                                           : Nitelikli Dolandtricilik
 SUC TAR1Hi VE YEW                                             : 24/11/2017 ISTANBUL
 FaPHELi                                                       : 12- SBK HOLDING A$ YETKULERI, Salvor
                                                                Resitpasa Mali. Eski 130yUdere 'Cad. No:14 K:9/I3
                                                                Maslak $1sli/ ISTANBUL ikamet eat
 SUc                                                             Nitelikli Dolandincilik
 SUc TARIHi VE YEW                                               2411/2017 ISTANBUL

              SORUSTURMA EVRAKI INCELENDE:

           MilSteki Yalon AYASLI yekiii aracthgtyla .Cuthhuriyet Bassavoliguniza verilen
 qikayet dilckcesi lie; milsteki; Yalcm AYASLI urn salup. oldugu Borajet isimli sirket lie
 birlikte Borajet B.akim .ye Ayclinjet sirketlerinin hisselerinin, stlpheliierden• SDK Holding
 sahibi .Sezgin Baran KORKMAZ in 36h:1bl oldugn 'Bugarq Blektronik Tic. A.:$, ye
 devredildigi, taraflar arasinda 29/12/2016 taiihiude hisse, devir ve kar ,paylastm sUlesmesi-
 imzalandignu, titrallann hangi borclann addnecOgi kentistinda anlaStigi, aticak datia .sonra
 bazi -sebeplerden Sezgin Baran .KORKMAZ in m4tekiye sit .ktedi borclannin .6denmesi
 yonlinde 'batikalardan ihtar yapttrtldtgrni, mastekinin borclarim tideyememesi tzerine SBK
 Holding ile baglantilt Mega Varlik Y6netim A.$ ye borglartn. temlik edildigini, -.soz konusu
 donemde Mega Varlik sirketinin Anetirrikundu ilyelerinden birinin Kanii1B1cin ALTTEKIN
 oldugunu, sahislartn           hareket ederek ,orgtitlt bit- sekilde gayrimesrn yollaXla inUStekiyi
 zarara ,ugrattiklanin, Sezgin Baran KORKMAZ in intistekiyi basks. altnit almak .adma suc•
 duyurusunda -bulunduguna, milsteki hakkinda Istanbul 2.. Air Ceza Malikeinesinde kainu
 davasmm devarn ettigiui, SBK Holding isimli sirketin arkasinda yurtdist kaynakli Levan
 TermendZhyan, Jacob Ortell Kingston ile bi likte hisse devir .sozlesmesine katilan .Fatih-
 AKOL, Kamil Feridun OZKAAAMAN lie sirk.etin mali i leriiie bakan Tolga •OZOMCO,
 yine bisse devrinde yer alan Kadir PEKER. Ile di.pr tespit edilecek stIpheliterin sug iSlemek
 amaciylaibir araya gclerek 6.tgat kurduklanni ye. yasanan StRecte nitelikl.i dolandincililc, yalan
            adil yargilamayt .etkilemeye tesebbils ye telidit suClanni. 41ediklerit 'aynea.
 Sezgin Baran KORKMAZ- in FETO/PDY ter& &OM ile irtibatli oldtluta                     .'btr :brgut.
,birlikte niUstekiye kwripas kurduklan i,d.diasiyla sikayetci olditgu,
                     Sezgin Baran KORKMAZ hakkinda silalili ter& '64Rane nye 'alma
 sueundan dosya teffik edilerek Cumhuriyet Bassavoligunizin 2018/63526 sayili dosytisina
 kaydediidigi,

                                                                                 3



UYA p CliliyinrSialanln4eki hu dokilnuina Ifilidivataiidag,flygpvivar ailrekintlen.   DinoCHx - cO+Cy8T - tp.OVbp9:- AF5B8Y=
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               iplaeli Sezgin Baran KORKMAZ ve intlSteki Yalrui, AYASL1 arasmda Istanbul
 Cumhurlyet Bassavedignun 2017/68314 sorusturma. sayili dosyastnda &wale in satUm
 snasmda .usulsOz istemler yaprldtgt gerekcesiyk :sorusturmanin bulundugu, sorusturmo.
 kapsanunda bilirlu i ineelernesindenoRlet iia .hisseleri devredihneden tinge yapilan 'mask
 islemler :sebebiyle Sezgin Baran KW:D/1AZ un zarara ugradIgmm, sirketin muhasebe
 kayttlan ile oynamalar yapildigt, sirker adina               ucaklArin...don6r olarak kullamidigt ye
 parcalarimn eksik oldugunun tespit editdigi, sattm -Armin-de                 AYASL1 nta sabsi final
 varlignu .devrennek .surettyle kactrma pima gitligiiiin tespit edildigi, bdylece Yalcm.
 AYASLI hakkmda TCK 158/1-h maddesi ;gcregince kamu, dayast•acildtgt,
            Dosya. kapsarrunda yapilan iuceleme sonrasi Istanbul Nlaii Suclarla MOcadele $ube
 lyttldurtaglince dllzenlenen 06/07/2018 tarildi arastirma raporunda; ,mtlsteld File diger
 stiphelder arasmda yapilan sirket hissesi devri kommunda herhangi .bir usulStitillgikt
 gortUmedit, taraflar arasmda .yapilan, hisse dewinin daha once Istanbul 'Cumhuriyet
 Ras:save:114mm 201-7/68314 sorusnarma sayib ,dosiyasmdo incelendigi, stlpheliler aleyhine bir
 hususun:tespit -.edilmediginin bildhildigi,
            Yapilan sorusturmo neticesinde nnistekt Yalcin AYASLI                                   SB.K
 Holdirksahibi'Sezgin Baran KORKMAZ arasmdatleari bir ili kiitin bulundiigtt, sirket hisse
 devri sebebiyle aralarmda daha onceden bit husumetin yasandigt,._ bu yonde kamu .davasmar
 halen devam ettig1, masteld tai'afrndan sirketin devrinde ve sonrasrnda
 yonande fled stittilen iddialarm tarallar arasindaki :gun sant-atm .dogan hukuki uyusmazhk
 niteliginde ()Mugu, .kaldt Ice sdz konusu iddialarm milsteki Valero AYASLI hakkmda Istanbul
 2. 4u Ceza Mahkernesinde gdralen kamu .davasmin savutunast niteliginde oldugu,
 stIpheli ler arasinda mOstekinin iddia ettigi sekilde, sue. orglIttl &teak sekii de .birbaglantmurve
 eylem b rlikteliginain olduguna dair herhangi bir somut delilin bulunmadigi, mtisteki
 tarafmdan                 hakkmda islediklel i iddia edilen diger suclarm soyut iddia niteliginde
 oldugu, taraftar arasindaki him-met ye Inikaki uyusmazhk neticesinde                  stitillen iddialar
 align,. atilt stiOarm islendigine -dairsomut bin delilin bulutunachgt, kaldi ki. mlistekinin.'hisse
 devri sebebiyle ,yasonon hukuki tryusrnazlik sebebiyle yetkili ye :g6revii htikuk.
 mahkemelerinden dava acabilecegi film dosya kapsamrndan anlasilmakla;
           'Si p.heliler hakkmda atth -suclardan AYR1 AYRI KOVIISTURMAY-A. YER.
 OLMADIOINA,.
            Kararin      tlrnegininmtisteki vekilint teblfglne,.
            CMIC nun 172 — 173 maddeleri uyarmca kararm teblig                     tarihten itibaren 15
 glen icerisinde 'Cumhuriyet Bassavetligmuz oractliglyla Istanbul .N6betcl Suitt Ceza
 Hakimligi"ne atirazr kabil olmak Vizere .karar verildi. 09/07/2018
                                                                                                        •
                                                                                                Muhammet AKCAER 120910
                                                                                                    Curnburiyet Saveisi
                                                                                                      E. innaluhr.




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UYAP Lii*P.Sistemitikki hu dokanthitri Iltipdivatandas,uynn,gov.li Adivsinden   DJnQCHx CQ+Cy6T - ip01/49 --AF5B8Y=' Ile
                    Case 1:19-cv-00183-JL Document 20-5 Filed 09/04/19 Page 34 of 57



                                                                                       Av. Piraye Kuranel Bap!   Av. Nazim 0. Kun
                                                                                       Av. Aye Hergoner Bilgen   Av, M. Men Oguzalgen
              leraiiner 13iiffenOzeke
                           {77                                                         Av. Ismet Bozoglu         Av. Yesim F. Api
         A%            Onit1.10                                                        Av. S. Ash Budak          Av. Deniz Tunnel
                                                                                       Av. H. Tolga Danivnan     Av. Kayra Ocer
                                                                                       Av. Serkan Gal            Av. Ufuk Yalcin
        Borkdcre Caddcs% 199 Lutnt 313911stanbul TURKEY
          490.212.31018 00 F +90.212 310 18 99
                                                                                      'Av. Omit Herganer         Av. Bige Ytiml
        E ml'Alerguner.ar.tr W www.hoguncraw.ty                           n/           Av. Senem lsmen
                                                                                                                                              --
                                                                                                                         24 Kasi41-.20.17 •
                                                             \ C(
                                                                       YAKALAMA, TUTUKLAMA, YURTDISI NA (1KIS
                                                                       YASAGI, TED131 ARAMA VE EL KOYMA
                                                                       TALEPLIDIR.                        •




        ISTANBUL CUMHUR1YET 13ASSAVCILI6PN,N,
        SIKAYET EDEN -                               •       Yalcm Ayash
                                                             75 Hawdion) Village Road. Nashua NH 03062, ADD

-       VEKILLE11.1                                           A.  Aye Hergiiner Bilgen — Av. Hamdi Tolga Danviman
                                                               (Adres antettedir.)

        SUPHELILER                                       :    1- Sezain Baran Korkmaz (T.C. Kindik No: 24194155124)
                                                             2- Kamil Ekim Alptekin ( T. C. Kimlik No: 422110331 18)
                                                             3- Levnn 'rennendzhyan (Lev Asian Dermen)
                                                             4- Jacob Ortell Kingston (Vergi kimlik no:                     )
                                                             5-Bugaraj Elektronik Ticaret Ye Bilisim Hizmetleri A.S. yetkilileri
                                                                     (7 Chneyt Olen (7: C Kimlik No; 10660831050) ohnak rizere
                                                             .1'iiphe11 oldugu tespit           ak film yetkililer)
                                                             6- Fat i h Akol ( T. C. A-1)1711k No: 1(5 774/98744)
                                                              7- Tolga                     Khnlik No: 32686260812)
                                                             8- Nadir Peker (T.C. Kimlik No: 32732042126) .
                                                              10- Kamil Feridun Ozkaraman                 Kindik No: -168-163539861
                                                              11- 13ora Jet Havacilik Tawaeilik Ucak Bakim Onanm Ye
                                                             Ticaret A.S. yetkilileri
                                                             tflarta Se:gin Baron Korkmaz Fatih Akol, Kamil Feridun
                                                             0:kaminan ye Chnep Oren ohnak There .yliphell                       tespit
                                                             otnnocak tum yetkilller)
                                                              12--Nlega Varlik Yonetim A11011i111 Sirketi yetkilileri
                                                             (Sava Jacob Ortell Khigston Komil Ekim Ahnekin ohnak h=ere'
                                                                        olduRn 'evil ()holm& thm yetkililer)
                                                             13- SBK I bolding A.S. yetkilileri
                                                                        Sezgin Banal Burkina: obnak tizere               oldidtu Ie',5 751
                                                             olunawk
                                                             14- Suca istirak               sorustunna kapsammda tespit olunacak
                                                             d 4:!er sahislar
                                                                                                                           /     /201...
                                                                                                                   Muctof.. KUCUI<OCILU
                                                                                                                                   S.nicist

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              Et'; •!..sO f




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            Case 1:19-cv-00183-JL Document 20-5 Filed 09/04/19 Page 35 of 57




            ..
       liergunorIBagen Ozeke
      SLICLAR                           1- :-1.yakuier 11'r Ctitin fill/ell/7 hie car ill .fcroliyeti kapSt1111117del
                                        iVe1717IC'Xi sebebiyle sue islemek ainaciyla                 kurina TCK
                                        incl. 220
                                        2- Nitelikli Dolandiricilik (TCK m. 158 1. likra b-f-g7h
                                        bentleri)
                                        3- Valan Tanildik (TCK in. 272)
                                        4- AdilYargilamayi Etkilemeye Tesehbiis (TCK md. 288)
                                        5- Tehdit (TC:K in. 106)

     KONU                           : Vukaricla ismi Tielirtilen              ile sucun islenmesinde istirak
     halinde         yurilaileeek Savcilik sorusturmasi neticesinde tespit edilecek diger sahislar hakkmda
     (i) asagida ayrintdi olarak aeilanaeak tiiller kapsaminda iddianame hazirlanmasi ve kamu davasi
     acilmasi.     tutukiuluk karari verilmesi ve yurtdisina yikis yasaki konuimasi. (iii) tillll rnenkul Ye
     g.ayrimenkul malvarliklari ile banka hesaplari tizerine gerekli tedbirlerin uygulanmast icin karar
     alinmasi taleplerini icerir .

                                            .AC1KLAMALAR



     isbu dilekceiniz kapsaminda detaylariyla aciklandigi iizere,              )(alga) Ayashinm, sahibi
     bulundugu Bora Jet liavacilik Tasimaeilik L=-yak Bakun Onarim ve Ticaret A.S. ("Bora Jet"), Bora
     Jet Bakim ye Onarim Tiearet A.S. ("Bora Jet Bakim") Ye Aydin Jet Havacilik A.S. ("Aydin Jet")
     sirketlerinin devrine iliskin hisse devri sozlesmesinin mazakereleri ye imzasi stireeinde. bunun cok
     oncesincle Ye sonrasinda:

             - Basin Ye yayni araclarnim saglach,g.1 kolaAktan yararlanmak suretiyle, ticari .faaliyet
             kupsaminda nitclikli dolandiriedik te,ykil eden pek     ,yeiphelilenin hie kistin tarcifindan
                  .yekilde clolandirddikina,

             - Kind piphelilerin              karsi avian mesnetsi: sorusturmalar kapsammda gerek baski
             sebehiyle. gerek kendi inisiyatifieri ile yalan tcanklik yaptigina.

             -                aleyhine basmda                ekilde         oluyturidarak .1Itivekkirin labar117117
             .7eCIV1V11111Mi suredyle ye tehdli.iiilleri de :11ilvekkil uleyhine-durrandmasunn saCflandikina. bu
             yekilde hem (Milli, hem aril yargdanniqvi etkilemeye leyehbas SW1(11'117117 iVe171fighle.

             - Tilm bit "Merin organize bin .yekilde Aliirekkil ye Allivekkil 4h,Ftnda              kip/ere karo da
             iiiriitil/die line, koinunin Sermare l'iyasam Kumla raiafindan der .fark edildigine Ye bit
             kapsamda snc.            amaciyla 0,-g it kurina S14:11111117 oluynizq olabilece.O.ine

  dair Savin Makammiza swims oldugumuz delilier ve resell tolanacak definer muvacehesinde
  sorumlu oldugu tespit olunacak1ar hakkinda milsnet suclardan doktyi kaimi davasi acilmastm Ye
— haklarmda gerekli tedhirlerin uy.2tilanmasini talep etniekteyiz.


1,           MOVEKKILIM1Z YALCIN AYASL1 HAKKINDA BiLCALER

     I.    . 1\•11.1yekkilimiz Valcin Ayash           yilinda .1n.kardcla clogmus. Ankara Atatikk Lisesi'nden
     sonra            Elckirik 1\41.1hendisligi biiliimiinden inezun olmus. 1973 yilinda Boston'da MIT —
                                                             2
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     Jiay.rgiitier   Bi igen tOzeke
Massachusetts Institute of Teehnology'de ()\lassachusetts Teknoloji F.nstittisin master ye doktora
        tamamlannsur. Yalcm Ayash daha sonra alts val boyunca ODTU Elektrik
          ogretim 0yesi ve b011.1m ba§kan yardtmcisi olarak giires yapmistir.

3.       1979 yilindan itibaren. A BlYnin Massachusetts ealetindeki Raytheon firmasmin arastinna
Kilumtinde mikrodalga monolitik entegre devre teknikleri. GaAs akin Qtki transistors]                        ilgili
aygular iizerinde teorik ye deneysel calismalar yapnustir. Dr.            ?Vasil calismalanyla   ilgili 15    adet
patente sahib olu.p 4ok saytda teknik niakale yazmistir. 1986 yilinda "cok genic band-monolitik
yayilan dalga                       alamndaki calismalarindan iittirii Elektrik ve               Miihendisleri
Enstittisi1 rIEEE'inin Nlikrodalga ()Milne lap!: gorillinilstilr. Soz          konusu  uluslararasi  ensti t iin lin
ancak en Ostiin hasciriIi sriy ila n ilyelerine verilen - Fellow'. tin\ anma sahiptir.

3.     Ote yandnn. Nlilyekkil 1985 yillnda Chelmsford. MA'cle. Hittite Ivliero‘N.ave Corp. isinili
firmasin] kurmustur, 15 Ocak 1985 tarihinde firma NASDAQ borsasinda kayda almmistir. Firma,
RFIC kansik sinyal. mikrodalga Ye milimetre daltza entegre devre parcalan              dilnya capinda
telekomtinikasyon pazarlanna yan sisteniler (iretmektedir. 2005 yllinda halka LIcilirn ye NASDAQ'a
kayith sirket 2014 yilinda Analog Devices (ANAD) tarafindan 2.500.000.000 ABI) Dolarrna satin
almmisur.
4.      2005 yilinda emekli olan Milyckkil. 60.000.000 ABD Dolan tutannda Hittite Microwave
hissesini 2007-de kurdugu Turkish Coalition of America (Amerika-TUrk Koalisyontt)'ya Ye 2000
yilmda kurdup Turkish Cultural Foundation'a (TUrk Itiilltitr Vakfi). TUrk killttIrUntln tamtmn icin
aktarmis. hu baglamda Boston. 'Washington DC Ye Istanburda ofisleri bulunan. kar amaci gatmeyen
hu kuruluslar vasttasiyla Tiirk kiiltiiriiilu aim dilnyaya tamtmayi Ye Tiirk Amerikahlan
Amerika siyasi hayatinda etkili          hayat gayesi edinmistir.
5.      Ote :vandal],                             u]uslararasi alanda en onemli konulardan olan
Ermenisoykinmi iddialarinn karsi during Ye hu cercevede Ermeni lobisi faaliyetlerine kar4i
Turkish Coalition of America'nm hir uzantisi olarak 2009 tarihinde kurdugu Turkish
American Legal Defense Fund I Turk Amerikan                           1••01111) isimli valid iizerinden
diinyanin hircok yerinde iinenili hukaki callsmalar yaprinstir. I3u hususun onemi           huzurdaki
nitelikli ciciliandiriciltk vakiasi ile baRlantisi dilekcemizin 39 numarali paragrafinda
olarak aciklanaeaktii%
6.      N.fezun oklugu ODTC Elektrik MOhendisligi brilumithe 2012 ytlincla. Ayash Arastinna
Merke7.ieni baEnslamistir. Istanburcla Yeinek Samulan Merkezi         Dogal Boya Arastirma ye
Gelistirtne Laboraluvarlari'm kunnustur. lliirekkilimiz ayriea, Dilnya Turk is Konseyi Yiiksek
istisare Kurulu

7.                      Tiirk kiiltiiriinii tamtnia:14/ a yonelik vatirimlar yam's vie Tiirkiye'ye her
anlamda          kaikilar saglamis ye halen saglamakta olan saywn bir kisiliktir. Hem Amerikan hem
de 'lark Yatandasi olan                      vatinmeilann vatirunlarani utivence altina alai] ABD vie
Turk.ive arasindaki ikili anlasmalara da utivenerek. su ana kaclar TOrkive'de 400 milvon ABD
Dolanntn Ozerinde vatinm vaptms bultinamktadir. lEl< 1- Milyekkil Ye •Yatirunlari 1-Iakkinda
Basintia 1.'er :Man I-labeller]




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     Hergiiner Bagen fOzeke
             MAMA N'A KIALAR YE SIKAYET KONUSL:
A - NiTELAKLi DOLANDIRICIIAK SUCLINA iLiSKIN NIAD1)i VAKIALAlt
8.           NclOvekkilimizin              Ttirkiye'de           yaptigi        yatinmlar            kapsammda              2007        yili     itibariyle.        Ttirk
ktilttirtinun uluslararast alancla tanitilmasi fattliyetleri ile de baglantili olarak, yurtdisindan gelen
misalirlerin                              tainyahilmesi. Itirki ye'ye getirdict) Amerikan Kongresi tlyelerinin tam=
gezilerinin                                  hava taksi             dfthil ktsa inesafeli             ticqlarin                                        iinkfmlan da
degerlendirerek. Turkiye'nin nispeten az hilinen yerlerthe gidebilen. kisa mesafeli ucus yapabilecek
lisansa sahip Ovattir Licak Bakim Onanin                                       Havaellik Tiearet 1.1d. Sti.'ni satin alinistin Satin alma
sonrasintlaki unvan                                      ve tilt de isikli4i ile islemleri netieesinde sirket hugtinkti licaret
uiwant olan Bora let 1.111\ mum almistir. Born Jet'in 2014 senesinde veniden                                                                                    gitmesi
sortueu kismi              htiltinine yoluyla Bora Jet Bakim ye Onanm                                           hiearet A.S.       (-Bora Jet Hakim- )
kurulintistur. Mihiekkilimiz 2015                                       ise. Aydin Jet Havaeilik A.S.'yi                       ("Aydin Jet- ) kurmustur.
9.           Bora Jet Itirkiyenin                  tek                   havavolu silted               olarak btiyiline politikasi benimseiniOr.
13u kapsamda tic(ineti havalimanincla gereeklestirilmesi planlanan operasyonlan da hesaba katarak
Emhraer Ye Bombardier gibi cesitli ttcak firmalan ile yeni ucak alimlanna iliskin on sozlesmeler
yupinis. THY ile anlasmasi cereevesinde ortak ucuslar gereeklestirmistir. Nisan 2016'da sirketleri •
gelistirmek tlzere finansman bulumnast amaelyla )etkilendirilen hir yannm sirketi olan Ata Yatinin
Menkul Kivmetler A.S.                     ( - Ata    Invest") firmasi Haziran 2016 -da gelecek projeksiyonlanni da hesaba
katarak hazlrlacll l bir suntan He Borajet degerinin henzer sirketler carpan analizi metodu uyarinca
358.000.000 ABD Dolan' na. indiraenmis nak it akun analizi nictoclu uyarinca da 1.770.000.000 ABD
Dolan'na  kaclar cikaeatlint belirlernistin [EK 2- Miinhasir Daniqmanlik Anlamasi ye
Degerlemeye 114kin Sunum)
10,          2016       vilinin Nisan aymdan itibaren Borajet hakkinda basinda FETO baglannsi ima eden
haherler cikmaya hqlatnistir.                         Bu haberlerin bir kacini ornek olarak Sa m                                     Saveillgunza sunariz.
[EK 3- Mtivekkii Alevhine cikartilAn Asilsiz

11.     15 Temmuz 2016 hain darbe girisinli sonrasincla.                clogrudan -hedef alan cok daha
alddelll bir karalarna ye a ir suclama operasyonti haslanlmistir. Nitekim. 2016 Agustos ayindan
b&,:layarak. Ocak 2017'ye kadar vogue hit sekilde Sabah. Takvim. Sozcii gibi onde gelen gazeteler
Ye hir kisim baska hater sitelerinde sistematik olarak Muyekkil aleyhine asilsti. gercegi yansitmayan
ye tilkedeki elisim ter kapsanunda salt negatif                 olusturmaya yonelik sayistz hater
                  Ekte 15 Temmuz sonrasi Lvayinlanan bu haherleri Sayin                        dikkatine
sunanz. fEK 4- MI:weld:11 Haldonda Yaptian Asilsiz Haberlerl Bit haberlerin lle cikarilmasininda
Kamil Ekint .:11ptekin veive a diger Silphelilerin tarafindan saglandigi hilgisi sonraclan edinilmistin


I liltp://\NA\IN.haherraktiin.comMaher.q6709,1iTaralar-cermanc-himmet-olarak-akraritcli.html httn:B124.conttilhaIvo5ikcji2-hunpa;: gpsuAindan•nolis-
ouerasvon-Nrivti-txrannte-vokin-artika-sartindu-naraliir-llimmet-oldu.3374,1                     hlto://mvw.lornrsviphundvin-haberlerilsikemn-hignimAci-ovulsallari-
93067 . hltrv./Iwwydiaberjonni.netirnininnsemoster-moblisn?haher no-7922 .htlo://i,o,sve.hurrivo.corn.trinvylol,vg-poh.lerin: himmei.-aa=3009323x
             O‘tir          (") her ta;nn altinda. 11;;Listos 21. 2016. htinY/www.sabulteonurhazarlarfuvur/2016;08121ileto-her4usin-aluntla. haulm!. Chtr.
            -::1,;11'yla hu issmIcri Lim huluitorde. \caistos 23. 2016. hnoqtwww.sobnh.corn.olva7arlar/uvuo2016108/2
hulosiorthr. Erunn Pater. Citiko geld' ;Ili!                    2. 2016. httn•Wwww.tukvim.com.uhnzarlarferaundiler/2016/0202:gylen-ocIdi, mi:                      Painoithi
[Cinney).                         1(tanhul'a gelth       11.)-1111 4,1)16. hno://www,sabah,cormlevamrlortboluglcrinnonle2016/09-114/anlInh-aulen-isianbula-
gghli-Ini llrgtin I tiler                     ‘kgil            . E)1(11 .1, 2016, hricr/Avww.okvini,c,orn.triyazarlorkrzindilq12016/69.Vnkin,:i-nmsti-skuil-hanear.
Er. ui Dikr. I lonpr                  1.:.1n1 7.        LAN,:i7www•t0101411,com.crlyniarladereundile00 1.q..91.(174uwar!havasi:                           Flangarin
F4161 0. 2(116. Imn://www.takvinisoin.trivtuarlariereundiler/2016/09/119/1)aneurin-knoisi• Soiwr                                  ArsItm kotlipzo ket4he..1 .101 .2.:& 2016.
littosihm-ve .sozcu.com.ir120 16/razarlar/soncr-valcInimucahit-arslan-konussa-kcske-1406234/: Lrgun Ullcr.                          II     h4+ lock' .            6. 2016.
hni•Ei/wiw.takvirp.conl.trivazariaticreundil r/2016/10t06/iste-baylock:                  tr iin        Oiler,    this       Lock    foilsali..     I kin)     25.      2016.
hIlnliwww.takvim.conurivazarlarkrvindiler/2016/1(3/?.5/ba‘-lock-mitsali:                       Ergiin      Dikr       Iltavar                      Fkrin      27,      21/16.
hum/Am .takvim comm/vazartarkruundile_r/2016110/27/hanenr-kardesliei:                                        [Met.      tiarip                   liasun       I .      2016.
hnori/www.inkvirn n-11.0-tvazarlarkrgundiler/2016/1 1/18iearin-iiiskiler:                 I r;,:nn    ')IL:[    \I gfiliim       er 1010111.. Mold, 31.                2016.
b rt 'An% 11 t ak v i conmriut            120]6/12131'aLuuIuw-ver-plural  plu
                                                                                      4
         Case 1:19-cv-00183-JL Document 20-5 Filed 09/04/19 Page 38 of 57



                         1
 1}-lergiiner BilgoillOzeke
12.     1),..!yain eden     operasyonu sebehiyle liorajet'in          ile devam etmek.te clldu a Ye
gclistireeegi yaurimlar da hu tip asilsiz huberler se.bebiyle TH1' lararindan ipral edilinistir. Ayrica
bankalar hu haberlerden rahatsizlik duyarak kredi temininden cekinir hale gelmistir. Nitivekkil bu
dtinernde Borajet'in hu haberler sebebi) le ugrachgi zararlarm Ontine gecehilmek adina Borajefe
kendi eebinclen ye surekli arum         kaynak aktariminda bulunniak duruniunda kalrni tmr.
13.     Bu iilirai c allri operas °nu ile daha razla mticaclele edernez hale gelen 1\10\ ekkil,
calisanlarin Ye yatirimin daha tazin   gOrmernesi adina. sirketleri devretmeye karar vermistir. Ala
invest bu konuda cal ismalara

14.      Aneak 1-3orkkjet'in 0 clOnetilki yOnetim kurulu b4kani Ye                Akoi. Ala invest ile ha
sozlesineyi bir kenara birakarak, o donernde Boroic- (i            ile ilgilencn                 ' e ki;d1er
alma:Ana ragmen.                    konuva yabanem olmasindan istitlide dere': ye kendisinin ozellikle
lilasimrma                                   One cikararak. Bakanligin tereih edecegini
stiphelilerden SB1<, Holding               ("SI3K Holding Tiirkiye-) Borajet ile ilgili ndigini helirtermis
\ e hisse de\ irlerinin SBK Holding. TOrkiye'ye yapilinasm konusuncla Miivekkile telkinde bulunmaya
ba*larnistmr. lEN 5- Fatiii Akol'un S1314.: Holding Tiirklyeiye Devir Yowling:it Konusunda
              gonderdigi E-Postulari
15.     Bunun tizerine. Fatih Akol tiim sozlesme gorti*melerini (.11-titini.i$ ye SI3K Holding
Ttirkiye"nin istiraki ohm Bugaraj Elekironik 'Heard ye Bilisim 1 lizmetleri A.S. ("13ugaral) Ye
                arasmda. MOvekkilimizin yetkilendirdigi hir Nekil araemligmyla temsili sureti le. 13ora
Jet. Born Jet Bakiin \.e Aydin Jet hisselerinin tamanunin 1-3ugaraj•a devri i4in 29 Aralik 2016
tarihinde Hisse Devir Ye Kar Paylasim Sozlesmesi iinzalannustir. ("Hisse Devir Soziesmesi- ) [EK
6- Hisse         Stizlesmesij
16.      I lisse        Sozlesmesi klasik hisse devir sozlesmesi niteliginde deiiildir. Hisseler bedelsiz
clevrectilmistir Ye sirket borelari navlasilmistir. I lisse Devir Suzlesmesi kapsarnincia Miivekkil
Borajerin banka krecli re bir kisini leasing borclarmi Odemeyi kahul etiniS, devralan Bugaraj da
piyasa' borcunu tistlenmistir.        rmea. Ilisse Devir Sozleplesi kapsaminda Bug:Haim sirketlerin
hisselerini clevraldiktan soma 3. Sahislara devrennesi clurumunda elde edileeek net karin %25'inin,
N.11.1vekl;ile Oclentnesi kararla*nrilmistir. Ancak Bugarai ve Sezgin Baran Korkmaz hu slireete
But-ale-CID 260.000.000 LISD've satildigma clair haberlerin sistetnatik bir sekilde ellimasint
saglavarak, vanlis bir algi olusturniuslardin Bu                   haberlerin ardmda, Slinhelilerin
Miivekkil alevhine girisecegi saldinlar iein bir magdurivet gortintilsti yaratnia gavesi oldugu
ise sonradan anlasllniistii. IEK. 7- IlgiJi }labeller'
17.     Arica                    Hisse        SOzle*mesInin c.ercevesindeki ytIktimitilliklerin ye
borclarmilin teminatm olarak 1 Saba 2017 tarihinde I3ugaraj !chine MU ekkire alt Istanbul III. Fatih
'Ices'. Molla Ferrari Nlah. Nuru Osmaniye Mevkii. 34 Patla. 294 Ada 15 Parse[ de kain gayrimenkulti
tizerindo (50.000.000 ABI) Dolan kar$.114.,1)
                                          '. 220.000.000 TL tutarmda ipatek tesis e1nii.lir. 'El< 8-
Ipotek Senedil
18.           'lulek.kiiirnln. n nasml bir OrgOttln tuzagina dtisttigti ise Hisse Devir Sozlesmesrnin
yapilmasindan sonra atnla ilmiatu. Hissc                      SOzlestnesi cercevesinde MUrekkil'in bunka
borclarm nin Od e- rnek 'gin bir            ade kararla;tirilmi5z; iken sliphelilerden Sezgin Barrio Korkmaz,
Borajet - in kredi kullandigi ti e                             kefaleti bulanclugu Akbank           Denizhank
T.A.S.. Tiirk Flonomi 13ankasi               Odea Bank A.S.. Gam-anti Bankasm A.S. gibi Hr kmsmi bankalar
ile Q.Ortit,-iere1 . nedensiz olarak liesap kat ihtarinda bulunmalarma sebehivet verrni*iir.
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 IHergiiner 13i1gari 1ozeke.
19.      Sezgin 13aran Korkmaz'in bu girisimleri sebebiylc Odea Bank A.S. 28 $tibat 2017 tarihinde
13orttiel'e v mfiteselsil kelil stfattyla M0vckkire ibtarname gOnclererck 1 gfin icerisinde vadesi
gelmisigelmemis          kredilcrin talusilatmi to 21 ,070,603.45 TI2lik kredi borcuniin odeninesini talep
                      tarallnclan Odeme iein I halm sfire istenilmesine ragmen bu sllre verilmentistir.
Akabinde Oden Bank A.$. cintlan ihtarnarneye konu kredi alacaginin tatnammi 6 Mart 2017 tarihli
stizlesme Ile Bugaraj ye Bugarar in devil• clonemindeki nihai ann hissedari SBK Holding Tfirklye ile
organik bagt bulunan. Mega Valli]: l'Onetint A.S'ye temlik etinistir. Orient-neve (levant edilen ye
temerrfide dlisfilmemb, hir kredi icin bu olagandisi bir durumtlur. (:)flea Bank zatcn
ficlenmekte plan bir hredivi once kat etmis, sonra asil burcilti ohm Boraleeten talisil etmek
verine claim az bir rniktar karWiginda                    yonetim sirketine cleyrettriis, yarltk vonetim
sirlieti de all-Kati once asil borclu olan BoraIeeten tahsil etmek verine., kefil olan Milvekkiliden
tale') ye taltsil etmistir. Bu ternlik netieesincle              \lark!: YOnetini A.S. Istanbul 22. Icra
                   201716669 E.             dosvasi kapsaminda ilamsiz takip baslatrms ve Mfivekkilin
                malvarligi -fizerinde Itaciz ,aygulanusur. Ba takip kapsanunda 10 Mart 2017 tarihinde
gerc.ck horcun         col< fistfinde olarak sekilde dosya Ivrea olarak 23.161.907.94 TL Mfivekkil
taratInclan odenmek durumunda kalmmistir ye haeizler aneak bu sekilde gereek boreal] yaklasik
2.000.000 'FL           bir tutar Odeninek suretivie
20.     1 lissc clevrinin gereeklesincsinden 3 ay once Kamil Ekim Alptekin Mega Varlik Yonetim
A.S'cle vi nethn kurulu fiyesi olarak atannus. dosya Ivrea ralisiladart yapildtklan sonra da 17 Nisan
2017 turihincle           kuralunclan istila etmistir. IEK 9 — Ilgili Tiearet Sicil Kayitlaril
21.     Banka kat ihtarlart ile zor durunida hirakilan Milvekkil Ulm kredi borclarini Odeyebilmek
achna TOrkiye Garanti 13ankasi A.$.' I"Garanti B:ankasnincian eesitli gayrimenkullerini ipotek
gostererek toplamda yaklasik 20.000.000 ABD Dolan tutarinda kredi eckmis ye Borajet'in
Tfirki)e'cleki banka borclarini kapaunisur. 1311eill iribarlyle kapaulan kredi borylarmin toplam attar'
67.216.407.35 TL      1.489.819.67 ABD Dolan'clir. Ayriea Ciaranti Bankasi'ndan alinan bu kredi
kapsairtinda Garanti 13ankasi'mn kredi tahsisinin On kosallarindan bin de hanka nezdindeki leasing
borclarmin luipatilmast olclugundan. Mfivekkil vadesi gelinis \e gelmeinis 487.607 TI. tutarindaki
film leasing borylarint Odemek durtanunda kalintsur. Bununla hirliktc. Bugaraj I lisse Devir
SOzlesmesi kapsaminda odemekle yfikiimlil oldugu cesitli Borajet tedarikei horclarim Oclernernistir.
Ba sebeple ye bir kismi terninal mektuplari Ye hariei garantilerin nakcle emilmesi nedeniyle, bu
garanti Ye terninat mektuplari kapsanunda sahsi kefaleti balunan Mtivekkil llisse            Sozlesmesi
tiyarinea oclemekle                   halde. isbu di lekce tarilli itibariyle yaklasik 12.500.000
Oderneyi Borajet lehine yapmtik durumunda kalmisur. IEK 10- Ihtarlar ye Kapatilan Borelara
Iliskin Tablo ye 13elgelerl [El< 11— Leasing Borclarinin Kopatilthgina Dair Belgelerl

22,      Olay orgfistinden anlast lacagi fizere. siipheliler Kamil Ekim Alptehin, Sezgin Baran
Korkmaz ye sahibi olchlu sirketler SBK                             Bugaraj ye bunlarla organik bag'
olan :Mega Varlik Yrinetim A.S. arasinda hir              oldugn ye tirgfitlii sekilde beraber hareket
ederek hukukilik erfinttisti altinclaki gayrimesru yollarla Milvekkill zarara ugratrna ye
mak arlifg-ma el koyma giri;dmi icerisincle olduklari aciktir. 01a) taratlari arasindaki baglara
iliskin hususlara asagicla 13 Nilfimcie cleta hen deginilmektedir.

23.     F3u olaylarin sonrastada Bugaraj sirketi tarafinclan Mfivekkil aleyhine 13 Mart 2017 tarihinde
Istanbul 3. Asliye l icaret NIalikernesi - nin 2017/242 E. savili dosyasi ile gorOlmekte olan
253.305.035 TL tutann MilYekkirden talusiline iliskin haksiz bir alaeak davasi              Milyekkil
tarafindan \ erilinis bin ipotek olmasina ragmen. vine Mfivekkil'in malyarligi tizerinde haksiz olarak
menfaat saglania mow Ile hu dayada clot NIfivekkilimizin gayrirnenkulleri fizerinde nitikerrer olarak
         haciz u).gulatimast taiep            Ancak. 13aragai•in ha iddialan hem Istanbul 3. Asliye
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 IET(.rg11ller   Bilged Ozeke
Ticaret Nlahkemesi hem de Istanbul Beilae                 Nlahkemesi 12. flukuk Dairesi tarafindan
redcledilmistir. Sikayet ile dogrudan ha lantlll   olmast  sebebiyle bu davadaki diva dilekcesi ile
stimuli* oklugumuz diiplik dilekyesi ye delil listelerini Saym Savciliginiza sunanz. jEK 12— Dava,
Dtiplik Ye Deli' Dilekceleril

24.      Bit Ost paragraila bahsi geyen alacak davasinda ihtiyati haeiz talehinirt ilk selerde reddi
nedeni le gavesine ulasamayan .Bugarztj sirketi bu defa eeza yargdamasi vasitastyla NItivekkilimizi
bask! altma almayi. haksiz menfaat tilde etmeyi Ye malvarligma ci koymayt hedetlemis ve 5 Mayis
2017 tarihli bir sik6yet dilekcesi ile nitelikli dolandiriethk. verui kayakyiligi. ticari defterlere geryege
nylon kaytt yapina. mail;                tehlikeve sokma saki cesitli suclatdan IYItiyekkil ztleyhine kamu
day ast ayilmost talebintle bulunmustur. Bu sorusturma Istanbul Cumhurivet Bassavelligi'mn
20174)8314 sayth dosyast ile baslarilmisur. Daha sonra bu sorusturma dosyasma                      dilekyeler
Ile Bugaraj SW; uydutmaya devam etmis. hicbir temeli olmakstzin                             FETO ile iliski
icerisintle yer aidigi. By Lock•ti kendisinin tasatlatugi. 15 Temmuz hair darbe girisiminden haberdar
oidugu. FETO tertit 0.rgiittine linansman sagladigt ye aktif rol oynacligi. CIA ajam oldugu yontinde
              bulundugunu iciclia etmistir. Bu iddialarma iliskin sunduutz ziaz.ete haberleri ise
sOphelilertlen Kamil Ekim Alptekin vekeya diger StIpheliler tarafinclan yaptinlan gante
haberleridir.

25.      Ciortildi1g.t1 tizere siipheliler eylem                       koordineli olarak. yaptirdiklart ye
kurguiadtklart asilsiz gazete haberleriyle gercege ay kin isnailat )aratmakta ye hemen akabinde,
hakkin ktitilye kullandmast suretiyle hukuki yollara bas\ urmaktadirlar. Basvuru mt1stenidi sOzde
deliller de kencli yaptirdiklart Ye kurguladiklan gercek disi haberlerdit. Suphelilerin sac islemek
suretiyle haksiz menfaat tilde eunek iyin kottiye kullandiklart yol sadece yasal yollar degildir. Yarn
slra dilekcemizin devaminda tafsilath olarak yet Mace'     s:4 tizere. tehdit. santaj Ye sicidet yollarma da
has% urmaktadirlat. Kisacasi                antachulna ulasmak iyin her tiirlti gayri mesa! yolu "mesru"
(!!!) edinmislerdir. 0 amac da. haksiz menfaat tilde etmektir.

26.      Bugaraj Nitivekkil aleyhine bu adtmlart atmakla yetinmemis. 6 Temmuz 2017 tarihinde (bu
serer BOlge .Adliye 111ahkemesl'nin ihtiyati haeiz red karanni onaviamasindan kisa sore sortra)
Sorusturnia Dosyasina sundugu dilekce ile Muyekkil ile birliktc Borajet eski ytinetim kur.ulu tiyesi
stiphelilerden Farih Akol'un pant slat yOnetim kurulu 0yeligi )apints diger kisiler Zahide Liner, Nur
Gezeroglu ye Samir Bayraktar aleyhine nitelikli dolandtricilik. vergi kacakclllgl, ticari defterlere
aykiri kayit yapma     trail gtKenligini tehlikeye sokma yam stilt. FETO'ye mensupidestek ohm ye
FRTO benzeri bit vapi tutmak suretiyle siyasi Ye askeri eususluk yapina idciialarl ile sorustunna
baslatt lmasim. stiphelilerin tasinmaz. hak Ye alaeoklarma el kontilmastnin saglanmasint talep
etmistir. Bu talebi de kabul gtirmeyince. 11 Ternmuz 2017 tatihli dilekee Ile, 2017/68314 sayili
sorusturma closyasinclan                 hissedari veA.eya yOnetieisi oldugu sirketlerin. valollann.
banka hesaplarmin tespit edilmesi. son 10 yillik cltiktinderinin ytkartilmasi ye tedbiren hesaplara
bloke konulmasint talep etmistir.
27.      Iii ili sorusturma kapsammda vIiivekkilimiz aleyhine haksiz sekilde nitelikli dolandifteilik
stiphesi Ile iddianame haztrlanints olup, iddianameyi inceleyen Agir Cexa Mahkemesi'ne
iddianamenin haksizhinna iliskin beyanlarimiz sunulmustur. fEk 13- IcIdianamenin Hakszzligina
llishin Beyanlarl. Ttirki e- doki tneveut ortainda en at-2.1r itham olarak             alas mcsnetsiz FETO
               ilis kin olarak ise doss a lefrik edilmistir Ye 2017:135059 numarasi ile Istanbul Cumhuriyet
Bassaveditli Terbr Btitpsu'rida sorusturma deyam etmektedit. Halbuki. tam aksine. esas.
stiphelilerden                Baran Kotionaz'in FE1           niensubu olduguna Nair gazetelotde haberler
yikmaktadir. 16 Kastm 2017 tarihinde Hariyet Gazetesi yazarlarindan Yalcin Bayerin Sezgin Baran
1<orknlaz hakkinclaki yazisinclan                 asagida St.t in SaN elliginiza smarm
                                                      7
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  Hergiiner             lOzelie
       - Pazarhgin, Flynn ile Korkmaz arasinda New York Peninsula Oterde yapildigt, gelismelerin
       gerisinde "Sezgin Baran Korkinaz.in, algl yonetimi ile FETO dtismam gorilniip, FETO'ntin
       Amerika'daki paralanni (Amerikan sermayesi gibi gosterip) Tinkiye'ye getirdigi, el konul!an
       ye zora dusen sirketlerini alma girisimi ile              belirtiliyor."
Bu haberin tamamini Savm Savcilig'iniza da ekte sunanz. LEK 14-ilgili Haber]
28.     Fine basinda internet ortaminda yer elan bir habere gore, Ankara Eski Ticaret Odasi Baskarti
Sinan Aygtin'tin damadi Bereket Oner i imli sahis tarafindan, Istanbul Cumhuriyet Bassavalgi'mn
2017/162009 iYsorustunna numarasi tahtinda Sezgin Baran Korkmaz aleyhinde FETO tiyesi oldugu
iddiasiyla ihbarda bulunulmustur. tki sayfadan ibaret soz konusu ihbar dilekcesinin tam metni de
;Fine Internet ortamincla muhtelif baber sitelerinde yayimlanini§hr. ihbar dilekcesinde Bereket Oner
ozetle; Sezgin Baran Korkmaz'in kendisini Levon isimli Ermeni asilli bir kisiyle tarustirdigun,,,
birlikte birkac defa Amerika'ya                       ziyeretlerden birinde Sezgin Baran Korkrnaz'm
kendisine "sen otelde kal biz Levonla Pensilvanya- ya gidip hocaefendiyi ziyaret edip gelecegiz"
dedigini. bu ziyaretin 15 Temmuz darbe girisiminden sonra oldugunu, ertesi gtin Levon)la birlikte
Sezgin Baran Korkmnz'm clondtigiiqu. FETOrntin sara5inda ve FETO liderinin yaninda bazi kisilerin
kendilerine              bir hava yolu sirketi satin almalanni sOyledigini beyan ye iddia etmlstir. Yer,
zaman, kisi vb nesnel unsurlan belirtilmek suretiyle Sezgin Baran Korkmaz'in FETO iiyesi oldugu
iddia olunan, soz konusu ihbar dilekcesine istinaden acilan sorusturma dosyasnun celbini talep
ederiz. Bu sayede Mtivekkire yapilan kumpasin FETO'nt1n bitmek bilmeyen kum aslanndan biri
olup olmadigi da anlasilacaktir.
29. YIJKARIDA BAHSI GECEN ALACAK DAVASI VE CEZA DAVASI
KAPSAMINDAKI IDDIA VE SAVUNMALARIMIZTN SAYIN SAVCILIK TARAFINDAN
INCELENMESINI TALEP EDERIZ. ILGILI DOSYA ICER1KLERININ INCELENMESI
ISBIJ SORUSTURMA BAKIMINDAN VE MINEICKILE NASIL BIR KOMPLO.
KI.JRULDIJG. UNUN ANLASILMASI BAKIMINDAN HAYATI ONEM ARZ ETMEKTEDIR.
30. MUVEKKIL'IN IYI NIYETLI OLARAK HISSE DEVIR SOZLESMESI
KAPSAMINDAKI BORCLARINI IFA ETMESINE RAGMEN, KURGUSAL OLARAK BIR
SENARYO YARATILMIS VE MUVEKKIL'IN SAHSINA YE MALVARLIGINA MADDI
VE MANEVI SALDIRILAR YAPILMAYA BASLANMISTIR. HEM HUKUKEN, HEM DE
BASIN YOLUYLA iSLEMED1G1 SIJC ISNATLARINA MARUZ KALAN MUVEKKIL'IN
AS1L KENDISI DOLANDIRILMISTIR VE NITELIKLI DOLANDIRICILIK TEP:IL EDEN
EYLEMLER HALEN DEVAM ETMEKTEDIR.
B- SUPHELILERIN BIR KISM1NIN ORGOT HALINDE HAREKET ETTIGINI
GOSTEREN VAKIALAR
33.     Ilk bakista Bugaraj tarafindan acilan dava Ye sorusturmalar haklann kullammi gibi gozase
de. esasinda arka planing bakildigmda                  itibarini sarsmak, asllslz iddialar ile haksiz
kazanc elde etmek Ye malvarligma el koymak amacl tasiyan. suc ve hakkin kotuye kullarulmasuu
teskil eden eylemlerden baska bir sey degildir. MuYekkil koti1 niyetli bir organizasyonun oyunu
icerisinde kalmistir ve bu kapsamda haksiz olarak malvarligina el kondurulmaya, haksiz bedeller
kendisinden tahsil ettirilmeye calisilmaktadir. ACILAN DAVA VE SORUSTURIVIALAR DA BU
ORGANIZASYONUN KULLANDIGI BIRARACTIR.
Bu hareketlerin arka plan= ve avrinblanni Savm Saveiliainiza asaMda avrintian ile sunara:


                                                   8
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   Hergiiner Bilge]) Ozeke
32.     Mtlyekkilin Borajet hisselerinin tamarnim devralan Bugaraf in tek hissedari Bukombin
Bilisim Ye Teknoloji Anonim Sirketi'dir ("Bukornbin-). Bukombin SBK Holding Tiirkiye
tarafindan 2015 yilmda kurulmustur. Bukombin'in kurulusu ye 29 Aralik 2016'da Bugaraj'a olan
hisse devri doneminde Bukombin'in tek yonetim kurulu tiyesi SBK Holding Tiirkiye'dir. Ancak
ticaret sicil kaynlanndan aniaildigi iizere pay devri gerceklestirilmis ye 26 Mayis 2017 tarihi
itibariyle tek pay sahibi Kamil Feridun Ozkaramani olmustur. Kamil Feridun Ozkaraman ayni
zamanda yonetim kurulu baskani sifatini
33.    SBK Holding Tiirkiye de 8 Mart 2013 tarihinde 10.000.000 TL sermaye ile istanburda
kurulmus olup, tek ortagi ve kurucu hissedari, tek yOnetim kurulu tiyesi de Sezgin Baran
Korkmaz'dir. Sezgin Baran Korkmaz ayni zamanda Hisse Devir SozlesmesPni Bugaraj adina
Garantor olarak imzalayan
34.     Basinda yer Man haberlerde Bugaraj'in hisse devri donemindeki nihai sahibi SBK Holding
TtIrkiye'nin faaliyet konusunun "nista ye icrada olan, iiretim yapamayan va da iseisine maas
iideverneyen krizdeki sirketleri satin alniak" oldugu acikca                      Sezgin Baran
Korkmaz'in ifadelerine gore stiz konusu haberde ye SBK Holding Tarkiye'nin kendi interne
sitesinde yer alan kesitleri Sayin Savciliginiz dikkatine sunanz:
           "Korkmaz'in deyitniyle        jiyatina' satin aldrgi bit batik veya baticin gigindeki cirketler
          Once bankalara °Tan borclarindan arinchrihyor. iKiye maaVari Odeniyor ye tekrar itretime
          geciriliyor. Archncian da feat bir §-irket olarak satiliyor. SBK Holding YOnetim Kurulu
          Bcukant Sezgin Baran Korkmaz 1998 yilinda yerli irket olarak ba§ladiklarz bu                daha
          sonra Amerika11 yaill'1117 fonlanyla batik #rketleri alarak yollarrna devam ettiklerini sOyledi.
          Korkmaz einceki ak,s-cun ise ilk defa bir ingiliz yatrrim fonityla anlagiklarim, satin alma veya
          biiyttk ortak olmak suretiyle krizdeki firketlere yatirim yapacaklarinz acikladt. Sezgin Baran
          Korkmaz re i birligi yaptigi Ingiliz fonu AiM CEO'szt Ana Guide Armstrong Ile birlikte
          Istanbul 'do gazetecilerle sohbet toplantisinda bircirctya geldi."3fEK 151
          "Gelivirdig-i &with projeler ile sonug odakh yaklapini yenilikci bir platformda Tiirkiye'de
         faaliyet gosteren toplunict Ye ekonomiye deter katan, jinansal olarak bilyilmeyi kendi dz
          kaynctklari ile sctglayamayan jirmalara yatirimlar ywaralc bit firmalarm kendi sektorlerinde
         lider komona gehnelerini saglarnaktadir. .. 41EK 161
35.    SBK Holding Ttirkiyenin,her ne kadar faaliyet konusu yukarida belirtildigi sekilde olsa da,
devredilen sirketler bakimindan bunun tarn aksi gerceklestirilmis, sirketlerin degeri
piyasaya borclar odenmemis.     cikanmlan
36.     Yine SBK Holding Ttlrkiye yonetim kurulu baskam Sezgin Baran Korkmaz'in bu hususta
yapttgi roportaj Ye konusmalara iliskin video kayrtlarini da Mtivekkil aleyhine soylenen hususlan
kabul anlamina gelmeksizin Sayin Savciliginiza sunanz. [El< 17- SBK Holding Tiirkiye'nin
Faaliyet Konusuna ili§kin Sezgin Baran Korkmaz'in Aciklamalanni igeren Video Kayitlari]
37.     Ilgili videolarda Sezgin Baran Korkmaz tarafindan - Distressed Asset Management" olarak
nitelendirilen faaliyetin. Mormonlar tarafindan finanse edildigi belirtilmektedir. llgili Mormon
mensubunun Jacob Ortell Kingston oldugu da bu videolarda Seigin Baran Korkmaz tarafindan
belirtilmektedir.


  SBN. Holding Tilrki)e'nin Illas Eden $irketleri Satin Aldlgina Dair Haber htto://www.hurrivelcom.tr/ingiliz-fonu-vanina-aldi-
fabrika-av ina-ci kti-28597180
  httzllvinvw.sbkholding.contr/tr-TR/sbk holding/1/19
                                                                   9
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              1
  HergiinerliBilgen .Ozeke
38.      Ote vandan belirtmek gerekir ki. SBK. Holding Ttirkiye'nin arkasinda Kaliforniya'da SBK
Holdings USA. inc. ( - SBK Holding ABD") admda bir sirket daha bulunmaktadir. Bu sirket 6 AraIlk
2013 tarihinde kurulmus olup. hissedarlari Levon Termendzhyan, Edgar Sargsyan ve George
Termendzhyan'dir. Buna iliskin ticaret sicil kayttlanni ve Sezgin Baran Korkmaz'in Forbes dergisine
verdigi roportaj cercevesinde cikartilan yaztyt ekte sunanz. [EK 18- Ilgili Ticaret Sicil Kaydt ve
Forbes Dergisi Yam* Yukarida bahsi gecen bu kisilerden bazilari hakkindaki suc isnatlanna
iliskin bilgi ve haberleri Saym Savciliginiza sunanz. IEK 19- Suc Isnatlarina iliskin Deliner) Bu
cercevede belirtmek gerekir ki. Ermeni asilli Levon Termendzyan hakkinda ABD'de ytirattlien dava
ve sorustunnalarda kendisini temsil eden avukat Mark Gregos ayni zamanda Los Angeles'da
ASALA orgtitti tarafindan katledilen merhum Baskonsolos Orhan Ankan'a suikast diizenleyen
teroristi temsil eden ye Ttirkiye'ye karst 1915 Ermeni olaylan nedeniyle ABD'de baslattlan bir kisim
davalan acan avukattir. $iipheliierin bir kisrmnin Ermeni asilli olrnalari ye hatta Ermeni lobisi
icinde iinemli baglantilarimn olmasi da g8z oniinde bulunduruldurcanda,
icerisinde kalcltgi durumun en vahim boyutlarmdan birinin                        yukarida 5 nolu
paragraf altinda ayrinnlarmi acikladig,nniz Ermeni soykirimi iddialarina karsi durusuna bir
darbe vurulmak istenmesi oldugu anlastIrnaktadir.
39.    Ayrica belirtmek isteriz ki. Levon Terrnendzyan'm Amerika Birlesik Devletlerinde ismini
Lev Asian Dermen olarak degistirdigi Ogrenilmis olup, Dirk Vatandasligt alma girisimlerinde
bulunduguna iliskin duyumlar alinmaktadir. Ekte Amerika Birlesik Devletleri'ndeki isim
degisikligine iliskin belgeyi Sayin Savciliginiza sunanz. Bu degisikligin Amerika Birlesik
Devletleri'nde kendisi tarafindan islenen bir suctan karma amaciyla gerceklestirildigine dair de
duyumlar alinmaktadir. IEK 20— him Degisikligi Belgesi]
40.    SBK. Holding Ttirkiye' nin bir donem internet sitesinde yer alan bilgilerde yurtdismdalci ayni
unvanli sirketin ortaklanndan olan Levon Termendzhyan, Jacob Ortell Kingston ye Sezgin Baran
Korkmaz'm SBK Holding ABD yonetim kurulu tiyeleri oldugu
41.    Jacob Ortell Kingston ayni zamanda Turkiyede kurulu Mega Varlik Yonetim A.S.'nin
kurucu ortagidir, [EK 21— Ilgili Ticaret Sicil Gazeteleri]
42.    37. paragrafta bahsi gecen videolarda, Sezgin Baran Korkmaz bu faaliyetleri yaparken
arkasinda Ekim Alptekin'in yer aldigint behrtmis ye kendisinden "Skim Abi" olarak bahsetmistir.

   43. Burada gorillmektedir ki, bir vandan SBK Holding Tiirkiye borca batik durumdaki
       sirketleri alip "iyilestirirken" esasen kotillestirmekte, tite vandan SBK Holding
       Tiirkiye'nin organik bad icerisinde oldugu Mega Varlik Ytinetirn A.S. ayni sirketlerin
       banka kredilerini devir almakta ye bu sekilde menfaat elde etmektedir.
44.   Mega Varlik Ytinetim A.S. icin Soner Yalcin'in Sozcti Gazetesi'nde 31 Mart 2017 tarihli ye
Maskeli Balo basal] yazisinda:
       "Banda bu .yirkellere akbaba deniyor. cek senet 112(16Y137171,1 yasal hail. Banka finans
       kteruliqlarimn bank kreciilerini ahp borclularm bogazina yainpyorlar. Bizim akbaba en son
       Bodrum Kervansaray Oteli aldi. Mega Varlik astl .yahibi ABDli Jacob Ortel Kingston idi.
       Tiirkiye'77ill notunu diigiren kredi derecelendirnie kurulft.yu JCR'nin bu akbaba Orketin
       noiunu kiscr stirede A'ya kadcir ytikseltmesi tuhafint? Degil. Kiiresel Dayanimar

denilmektedir.



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    Hergiiner Bilge)) lOzeite
 45.     Suphelilerden Kamil Feridun Ozkahraman ise SBK Holding Ttirkiye'nin ttim yatinmlannda
 tist dtizev gorevler ytirtitmekte, asagida C boltimtinde aciklanacap,t tizere bunlann karar
 mekanizmalannda etkin bir rol oynamaktadir.
 C- BU         ORGUT AYNI VEYA BENZER                                   KURGUYU BAWA                        OLAYLARDA DA
SERGILEMISTIR - KERVANSARAY OTEL ORNE6i
46.      li phelilerden Kamil Feridun Ozkaraman SBK Holding Ttirkiye'nin istirakleri ye bagli
ortakliklari btinyesinde yonetim ye hissedar stfatina sahip bir ki§i olup, Sezgin Baran Korkmaz ile
yakm iliski icerisindedir.

47.    Kamil Feridun Ozkaraman'in                             organizasyon          icerisindeki yerini            a§agida Sayan
Saveiligtniza sunanz:
        (1) Borajet Hayaeilik Tasirnaeilik Ucak Bak= Onarim Ve Ticaret Anonim
        Miivekkirin hisselerini devretmesini mtiteakip, 30 Aralik 2016 tarihli Yonetim Kurulu Karan
        ile Kamil Feridun Ozkaraman tic yil sire ile yonetim kurulu tiyesi olarak settilmis ye kendisine
        sirketi temsil ye ilzam yetkisi verilmistir. Ardindan 30 Mart 2017 tarihli yonetim kurulu karari
        ile de genel rnUdur olarak atanmistir. [ER 22- Ytinetim Kurulu Kararlari]
        (ii) Bukombin Bilisirn ve Telinoloji Anonim Sirketi: Bu sirket Bugaraj'in tek hissedandir.
        Bu sirketin tek pay-sahibi kurucu mug] SBK Holding Tarkiyedir. $irket 2015 yihnda
        kurulmustur. Kurulus ve hisse devri doneminde ytinetim Kurulu tiyesi SBK Holding
        Ttirkiye'dir. Ancak ticaret sicil kayrtlanndan anlasildigt tizere pay devri gerceklestirilmis ye 26
        May-is 2017 tarihi itibariyle tek pay sahibi Kamil Feridun Ozkaraman olmustur. Kamil Feridun
        Ozkaraman ayni zainanda ytinetim kurulu baskani sifatim a1mistir. [EK 23- Ilgili Ticaret Sicil
        Kayitlarij
        (iii) Mega Varhk Yonetim A.S.: Her ne kadar sicil kayrtlannda Kamil Feridun Ozkaraman'in
        bu sirkette dognidan ytinetim kunllu tiyesi veya pay sahibi oldugunu tespit etmemis olsak da,
        kendisi bu sirketin kurucu ortagi Jacob One11 Kingston'in vekili olarak pek cok islem yapmistir.
        [EK 24 - Kamil Feridun Ozkaraman'in Jacob Ortell Kingston'in Vekili Oldugunu
        Gbsterir Beige ye Vekaletnarneler]
       (iv) Noil Yatirim Insaat.Turizm Sanayi              Ticaret A.S: P001;71:*00,4011t44:.W4dia
        , :0:z.:.111.00.1Fve.:Nlaktikt.,04Jerlotafi#124p23.-panT,20):2Wkil4W44. Viiketiii:WW*000
       gursotiw:aalkor.::126 .ti.-.ToTgeNtAiyar,: ,aetiet.,mtotmstzewaftmit:Rowoof. Sirketin
       daha sonra 28 Arahk 2012 tarih Ye 2012/5 no.lu Yonetim Kurulu Karan ile Kamil Feridun
       Ozkaraman sirketi en genic sekilde mtinferiden temsil ye ilzam etmek tzere yetkili Gene] •
       Mtidtir olarak atanmis ye 28 Ocak 2013 tarih Ye 2013/2 no.lu Yonetim Kurulu Karan ile
       sirketin 28 Ocak 2013 tarihinden itibaren tek pay sahipli anonim sirket olarak devam etmesine
       karar verilmis ye ayni kararda tek pay sahibinin Kamil Feridun Ozkaraman oldugu
       belirtilmistir.' [EK 25— ilgili Ticaret Sieil '<optlan]


5 ABlYnin Utah Ealet Sekreterlig„rnin komuounun erisimine aok resmi kavularma gore Washakie Renewable Energy LLC,
03.06.2006 tarihinde kurulmustur. $irket Gene) NladOrit (CEO) .lacoh 6rtell Kinaston'thr. ABErnin Kaliforniya Eyalet
Sekreterligi•nin kamtto unun erisimine aok resmi kaynlarma gore Noil Energy Group. INC. 20.06.2007 tarihinde kurulmu§tur, Genel
NIticluril Daniel NleDyre. $irket Sekreteri Georg.e Termendzhyan Winans NRI-dOrti Anne Termendzhyan ve $irket Direktorn ise Levon
Termendzh an'dir. ABD•nin Utah Ealet Sekreterlig.rnin katnuo>unun erisimine actk resmi kayttlarinda yer alan Washakie
Renewable Energ) LLC' e                 sirket kayttlartna asagida der akin internet adresi tizerinden erismek mtlmkUndirir (Erisim tarihi
1 I .09.2017): h t     seeure,u t iih.gin hes details.html?entity=6 I 33397-0160 https://www.ma.aovienforcementlwalhakie-renewable-
enerav-11c-stipulation-settlement-and-order,notIce-violation-and) I.A111Ynin Kaliforniya Eyalet Sekreterligrnin kamuoyunun eri§imine
                                                                   11
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   Herg.iiner'Bilgen Ozeke
        (v) KerYansaray Yanrim Holding               Kamil Feridun Ozkaraman bu sirkette de, 21
        Temmuz 2015 tarihli muvafakatname ile sirket yonetim kuruluna secilmeyi kabul etmis ye bu
        husus 23 Agustos 2015 tarihli Gene] Kurul'da aciklanarak karara baglanmistir. Kendisi 2
        Haziran 2017 tarihinde istifasim sunmustur. [EK 26- ylgiii Ticaret Sicil Kayitlan]
48.     Yukancia detaylan verilen ve haklannda sikayette bulunulan sOz konusu sirket yetkilileri
tarafindan Borajet Ye dolayisiyla hisse devrini gerceklestiren Mtivekkil tizerinde oynanan oyun ye
gerceklestirilen suc konusu ey]emler aym zamanda baska sirketler hakkinda da gerceklestirilmistir.
Nitekim. Kamil Feridun Ozkaraman'in y5netim kurulutIyeligi yaptigi donemde Kervansaray Yatinm
Holding A.S. (- Keryansaray") bir talum usulsilzilikler ile amlanstir. Oncelikle, Kervansaray
Bodrurn Oteli, 4 Agustos 2015 tarihinde SBK Holding TtIrkiye' ye 10 yilligma kiraya Yerilmistir ve
bu kira sozlesmesinin neticesinde SBK Holding Turkiye Kervansaray Bodrum Oteli'ne 27.960.000
TL degerinde 10 senelik kira serhi isletmistir. [EK 27- Kervansaray Yanrim Holding A.S. 2
Aralik 2016 tarihli KAP actklarnast]
49.     Kervansaray tarafindan 9 Mart 2016 tarihinde yapilan Ozel durum actklamasinda ise sirketin
kreditor bankalanndan Odea Bank A.$.'nin sirketten olan 29.505.037 TL ye 1.104.262 Euro'luk
alacagun, Mega Varhk Yonetim A.S'ye Devir/Temlik ettigi ye Mega Varlik Yonetim                   bu
cihetle iki ayn ilamstz takip baslatugi duyurulmustur. 7 Aralik 2016 tarihli aciklamada bahsi ge9en
alacagm terninat olan Kervansaray Bodrum Oteli'nin Mega Varlik Yonetim A.S.'nin talebi ilzerine
94.239.951 TL bedelle sausa clkarildt.4.9 ifade edilniistir. BU OLAY, AYNI AKTORLERLE
BORAJET'TE DE YASANMISTIR. [EK 28- Kervansaray Yatirim Holding A.S. 9 Mart 2016
ye 7 AraIlk 2016 tarihli KAP aciklamalart]

Burada Milyekkire karsi Odea Bank A.S. ye Mega Varlik Vinetim A.S.'nin olusturduku
yapinin ayntsmin goriildiigiinu Sayin Sayetlig,mizin dikkatine getiririz.
50.     Surecin devammda Kervansaray Bodrum Oteli 21 Mart 2017 tarihinde 47.150.95,77 TL
bedelle Mega Varlik Yonetim A.$.'ye ihale yoluyla saulm3sur. Ancak, Sermaye Piyasasi Kurulu'nun
23 Mart 2017 tarih Ye 2017/12 sayth Bulteni"nde yer verildigi tizere Kurul Karar Organfnin 23 Mart
2017 tarih ve 13/451 sayih karan geregince Bodrum Icra Hukuk Mahkemesi'nde 27 Mart 2017
tarihinde 11K 134. lvladde uyarinca ihalenin feshi davasi
          "Kurulumuzun 20.03.2017 tarihli ba,svurusuyla, 5irkeein malvarhg.tntn SPICninun 21.
          maddesi kapsaminda azaltibnasinzn Onlenmesini teminen, SPKn'nun 92/1-(a) ye (b)
          tnacideleri ve 6100 say& Hukuk Muhakenzeleri Kanunzinun 389 ye devaint maddeleri
          rercevesinde.         '6, ail Kervansaray Bodrum Oteli'nin Bodrum 2'nci lora Mudurlugu
          tarzilindan 21.03.2017 tarihinde yapilacak sativntn durdurulmast icin tedbir talepli olarak
          (lyric(' davahlar arasinda akdedilen sok konusu olefin kiralanmasina            04.08.2015
          tarihli kira sOz7emesinin de       inuvazaah °Imam    nedenlyle stizlemenin gegersizliginin
          tespitine karar verilrnesi talepleriyle Istanbul 7 'nci Sulh Hukuk ildahkemesi nezdinde de
          E. 201:7264 sayzil dosyci itzerinden dal ct

          SOz konusu Alahkenze 'nit? 21.03,2017 tcirih Ye E.2017/264 say& kararzyla Kurulumuzun
                      talebinin reddine karar verihnipir.
          .5'irket in 22.03.201 7 tarihli ozel duruin aczklamasi ile Bodrum 2 'nci Icra Dairesi tarafindan
          21.03.201'7 icirthincle gerceklevirilen ihale sonucunda. Kervansaray Bodriun Oteli'nin


ac.)k resmi kaynlarmila Noil Ener2> Group I.LC 'n iNkin *irkei ka) mlorma                     yer plan internel adresi tizerinden erimek
milmkantior t F. ri;im varihi I I.09.20 I ): https://businesssearch.sos.ca.eov/CBS/Detail )
                                                                       12
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  Hergiiner 13ilgen ozeke
       47.1509-5. 77 TL bedel ile Mega 1 'arlik Itinetim A4 'ye sationin gerveklesstigi kainuya
       aciklann71011*.

       SOz konitsu satzsm iptali icin ivedilikk girlyingerde bzzlunulmasz vOnande Sirkete talimat
       verilmesine, MeRa Varhk Merin; A.§.'nin is ve islemlerinin incelenmesini teminen
       B_DDK'ya bildirinzde bzihnzulinaszna. .5'irket ortaklarimn dcr haklarim aramak amaczyla
       yasal yoliara bamtrabilecekleri hususunda kaniztoyunzin bilgilendirilmesine Kuridumuzca
       karat- verihnivir."
[EK 29 - Kemnsaray Yatirim Holding A.5. 27 Mart 2017 tarihli KAP aciklamast ye Sermaye
Piyasasi Kuruhenun 23 Mart 2017 Will ye 2017/12 sayth Btilteni]

51.   Ote yandan, Kervansaray Yatirim A.S'nin 26 EyItil 2017 tarihinde yapilan 2015 ye 2016 yth
Olagan Genel Kunal Toplantisi tutanagmda:
       "Ayrica Zlibeyir Oztopal soz olarak §-irket stirekli zarar ediyor ohnaszna karqin biiyiik
       hissedarlar firketten aldtklcrrr bedelleri prkete odememi;ler, yine bankadan ahnan krediler
       hakkinda yiiksek faizi Odenznivir. bunlar hakkmda bilgi istiyoruz, ayrzca SBK Holding'e
       ytiksekfaiz amnia borclanzlrnastna ilickin aczklarna istiyoruz, dedi."
       Zabeyir Oztopal soz olarak SBK Holding'e borg karplzgz verilen otelin jade ahnmasz soz
       konnsuydu, bit konuda bilgi verilmedi bilgi verilmesi temennimizdir, dedi. $irket adina
       toplanti bqkannidan soz alan Zuhal Tzlhash, Bodrum Ole!! ile ilgili olarak Mega Varlik lie
       gori4meler devam etmektedir, yakinda sonuclanacaginz limit ediyoruz, sonuclandzeznda
       ZAP'to gerekli bilgilendirme yezymlanacalitir, dedi.

ifadeleri yer almaktadir,
52.     Bu kapsamda en dikkat cekici noktalardan biri ise, hali hazirda Borajet'in sahibi olan Kamil
Feridun Ozkaraman hakkinda Sermaye Piyasasi Kurulu'nun ("SPK") yayinladigi ce itli billtenlerde
yer alan suc duyurulandir. SPK'rnn Kamil Feridun Ozkaraman'm isledigini iddia ettigi ve bir kis=
Mega Varhk Ytinetim A.S. ile de baglanbh olan ekonomik suclar asag]daki sekildedir:
       "Mel-cut alacaklar tahsil edileinemesine ragmen. karphainda hicbir rnenfaat temin
        edihneksizin        taraf Koznak 1st Yahtzm Sistemleri Sanayi ye Tkaret Ltd. $ti. 'ye
       fincinsman saglanmasi sonucunda olu,s-an 4.794.292,87 TL tutarmdaki alacagm 19.04.2017
        tarihinde tahsilinden vazgegilmesi ye bit pkilde $irket'in 4.794.292,87 TL zarara
        ugratzlrnasz-

        "Istanbul 10, Icra Dairesi nezelincleki dosyada Mega Varhk Yonetimi ./4,5 tarafindan
       fcizladan talep edilen 7.348.336 TL ve 49.261 EURO'ya ye Odea Bank ,4,5' ile imzalanan
        kredi sozlemesine aylart olarak (Wiz ye TL cinsinden borglara iscletilen %44,24 temerrat
                 200-1 south kra i'e Ifias Kanunit ityctruica gerekli itirazlarda bulunulmamasz
       sebebiyle .5"irket 'in Istanbul 10. Icra Dairesi nezdindeki dosyadct 21.03.2017 tarihi itibarzyla
        hakszz olarak 26.949.109.88 T1, fazk borcu listlennzesi"

       "Kasith olarak gercege aylari hesap aohnasi. kayttlarda muhasebe hilesi yopilmast ye
       nizzhasebe hilelerini gercege nyglm gosierine adam bagh ortakhklar olan Anteks Tekstil ye
       Antalya Koleji arasmdct fiktif faturalar kesilmesr [EK 30— Kamil Feridun Ozkaraman
       Hk. Suc Duyurularina ]liskin SPK


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  '1i ergiin or Biigen 1Ozeke
 53.    Aynca belirtmek gerekir ki. bahsi gecen Komak ls] Yahtnn Sistemleri Sanayi ve.Ticaret Ltd.
 Sti de Sezgin Baran Korkmaz tarafindan kurulmus iken, pay devri ile Kamil Feridun Ozkaraman'a
 devredilmistir. IEK 31 - Ilgili Ticaret Skil Gazeteleri]

 54.     Bu kapsamda Ka33311 Feridun ozkaraman'm               sirketler aracibgryla Sezgin Baran
 Korknisz ve Jacob Ortell Kingston ile birlikte bareket ettigi ye bw bareketlerin sonucunda
 farkli sirketlere yonelik olarak suc isnatlarinin oldugu ortadadir.

 55.    Bu suclar ye ilikilere bakihnca esasen Milyekkil'in bila bedel bir
 havayolu       irketler grubunu devrettigi, devre ili§kin turn
 yiikiia liliikleri yerine getirdigi, hileli bir davranita bulunmadigt
 ortada iken, kendisi hakkmda gercege aykiri bir alga yaratilarak,
 tizerine 133 esnetsiz suclar atilarak,                    aldatildigi ve
 do3andmid43,1 ortadadir,
 D-            SUC1JNA             1VIADDi VAKIALAR
 56.     Ditrer yandan stlubelilerden Sezgin Baran Korkmaz, Milyekkilitnizi ye eski caltsanlanni
 siirekli olarak tehdit etmektedir.
 57.     Yukanda aciklad1gimiz eylemlerin yaninda. es zamanh olarak, Bugaraj ve hisse devir
 dOnemindeki nihai sahibi Sezgin Baran Korkmaz da dahil olmak tizere, stiphelilerin bu organize suc
 hareketleri bir silsile ile devam etmistir. Nitekim, Mtivekkil'e karst haksiz davalar actlmasma sebep
 ohnakla kalmmanns, ayni zamanda Sezgin Baran Korkmaz                            ye calisanlanna tehdit
          mesaj ve hareketlerde bulunmustur. Sezgin Baran Korkmaz tarafindan Milyekkire
 ganderilen tehdit icerikli mesajlann bir kisim orneklerini asa,g3da Sayin Savciligmiza sunanz:

 Skin    band bit ya,satttit ltzrznizt yannnza htrakmayacaktm 2 Mart 2017         +90 532 268 43 44
  sailll ayash                                                ogleden sonra
                                                              4:02:25
  Ben hurda senin borglannla ugrapricen, seta keyfine         6 Mart 2017,        +90 532 268 43 44
  baktyor sun. Settle hesaplaptcak tr. dolandinct ayash       ogleden soma
                                                              2:57:53
  Bugiin vergi dairesine gidip, vergi borcunuzdan dolayt      7 Mart 2017,        +90 532 268 43 44
  evlerinizin tizerine ha9iz koyduracakim                     aksam 10:50:41
  Anna kadar beklekeceeim e,yer, bir sontic crkmaaa 83 7 Marr2017,                +90 532 268 43 44
- mil Mara bilanco faritithk davast app, biltiin              aksam 10:52:50
  mallanntza tedbir koyacagun.
  Seni tiim diinyaya rezil edecem                             9 Mart 2017, sabah +90 532 268 43 44
                                                              11:25:18
  Senin malma gbz tiikm4iz demek, Irian erefsiz sen           9 Mart 2017, sabah +90 532 268 43 44
  kimsin senin mahna Viz koyahn2                              11:26:49          _
  Senin gercek yiiziinii tam Tiirkiye ye gasterecegim         9 Mart 2017, sabah +90 532 268 43 44
                                                              11:27:21
  Senin fei0 ye yaptigut barpflart tek tek czkaracaltim       9 Mart 2017, sabah +90 532 268 43 44
  ortaya                                                      11:31:59
  Amu sum §eref skil burnundan fitil fitil gerireceeint       9 Mart 2017, sabah +90 532 268 43 44
                                    .       ..                11:33:30

                                                   14
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   HergiineriBilgen Ozeke
Seni anzerikada rezil edecekinz                               9 Mart 2017, sabah   +90 532 268 43 44
                                                              11:33:52                                 .
Senin burnundan fitilfitil gerirecem                          9 Mart 2017, sabah   +90 532 268 43 44
                                                              11:36:11
Apzkhk herif, senin lirketin bank dekihnikdi.                 9 Mart 2017, sabah   +90 532 268 43 44
                                                              11:36:50
Benmi baurrhm                                                 9 Mart 2017, sabah   +90 532 268 43 44
                                                              11:36:57
Seni vicdanszz alakhk herif                                   9 Mart 2017,         +90 532 268 43 44
                                                              ogleden sonra
                                                              12:02:40
Size tafsiyem dahafazIa rezil ()Nadan hu ifi cbzmeniz         22 Mart 2017,        +90 532 268 43 44
                                                              sabah 7:17:58
Amerikaya gelecekirn yakmda sizi ordada mahkerneke            22 Mart 2017,        +90 532 268 43 44
verecekinz, beni burda dolandirdma dive                       sabah 7:19:32
Beni kin) dolandrrrhysa herkes hesalmin verecek               22 Mart 2017,        +90 532 268 43 44
                                                              sabah 7:23:54
Fatih Iv zahide ba§1a                                         22 Mart 2017,        +90 532 268 43 44
                                                              sabah 7:24:07
Sana bir gun :parade, ya namusunla ortaya czkrp               21 Nisan 2017,       +90 532 268 43 44
gerelpini yaparszn, yada bundan sonra olacaklardan sen        sabah 3:51:55
sorumlusun
Senin dolandrnci oldrz,;(5unu az kaldi crkaracam ayash         27 Nisan 2017,      +90 532 268 43 44
                                                               sabah 2:13:04
Sen °Isen emin of cocuklarrndan alacam                         27 Nisan 2017,      +90 532 268 43 44
                                                               sabah 2:14:45
Avzik Alm yada ylinetmen Ohm odeyecek                          27 Nisan 2017,      +90 532 268 43 44
                                                               sabah 2:15:23
Aland(' oraya geliyortun az kalch sen rahat al                 27 Nisan 2017,      +90 532 268 43 44
                                                               sabah 2:15:47
Semi herkese turn diinyaya belgeleri ile rezil edeceklin       27 Nisan 2017,      +90 532 268 43 44
                                                               sabah 2:18:01
Bakahm tiirki3)eye gelecek yilain olabilecekmi                 27 Nisan 2017,      +90 532 268 43 44
                                                               sabah 2:18:50
Zahide kap'r size kefildi •imdi ortada yok                     27 Nisan 2017,      +90 532 268 43 44
                                                               ogleden sonra .
                                                               2:56:34
Kacacak delik arayacaksina sen ve ecin                         27 Nisan 2017,      +90 532 268 43 44
                                                               ogleden sonra
                                                               4:25:22
Seni ceznerine sokacam                                         28 Nisan 2017,      +90 532 268 43 44
                                                               ogleden sonra
                                                               3:50:28
.kilt giic limn brraktnn, tek derdhn beni dolandiran           28 Nisan 2017,      +90 532 268 43 44
adann cezaerine sokmak                                         ogleden sonra
                                                               3:51:09
Zakide dolandinctstda                                          28 Nisan 2017,      +90 532 268 43 44
                                          .            ...   . .ogleden sonra
                                                  15
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   •HergiinariBilgen 10zeke
                                                                   3:51:59
, Kayakby e gitlip senin gercek yikiinii anlatacam bit             28 Nisan 2017,    +90 532 268 43 44
  hafYa(beigelerle                                                 ogleden sonra
                                                                   4:55:49

Beni on trine yabanci gazeteci aradu, Bekleyin                     8 Maps 2017,      +90 532 268 43 44
dolandincihk davits' acilsin size dosyayi terclime edip            ogleden sonra
yollayacakun dedim                                                 1:00:30
Az kalth                                                           8 Mayis 2017,     +90 532 268 43 44
                                                                   ogleden sonra
                                                                   1:00:34
  ODTU deki panolara nod dolandirrldigunt anlatan                  8 Mayis 2017,     +90 532 268 43 44
  brogirler yaptiriyoruni. Arhk bilim adantheinin                  ogleden sonra
  dilindalii vergi kactikpsz ye dolandincilik taraflnzzda          1:02:25
 aalirsfinler                                               --"'

 Amerika 'du ?amain oldugunii rThilversite yede                    8 Mayis 2017,     +90 532 268 43 44
  durum' anlatan bir yazi ye beige yolluyorum.                     ogleden sonra                _
                                                                   1:03:14
 Eski genet mild& Kadir Peker in kapisma icra gidince              8 Mayis 2017,     +90 532 268 43 44
 oda konigacaktir elbet                                            ogleden sonra
                                                                   5:14:06
Gelin Benin inaidinVetimi ctiziin. Bende sizie beraber             8 Mayis 2017,     +90 532 268 43 44
ski dolandtran miidiirlerinize hesabini sizk beraber               ogleden sonra
sorayini                                                           5:22:59
Sizin ben/ dolandirrnankin hesabini sizden Sorana                  6 Ternmuz 2017,   +90 532 268 43 44
kadar, Allah tin bang Om& verirsin, bunit skin                     ogleden sonra
burnzinuzdan pHfitil getirecettim                                  5:37:59


 58.    Yukandaki mesajlardan da acikca gOrblebilecegi uzere, Mtvekkil uzunca bir donem
 Bugaraj'in nihai sahibi olan Sezgin Barari Korkmaz'dan acikca tehdit ye halcaret igeren mesajlar
 almaktadir.


59.     Sezisin Baran Korkmaz'in tehditleri sadece telefon ve vazisma lizerinden (1011 fiziki
o3arak da gerceklesmistir. Sezgin Baran Korkmaz MilYekkirin Taksimde yer alan ofisini arayarak
tehdit ve hakaretler yagdinnis, aynca Borajet eski yonetim kurulu tiyesi Zahide Uner'e ye
Mtivekkil In avukan Burhan Asaf ,Safak'in da aralannda bulundugu calisanlanna tehditler sayurmus,
toplantilarda kbfbrIer ve hakaretler etmistir. Buna        bir kisim delilleri Sayin Sayciligmiza
sunariz. [EK 32- Sezgin Baran Korkmaz tarafindan Miivekkil ye calisanlarma Baski ye Tehdit
tlygulandigi HakaretEdildigine Dair Delilleri
60.     Aynca Hisse Devri Sozlesinesi'ne iliskin ihtilaflar kapsaminda, Fatih Akol, Kamil Ekim
Alptekin, Kamil Feridun ozkaraman, Zahide Oiler ye Burhan Asaf afak'in katildigi 18 Mart 2017
tarihii toplantida. Zahide Uner karsi tarafca saldiriya up,:ramistir. Sezgin Baran Korkmaz gay
bardagini ye su bardagini Zahide Unefe firlatn-q. masaya vurup masamn can= kirmis ye Zahide
Uner' in tistithe ybruyerek "Seni Oldbrbrum, *sinkafh ktitilr* kizim" demistir.


                                                                     ':\
                                                    16
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    Hergiiner Bilgen Ozeke
  61.       Sezgin Baran Korkmaz'm MuYekkil'e:'gpriderdigi ;tn esajtarda ayrrca Bora:jet estci gond
  rnt.Wtircl -§iirihAt.X:44ir..PAP.1.:'q- de MilVekkit          ‘hareket etmesi we sub uydurrntak kinlaa,§ii-
  Liyc..111ac141:3 beliktilmektedir.. "Nitekim. Katlir:Yeicer de bit hususu dog,rulatn4-ur. IEK 33- 'Kdir
  Pek;tr'..e                Aleyhine Ilareket Etmesi icin, Bask] Uygulandigina Dar Deliller:f
  62.     Bunlarin yaninda Sezgin Baran Korkmaz herhangi bir §ekilde davet edilmedigi halde,
  A-liivekkil in Kandillilde ,fer Man gayrimenkulithe 25 Subat 2017 tarihinde e§i ve farkh bir bayan ile
  gitmi§tir. Bununla yetiruneyen Korkmaz. 30 Temmuz 2017 tarihinde ayni yere tekrar             bu defa
  gtIvenlige iced almmamast ytiniinde kesin talhnat verilmesi kat-panda iceri girememi§tir. Bunun
  Ozanne gtivenlige evi satin aldigint, birkac giin icerisindeta§macagun belirtmi§tir.


  E- YALAN TANIKLIK VE ADIL YARGILAMAYI                                     ETKiLE1VIEVE         TESEBBUS
  SUCLARINA 11,1$KiN MADDI VAKIALAR
  63.    St1phelilerden Sezgin Baran Korkmaz tarafindan, Istanbul Cumhuriyet Ba§savciligfrun
  2017/68314 numarah CBS Soru§turmasmda ifade veren taniklara da bash nygulanmt§tr. Ifadelerin
                adliyede bizzat.bulunan Sezgin Baran Korkmaz, IvIavekkil aleyhine ifade verilmesini
  saglamt§tir. Bazi taniklar ise kendi menfaatleri sebebiyle          aleyhine ifade venni§lerdir.
  Nitekim. Sezgin Baran Korkmaz'in ce§itli yollarla Saphelilerden Fatih Akol'a kar i da §iddet
  uygulaclignia ili§kin duyumlar alinmi§tr. Sezgin Baran Korkmaz bunu Mtivekkil'e attigi apk,'Idaki
  mesajda da

  Faith hey 01111 3,,aptigum faziam lie hak effi                         22 Mart 2017,       +90 532 268 43
                                                                         laf;alitt-71-5.8    44 — ---


  64.      Soru§turma Dosyasi kapsaminda,raTthAkal; Eorajet Eski Yonetim Kurulu Ba§kam ye Genel
              Ibigki— Oztrict (Mali 1§ler Ba§kani), Mehmet Ceylan Topal (Bora Jet Bakinfin Genel
              Olcav Ozbay (Bora JeCte Baktmdan Sorumlu Genel Maclur Yardtmctsi) ifade vermi§tir.
   Bu ki§iler Borajet'te hisse devri sonrast da cah§maya devam etmi§lerdir. Fatih Akol'un
   yonlendirmesi Ye sureci yonetmesiyle Hisse Devir Sozle§mesi kapsaminda devredilen §irketler
   hisselerinin Buctaraj'a satilmasi karan verilmi§tir. Bunun akabinde,piZot FO114lico*unlidettigiode,
  $134150kqe*..,$filteei 'yetietilani§;: '§irket :naafi 4ablolert Mali Idler -Ba!§kant Tolgat-'1:Ittmet:    "eat
1,                    haarIanart int nkali tablolar           Devir.. SO.zIevnesi!nv.ek,ygillthw:ohnosmaragr404;
                                                                                            ygrgraY4-Y540414,
 atbi :ifade 1.-ern*Iordift [EK 34- Fatih Akol Taraimdan Siirecin Yonetildigi ve Tolga
 Tararm &an Hisse Devir S5z1esxnesi Eklerinin Hazulandigina         Yammalarl
 65.     Fine once tanik stfattyla ifadesi alinan ve sonra Bugaraj'm isnatlanyla sank haline gelen
 Zahide Uner de ayni sorn§turrnada verdigi ifadede kendisine bask] uygulandignu belirtm4tir,
 5aphelilerden Kamil Feridun Ozkaraman da aynca.Zahide Uner'e ifadesi konusunda basic yapmaya
 calt§rni tir. ]EK 35- H              [E 36- Kamil Feridun Ozkaraman Zahide I)ner'e ifade
                              metni) [EK
 Konusund a Bask]                Hakkmda Mesaj]
 66,     Bunlarin yaninda Sezgin Baran Korkmaz'in Mityekkil aleyhine yayinlattig.) ve
 such' olduguna Bair hakkinda yerilmi§ bir yangt karan olmamasma ragmen, varmi gibi gosterilerek
 soru§turma               ihlal edildigi to              itibarinin zedelendigi haberleri de bir kisim
 ornekleri a§atucla ver almak tizere ekte Savin Savelligmiza sunanz. [EK 37— Mlivekkil'i Karalama
 Kampanyasi icinde cikarnlan Diger Haber Ornekleri]

                                                       17
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         •
    Hergiiner 1Bilgen 10zeke
          "Borajer 'in patronzt Sezgin Baran Korkmaz, Numberone TUrk'le katrldrgi radyo programmda
          Borajerin scary siireeine ye geleeekteki planlarina il4kin bilgiler verdi. Korkmaz Onceki
          yOnerimi rjlas eden            eyrakta sahtecilik yaparak ayalaa tutu akla suclarken, "Gidere
          annalarl gereken her ••eyi gelire annular. Teknik olarak 2015-2016 ythnda (flay eden Orkette
          limns ellerinden gilmesin die bOyle bir sahtecilik yapinuictr. Denetim cirketleri durumu
          tespit etti. Dciva hazirligt yapyoritz" ifadelerini kullcmdr "a.

           "Eski parrona dolcrndrrtcrlrk davasi

           Bir sure Once uclularina gecici olarak ara veren Bon-yet yOnetimi sirketin eski sahibi
           luikkrnda suc duyurusunda bulundu SBK Holding YOnetim Kurulu Btukanz Sezgin Baran
           Korkmaz, "Borc.rjet eski Genel 1liidiirii Kadir Peker, Yalczn Ayash ye eci Serpil Ayash dahil
           herkesin yargdanmasi gerekirdi" dedi. " 7

          "SBK Holding Yonetim Kurulu Bcukam Sezgin Baran KorknIctz, "Borcijet eski Genel Mildftrit
          Kadir Peker. Yalcrn Ayash ye eci Serpil Ayash dahil herkesin yargdantnast gerekirdi" dedi. "8

           "Yeni ,5'rtfak Gazetesrnden Mural Palavar'rn haberine gOre, yapilan sug duyurusunda
           Borajerin teknik olctrak iflas ertigi iddia edildi.     giderlerin de gelir hanesine
           kaydedilerek usztlsitzliik yaprldigr belirtildi. " 9
67.      Nitekim Sezgin Baran Korkmaz Milvekkire gonderdigi ye basinda ve cevrede Mtivekkil ye
ailesi aleyhine konustugunu itiraf da ettigi bir kisim mesajlan da asagida iletiyoruz:

Seni film diinyaya red! etlecem                                                               9 Mart 2017,              +90 532 268 43
                                                                                              sabah 11:25:18            44
Her &lime gelene elimde sizin inizaladtprizz soziepneiti ye                                   22 Mart 2017,             +90 532 268 43
buglinkii durum gdsteriyoruni                                                                 sabah 7:17:20             44
KayakOy e gidip senin gercek yfizanii anlatacarn bu                                           28 Nisan 2017,            +90 532 268 43
hafta(belgelerle                                                                              ogleden sonra             44
                                                                                              4:55:49
ODIV deki panolara nasil dolamhnkliginn anlatan bro§-iirier                                   8 Mayis 2017,             +90 532 268 43
yaptiriyorum. AMA bilim adamliginin dipndtiki vergi                                           ogleden sonra             44
kacakyst ye dolandirtedtk tarafintzda garsfinler                                              1:02:25
Amerika'da kiztinzin oldukunii Ontiversite yede durumu                                        8 Mayis 2017,             +90 532 268 43
anlatan bir yazi ye beige yolluyoritin                                                        ogleden sonra             44
                                                                                              1:03:14
Beni on lane yabanci gazeteci aradn, Bekleyin doMndincilik                                    8 Mayis 2017,             +90 532 268 43
davasi (1915117 size dosyayi terefime edip yollayaeakim dedim                                 ogleden sonra             44
                                                                                              1:00:30

68.      Pyrica alinan duy-umlara gore Stiphe1i lerden Sezgin Baran Korkmaz, Kamil Ekim Alptekin
ile birlikte, JVIeIIa Varlik Ydnetim A.S.'nin sahibi oldugu Istanbul Bogazi?nda bir yalida, 2017 yilinin
Temmuz Agustos aylarinda basin mensuplarina bir davet verrni§tir. Yaliyi kendi yalisi gibi lanse
ederek, basin mensuplanna Miivekkil'in FETO ile baglantisi oldugu ve illegal fiillerde bulundugu
seklinde gergege avkiri beyanlarda bulunmustur. Bu fiiller adil yargilamayi etkileme sugunu

6 httR://www, urizmeocel.cornThabor/boraieW027in-Datronupdan-eski-vonetime-sahtecilik-suclunasi-h31505,html
  httn://ww-w venisafakconilekonomi/eskt-patrona-dolandiricilik-davasi-2652663 - hitp://uzytannammillivet. comAdhaber-detaylgenelieski-patrona-
dol and iricil ik-davasj/68298/
 }ittas://mww.baberler.com/h_pit et-vonet imi-e§ki:Datrona-d_oland iricil ik-95'7445 1 -haberi/
" http://www.kokoit acto/boralit-valcin-avasli-dava - jittn://m w.airlinehaber.comtboraiet-v netimie4i-oatgna-dolandiricilik-davasi-acti/
                                                                       18
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         Hergiiner 13iIgen bzek e
         u*tunnaktadir ye medva mensuplan vasilasi ile yaniltici bir kamuoyu olustuxmasi
   hedeflenmektedir.

iii.          lSNAD OLUNAN SUcLAR
   1- Nitelikli Dolandtrictl k (ICK m. 158 1. fikra             bentleri)

   69.     5237 Sayili Turk Ceza Kanunu'nun ("TCK") "Dolandincilik" bashkli 157. Maddesinin 1.
   fikrasi uyannca 'Hileli clavrantVarla bir kiniseyi aldanp, onun veya bc4kasznin zararina olarak,
   kendisine veya bcqkasinci bir yarar saglayan Wye bir yildan bec ytla kadar hapis ye be§s bin giine
   kadar adli para cezasi verilir. '

   70.    Soz konusu maddenin devaminda ise `Nitelikli Dolandmcilik' sucu dtizenlenrnistir. 158.
   madde (f) bendi uyannca Dolandincilik sucunun "Bili§qm sistemlerinin, banka veya kredi
   kurianiartnin arac olarak kullanihnctst suretiyle iVenmesi' halinde (g) bendi uyannca da "Basin ye
   yayin araglarinin sagladigi kolayliktan yararlanmak suretiyle" Nitelikli Dolandincilik sucu
   olusmaktadir.
       71.     trine 158. maddenin (h) bendinde Dolandincilik sugunun 'Tacir veya qirket yoneticisi olan ya
       da irket adz= hareket eden ki ilerin ticari faaliyetleri sirasinda; kooperatif yoneticilerinin
       kooperatifin fctctliyeti kapsaminda' islenmesi halinde de Nitelikli Dolandincilik sucunun o1ustugu
       dtizenlenmistir.
   72.     Bu kapsamda Mtivekkire karsi sistematik bir sekilde birden fazla fill ile ye birden fazla kisi
   tarafindan nitelikli dolandiricilik sucu islenmistir ye islenmeye devam etmektedir. Yukanda
   ayrintilanyla aciklanan bu fu ller sikayetimize konu olarak sakli kalmak tzere: - ikayet edilen
   kisilerce Mtivekkil aleyhine baslatilan alga operasyonu ile sistematik hileli hareketlerde bulunulmasi
   ile Borajet'in degerinin

   - Bu sekilde Mtivekkil'in Borajet'i bila bedel devretmek durumunda

        Hisse Devir Sozlesmesi -nden kisa bir sure sonra, bu ki ilerin kabul ettikleri htiktim ye sartlara
       uymayarak, inceledikleri mizanin sahteligini kotii niyetle iddia etmeleri,
       - Ardindan batik sirketleri alarak gelistirmeyi faaliyet konusu edinen bu kisilerin dolandinldiklanni
       iddia etmeleri ye Mtivekkil'den haksiz menfaat elde etmeye baslamalan,
   - Bugaraj'in esasen Mtivekkil ile arasinda sozde bir ticari upasmazlik yaratmak suretiyle maddi
   menfaat elde etme gayesi ile. Ye Mtivekkil' e kestikleri haraci tidemeye mecbur etmek amaciyla
   Mtlyekkil hakkinda asilsiz iddialar ortaya atarak, sorusturmanin konusunu ticari uyasmazlikla hicbir
   ilgisi olmayan ye asilsiz olan iddialarla genisleterek, bu sekilde hileli olarak yargi merciileri ontinde
   Muvekkil aleyhine bir kanaat olusturup, Mtivekkil aleyhine sorusturma ye davalar acilmasina sebep
   olunmasi,

       - YilIarini Ttirkiye'nin menfaatine hareamis bir bilim insane olan Mtivekkil hakkinda, agza
       almmayacak, hakaret dtizeyine varan suclamalarda, tehditlerde bulunmasi,
       - Benzer tehditlerin Mtivekkil'in calisanlanna ye ailesine de yoneltilmesi,
       - Mtivekk Win suc isledigine dair yalan taniklik yapilmasi,



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 iiiergiineriBilgenlOzeke
  Basinda Mfivekkil hakkinda suc uydurrna niteliginde Mtivekkil'in itibanni zedelemek tzere
hatali/yanillici haberler yapilmasinin saglanmasi.

- Mfivekkil aleyhine cesith bankalar ile gortistiltip, Mtivekkil'in hesaplannda nedensiz olarak hesap
kat ihtarinda bulunulmas4 haciz tehditleriyle haksiz menfaat elde edilmeye

- Odea Bank kredisinin kat ettirilmesi saglanarak Mega Varlik Yonetim A.S.'ye devrinin yapilmasi
ye bu sekilde Nlfivekkil'den haksiz kazanc elde edilmesi.

- Eisse Devir Sozlesmesi sonrasi Borajet yetkililerinin bir kisminin tehdit vs. baskilarla saf
degistirerek Miivekkil aleyhine ve gercege aykin delil yaratmalan, ifade vermeleri, bir kisminin ise
basindan bed Sergin Baran Korkmaz ile isbirligi icerisinde hareket etmesi nedeniyle mahkemeler
nezdifide yalan beyanda bulunup, gercege aykin delil yaratmalan ye ifade vermeleri,
- Taniklara bask' uygulanarak Mtivekki] aleyhine ifade verrnelefinin saglanmasi suretiyle
Mtivekkil'in zararina olarak ve yargi mercilerinin de yamlfilmasi,
- Bu hileli fuller ile, Borajet, Aydin Jet ye Borajet Bakim sirketlerinin bila bedel aluimasi ye
Mtivekkil'in borcu olmadigi halde. Mtivekkirden zorla ye kisa zaman icinde tahsil edilen paralarla,
sirket aktifinin hukuka aykin yollardan al-by-Imam saglanmasi,
- Hisse Devir Sozlesmesi'nin htiktimleri dogrultusunda sirketlerin kar etmesini saglamak yerine
calis-anlann isten cikartilmasi, piyasa borclannin odenmemesi, ticaklann ucmasini saglayacak
tedbirlerin alinmamasi, ucak bakimlannin yapilmamasi bu sekilde Hisse Devir Sozlesmesi'ne aykin
olacak sekilde sirketlerin. devri halinde Mfivekkil'e odenecek %25 kar payinin odenrnemesinin
amaclanmasi hem basin ye yayin araclarinin sagladigi kolayhktan yararlanmak suretiyle, hem de
tacir veya §irket yOneticisi olan ya da sirket adina hareket eden kisilerin ticari faaliyetleri sirasinda
gerceklestirilmeleri sebebiyle nitelikli dolandiricilik sucunun iki farkh gartintimtlnti olusturmaktadir.
Savcilik tarafindan tespit olunacak sfiphelilerin en agar ceza ile cezalandinlmalan icin iddianame
dfizenlenmesini talep ederiz.
73.     Ote yandan son aldigimiz duytunlar ye basinda cikan haberlere gore Borajet'in sat=
gerceklestirilecektir. Bu sekilde SBK Holding Tfirkiye batik sirketleri alip satarak kazanc saglamaya
yOnelik faaliyet konusunu Mtivekkil'i istiraklehyle ye is ortaklanyla birlikte dolandirarak yerine
getirmis olmaktadir. Ayrica burada belirtmek gerekir ki, acilan dava ile              borclu oldugunu
iddia eden Bugaraj, Hisse Devir Sozlesmesi kapsaminda iicuncii bir kisiye Borajet'i devrederken,
IVItivekkire vennesi gereken kar payini da elimine etmeye calismaktadir. Bu kapsamda
anlasilmaktachr ki kar pay' Ocienecegine iliskin Hisse Devir Sozlesmesi'ne eklenen madde, salt
Mayekkiri yaniltarak, yonlendirerek Hisse Devir Sozlesmesini imzaya itmeye yoneliktir.
Dolayisiyla. nitelikli dolandincilik sucunun zincirleme sekilde islenmesi durumu soz konusudur.
Iddianame hazirlanirken bu hususlann da gbz ontinde bulundurulmasini talep ederiz.

2- Yalan_ Tanikhk (TCK m. 272)

74.     TCK'nin 272. maddesinde "Ilukzika aykzrz bir fiil nedenlyle ba§latzlan bir soructurma
kapsaminda tomk dinlezneye yezkili ki i veyct kurztl oniinde gercege aykirz olarak tanzklzk yapan
kinzseye. clort ayclan bir,vilcr kadar hapis cezayz    hfikinti getirilmistir.


75.   Bugaraj tarafindan istanbul Cumhuriyet Bassavcilip.i nezdinde baslatilan sorusturma
kapsaminda Mfivekk il .aleyhine gercege aykin bir kisim.beyanlarda bulunarak yalan taniklik sucunu
                                        I          20
                                       ri
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        •   I •
   Hergimer-BligenlOzeke
dusturan fliller gerceklestirilmistir. Bu kisilerin Sayin Savcilik tarafindan yukaridaki beyanlanma
cercevesinde tespiti ile yalan taniklik sucunu tehdit altinda isleyenlerin Sayin Savciliginizca tespit
olunarak TCK'nan 28. maddesi kapsammda degerlendinimelerini ve tehdidi uygulayan kisilerin
tespit edilerek sucun faili olarak yargilanmalan icin haklannda iddianame hazirianmasim talep
ederiz.
76.    Bu sucun islenmesi hem bizzat ilgili kisilerin kendi menfaatlerini gozetmeleri, hem de Sezgin
Baran Korkmaz'in azmettiren srfatiyla istiraki cercevesinde gerceklestirilmistir. Bugaraj yetkilisi
olmadtgi halde ye Bugaraj'm kendini zaten vekil ile temsil ettirivor olmasi sebebi ile, Sezgin Baran
Korkrnafin adliyede bulunmasi ye soz konusu kisilerin sirket devri sonrasi Borajet'te calismaya
devam ettigi aercegi taniklar tzerinde baski da olustu:gunu gostermektedir. Bu hususun da
iddianamenin haztrianmast bakimindan Sayin Savcilik tarafindan dikkate ahrunasini talep ederiz.


3- Atli] Yargliamayi Etkilemeye Te§ebbils (TCK rnd. 288)

77.     TCK'nin 288. maddesi cercevesinde "Gaiihnekte olan bir davada veya yapdmakta olan bir
soruptirmada. hukuka ayktrt bir karat- vermesi vex' bir ii1em lesis etmesi ya da gergete aykzrz
beyanda bulumnast icin, yargt gorevi yapant, bilirkiiyi veya tamp hulatka ayktrt olarak etkilemek
amactyla alenen sozlii veya yazdt beyanda bulunan         elli giinden ctz olmamak itzere adli para
cezast ile ceralanthrthr. -

78.     Yukanda aynnult olarak acikladigimiz tiim fiiller Ye ozellikle 114tvekkil hakkindaki asilsiz
suc isnatlari, basin yoluyla Mtivekkil hakkinda • alenen sozlii ve gercege aykiri beyanlarda
bulunulmast, taruklara baski ve tehdit ile gercege aykiri ifadeler verdirilmesi sucun unsurlannin
defalarca olustugunu gostermektedir.

79.      Mtivekkil'in tenor orgtitt tiyesi olduguna dair iddialar iceren sikayetler de Mtivekkil aleyhine
yargi gore-vini yapan savciiim etkilemeye ve..1vItivekkil aleyhine kanaat uyandirmaya calisilmasuun
en iyi kanitichr. Gtintmtz kosullarmda FETO'ye yardim ye yatakliktan iftira ye hakaret boyutunda
suclanmak, toplumda olumsuz kanaat uyandirmakta, kisinin seref ve haysiyetini de etkilemektedir.
Mtivekk il'in toplumdaki saygmligi da goz ontinde bulunduruldugunda, kendisi hakkindaki bu tip
aleni suclama ye bevanlar savcilik nezdinde olumsuz kanaat olusturup„ adil yargilamayi etkilemeyi
amaclamis ye esasen arnaca ula$ilmis, Mtvekkirin hicbir alakasi olmamasina ragmen hakkinda
nitelikli dolandinc3lik sucundan Java acilmistir. Dava acilana kadarki strecte de, Mtivelddrin 43
yildir Amerika Birlesik Devletlerirnde ikamet ettigi bilinmesine ye hatta MERNIS'te de ikamet
adresi olarak bu adresin e'er alrpasina karsm, Savcilik yaniltilarak Mtvekkil ifade etmekten imtina
ediyormuscasina Mtivekkil hakkinda ifadesi alinmak tizere yakalama karan cikartilmistir. Her ne
kadar adil yargilanmayi etkilemeye tesebbts sup islenerek baslatilan yargilama hentz
sonuclanmamis olsa da. sucun tamamlanmasi icin adil yargilanmanin ihlali gerekmedigi, tesebbts
asamasi yeterli oldugu icin, halihazirda bu bakimdan da suc trim ogeleri ile olusmustur.
4- Tehatt (TCK m. 106)

80.     Ttirk Ceza Kantinu'nun 106. maddesinde         ba.,skastm. kendisinin veya yoktrunin hcryattna,
viicut veya dacel dokunultam-hgina yonelik bir salcbri gerceklevirecekinden bahisle tehdit eden kiqt,
edit ctydart iki yda Radar hapis cezast ile ceralandirdir. Alcdvctrligt itibartyla buyiik bir zarara
ugralacci,g- znekm veya suit- bir     edeceginden Oafish, tehditte ise. mctgdurun $ikayeti iizerine,
alts ay, kador hapis veya adh para cezosma hiikmolunur. - hiikmti yen


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      ergiiner. Bilgen 10zeke
81.     Sezgin Baran Korkmaz'in Mtivekkil'e whatsapp uyaulamast tizerinden gonderdigi ye
yukanda orneklerini Sarin Savciliginiza sundugumuz mesajlarda, Mtivekkil'in hem kendisinin, hem
ailesinin hayanna zarar verilecegi, malvarligi .itibariyle buyiik bir zarara ugrattlacaklan belirtilmek
suretiyle tehdit .sucu isienmistir.
82,    Yine               :calisanlanna Ye vekiline kart da ayni icerikte mesajlann hem Mttvekkil'e
hem de ilgili kisilere gonderilmesi de tehdit squint olusturmaktaohr.                Taksim'de yer
alan ofisinin de ayni sekilde aranarak Sezgin Baran Korkmaz tarafindan ayni yonde beyanlarda
bulunulmast da tehdit sucunu olusturmaktachr.
83.     Bu cercevede Sezgin Baran Korkmaz'in defacalarca farkh kisilere karst tehdit .sucunu
°has] cercevesinde hakkinda en agar cezayi gerektirecek          iddianame dtizenlenmesini talep
ederiz.

5- Site islemek amaciyla orgiit kurma TCK md. 220

84.     Turk Ceza Kanunu'nun 220. maddesi uyannca "Kanumin suc saydrk filler! islemek
aniaczykt Orgill kuranlar veya yonetenler. Orgiiti ).‘apisi, sahip bulundugu ilye sayrsz ile arac ye
gereg bakimindan mac suclarz islemeye elverisli ohmsi halinde, iki yildan altz yzla kadar hapis
cezasz ile cezalanchrthr. Ancak. argiitiin varizgz icin !lye sayisznin en az tic kisi obi= gerekir." -
85.     "'fine aym maddenin 4. fikrasmda "Orgiitz'in faallyeti cercevesinde sate islenmesi halinde,
ayrzca bu suclardan dolccvl dcr cezaya hiilonolunur," ye 5. fikrasinda            Oneticileri, Orgatiin
jaah:yeti cercevesinde !slewn biitiin suglardart dolayt ayrzca fail olarak cezalandirilir." hiallimleri de
yer almaktadm

86.      Yukarida acrklamis oldugumuz filler cercevesinde,                          icerisinde kalchgr
organizasyonun yalmzca Devredilen $irketlerin devir stirecine dahil olan Sezgin Baran Korkmaz ye
Bugaraj yetkililerinden ibaret olmadigi, resmin tilmtine bakildiginda, SBK Holding Ttirkiye ye
istirakleri ile, i$ ortak]an ve yundisinclaki baglantilannin organize sekilde birlikte hareket ederek,
Miivekkil de dahil ohnak tizere farkh kisilere karsr gesith suclar              bu yolla ilgili kisileri
bask) altma alarak mal yarltklanna el koyduklan Ye kazanc saglachltlan ortadadir. Hatta bu konular
Sermaye Piyasasi Kurulu'nun da dikkatini cekrnis, yukanda verdigimiz orneklerde $iiphelilerin bir
kismi hakkinda suc duvurulannda da bulunulmustur. Bu bakimdan, yukanda bahsettigimiz
hususlarin arastinlmasint ve suc islemek amaciyla bu Orgi.ite dahil oldugu tespit edilen
hakkinda suc islemek amaciyla orgtit kurma suctmdan iddianame hazirlanmasini talep ederiz.
87.    Sayet sUphelilerden orgUte uveligi tespit olunamavanlar olur ise, bunlar hakkmda da ayni
maddenin 7.fikrasi kapsaminda "Orgill igindeki hiyerarsik yaplya dahil ohnamakla birlikte, Orgiite
bilerek Ye isteyerek yardon eclen       &gilt iiyesi olarak cezalandmiltr." Mama cercevesinde
iddianarne hazirlanmasini talep ederiz.
88.    Yine ayni madclenin•yukanda bahsi gecen--4. -ye 5. fikralann da goz ontiride bulunclitruImist
ye yukanda isnad olunan di:ger suclar ve Sayin Savciliginiz tarafindan yOrttillecek sorusturma
cercevesinde tespit olunacak diger thin suclar ile birlikte degerlendirme yapilmasini talep ederiz.
89.     Ayrica yukanda orneklerini ilettigimiz Sezgin Baran Korkmaz'in FETO mensubu olduguna
        basinda yer alan haberler cercevesinde; TCK•nin 314. maddesi ile yukanda suc islemek
amaciyla orcitit kurma sucuna iliskin ilgili maddeler kapsammda arastirma yapilmastrn ye herhangi
bir iliski/baglanti tespit edilir ise dosyanin bu bakimdan tefrik edilerek Istanbul Curnhuriyet
Bassavcr ligi Teror ve orgtillti Suclar Sorusturma Btirosuna gonderilmesini talep ederiz.
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       Hergiiner 113i1geta Ozeke
IV.        ISTINABE TALEBI

  90.     Yukanda belirtmis oldug„umuz tizere, Mtivekkilimiz 40 yili askin stiredir ABD'de ikamet
  elmekte olup. MERN1S adresi de 75 Hawthorn Village Road, Nashua NH 03062 ABD'dir. ikayet
  dilekcemizde yer alan thin hususlar cercevesinde Sayin Savciliginizca                mtisteki sifatiyla
  ifadesinin alinmasi gerekli gortiltV ise, Amerika Birlesik Devletleri ile TOrkiye Cumhuriyeti arasinda
  7 Haziran 1979 tarihli -Amerika Birlesik Devletleri ile Ttirkiye Cumhuriyeti arasinda Suclulann Geri
  Verilmesi ve Ceza lslerinde Karsilikh Yardim Anlasmasrnin 21. maddesinin tictincti fikrasinin (b)
  bendinde - Kisilerin ifade ye beyanlannin alinmasmin saglanmast" da karsihich yardim konulan
  kapsaminda savilmistir. Bu baglamda Mtivekkil'in rntisteki sifatiyla ifadesinin istinabe yoluyla
  ikamet ettigi Amerika Birlesik Devletleri'nde alinmasinin clegerlendirilmesini talep ederiz. LEK 38 -
  Amerika Birlesik Devietleri ile Ttirkiye Cumhuriyeti arasinda Suclularm Geri Verilmesi ye
  Ceza Isierinde Karsthkh Yardim Anlasmasi]


  NETICE ye TALE?                   Yukanda belirtilen olaylar ye hukuki actklamalar neticesinde Sayin
  Savcilik Makarniniz'dan;
  1.       Eldeki deliller yukanda tafsilati yer alan kuvvetli suc stiphesi ye stiphelilerin kacma ye
           delilleri karartma ihtimali oldugundan yukaridaki isimleri yazili olan Silpheliler ile tahkikat
           neticesinde suclara istirak ettigi tespit edilecek diger tutn,?stipkeliiim.14,kikInclNancelikle Ceza
           Muhakemesi Kanunu (•CMIC) madde 90 ye 9] uyarinca YAKALAMA ye GOZALTI
           KARARLARI verilerek kararin icra ye uygulanmasmin derhal kolluktan istenilmesini,

  2.       CMK madde 100 geregince $uphelilerin saklanmasi veya kacma ve delil karartma stiphesini
           uyandiran birden fazla olgunun varlig: ile stiphelilerin delilleri yak etme, gizleme veya
           deAistirrne gibi ihtimalleri nazara alinarak TUTUKLAMA KARARI VERILMESI
           TALEBIYLE         YETKILI      SULII      CEZA        HAKIIVILI6PNDEN          TALEPTE
           JBULUNULMASINI,

  3.       $ikayete konu suclar arasinda Nitelikli Dolandinctlik sup da yer aldigmdan, CMK madde
           128 ve eldeki deliller uyannca Stiphelilenn tizerine kayith olan tasinir ye tasinmazlar ile
           banka ve diger mali kurumlardaki her Writ% hesaplan, gercek ye ttizel kisiler nezdindeki her
           tiirlii alacaklan, kiralik kasa mevcutlari, Takasbank nezdinde adlanna kayith var ise hisse
           senetleri. turn menkul ye gayrimenkul malvarligi degerleri de dahil olmak tizere turn
           1VIALVARL1 1 DEERLERiNE EL KONULMASI AMACIYLA, YETKILI SULH
           CEZA HAKiML161'NDEN TALEPTE BULUNULMASINI,

  4.      Stiphelilerin yurtdisina kacma ye delil karartma stiphesine binaen ve tahkikat neticesinde suca
          istirak ettigi tespit edilecek diger turn stipheliler hakkmda CMK madde 109/3-a uyarinca
          .YURT .DISINA clKIS YASA01' KOYULMASI AMACIYLA YETKILI SULH CEZA
           RAMML161'NDEN TALEPTE BULUNULMASINI,

  5.       Yukanda isimleri azili olan $upheliler ile tahkikat neticesinde suca istirak ettigi tespit
           edilecek diger thin stiphelilerin yukanda aciklanan eyleinleri nedeniyle TCK'nin ilgili
           maddeleri uyarinca cezalandinlmalan icin haklannda iddianarne diizenienerek KAMU
           D_AVAS1 AcILMASINI,



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     Herguner Bilgen !Ozeke
6.      FETO iddialan haklunda da ara§tirrna yapilarak, eger ili ki tespit edilir ise dosyamn bu
        bakimdan tefriki ile Istanbul Cumhuriyet Ba§savelligt Ter& ye Orgtittlii Suclar Biirosu'na
        gonderilmesini,


arz ye talep ederiz.
                                                                                  Saygdarnnula,
                                                                                    Yalcin Ayasli

                                                                                         Vekilleri
                                        Av. Ayse Hergfiner Bilgen — Av. Hamdi Tolga Dam§man




[EK 39- Vekaletnamej




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